EXHIBIT 25
       AN OVERVIEW OF
THE HOME FORECLOSURE PROCESS




                          GARCIA 04147
                                         An Overview of the Home Foreclosure Process
                                         Among the most prominent features of the current housing crisis has been
    Foreclosure:
    The legal process used by a          an unprecedented jump in the incidence of mortgage delinquencies and
    lender to secure possession          foreclosures. Public policy and financial market observers have attributed
    of a mortgaged property.             delinquency and foreclosure increases to a wide range of causes and have
                                         offered varying policy prescriptions for what remains a continuing
                                         problem. Allegations of improper or deficient practices on the part of
                                         mortgage originators and servicers have also been a major source of
                                         controversy over the past few years. By identifying and describing the
                                         procedures and requirements that characterize an appropriately executed
                                         foreclosure process, FHFA-OIG seeks to provide useful context and
                                         understanding for policymakers and members of the public.

                                         Most home purchases in the United States are financed through loans
                                         provided by banks or other lenders. Lenders, as part of the legal process
                                         that provides cash financing to borrowers, typically require a secured
                                         interest or mortgage on the property financed. Borrowers agree to accept
                                         the secured interest on their properties and to repay the loans provided
                                         over time. The foreclosure process typically commences only after a
                                         borrower has stopped repaying the loan (meaning that the loan has gone
                                         into default); the lender therefore uses the foreclosure process to recover
                                         the proceeds of the loan through the sale of the property. Foreclosure
                                         involves specific rights and obligations with respect to both the
                                         homeowner/borrower and the lender (or its representatives) through
                                         each step of the process.

                                         Before turning to default and the foreclosure process, however, this
                                         overview reviews the legal process supporting mortgage loans. It next
                                         turns to default, the gateway to foreclosure, before discussing the
                                         foreclosure process and loss mitigation options. This discussion will also
                                         identify sources of information regarding federal programs designed to
                                         assist homeowners who may be involved in, or at risk of, foreclosure
                                         proceedings.

                                         FUNDAMENTALS OF THE MORTGAGE
                                         A mortgage is a loan secured by real estate collateral, specifically the
                                         borrower’s house or apartment.a While the term “mortgage” is used
a
 Although real estate investors may      colloquially to refer to both the loan and the security, there are actually
also finance their purchases of          two separate legal documents: a note and a security instrument.
commercial properties, such as office
buildings and rental apartment
complexes, through mortgage debt,
this discussion will center
specifically on residential mortgages.

                                                               Federal Home Finance Agency Office of Inspector General | 2
                                                                                                     GARCIA 04148
                                  The Note
                                  The note represents the promise or agreement of the homeowner
Securitization:
                                  (mortgagor) to repay the loan to the lender or noteholder and specifies the
A process whereby a financial
institution assembles pools of    terms of repayment, such as the interest rate and schedule of payments.
income‐producing assets           Most mortgage notes are freely transferable from the original lender to
(such as loans) and then sells    others. Lenders, in fact, sell most loans to third parties, either directly or
an interest in the cash flows
                                  through the securitization process in which groups of mortgages are
as securities to investors. See
page 20, Figure 1.                pooled together and sold as a security to investors. The Enterprises are the
                                  most prominent participants in the purchases and sale of mortgages; they
                                  accounted for approximately 70% of the nation’s issuances of MBS in
                                  2010. Rather than lend directly to homeowners, they purchase mortgages
                                  from the original lenders and other buyers. The mortgage note specifies
                                  that the borrower must repay the noteholder, which may differ from the
                                  original lender if the loan is sold.

                                                              Figure 9. Mortgage




                                  The Security Instrument
                                  The security instrument is the separate legal document or agreement that
                                  pledges the house as collateral for repayment of the note. The security
                                  instrument goes by various names, such as the “mortgage,” the “deed of
                                  trust” (DOT), or the “trust deed,” depending on its form and the state in
                                  which the house is located. In many states, it is typically recorded in the
                                  county recorder of deeds offices in order to establish the mortgagee’s
                                  interest in the property as a matter of public record. This is important
                                  because it establishes the mortgagee’s rights in the property relative to
                                  other parties, including other mortgagees. The majority of mortgages are
                                  recorded using a private recordation company known as the Mortgage
                                  Electronic Registration System (MERS). When MERS is used, it is listed
                                  in county property records as the mortgagee, while the real mortgagee is
                                  tracked in MERS’ private registry. The validity of MERS’ various



                                                        Federal Home Finance Agency Office of Inspector General   |3
                                                                                              GARCIA 04149
                                          processes has been the subject of significant and on-going legal
                                          controversy.

                                          The form of the security instrument affects the foreclosure process.
    Lien:
                                          Legally speaking, a mortgage is the granting of a lien. The homeowner, as
    The lender’s right to have a
    specific piece of the debtor’s        mortgagor, retains title to the property and grants a contingent interest to
    property sold if the debt is          the lender as mortgagee. Alternatively, a DOT is more akin to a sale and
    not repaid. With respect to           repurchase: the homeowner, as trustor, gives title to the property to the
    residential mortgages, the
                                          DOT trustee, who holds it on behalf of the lender as beneficiary. The
    noteholder retains a lien on
    the house (as evidenced by            DOT trustee is typically a title company or a local attorney. The DOT
    the mortgage or deed of               trustee is charged with releasing the deed to the trustor if the loan is paid
    trust) until the loan is repaid.      off or with foreclosing if the trustor defaults. In the standard DOT
                                          arrangement, if the homeowner defaults, the beneficiary noteholder will
                                          appoint a substitute trustee, often an affiliate, to handle foreclosure. The
                                          precise duties of DOT trustees may be a potential issue in foreclosures.b

                                                                  Figure 10. Deed of Trust




b
  DOT trustees should not be
confused with securitization trustees.
Many securitizations involve a trust
that holds legal title to the mortgages
and notes. These trusts have a
trustee – a major financial institution
– that acts as an agent for the trust,
carrying out functions such as
remitting payments to investors in
the securities issued by the trust and
reporting to investors on the
performance of the trust’s mortgages.
The actual management of the
mortgages, though, is carried out by
another entity, known as the servicer.
                                                               Federal Home Finance Agency Office of Inspector General   |4
                                                                                                     GARCIA 04150
                               The Servicer
For more information on the    All mortgage loans are “serviced,” meaning the payments are collected
servicer, see pages 26‐27 of   and the loan otherwise is administered, including the release of liens upon
this report, Selected FHFA
                               payoff or the management of defaults. The servicer may be an arm of the
Programs and Activities.
                               original lender, or it may be an unrelated third party, in which case it is
                               acting on behalf of the current owner of the loan, typically under a detailed
                               contract known as a “pooling and servicing agreement” or “loan servicing
                               agreement.” As the majority of mortgage loans are sold by their original
                               lender (sometimes referred to as the loan’s “originator”), most loans have
                               servicers that are unaffiliated with the original lender. For example, the
                               Enterprises do not service any of the loans they own themselves; instead,
                               they use third-party servicers, typically affiliates of the parties that sold the
                               loans to them.

                               Subcontracting arrangements are common in servicing, so a borrower’s
                               contact may in fact be with a subservicer, a vendor, or an attorney engaged
                               by one of these parties. Both servicing and subservicing contracts
                               frequently impose limitations on the servicer’s ability to manage the loan,
                               including when and how the servicer may modify or otherwise restructure
                               a loan.

                               DEFAULT
                               Default is the prelude to foreclosure. Although various technical defaults
                               are possible, the typical default is a failure to make payments as required
                               on the mortgage. Most mortgages require defined payments each month
                               (though the amount due may vary if the mortgage has an adjustable rate),
                               and mortgage servicers will often refuse to accept partial payments.
                               Figure 11 illustrates the remediation process for a defaulted loan. The
                               outcomes following a default depend on factors such as the amount and
                               degree of delinquency, the borrower’s overall financial situation, the value
                               of the property and amount of indebtedness, the servicer’s economic
                               interests (as distinct from the mortgagee’s), and constraints placed on the
                               servicer by contract and applicable laws. Thus, a defaulted residential
                               mortgage may return to good standing, or be modified, or the property
                               may be sold or repossessed by the mortgagee via foreclosure or a
                               voluntary surrender.

                               Generally, servicers will not commence a foreclosure until a mortgage is
                               90 days delinquent – that is, until the borrower has missed three
                               consecutive payments. Thus, a homeowner can conceivably fall behind on
                               a mortgage for a month or two and catch up without the servicer
                               commencing a foreclosure. However, it is important to note that a servicer



                                                      Federal Home Finance Agency Office of Inspector General | 5
                                                                                            GARCIA 04151
may legally begin foreclosure proceedings before a mortgage is 90 days
late. Ninety days is a common practice, not a legal requirement.

              Figure 11. Foreclosure Process Flowchart




                    Federal Home Finance Agency Office of Inspector General   |6
                                                          GARCIA 04152
                                 Loss Mitigation
                                 In some cases, the default may be cured and the loan reinstated. In
                                 addition, depending on individual circumstances, alternatives may exist
                                 that permit defaulted borrowers to remain in their homes while addressing
                                 their payment delinquency. It is important to note that most of these
                                 options are voluntary, but state law and contractual arrangements,
                                 including the acceptance of MHA program funds from Treasury, may
                                 trigger particular loss mitigation duties on the part of the servicer.

                                 Mediation. Many states offer or require pre-foreclosure mediation
Mediation:                       between homeowners and servicers. In some states servicers are required
Mediation is a process by
which a neutral third party      to mediate in good faith in order to proceed with foreclosure. This may
(mediator) assists the           include presenting the homeowner with all appropriate paperwork for a
homeowner and lender in          foreclosure and having authority to accept settlement offers.
reaching a fair, voluntary,
negotiated agreement. The        Modification. Common modifications include extending the mortgage’s
mediator does not decide
who is right or wrong.           maturity date, adding past-due payments to the end of the mortgage, and
                                 making both permanent and temporary interest rate reductions. In most
                                 cases, when appropriately applied, these measures will lower the
                                 borrower’s re-amortized monthly mortgage payment to a more affordable
                                 level.

Figure 12, at the end of this    Reductions in the borrower’s unpaid principal balance are uncommon.
overview, lists those states     Although HAMP permits principal reductions at participants’ option, the
that offer or require
mediation as part of the
                                 Enterprises do not provide for principal reductions in their implementation
mortgage loan default            of HAMP. Homeowners should be aware that under certain circumstances
remediation process.             the forgiven debt may be deemed income for tax purposes.1

A detailed listing of borrower   Forbearance. Lenders may always exercise forbearance on defaulted
eligibility criteria for HAMP    loans, meaning that the lender may simply decline to proceed with
and other MHA assistance
                                 foreclosure. Homeowners have no right to forbearance, unless they are
programs is available at
www.makinghomeaffordable.        active duty military servicemembers covered by the Servicemembers Civil
gov.                             Relief Act or have been so within the previous 90 days. Note that some
The websites of Fannie Mae       types of modifications, such as ones that tack past-due balances onto the
(www.fanniemae.com) and          end of loans as balloon payments, are sometimes referred to as
Freddie Mac                      forbearance.
(www.freddiemac.com)
incorporate utilities that
                                 By contrast to payment reductions, payment forbearance involves
permit borrowers to learn
whether those organizations      temporarily suspending the need to make mortgage payments. In their
guarantee or own specific        guidance to loan servicers, Fannie Mae and Freddie Mac permit payment
home loans.                      forbearance for up to six months in the cases of unemployed borrowers.
                                 Servicers must consider unemployed borrowers for such forbearance




                                                      Federal Home Finance Agency Office of Inspector General | 7
                                                                                            GARCIA 04153
                              before consideration for a HAMP loan modification. Borrowers who are
                              not offered any such forbearance must be evaluated for HAMP.

Common Misperceptions About Enterprise Policies for HAMP Participants
Published reports indicate that mistaken or outdated understandings may persist among participants (both
servicers and borrowers) in HAMP for loans owned or guaranteed by the Enterprises. Three common
misperceptions are discussed below:
    HAMP Participants Must Be Delinquent. HAMP does not require homeowners to be actually delinquent
     in their payments before participating. Despite reported cases of mortgage servicers indicating that
     homeowners must be delinquent, and in some cases actually encouraging them to fall behind in their
     payments, program guidance and the Enterprises’ servicer directives explicitly permit participation by
     homeowners who remain current, but for whom default is “reasonably foreseeable.”
    HAMP Requires a Very Long Trial Period. The Enterprises’ published guidance states that the initial trial
     period for HAMP participants “must be three months long for mortgage loans already in default and four
     months long for mortgage loans where the servicer has determined that default is imminent but has not
     yet occurred,” contrary to reported instances of borrowers making trial payments for much longer.
    The Foreclosure Process Can Proceed While Loss Mitigation Efforts are Underway. As a result of FHFA’s
     Servicing Alignment Initiative, current Enterprise guidance states that servicers may not commence the
     foreclosure process as long as they are engaged in a good faith effort with the borrower to resolve the
     delinquency. “Dual tracking” a single loan for both foreclosure and modification is prohibited.
     Additionally, before a loan is referred for foreclosure, the servicer must also perform a formal review of
     the case to ensure that appropriate alternatives were considered.


                              Refinancing. Another option for handling a defaulted loan is to replace
                              it with a new loan via a refinancing. The terms of the new loan can be
                              whatever the borrower and new lender negotiate; the proceeds of the new
                              loan are used to pay off the balance on the old loan. When the old lender
                              is paid off, the old lender releases its lien on the property.

                              The difference between refinancing and modification is that refinancing
                              entails a new loan, whereas modification is simply a change to the terms
                              of an existing loan. A refinancing can involve the substitution of a new
                              lender for the existing lender or a new loan from the existing lender,
                              whereas a modification involves the same lender. Because a refinancing
                              involves a new loan, there are generally closing costs associated with a
                              refinancing, whereas modification may or may not involve fees to the
                              borrower.

                              Traditionally, refinancing requires the payment in full of the existing loan.
                              Most mortgage loans have “due on sale” clauses that require payment of
                              the full balance of the loan upon the sale of the property and further define
                              a refinancing as a sale. Unless the existing mortgage is paid off, the
                              existing mortgagee continues to hold a lien on the property that is senior to
                              the new lender’s. Payment in full via a refinancing thus requires the



                                                      Federal Home Finance Agency Office of Inspector General | 8
                                                                                            GARCIA 04154
                                      homeowner to have equity in the property, as today lenders will almost
Equity:
                                      never extend credit beyond the value of the property (above a 100% loan-
In the context of residential
mortgage finance, equity is           to-value ratio). Accordingly, refinancing has not been an option,
the difference between the            generally, for borrowers who are underwater, even if they are current on
fair market value of the              their mortgage. However, the Enterprises will refinance qualifying
borrower’s home and the
                                      underwater mortgages they own or guarantee under the federal
outstanding balance on the
mortgage (and any other debt          government’s Home Affordable Refinancing Program (HARP). Loans
secured by it, such as home           that are held on banks’ balance sheets or in private-label securitizations
equity loans).                        are not eligible for HARP.
Underwater:
Term used to describe                 In addition, some lenders will accept a “short refinancing” in which they
situations in which the               receive less than the full unpaid principal balance, may forgive the
homeowner’s equity is below
                                      remaining balance, and release the lien. They may choose to do so if they
zero (i.e., the home is worth
less than the balance of the          believe that they will make more in a partial payment via a refinancing
loan(s) it secures).                  than they will in a foreclosure sale. FHA, for example, offers a short-
                                      refinancing program: for qualifying borrowers who do not currently have
                                      FHA-insured loans, FHA will insure a new first lien mortgage loan at up
 On October 24, 2011, FHFA            to 97.75% loan-to-value ratio based on a fresh appraisal. This means that
 announced revisions to HARP to       the existing lender must agree to a write-down of the balance as part of the
 expand the number of eligible
 homeowners. FHFA-OIG will            refinancing. FHA requires that the existing lender reduce the existing
 discuss these revisions in greater   balance by at least 10% and that the combined loan-to-value ratio of all
 detail in the next Semiannual
 Report.
                                      mortgages on the property be no more than 115%. While short
                                      refinancing may be a valuable solution for underwater borrowers,
                                      refinancing with a new lender is often very difficult for borrowers with
                                      impaired credit scores (which includes any borrower who has defaulted),
                                      or even for those with relatively good credit scores.

                                      FORECLOSURE AND ITS EFFECTS
                                      If loss mitigation efforts do not succeed, the defaulted loan will proceed to
                                      foreclosure. There are two basic types of foreclosure. Judicial
                                      foreclosures proceed through the court system, while nonjudicial
                                      foreclosures take place outside it. The type of foreclosure process and
                                      other specific features are governed by state law, which varies
                                      considerably among the states, and by the terms of the mortgage itself.
                                      Some mortgages permit only one type of foreclosure. Some states permit
                                      only one type of foreclosure, while others provide for the possibility of
                                      either. State law can also vary depending on the type of property involved
                                      (its size and use) and by whether the mortgage was a purchase money
                                      mortgage or a refinancing of a previous mortgage. This overview is
                                      designed to present a general description of the foreclosure process.
                                      Actual state law may vary from the process described herein, and this
                                      overview should not be relied upon as a legal guide.



                                                            Federal Home Finance Agency Office of Inspector General | 9
                                                                                                  GARCIA 04155
                                   Judicial Foreclosure
                                   A judicial foreclosure is a litigation process with a specific remedy.
                                   Generally, the loan servicer, on the noteholder’s behalf, commences the
                                   foreclosure by filing a suit against the homeowner. If those bringing the
                                   suit cannot prove that they are acting on behalf of the party entitled to
                                   repayment under the terms of the note, they may lack legal standing to do
                                   so. Similarly, a foreclosure may be invalid if the foreclosing party or its
                                   representative files suit before becoming the holder of the note and the
                                   mortgagee.

                                   To begin a foreclosure action, the noteholder’s representative files various
Junior Lienholder:
                                   documents with the court in the form of a “complaint.” It also must serve
The security interest that can
be availed only after the          the complaint to the homeowner, notifying him or her of the litigation.
senior lien is satisfied, is       Additionally, notice must typically be sent to all junior lienholders, such
called a junior lien. The          as home equity lenders. The specific requirements vary by state, but state
holder of this security interest
                                   law typically requires the foreclosing party to assert for the record that:
is the junior lienholder.
Depending on the relative
priority of the junior lien, the         the homeowner is indebted to the foreclosing party;
junior lienholder may be the             the homeowner has defaulted on the loan;
second mortgagee, third                  the loan is secured by a mortgage, and the foreclosing party is or
mortgagee, etc. For example,
                                          represents the mortgagee; and
a bank holding a home equity
mortgage on a home is the                service of process has been made on the homeowner.
junior lienholder to the bank
holding the primary                These are typically made via affidavits – sworn written statements
mortgage.                          submitted to the court. For example, the fact and amount of the
                                   indebtedness are typically established via an affidavit of indebtedness.
                                   State law requires that affidavits be sworn out by affiants who have
                                   personal knowledge of the facts to which they attest. Such affidavits are
                                   typically notarized.




                                                       Federal Home Finance Agency Office of Inspector General | 10
                                                                                               GARCIA 04156
Robo‐signing. In mid‐2010, certain leading mortgage servicers were found to be routinely submitting flawed
affidavits to courts in foreclosure cases. Affidavits are supposed to be sworn out by affiants with personal
knowledge of the facts, which are attested to in the affidavit, such as the fact and amount of the
homeowner's indebtedness and that the homeowner had defaulted on the loan. In the course of depositions
in foreclosure cases, servicers were found to have employees whose sole job was to sign foreclosure
affidavits, as many as 10,000 affidavits in a single month by some employees (roughly one per minute). These
employees had no personal knowledge of any of the facts to which they attested.
As robo‐signing began to garner media attention, several major servicers imposed voluntary moratoria on
their foreclosure activities. All have subsequently resumed foreclosures, although some foreclosure filings
have been withdrawn and resubmitted and, in Maryland, a state judge threw out over 10,000 foreclosures
filed by Ally Financial Inc. (formerly known as GMAC, LLC) because of robo‐signing. Federal banking
regulators commenced an investigation of robo‐signing practices that resulted in consent orders between
leading servicers and the federal regulators, in which the servicers agreed to improved internal controls.
State attorneys general are still investigating robo‐signing and related issues.
While media attention was focused on the lack of personal knowledge of the affiants and the sheer volume of
signatures made by individual robo‐signers, more serious issues lurk in the robo‐signing scandal. In particular,
the backdating of mortgage transfer documents was the focus of the depositions in which robo‐signing was
uncovered. The date of the transfer of a mortgage is critical for three reasons:
     First, it may affect whether a servicer has legal standing to foreclose; only the mortgagee has such
      standing. In Ibanez v. U.S. Bank, the Massachusetts Supreme Judicial Court upheld the reversal of a
      foreclosure in which the servicer could not prove that the loan had been transferred to the
      securitization trust before the foreclosure was commenced.
     Second, it may affect whether the servicer is a "holder‐in‐due‐course," a special legal status that
      prevents the homeowner from raising certain defenses (including that the homeowner was fraudulently
      induced into the mortgage) and counterclaims. A party that receives a loan that is in default cannot be
      a holder‐in‐due‐course, so determining the date of transfer is critical to ensure that the homeowner is
      not wrongfully deprived of his or her legal rights to raise defenses and counterclaims.
     Third, for securitized loans, tax and trust law rules depend on the date of the transfer. If the loan was
      transferred too late, there may be adverse tax consequences for the investors in the mortgage‐backed
      securities and the transfer may itself be void under trust law.
Thus, issues related to the timing of transfers of mortgages (often referred to as "chain of title") have
profound legal implications.


                            Generally, state law requires that a copy of the mortgage note accompany
                            the complaint. The foreclosing party may be required to produce the
                            original “wet ink” or “blue ink” note. Often state law requires the filing of
                            the mortgage itself as part of the complaint, but because recorded
                            mortgages (unlike notes) are public records, a reference to the mortgage
                            may be sufficient. Some states also require certification of mandatory loss
                            mitigation efforts, such as mediation, prior to foreclosure.

                            Most judicial foreclosures are not contested and result in default
                            judgments against the homeowner. In such cases, it is rare for courts to
                            undertake more than a cursory examination of the sufficiency of the
                            foreclosing party’s filings.



                                                    Federal Home Finance Agency Office of Inspector General | 11
                                                                                            GARCIA 04157
                          If a homeowner contests a foreclosure, either because of procedural
                          deficiencies or on the basis of substantive defenses and counterclaims,
                          then the case is litigated like a regular civil action. A homeowner's ability
                          to raise defenses and counterclaims depends on whether the foreclosing
                          party is a “holder-in-due-course” of the defaulted note. To be a holder-in-
                          due-course, the foreclosing party must: (1) possess the actual note; (2)
                          have given value for the note and taken it in good faith; and (3) have no
                          notice of any defect in the note, including that the note is in default. This
                          means that if the note were transferred to the foreclosing party subsequent
                          to the default, the foreclosing party is not a holder-in-due-course, so the
                          homeowner may raise a full battery of defenses and counterclaims in the
                          foreclosure action.

Show Me The Note. Foreclosure defense litigation has begun to feature variations of the “show‐me‐the‐
note” defense, in which the homeowner challenges the foreclosing party to prove that it has the right to
foreclose. In its most basic form, this defense is a demand that the foreclosing party produce the original
mortgage note, but the term refers to a range of challenges relating to the foreclosing party’s standing.
Critically, the show‐me‐the‐note defense does not involve a claim that the homeowner is not in default.
Instead, it focuses on whether the foreclosing party is the party that is legally entitled to foreclose and has
made the required evidentiary showings. Determining the proper party is important for issues of legal
standing, holder‐in‐due‐course status, and the homeowner’s ability to raise various defenses and
counterclaims, and because it affects settlement abilities and incentives. A portfolio lender, for example, may
have very different settlement abilities and incentives than a third‐party mortgage servicer.
Kemp v. Countrywide Home Loans, Inc., 449 Bankr. 624 (Bankr. D.N.J. 2010) provides an illustration of a
successful “show‐me‐the‐note” defense. In Kemp, the homeowner had taken out a loan from Countrywide
Home Loans, Inc. Countrywide subsequently securitized the loan, selling it to a trust named CWABS Asset‐
Backed Certificates, Series 2006‐8. The Bank of New York served as trustee for the trust and Countrywide as
servicer for the trust.
The homeowner filed for bankruptcy, having previously defaulted on his mortgage. Countrywide, as servicer,
filed a claim in the bankruptcy on behalf of the trust. The homeowner challenged that claim based on the fact
that the mortgage note had not been properly endorsed to the Bank of New York as trustee for the
securitization trust and was never placed in the Bank of New York’s possession. Accordingly, the homeowner
argued, the trust was not a party entitled to enforce the note, as only a physical holder of the note, a non‐
holder in possession, or someone who has lost a note may enforce a note.
During the trial, Countrywide produced an “allonge” — a separate sheet of paper to be affixed to a note to
allow room for additional endorsements. This allonge contained the endorsement that was missing on the
note itself (albeit with an error in the name of the trust). Countrywide’s official witness, however, testified
that the allonge had been created in anticipation of the litigation. The official witness further testified that
the original note had never left Countrywide’s possession and that the new allonge had never actually been
affixed to the note — it was simply a piece of paper with an endorsement, but no indication of what had been
endorsed.
The bankruptcy court denied the claim Countrywide had filed on behalf of the trust because the trust could
not show that it was a party entitled to enforce the note. The trust was neither a holder of the note (an
owner of the note in physical possession of the note), nor a non‐holder (someone who lacks ownership of the
note) in possession of the note, nor had it lost the note. Because the Bank of New York, as trustee, and
Countrywide, as its agent, were not entitled to enforce the note, the bankruptcy claim against Kemp was
disallowed.



                                                  Federal Home Finance Agency Office of Inspector General | 12
                                                                                          GARCIA 04158
                                 If the court awards judgment to the foreclosing party, the property is then
                                 scheduled for sale, typically by the county sheriff. Sale scheduling is
                                 determined in part by requirements for advertisement of the sale for a
                                 minimum time period. The homeowner may, of course, appeal the
                                 foreclosure judgment.

                                 Nonjudicial Foreclosure
                                 Nonjudicial foreclosures proceed rather differently. There are no court
                                 filings or showings of proof required. Instead, in a nonjudicial
                                 foreclosure, the foreclosing party must notify the homeowner of the
                                 default and the scheduled sale. Sometimes this requires a formal “notice
                                 of intent to foreclose.” It is also required to advertise the sale.
                                 Advertisement requirements vary significantly by jurisdiction, but
                                 generally the sale must be advertised in a newspaper of record for the
                                 community for a few weeks prior to the sale. The assumption in a
                                 nonjudicial foreclosure proceeding is that the foreclosing party has the
                                 right to foreclose, provided that it appropriately provides notice and
                                 advertises the sale.

                                 A nonjudicial foreclosure may effectively be transformed into a judicial
                                 foreclosure if the homeowner brings a quiet title action or the equivalent,
                                 which has the effect of contesting the foreclosure sale’s transfer of title to
                                 the foreclosure sale purchaser. Conversely, foreclosure sale purchasers
                                 will sometimes bring subsequent judicial actions to ensure quiet title,
                                 particularly if there are any questions about the procedural propriety of the
                                 sale.

                                 The Foreclosure Sale
                                 The rules governing the actual foreclosure sale vary by jurisdiction. Sales
                                 are conducted by auction, but there are usually few if any rules governing
                                 the actual sale in nonjudicial foreclosures. The timing and the bidding in
                                 judicial foreclosure sales is frequently specified in detail by statute,
                                 including minimum bids, appraisal requirements, deposits, and completion
                                 of payment. Some jurisdictions, however, leave details of the bidding up
                                 to the local government official, typically the sheriff, who conducts the
                                 auctions.

                                 Two constant rules for all foreclosure sales are the order of payment and
Perfection:                      the effect on liens. The proceeds of a foreclosure sale are used first to
The legal recording of
evidence for a creditor’s lien   cover the expenses of the sale. They are then paid to the foreclosing party,
on a particular item of          and, if there are surplus funds, to junior lienholders in their order of
property.                        seniority. Rules of lien priority generally follow a first-in-time, first-in-
                                 right pattern, with the first lienholder to perfect its lien (by making the


                                                      Federal Home Finance Agency Office of Inspector General | 13
                                                                                              GARCIA 04159
                               necessary legal filings or automatically in some cases) having seniority
                               over subsequently perfected (or unperfected) liens. There are many
                               exceptions to this pattern, however. Notably, state tax liens frequently
                               have priority over other previously perfected liens. If any surplus remains,
                               it is paid to the (former) homeowner.

                               There is no right for prospective buyers (or the foreclosing party) to
                               inspect the property before the foreclosure sale. Prior to the completion of
                               the sale, the property still belongs to the mortgagor/homeowner.
                               Accordingly, third parties tend to discount foreclosure sale purchase bids
                               heavily. Although they can ascertain the external condition of the
                               property, they cannot discern the layout or condition of the property
                               internally, and many foreclosed properties have been damaged prior to
                               sale.

                               The inability to inspect the property pre-sale, as well as the foreclosing
                               party’s ability to “credit bid,” means that there are relatively few bidders
                               in most foreclosure sales other than the foreclosing party. Most
                               foreclosure sale properties are purchased by the foreclosing party via a
                               “credit bid.” This means that the foreclosing party bids the amount it is
                               owed on the loan rather than bidding with cash. In other words, a credit
                               bidding party merely credits itself rather than writing itself a check. A
                               credit bidding party typically bids in the full amount of the debt owed,
                               which means that a third-party bidder must be willing to pay a higher cash
                               price to win the auction. By credit bidding, the foreclosing party can
                               obtain clear title to the property, inspect the property, fix it as necessary,
                               and then resell it subsequently.

                               It is important to note that foreclosure sales are frequently cancelled or
                               rescheduled. This may occur for a variety of reasons, including ongoing
                               negotiations between the borrower and the lender; intervening bankruptcy
                               filings; and inability to complete procedural steps, including accumulation
                               of necessary documentation.

                               Cures
                               Until the completion of the foreclosure sale, the homeowner may cure the
Acceleration:
                               default and stop the foreclosure. Typically this requires payment of the
The declaring of a debt due
and payable immediately.       entire mortgage debt, as the lender will have accelerated the debt. The
Lenders may possess this       lender may be willing, but is under no obligation, to stop the sale if only
right under certain            past due payments are tendered.
conditions, according to the
terms of the obligation or
                               If the homeowner files for bankruptcy, the foreclosure sale is
applicable law.
                               automatically stayed, and federal bankruptcy law permits homeowners to



                                                    Federal Home Finance Agency Office of Inspector General | 14
                                                                                            GARCIA 04160
                                unwind the acceleration of a mortgage and cure by paying only the past
                                due payments and associated costs.

                                Deficiency Judgments
                                The foreclosure sale may not provide proceeds sufficient to satisfy the
                                mortgage debt. In such cases, the noteholder’s representative (and any
                                junior lienholders) may seek a deficiency judgment – a legal judgment for
                                the remaining amount of the debt. A deficiency judgment is an unsecured
                                debt, like credit card debt, and collection follows the procedure for other
                                unsecured debt. This means that deficiency judgments are often difficult
                                for lenders to collect, as many states place restrictions on wage
                                garnishment and unsecured debts are generally dischargeable in
                                bankruptcy. Accordingly, noteholders often sell deficiency judgments to
                                third-party debt collectors at substantial discounts from face value.
                                Attempts to collect these debts are typically subject to the provisions of
                                the Fair Debt Collection Practices Act as well as to state debt collection
                                law.

                                The availability and procedure for a deficiency judgment varies by state
                                and foreclosure process. Generally, deficiency judgments are not
                                available when nonjudicial foreclosure is used because of concerns that
                                private sales might be manipulated to suppress foreclosure sales prices in
                                order to produce a larger deficiency judgment. In some states, deficiency
                                judgments are available automatically following a judicial foreclosure. In
                                others, the foreclosing party must file a motion or a complaint for a
                                deficiency judgment. Even then, there is variation as to whether a
                                deficiency judgment (if allowed) is awarded as a matter of right or by
                                judicial discretion.

                                Right of Redemption
Figure 12, at the end of this   In some states, homeowners have a statutory post-foreclosure sale “right
overview, summarizes            of redemption.” This means that the homeowner can redeem ‒ reclaim
provisions for right of         title to ‒ the house by tendering the amount of the unpaid debt and
redemption by state.
                                foreclosure sale costs. The length of the statutory redemption period
                                varies considerably, from as short as 10 days in New Jersey to 2 years in
                                Tennessee. The existence of rights of redemption is a factor foreclosure
                                sale purchasers are likely to consider, as they run the risk of being
                                deprived of their foreclosure sale purchase (even though the purchase
                                price is returned). While it is uncommon for foreclosed homeowners to
                                come up with the cash to redeem their properties during the redemption
                                period, the right is exercised at times.




                                                    Federal Home Finance Agency Office of Inspector General | 15
                                                                                            GARCIA 04161
Eviction
If the former homeowner does not voluntarily surrender the property
following the foreclosure sale, the foreclosure sale purchaser can have the
former homeowner evicted. Eviction is also a state law procedure; the
precise process varies by state law, but it is not always automatic.
Because foreclosure sale purchasers are often concerned about former
homeowners damaging the property before they leave, they are often
willing to negotiate with homeowners regarding relocation timetables and
costs. They are, however, under no obligation to do so.

Renters Living in Foreclosed Property
Sometimes a foreclosed property is occupied by renters. Renters’ rights in
a foreclosure involving their landlord vary by state. Since 2009, however,
the Helping Families Save Their Homes Act has included minimum
protections for renters in the foreclosure of most mortgages, including all
mortgages owned by the Enterprises. If the renter has a bona fide lease
entered into prior to the notice of foreclosure, then the renter may occupy
the property until the end of the remaining term on the lease unless the
renter is given notice of termination by the foreclosure sale purchaser, in
which case the renter has 90 days of occupancy rights. If the renter is not
renting under a lease or the lease is terminable at will, then the renter also
has 90 days of occupancy rights from notice of termination. Some states
give renters additional occupancy rights; others merely give renters the
right to notice of the foreclosure.

Liability for Insurance, Taxes, and Homeowners’ Fees
Until title passes to the foreclosure sale purchaser, the homeowner
typically remains liable for taxes, homeowners’ association dues,
nuisances, and accidents on the property. Noteholders or their
representatives typically have the right to force-place insurance on the
property if the homeowner has failed to maintain insurance payments.
Force-placement of insurance involves the noteholder’s purchasing
insurance on the property with itself as the loss-payee. Force-placed
insurance can be expensive relative to regular insurance, and some
servicers force-place insurance with their affiliates.

Post-sale, the liability falls on the property’s new owner. In some
communities, however, a phenomenon known as “bank walkaway” has
occurred in which a servicer will commence a foreclosure, but not
complete it. Frequently, bank walkaway occurs when the property’s value
is so low that it is not worth the expense of foreclosure. In bank walkaway
cases, the homeowner remains the owner of the property, although in


                     Federal Home Finance Agency Office of Inspector General | 16
                                                             GARCIA 04162
                              many cases he or she will have moved out because of the anticipated
                              foreclosure. Because the homeowner remains the title owner of the
                              property, he or she remains liable for property taxes and upkeep. Thus,
                              the homeowner could be subject to fines and other penalties if the property
                              becomes a nuisance, or the homeowner could be liable for accidents that
                              occur. Similarly, the noteholder’s representative may complete the
                              foreclosure and purchase the property itself in the foreclosure sale, but fail
                              to record the deed in its own name. In such cases, the homeowner remains
                              liable for property taxes.

                              Impact on Credit Score
                              Mortgage defaults, foreclosures, deeds in lieu of foreclosure, and short
                              sales can have adverse impacts on consumers’ credit scores. A default,
                              foreclosure, deed in lieu, or short sale may remain on a consumer’s credit
                              report for up to seven years. A bankruptcy may remain on a consumer’s
                              credit report for up to 10 years. The presence of adverse events on credit
                              reports is likely to lower a consumer’s credit score, which can make it
                              more difficult or expensive for a consumer to obtain credit in the future.
                              Credit reports are also used by insurers and employers, so adverse credit
                              events can affect the cost of insurance and/or employment opportunities.

                              FORECLOSURE ALTERNATIVES
More information on HAFA is   Depending on individual circumstances, alternatives may exist to
available at                  foreclosure proceedings that reduce expenses or legal liability for troubled
www.makinghomeaffordable.     homeowners. However, like foreclosure, these options will typically
gov/programs/exit‐
gracefully/Pages/hafa.aspx.   result in the homeowner’s loss of his or her house. These alternatives may
                              include short sales, deeds in lieu, and bankruptcy. The Enterprises
                              participate in the federal government’s HAFA program, which is designed
                              to encourage alternatives to the foreclosure process for troubled home
                              mortgage loans. Participating HAFA servicers may not seek deficiency
                              judgments and may provide relocation incentives of up to $3,000 for
                              eligible homeowners who tender deeds in lieu of foreclosure or do short
                              sales.

                              Short Sale
                              Lenders may agree to a “short sale,” in which the homeowner conducts a
                              private sale of the house, and the lender releases its lien in exchange for
                              the sale proceeds, even though the sale proceeds are insufficient to pay off
                              the debt. A short sale does not necessarily discharge the homeowner’s
                              debt; it merely results in a release of the lien, so the homeowner may still
                              be liable for the deficiency. If the lender forgives the deficiency, it may be




                                                   Federal Home Finance Agency Office of Inspector General | 17
                                                                                           GARCIA 04163
imputed as taxable income for the homeowner, particularly if the
mortgage had a cash-out component.

There are certain barriers to a short sale. Servicers are frequently wary of
short sale offers because of concerns that they are settling the debt at too
low a price and that the bidder may have colluded with the homeowner.
In addition, the high rate of denials for short sale offers has made realtors
reluctant to handle them because realtors are only paid upon
consummation of a sale and put in more effort in short sales than for
regular sales.

Deed in Lieu of Foreclosure
Lenders will sometimes accept a deed in lieu of foreclosure. This means
that the homeowner will surrender title and possession of the property
voluntarily, rather than requiring the lender to go through the full
foreclosure process. For the lender, a deed in lieu spares the time and
expense of the foreclosure process. For the homeowner, a deed in lieu
may be attractive because the terms under which the homeowner
surrenders the property may be negotiated ‒ the lender may be willing to
provide the homeowner with some relocation funds or a more generous
timetable for moving out.

Critically, a deed in lieu does not extinguish junior liens, so the lender will
acquire the property with junior liens still attached. Thus, if neither the
homeowner nor the lender who has taken the deed in lieu pays off the
junior lienholder(s), the latter may foreclose on the property.
Accordingly, lenders may be reluctant to accept deeds in lieu when there
is a junior lien on a property.

Bankruptcy
A homeowner may file for bankruptcy at any point before, during, or after
the foreclosure process. Bankruptcy is a federal judicial proceeding. A
bankruptcy filing automatically stops the foreclosure process. If a lender
wishes to proceed with a foreclosure against a bankrupt homeowner, the
lender must get permission from the bankruptcy court to do so.

If the homeowner files for Chapter 7 bankruptcy and has defaulted, the
homeowner will not be able to retain the property after the bankruptcy
absent the lender’s consent. If the homeowner files for Chapter 13
bankruptcy and has defaulted, the homeowner may de-accelerate the note
and cure the default simply by making up missed payments rather than the
full amount of the note. The homeowner may not, absent the lender’s
consent, modify the terms of the mortgage in bankruptcy if the property is


                     Federal Home Finance Agency Office of Inspector General | 18
                                                             GARCIA 04164
                                        a single-family residence. For multi-family residences, the homeowner
                                        may be able to restructure the mortgage in bankruptcy.

                                                   Figure 12. Summary of Foreclosure Process by State

For further information
                               State      Foreclosure Process2          Right of Redemption3               Mediation Programs
on homeowner
assistance programs,
borrowers should visit    Alabama        Primarily nonjudicial     1 year                           None
www.makinghomeaffo
rdable.gov or call 888-   Alaska         Primarily nonjudicial     No                               None
995-HOPE.
                          Arizona        Primarily nonjudicial     No                               None

                          Arkansas       Primarily nonjudicial     No                               None

                          California     Primarily nonjudicial     2 years if court grants          Yes4
                                                                   deficiency judgment

                          Colorado       Primarily nonjudicial     Redemption by lienholders        Yes5
                                                                   allowed only within specified
                                                                   periods

                          Connecticut    Primarily judicial        Yes, after judgment and          Yes6
                                                                   before sale

                          Delaware       Primarily judicial        No                               Yes7

                          District of    Primarily nonjudicial     In optional judicial procedure   Yes8
                          Columbia                                 there is a provision for
                                                                   redemption before judgment

                          Florida        Primarily judicial        Yes, up to date clerk files      Yes9
                                                                   certificate of sale

                          Georgia        Primarily nonjudicial     No                               None

                          Hawaii         Primarily nonjudicial     No                               Yes10

                          Idaho          Primarily nonjudicial     No                               None

                          Illinois       Primarily judicial        Yes, later of 7 months after     Yes11
                                                                   service of complaint or 3
                                                                   months after judgment

                          Indiana        Primarily judicial        No                               Yes12

                          Iowa           Primarily judicial        1 year                           None

                          Kansas         Primarily judicial        3 to 12 months depending on None
                                                                   percentage of debt that has
                                                                   been paid

                          Kentucky       Primarily judicial        1 year                           Yes13



                                                                 Federal Home Finance Agency Office of Inspector General | 19
                                                                                                         GARCIA 04165
    State        Foreclosure Process2          Right of Redemption3           Mediation Programs

Louisiana       Primarily judicial        No                              None

Maine           Primarily judicial        Mortgages after 10/1/75, 90     Yes14
                                          days. Mortgages prior to
                                          10/1/75, 1 year

Maryland        Primarily nonjudicial     No                              Yes15

Massachusetts Primarily nonjudicial       No                              Yes16

Michigan        Primarily nonjudicial     1 month to 1 year depending     Yes17
                                          on size of parcel, number of
                                          units, percentage of original
                                          loan outstanding, and
                                          whether property is
                                          abandoned
                                                                         18
Minnesota       Primarily nonjudicial     6 or 12 months depending on Yes
                                          date of mortgage, size of
                                          property, and whether use is
                                          agricultural

Mississippi     Primarily nonjudicial     No                              None

Missouri        Primarily nonjudicial     1 year                          None

Montana         Primarily nonjudicial     Generally 1 year; for small     None
                                          tracts no

Nebraska        Primarily nonjudicial     No                              None

Nevada          Primarily nonjudicial     No                              Yes19

New             Primarily nonjudicial     No                              Yes20
Hampshire

New Jersey      Primarily judicial        6 months                        Yes21

New Mexico      Primarily nonjudicial     9 months                        Yes22

New York        Primarily judicial        No                              Yes23

North Carolina Primarily nonjudicial      10 days                         None

North Dakota    Primarily judicial        60 days or 1 year for           None
                                          agricultural land

Ohio            Primarily judicial        Before confirmation of sale Yes24
                                          with the amount of judgment
                                          and associated costs paid

Oklahoma        Primarily nonjudicial     Up to confirmation of sale      None



                                        Federal Home Finance Agency Office of Inspector General | 20
                                                                                GARCIA 04166
     State       Foreclosure Process2          Right of Redemption3            Mediation Programs

Oregon          Primarily nonjudicial     No                               Yes25

Pennsylvania    Primarily judicial        No                               Yes26

Puerto Rico     Primarily judicial        No                               None

Rhode Island    Primarily nonjudicial     No, except if foreclosure by     Yes27
                                          process of law or by open
                                          entry then 3 years

South Carolina Primarily judicial         No redemption after sale.        None
                                          Redemption possible for 5
                                          days after sheriff takes
                                          possession

South Dakota    Primarily nonjudicial     1 year                           None

Tennessee       Primarily nonjudicial     Generally no, could be 2 years None
                                          but right to redemption is
                                          routinely waived

Texas           Primarily nonjudicial     No                               None

Utah            Primarily nonjudicial     6 months for judicial            None
                                          foreclosure

Vermont         Primarily judicial        In judicial strict foreclosure   Yes28
                                          with no sale, 6 months. In
                                          judicial foreclosure with sale
                                          may redeem until sale

Virginia        Primarily nonjudicial     No                               None

Washington      Primarily nonjudicial     8 months                         Yes29

West Virginia   Primarily nonjudicial     No                               None
                                                                           30
Wisconsin       Primarily judicial        Up to time of sale; 12 months Yes
                                          after judgment unless creditor
                                          waives right, if waived 6
                                          months

Wyoming         Primarily nonjudicial     3 months                         None




                                        Federal Home Finance Agency Office of Inspector General | 21
                                                                                GARCIA 04167
ENDNOTES

1
    Commissioner v. Wilcox, 327 U.S. 404 (1946).
2
 National Consumer Law Center, Foreclosure Report: Survey of State Foreclosure Laws
(online at www.nclc.org/images/pdf/foreclosure_mortgage/state_laws/survey-
foreclosure-card.pdf) (accessed Sept. 22, 2011).
3
    Id.
4
 National Consumer Law Center, Foreclosure Mediation Programs by State (online at
www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed Sept. 22,
2011).
5
 Douglas County Housing Partnership, Foreclosure Mediation Program (online at
www.douglascountyhousingpartnership.org/foreclosure.htm) (accessed Sept. 22, 2011).
6
 State of Connecticut Judicial Branch, Foreclosure Mediation Program (online at
www.jud.ct.gov/foreclosure/) (accessed Sept. 22, 2011); National Consumer Law Center,
Foreclosure Mediation Programs by State (online at www.nclc.org/issues/foreclosure-
mediation-programs-by-state.html) (accessed Sept. 22, 2011).
7
 Delaware State Housing Authority, NEW Residential Mortgage Foreclosure Mediation
Program (online at www.deforeclosurehelp.org/mediation.html) (accessed Sept. 22,
2011); National Consumer Law Center, Foreclosure Mediation Programs by State
(online at www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed
Sept. 22, 2011).
8
 District of Columbia, Foreclosure Mediation Program (FMP) (online at
www.disb.dc.gov/disr/cwp/view,a,1299,q,645508.asp) (accessed Sept. 22, 2011).
9
 Collins Center for Public Policy, Mortgage Mediation (online at
www.collinscenter.org/page/mediation_home) (accessed Oct. 27, 2011); National
Consumer Law Center, Foreclosure Mediation Programs by State (online at
www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed Sept. 22,
2011).
10
  Governor of the State of Hawaii, Help for At-Risk Homeowners (online at
www.hawaii.gov/gov/newsroom/in-the-news/help-for-at-risk-homeowners) (accessed
Sept. 22, 2011); National Consumer Law Center, Foreclosure Mediation Programs by
State (online at www.nclc.org/issues/foreclosure-mediation-programs-by-state.html)
(accessed Sept. 22, 2011).
11
  Circuit Court of Cook County, Mortgage Foreclosure Mediation Program (online at
www.cookcountyforeclosurehelp.org/) (accessed Sept. 22, 2011); National Consumer
Law Center, Foreclosure Mediation Programs by State (online at
www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed Sept. 22,
2011).
12
  Indiana Courts, Help With Mortgage Foreclosures (online at
www.in.gov/judiciary/home/#how) (accessed Sept. 12, 2011); National Consumer Law
Center, Foreclosure Mediation Programs by State (online at
www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed Sept. 12,
2011).




                         Federal Home Finance Agency Office of Inspector General | 22
                                                                 GARCIA 04168
13
  City of Louisville, Kentucky, Mayor Abramson and Congressman John Yarmuth
Announce Foreclosure Conciliation Project (June 30, 2009) (online at
www.louisvilleky.gov/Housing/News/2009); National Consumer Law Center,
Foreclosure Mediation Programs by State (online at www.nclc.org/issues/foreclosure-
mediation-programs-by-state.html) (accessed Sept. 22, 2011).
14
  State of Maine Courts Judicial Branch, Foreclosure Diversion Program (online at
www.courts.state.me.us/court_info/fdp/index.html) (accessed Sept. 22, 2011); National
Consumer Law Center, Foreclosure Mediation Programs by State (online at
www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed Sept. 22,
2011).
15
   Maryland Home Owners Preserving Equity, Maryland’s Foreclosure Mediation
(online at www.mdhope.dhcd.maryland.gov/ForeclosureMediation/Pages/default.aspx)
(accessed Sept. 22, 2011); National Consumer Law Center, Foreclosure Mediation
Programs by State (online at www.nclc.org/issues/foreclosure-mediation-programs-by-
state.html) (accessed Sept. 22, 2011).
16
  National Consumer Law Center, Foreclosure Mediation Programs by State (online at
www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed Sept. 22,
2011).
17
  Community Economic Development Association of Michigan, Michigan Foreclosure
Task Force (online at www.cedam.info/resources/mftf/index.php) (accessed Sept. 22,
2011); National Consumer Law Center, Foreclosure Mediation Programs by State
(online at www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed
Sept. 22, 2011).
18
 Minnesota Housing Finance Agency, Foreclosure Prevention (online at
www.mnhousing.gov/consumers/home-owners/foreclosure) (accessed Sept. 28, 2011).
19
  The Nevada Judiciary, Foreclosure Mediation (online at
www.nevadajudiciary.us/index.php/foreclosuremediation) (accessed Sept. 12, 2011);
National Consumer Law Center, Foreclosure Mediation Programs by State (online at
www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed Sept. 22,
2011).
20
  New Hampshire Judicial Branch, Office of Mediation and Arbitration - Summary of the
Foreclosure Mediation Program (online at
www.courts.state.nh.us/adrp/foreclosure/index.htm) (accessed Sept. 22, 2011); National
Consumer Law Center, Foreclosure Mediation Programs by State (online at
www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed Sept. 22,
2011).
21
  New Jersey Judiciary Foreclosure Mediation Program, Home Page (online at
www.nj.gov/foreclosuremediation/) (accessed Sept. 22, 2011); National Consumer Law
Center, Foreclosure Mediation Programs by State (online at
www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed Sept. 22,
2011).
22
  State of New Mexico First Judicial District Court, Forms (online at
www.firstdistrictcourt.com/Forms.htm) (accessed Sept. 22, 2011); National Consumer
Law Center, Foreclosure Mediation Programs by State (online at




                       Federal Home Finance Agency Office of Inspector General | 23
                                                               GARCIA 04169
www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed Sept. 22,
2011).
23
  National Consumer Law Center, Foreclosure Mediation Programs by State (online at
www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed Sept. 22,
2011).
24
  Save the Dream Ohio, Help for Homeowners (online at
www.savethedream.ohio.gov/Homeowners.aspx) (accessed Sept. 13, 2011); National
Consumer Law Center, Foreclosure Mediation Programs by State (online at
www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed Sept. 22,
2011).
25
  National Consumer Law Center, Foreclosure Mediation Programs by State (online at
www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed Sept. 22,
2011).
26
  National Consumer Law Center, Foreclosure Mediation Programs by State (online at
www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed Sept. 22,
2011).
27
  National Consumer Law Center, Foreclosure Mediation Programs by State (online at
www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed Sept. 22,
2011).
28
  The University of Vermont, Mortgage Issues and Foreclosure (online at
www.uvm.edu/consumer/?Page=foreclosure.html) (accessed Sept. 13, 2011); National
Consumer Law Center, Foreclosure Mediation Programs by State (online at
www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed Sept. 22,
2011).
29
 Washington State Department of Financial Institutions, Washington Foreclosure
Mediation Program (online at www.dfi.wa.gov/consumers/homeownership/foreclosure-
mediation.htm) (accessed Sept. 22, 2011).
30
   Marquette University Law School, Milwaukee Foreclosure Mediation Program (online
at www.law.marquette.edu/foreclosure/) (accessed Sept. 22, 2011); National Consumer
Law Center, Foreclosure Mediation Programs by State (online at
www.nclc.org/issues/foreclosure-mediation-programs-by-state.html) (accessed Sept. 29,
2011).




                       Federal Home Finance Agency Office of Inspector General | 24
                                                               GARCIA 04170
I. RETURN INTEGRITY & ACCURACY TO FORECLOSURE AND
               BANKRUPTCY PROCEEDINGS

A.   Put an end to robosigning - signing affidavits filed with the court without
     personal knowledge.

            Affidavits/sworn statements utilized in foreclosure proceedings must be
            accurate as to the amounts owed and the standing of the bank/servicer to
            file for foreclosure and must be based on the signor’s personal
            knowledge of the facts. The affiant must actually review the
            bank/servicer records before signing.
            Assertions made in foreclosure or bankruptcy proceedings shall be
            accurate, complete and supported by competent and reliable evidence.
            Affidavits shall be signed in the presence of a notary.
            Banks/servicers may not rely on an inaccurate affidavit to obtain a
            foreclosure judgment.
            Banks/servicer must have standards for qualifications, training and
            supervision of employees that sign affidavits; and shall ensure that they
            have an adequate number of employees with reasonable time to prepare,
            verify and execute affidavits.
            Banks/servicers shall not pay incentives to employees or third parties to
            encourage speed in the signing of affidavits.

B.   Pre-foreclosure referral notice to borrower: Notice to borrower of their loan
     status 14 days before a delinquent loan is referred to a foreclosure attorney.
     The notice shall contain the following:
             Facts supporting the bank’s/ servicer’s right to foreclose.
             The borrower’s right to request:
             - The borrower’s payment history
             - A copy of the mortgage note with all endorsements
             - The name of the investor that holds the borrower’s loan.
             An itemized plain language account summary that contains:
             - The amount owed and amount required to bring the loan current
             - Terms of the loan
             - How to contact the bank/servicer or a HUD housing counselor
             A summary of the loss mitigation efforts the bank/servicer has undertaken
             to date.

C.   Banks/Servicers shall properly document their authority to file a foreclosure
     action.
             The bank/servicer must document its right to foreclose on a borrower.
             The bank/servicer must plead the basis for its authority to foreclose.
             The bank/servicer shall summarize this authority to foreclose in the 14 day
             pre-foreclosure notice to the borrower.




                                                                         GARCIA 04171
D.   New protections to ensure accuracy of borrower’s account information
           Bank/servicer shall maintain procedures to ensure the accuracy of
           homeowners’ accounts.
           Bank/servicer shall promptly apply homeowners’ payments, including
           posting within 2 days.
           Bank/servicer shall accept and apply (at least two) partial payments when
           the payments come within $50.00 of the scheduled payment.
           When banks/servicers use suspense accounts for mortgages, will follow
           new requirements:
           - disclose to borrower that a payment has been placed in a suspense
           account
           - apply the full payment as of date there is enough for one payment in
               the suspense account
           - cannot use suspense account funds to pay servicer fees until all
               principal, interest and escrow amounts are paid.
           Banks/servicers shall provide to borrowers a monthly billing statement
           showing:
           - The total amount due
           - Allocation of payments, including postings to suspense accounts
           - Unpaid principal
           - Fees and charges
           - Escrow balance
           - Reasons for payment changes, 21 days before change.
           Banks/servicers shall adopt enhanced billing dispute procedures including:
           - Implement methods for lodging complaints, including toll free
               numbers on the monthly billing statement and email access
           - Maintain adequate staff to respond properly
           - Establish a dispute escalation process
           - Implement procedures to promptly fix errors – including inaccurate
               reports to credit reporting agencies.
           The accuracy of the bank’s/servicer’s accounts systems shall be reviewed
           periodically by an independent reviewer.
           Banks/servicers shall send an itemized account summary to homeowners
           14 days before referral to foreclosure.

E.   Required reviews of foreclosure documents
     Banks/servicers shall conduct quarterly reviews of: a sampling of affidavits,
     sworn statements documents used to foreclose in non-judicial states, ownership
     information and loss mitigation summaries prepared by bank/servicer employees
     and agents to ensure the documents are incompliance with the law and this
     agreement.

F.   Third-Party provider oversight
     Banks/servicers will adopt procedures to oversee foreclosure trustees,
     independent contractors, and its agents including foreclosure firms, sub-servicers,
     agents, subsidiaries and affiliates.


                                      2
                                                                         GARCIA 04172
II.   ENHANCED LOSS MITIGATION PROTECTION FOR THE BORROWER

      A.   Loss Mitigation Requirements
                 Notify homeowner of all loss mitigation options prior to referral to
                 foreclosure.
                 Upon receipt of a homeowner’s loan modification application, the
                 bank/servicer shall evaluate the homeowner for all available loan
                 modifications before referral to foreclosure.
                 Servicer shall offer a loan modification if it is NPV positive.
                 Homeowners may re-apply for a HAMP modification if the homeowners
                 applied under old HAMP standards where there was no pre-qualification
                 process.
                 HAMP trial plans shall be promptly converted to permanent
                 modifications.

      B.   Loan modification timelines
                 Banks/servicers must review and make a determination on a borrower’s
                 completed loan modification application within 30 days of receipt.
                 Banks/servicers must follow either HAMP or GSE timelines on the loss
                 mitigation process, whichever is shorter, for all loans. These timelines
                 include things such as the time in which banks/servicers must inform a
                 borrower that a loan modification application has been received, what
                 documentation is missing, and how quickly the bank/servicer must inform
                 the borrower of a loan modification decision.

      C.   Dual track restricted

           1. Pre-foreclosure referral
                   If bank/servicer receives a complete loan modification application by day
                   120 of delinquency, bank/servicer must review and make a determination
                   on the application prior to referring the loan to foreclosure.
                   If bank/servicer receives a substantially complete loan modification
                   application by day 120 of delinquency, bank/servicer must provide
                   borrower an additional 10 days in which to complete the application. If
                   bank/servicer receives a complete application by the end of the 10-day
                   extension, bank/servicer must review and make a determination on the
                   application prior to referring the loan to foreclosure.

           2. Post Foreclosure Referral
                   Once a loan has been referred to foreclosure, if the borrower submits a
                   complete loan modification application within 30 days after the attorney
                   letter is sent to the borrower, the bank/servicer must not move for a
                   foreclosure judgment or seek a foreclosure sale until it has completed its


                                            3
                                                                                GARCIA 04173
            review and determination of the application. If servicer offers the
            borrower a loan modification, the servicer must continue to delay any
            action in the foreclosure proceeding until the borrower accepts or denies
            the offer. If the borrower accepts the offer, the foreclosure proceeding is
            suspended unless the borrower fails to perform on the loan modification.
            The borrower may accept verbally, in writing or by making the first trial
            payment.
            If borrower submits a complete loan modification at any time after 30 days
            following the mailing of the attorney letter but prior to 37 days before a
            scheduled foreclosure sale, the servicer must complete its review of the
            application prior to going to foreclosure sale. If the servicer offers the
            borrower a loan modification, servicer must delay the sale if necessary to
            provide the borrower 14 days in which to accept or deny the offer, and, if
            the borrower accepts, must continue to delay the sale unless the borrower
            fails to perform on the modification.
            If borrower submits a complete loan modification with 37 to 15 days
            before a scheduled foreclosure sale, the servicer shall conduct an
            expedited review. If the servicer offers the borrower a loan modification,
            servicer must delay the sale to provide the borrower 14 days in which to
            accept or deny the offer, and, if the borrower accepts, must continue to
            delay the sale until the borrower fails to perform on the modification.

D.   Communication of borrower’s status
         Banks/servicers shall ensure timely and accurate communication of a
         homeowner’s loss mitigation status to its foreclosure attorneys and court
         mediators.

E.   Single point of contact (SPOC).
            The bank/servicer shall establish an easily accessible
            SPOC assigned to each homeowner who reaches out to the bank/servicer
            due to difficulty making their loan payments.

F.   Duties of SPOC
            One point of communication with homeowner
            Explain loss mitigation options and requirements
            Coordinate document submissions
            Inform homeowner of loss mitigation status
            Ensure homeowner is considered for all loss mitigation options
            Ability to access individuals with ability to stop foreclosure proceedings

G.   Communication with homeowners
         Servicer must commence outreach efforts to borrowers to communicate
         loss mitigation options within the timelines under HAMP or GSE’s
         whichever is earlier. These outreach efforts must be more than pre-
         recorded automatic messages if those fail to result in contact with the
         borrower.


                                      4
                                                                         GARCIA 04174
            Borrower notices must include contact information for national or state
            foreclosure assistance hotlines and state housing counseling resources.
            Servicer must communicate with the borrower’s authorized representative,
            upon written request of the borrower. This includes communicating with
            state attorneys general or financial regulator offices acting on a written
            complaint submitted by a borrower and forwarded to the servicer.
            Servicer must cease all collection efforts while a complete loan
            modification application is under review or the borrower is making timely
            payments under a trial modification.

H.   Protections for military personnel
            The banks/servicers shall comply with Service Members Civil Relief Act
            and similar state laws and the banks/servicers shall engage independent
            consultants to review foreclosures from January 1st 2009 to December 31,
            2010 for compliance with SCRA.
            If a person has received military orders to commence active military
            service or has been in the military within the last 9 months and is in
            default on his or her mortgage, he or she is entitled to a specially SCRA
            trained SPOC. If the persons’ are not in default, he or she is entitled to be
            routed to an employee specially trained on the SCRA.
            Bank/Servicer must assess whether a troubled borrower is SCRA eligible
            not only at the time of default as required by SCRA, but bank/servicer
            must go beyond the requirements of the SCRA and assess if a borrower is
            SCRA eligible in the following additional circumstances: 1) before a loan
            is referred for foreclosure, 2) within 7 days of a foreclosure sale, and 3)
            the later of promptly after a foreclosure sale and within three days before
            the regularly scheduled end of any redemption period.
            When a service member requests a reduction in the interest rate on debt
            pursuant to the SCRA but does not provide the documentation required by
            the SCRA (military orders), the servicer shall accept orders from the
            commanding officer.
            Servicers shall notify borrowers who are 45-60 days delinquent that they
            may be entitled to certain protections under the SCRA and to counseling.
            The servicer shall include a toll-free number on the notice.
            For active duty service members in combat areas, servicers shall not sell
            or foreclose on their homes (unless there are investor limitations). This is
            an improvement on the SCRA which provides in Section 533 that a stay of
            a foreclosure or sale can only be requested if the mortgage debt was
            incurred prior to military service. Now those in combat areas can receive
            this protection regardless of when the debt was incurred.
            (Non-SCRA provision) Servicers shall not require a service member to be
            delinquent to qualify for a short sale, loan modification or other loss
            mitigation relief if the service member is suffering from financial hardship
            and is eligible for loss mitigation. (This is the basic standard for any non-
            service member person. You can qualify for loss mitigation if you are in
            default or in imminent default.)


                                      5
                                                                          GARCIA 04175
            (Non-SCRA provision) Many times when a service member receives
            Permanent Change of Station (PCS) orders they are underwater on their
            home so they can’t sell, it is difficult to rent at the mortgage amount, they
            can’t get a modification because they are not in default, and they can
            refinance because their old home will no longer be their primary
            residence. Under this new provision, when determining whether a service
            member is suffering a financial hardship with regard to a short sale or
            deed in lieu, the bank/servicer shall take into account whether the service
            member has been ordered to relocate to a new duty station at least 75
            miles away from his/her former home. With regard to a loan modification,
            the servicer shall consider as part of the hardship determination if the
            service member must relocate. (Non- SCRA provision) The Section
            prohibits the servicer from making inaccurate report to credit reporting
            agencies when a service member who has not defaulted before relocating
            obtains a short sale, loan modification or other loss mitigation.

I.   Banks/Servicers shall develop loan portals where:
           Borrowers can check, at no cost, the status of their loan modifications.
           Housing counselors can communicate with banks/servicers.
           Banks/Servicers shall update the status of pending loan modifications
           every 10 days (business).

J.   Denial notice requirements
            The loan modification denial notice shall contain the reasons for denial
            and inform homeowner that he/she has 30 days to rebut the denial.
            If a modification is denied due to investor disallowance, the bank/servicer
            shall disclose the name of the investor and summarize the reasons for
            denial.
            If a modification is denied because it is NPV negative, the servicer shall
            provide in the denial notice the monthly gross income and property value
            utilized.

K.   Independent evaluation of loan modification denial
           All loan modification denials must be submitted for an additional
           independent internal review

L.   Appeal process
           After the bank/servicer denies a loan modification, homeowners have 30
           days to request an appeal of the denial, unless the denial is: 1) an ineligible
           mortgage, 2) an ineligible property, 3) the offer was not accepted by
           borrower, or 4) the loan was previously modified.
           NPV calculation denial: the borrower can contest the property value used
           by the bank/servicer in the NPV test by requesting a full appraisal.
           The bank/servicers shall respond to the homeowner’s appeal in 30 days.
           If the bank/servicer denies the modification after the appeal, the denial
           letter shall include a description of other available loss mitigation options.


                                       6
                                                                           GARCIA 04176
M.   General loss mitigation requirements
           The bank/servicers shall maintain adequate staffing and systems for
           tracking homeowner’s loan modification documents.
           The bank/servicer shall maintain adequate staffing and caseload limits for
           SPOCs and employees handling loss mitigation.
           The banks/servicers shall establish reasonable minimum experience and
           training requirements for loss mitigation staff.
           The banks/servicers shall not use compensation arrangements that
           encourage foreclosure over loss mitigation.
           The banks/servicers shall not require a homeowner to waive claims and
           defenses as a condition to receive a loan modification (except to settle
           litigation).
           The banks/servicers shall not charge homeowners a fee to apply for a loan
           modification.

N.   Proprietary First Lien Modifications
           The banks/servicers shall make public all information necessary to apply
           and qualify for all proprietary loan modifications.
           Proprietary loan programs shall be designed to produce sustainable
           modifications and affordable payments.
           The banks/servicers shall track the outcomes, characteristics and
           performance of proprietary loan modifications.

O.   Proprietary 2nd Lien Modifications
           The banks/servicers shall make public all information necessary to apply
           and qualify for all proprietary second lien loan modifications.
           Proprietary second lien loan programs shall be designed to produce
           sustainable modifications and affordable payments.

P.   Short Sales
            Banks/servicers shall make information publicly available on short sale
            requirements.
            Banks/servicers shall develop a short sale process that allows homeowners
            to obtain a short sale evaluation before putting the home on the market.
            Banks/servicers shall confirm in writing that a request for short sale has
            been received.
            The confirmation of receipt shall include information on the
            banks’/servicers’ short sale process. The bank shall send the homeowner
            written notice of any missing documents.
            Banks/servicers must give notice of any missing documents within 30
            days.




                                     7
                                                                        GARCIA 04177
       Q.   Transfer of Servicing of Loans Pending for Permanent Loan Modification
                  At the time of transfer or sale, the bank/servicer shall inform the successor
                  servicer if a loan modification is pending.
                  Any contract for sale or transfer must obligate the successor to accept and
                  continue processing loan modification requests and honor trial and
                  permanent loan modification agreements.
                  Any contract for sale or transfer shall designate the homeowner as a third-
                  party beneficiary.
                  When a bank/servicer acquires servicing rights from another servicer, the
                  bank/servicer will continue processing loan modifications and honor trial
                  and permanent modifications.

       R.   Loss Mitigation During Bankruptcy
                  Bank/Servicer cannot deny loss mitigation to a borrower on the basis that
                  a borrower is a debtor in bankruptcy.

III.   RESTRICTIONS ON SERVICING FEES

       A.   Default fees generally
                  All default, foreclosure fees and bankruptcy related service, including
                  third-party fees shall be bonafide, reasonable in amount, and disclosed to
                  the borrower in detail.
                  Banks/Servicer shall keep current its schedule of fees charged to
                  homeowners. The fee schedule shall identify each fee, explain the fee and
                  state the maximum or how the fee is calculated.
                  Banks/Servicer may collect a default-related fee if the fee is for reasonable
                  and appropriate services, is disclosed to the homeowner and is not
                  prohibited by law, the loan instruments or the settlement agreement.

       B.   Attorneys’ fees
                  Attorneys’ fees charged in foreclosure shall only be for work actually
                  performed and shall not exceed reasonable and customary fees.
                  If a foreclosure action is terminated prior to final judgment, the
                  homeowner shall only be liable for work actually performed.

       C.   Late Fees
                  If a homeowner is delinquent on two payments and then makes a full
                  payment that is applied to the current payment, the bank/servicer cannot
                  charge a late fee on the older delinquent amount.
                  Banks/servicers shall not collect late fees: 1) while a loan modification is
                  being considered 2) while borrower is making timely trial payments and 3)
                  while a short sale is being evaluated.

       D.   Third-Party Fees




                                             8
                                                                                GARCIA 04178
     Banks/servicers shall not impose unnecessary or duplicative property inspection,
     property preservation, or valuation fees on the homeowner.

     Preservation fees
            No property preservation fees shall be imposed on homeowners with a
            pending loss mitigation application or in a loss mitigation program unless
            there is a reasonable basis.

     Inspection fees
            Inspection fees shall not be imposed any more frequently than GSE
            timeframes allow.

     BPO Valuations
          Valuation fees may only be every 12 months unless requested by the
          homeowner for a loan mod or short sale or required as part of the
          foreclosure process.

     Price of fees charged
             Default and foreclosure-related services performed by third-parties shall
             be at reasonable market value. If the third party is an affiliate, the
             bank/servicers shall not charge the homeowner more than the market rate
             based on annual market reviews performed by an independent third party.

     Referral fees
            Banks/servicers cannot collect unearned fees or give or accept referral fees
            from third-parties.

     No mark-ups
           Banks/servicers cannot impose its own mark-up on bank initiated
           default/foreclosure services.

E.   Force-Placed Insurance
           Banks/servicers shall not obtain force-placed insurance unless there is a
           reasonable cause to believe a homeowner has not paid for property
           insurance.
           If a homeowner pays into an escrow account, the bank/servicers shall
           continue to advance payments to the insurer regardless of homeowner
           payment.
           Disclosures to homeowners: The banks/servicers must send a written
           notice to the homeowner containing the following:
           -       A reminder that the obligation is due and no payment was made;
           -       How to prove insurance coverage;
           -       That the bank/servicer may obtain coverage at the homeowner’s
                   expense and that the cost may be significantly higher and may only
                   protect the mortgage holder;



                                      9
                                                                         GARCIA 04179
                     -       A notice that the bank/servicer will set up an escrow account and
                             advance the insurance premiums if the borrower wishes;
                     -       A second written notice must be sent 30 days after the first
                             mailing;
                     -       The bank/servicer shall accept any reasonable form of written
                             confirmation of coverage from a homeowner;
                     -       Within 15 days of receipt of evidence of coverage, the
                             bank/servicer shall terminate the force-placed insurance and refund
                             to the homeowner all premiums.
                     The bank/servicer shall continue to make insurance payments if there is a
                     lapse in payment and the payments are escrowed.
                     Force-placed insurance must be purchased for a commercially reasonable
                     price.


IV.   MEASURES TO DETER COMMUNITY BLIGHT

      A. When the servicer makes a decision not to pursue a foreclosure action, the servicer
         must notify the borrower and local authorities (tax authorities, courts, code
         enforcement departments, etc.) of servicer’s decision to release the lien and not
         pursue foreclosure on the property.

      B. In the 14-day pre-foreclosure notice required to be sent to borrowers, servicer must
         inform the borrower that the borrower continues to have a responsibility to maintain
         the property and pay taxes until a sale or transfer of title has occurred. Servicer must
         also request borrower tell the servicer if the borrower intends to abandon the property
         so that they can discuss the possibility of surrendering the property in exchange for
         compensation.

      C. Servicer must develop and implement policies to enhance its participation in state and
         local anti-blight programs such as land banks/servicers, neighborhood stabilization
         programs, and nonprofit redevelopment programs.

      D. Servicer must implement policies to ensure that REO properties do not become
         blighted.

      E. Tenants’ Rights
            Servicer must comply with applicable state and federal laws governing the rights
            of tenants living in foreclosed residential properties; and, the servicer must
            develop and implement written policies and procedures to ensure compliance with
            those laws.




                                              10
                                                                                  GARCIA 04180
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 1 of 92




                                                           GARCIA 04181
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 2 of 92




                                                           GARCIA 04182
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 3 of 92




                                                           GARCIA 04183
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 4 of 92




                                                           GARCIA 04184
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 5 of 92




                                                           GARCIA 04185
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 6 of 92




                                                           GARCIA 04186
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 7 of 92




                                                           GARCIA 04187
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 8 of 92




                                                           GARCIA 04188
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 9 of 92




                                                           GARCIA 04189
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 10 of 92




                                                           GARCIA 04190
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 11 of 92




                                                           GARCIA 04191
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 12 of 92




                                                           GARCIA 04192
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 13 of 92




                                                            GARCIA 04193
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 14 of 92




                                                           GARCIA 04194
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 15 of 92




                                                           GARCIA 04195
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 16 of 92




                                                           GARCIA 04196
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 17 of 92




                                                           GARCIA 04197
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 18 of 92




                                                           GARCIA 04198
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 19 of 92




                                                           GARCIA 04199
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 20 of 92




                                                           GARCIA 04200
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 21 of 92




                                                           GARCIA 04201
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 22 of 92




                                                           GARCIA 04202
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 23 of 92




                                                           GARCIA 04203
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 24 of 92




                                                           GARCIA 04204
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 25 of 92




                                                           GARCIA 04205
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 26 of 92




                                                           GARCIA 04206
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 27 of 92




                                                           GARCIA 04207
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 28 of 92




                                                           GARCIA 04208
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 29 of 92




                                                           GARCIA 04209
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 30 of 92




                                                           GARCIA 04210
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 31 of 92




                                                           GARCIA 04211
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 32 of 92




                                                           GARCIA 04212
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 33 of 92




                                                           GARCIA 04213
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 34 of 92




                                                           GARCIA 04214
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 35 of 92




                                                            GARCIA 04215
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 36 of 92




                                                           GARCIA 04216
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 37 of 92




                                                           GARCIA 04217
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 38 of 92




                                                           GARCIA 04218
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 39 of 92




                                                           GARCIA 04219
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 40 of 92




                                                           GARCIA 04220
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 41 of 92




                                                           GARCIA 04221
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 42 of 92




                                                           GARCIA 04222
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 43 of 92




                                                           GARCIA 04223
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 44 of 92




                                                           GARCIA 04224
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 45 of 92




                                                           GARCIA 04225
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 46 of 92




                                                           GARCIA 04226
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 47 of 92




                                                           GARCIA 04227
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 48 of 92




                                                           GARCIA 04228
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 49 of 92




                                                            GARCIA 04229
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 50 of 92




                                                           GARCIA 04230
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 51 of 92




                                                           GARCIA 04231
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 52 of 92




                                                           GARCIA 04232
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 53 of 92




                                                           GARCIA 04233
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 54 of 92




                                                           GARCIA 04234
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 55 of 92




                                                           GARCIA 04235
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 56 of 92




                                                           GARCIA 04236
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 57 of 92




                                                           GARCIA 04237
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 58 of 92




                                                           GARCIA 04238
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 59 of 92




                                                           GARCIA 04239
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 60 of 92




                                                           GARCIA 04240
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 61 of 92




                                                           GARCIA 04241
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 62 of 92




                                                           GARCIA 04242
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 63 of 92




                                                           GARCIA 04243
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 64 of 92




                                                           GARCIA 04244
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 65 of 92




                                                           GARCIA 04245
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 66 of 92




                                                           GARCIA 04246
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 67 of 92




                                                           GARCIA 04247
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 68 of 92




                                                           GARCIA 04248
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 69 of 92




                                                           GARCIA 04249
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 70 of 92




                                                           GARCIA 04250
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 71 of 92




                                                           GARCIA 04251
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 72 of 92




                                                           GARCIA 04252
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 73 of 92




                                                           GARCIA 04253
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 74 of 92




                                                           GARCIA 04254
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 75 of 92




                                                           GARCIA 04255
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 76 of 92




                                                           GARCIA 04256
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 77 of 92




                                                           GARCIA 04257
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 78 of 92




                                                           GARCIA 04258
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 79 of 92




                                                           GARCIA 04259
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 80 of 92




                                                           GARCIA 04260
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 81 of 92




                                                           GARCIA 04261
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 82 of 92




                                                           GARCIA 04262
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 83 of 92




                                                           GARCIA 04263
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 84 of 92




                                                           GARCIA 04264
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 85 of 92




                                                           GARCIA 04265
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 86 of 92




                                                            GARCIA 04266
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 87 of 92




                                                           GARCIA 04267
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 88 of 92




                                                           GARCIA 04268
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 89 of 92




                                                           GARCIA 04269
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 90 of 92




                                                           GARCIA 04270
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 91 of 92




                                                           GARCIA 04271
Case 1:12-cv-00361-RMC Document 14   Filed 04/04/12 Page 92 of 92




                                                           GARCIA 04272
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page92
                                                          1 of 223
                                                               314




                  EXHIBIT A




                                                           GARCIA 04273
     Case 1:12-cv-00361-RMC Document 14-1
                                     1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                          Page93
                                                               2 of 223
                                                                    314



                               Settlement Term Sheet
The provisions outlined below are intended to apply to loans secured by owner-occupied
properties that serve as the primary residence of the borrower unless otherwise noted
herein.

I.      FORECLOSURE AND BANKRUPTCY INFORMATION AND DOCUMENTATION.
        Unless otherwise specified, these provisions shall apply to bankruptcy and
        foreclosures in all jurisdictions regardless of whether the jurisdiction has a
        judicial, non-judicial or quasi-judicial process for foreclosures and regardless of
        whether a statement is submitted during the foreclosure or bankruptcy process in
        the form of an affidavit, sworn statement or declarations under penalty of perjury
        (to the extent stated to be based on personal knowledge) (“Declaration”).
        A.     Standards for Documents Used in Foreclosure and Bankruptcy
               Proceedings.
               1.      Servicer shall ensure that factual assertions made in pleadings
                       (complaint, counterclaim, cross-claim, answer or similar
                       pleadings), bankruptcy proofs of claim (including any facts
                       provided by Servicer or based on information provided by the
                       Servicer that are included in any attachment and submitted to
                       establish the truth of such facts) (“POC”), Declarations, affidavits,
                       and sworn statements filed by or on behalf of Servicer in judicial
                       foreclosures or bankruptcy proceedings and notices of default,
                       notices of sale and similar notices submitted by or on behalf of
                       Servicer in non-judicial foreclosures are accurate and complete and
                       are supported by competent and reliable evidence. Before a loan is
                       referred to non-judicial foreclosure, Servicer shall ensure that it has
                       reviewed competent and reliable evidence to substantiate the
                       borrower’s default and the right to foreclose, including the
                       borrower’s loan status and loan information.
               2.      Servicer shall ensure that affidavits, sworn statements, and
                       Declarations are based on personal knowledge, which may be
                       based on the affiant’s review of Servicer’s books and records, in
                       accordance with the evidentiary requirements of applicable state or
                       federal law.
               3.      Servicer shall ensure that affidavits, sworn statements and
                       Declarations executed by Servicer’s affiants are based on the
                       affiant’s review and personal knowledge of the accuracy and
                       completeness of the assertions in the affidavit, sworn statement or
                       Declaration, set out facts that Servicer reasonably believes would
                       be admissible in evidence, and show that the affiant is competent
                       to testify on the matters stated. Affiants shall confirm that they
                       have reviewed competent and reliable evidence to substantiate the




                                                                                  GARCIA 04274
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page94
                                                          3 of 223
                                                               314



               borrower’s default and the right to foreclose, including the
               borrower’s loan status and required loan ownership information. If
               an affiant relies on a review of business records for the basis of its
               affidavit, the referenced business record shall be attached if
               required by applicable state or federal law or court rule. This
               provision does not apply to affidavits, sworn statements and
               Declarations signed by counsel based solely on counsel’s personal
               knowledge (such as affidavits of counsel relating to service of
               process, extensions of time, or fee petitions) that are not based on a
               review of Servicer’s books and records. Separate affidavits, sworn
               statements or Declarations shall be used when one affiant does not
               have requisite personal knowledge of all required information.
         4.    Servicer shall have standards for qualifications, training and
               supervision of employees. Servicer shall train and supervise
               employees who regularly prepare or execute affidavits, sworn
               statements or Declarations. Each such employee shall sign a
               certification that he or she has received the training. Servicer shall
               oversee the training completion to ensure each required employee
               properly and timely completes such training. Servicer shall
               maintain written records confirming that each such employee has
               completed the training and the subjects covered by the training.
         5.    Servicer shall review and approve standardized forms of affidavits,
               standardized forms of sworn statements, and standardized forms of
               Declarations prepared by or signed by an employee or officer of
               Servicer, or executed by a third party using a power of attorney on
               behalf of Servicer, to ensure compliance with applicable law, rules,
               court procedure, and the terms of this Agreement (“the
               Agreement”).
         6.    Affidavits, sworn statements and Declarations shall accurately
               identify the name of the affiant, the entity of which the affiant is an
               employee, and the affiant’s title.
         7.    Affidavits, sworn statements and Declarations, including their
               notarization, shall fully comply with all applicable state law
               requirements.
         8.    Affidavits, sworn statements and Declarations shall not contain
               information that is false or unsubstantiated. This requirement shall
               not preclude Declarations based on information and belief where
               so stated.
         9.    Servicer shall assess and ensure that it has an adequate number of
               employees and that employees have reasonable time to prepare,
               verify, and execute pleadings, POCs, motions for relief from stay
               (“MRS”), affidavits, sworn statements and Declarations.



                                    A-2
                                                                          GARCIA 04275
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page95
                                                          4 of 223
                                                               314



         10.   Servicer shall not pay volume-based or other incentives to
               employees or third-party providers or trustees that encourage
               undue haste or lack of due diligence over quality.
         11.   Affiants shall be individuals, not entities, and affidavits, sworn
               statements and Declarations shall be signed by hand signature of
               the affiant (except for permitted electronic filings). For such
               documents, except for permitted electronic filings, signature
               stamps and any other means of electronic or mechanical signature
               are prohibited.
         12.   At the time of execution, all information required by a form
               affidavit, sworn statement or Declaration shall be complete.
         13.   Affiants shall date their signatures on affidavits, sworn statements
               or Declarations.
         14.   Servicer shall maintain records that identify all notarizations of
               Servicer documents executed by each notary employed by
               Servicer.
         15.   Servicer shall not file a POC in a bankruptcy proceeding which,
               when filed, contained materially inaccurate information. In cases
               in which such a POC may have been filed, Servicer shall not rely
               on such POC and shall (a) in active cases, at Servicer’s expense,
               take appropriate action, consistent with state and federal law and
               court procedure, to substitute such POC with an amended POC as
               promptly as reasonably practicable (and, in any event, not more
               than 30 days) after acquiring actual knowledge of such material
               inaccuracy and provide appropriate written notice to the borrower
               or borrower’s counsel; and (b) in other cases, at Servicer’s
               expense, take appropriate action after acquiring actual knowledge
               of such material inaccuracy.
         16.   Servicer shall not rely on an affidavit of indebtedness or similar
               affidavit, sworn statement or Declaration filed in a pending pre-
               judgment judicial foreclosure or bankruptcy proceeding which (a)
               was required to be based on the affiant’s review and personal
               knowledge of its accuracy but was not, (b) was not, when so
               required, properly notarized, or (c) contained materially inaccurate
               information in order to obtain a judgment of foreclosure, order of
               sale, relief from the automatic stay or other relief in bankruptcy. In
               pending cases in which such affidavits, sworn statements or
               Declarations may have been filed, Servicer shall, at Servicer’s
               expense, take appropriate action, consistent with state and federal
               law and court procedure, to substitute such affidavits with new
               affidavits and provide appropriate written notice to the borrower or
               borrower’s counsel.



                                    A-3
                                                                          GARCIA 04276
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page96
                                                          5 of 223
                                                               314



         17.    In pending post-judgment, pre-sale cases in judicial foreclosure
                proceedings in which an affidavit or sworn statement was filed
                which was required to be based on the affiant’s review and
                personal knowledge of its accuracy but may not have been, or that
                may not have, when so required, been properly notarized, and such
                affidavit or sworn statement has not been re-filed, Servicer, unless
                prohibited by state or local law or court rule, will provide written
                notice to borrower at borrower’s address of record or borrower’s
                counsel prior to proceeding with a foreclosure sale or eviction
                proceeding.
         18.    In all states, Servicer shall send borrowers a statement setting forth
                facts supporting Servicer’s or holder’s right to foreclose and
                containing the information required in paragraphs I.B.6 (items
                available upon borrower request), I.B.10 (account statement), I.C.2
                and I.C.3 (ownership statement), and IV.B.13 (loss mitigation
                statement) herein. Servicer shall send this statement to the
                borrower in one or more communications no later than 14 days
                prior to referral to foreclosure attorney or foreclosure trustee.
                Servicer shall provide the Monitoring Committee with copies of
                proposed form statements for review before implementation.
   B.    Requirements for Accuracy and Verification of Borrower’s Account
         Information.
         1.     Servicer shall maintain procedures to ensure accuracy and timely
                updating of borrower’s account information, including posting of
                payments and imposition of fees. Servicer shall also maintain
                adequate documentation of borrower account information, which
                may be in either electronic or paper format.
         2.     For any loan on which interest is calculated based on a daily
                accrual or daily interest method and as to which any obligor is not
                a debtor in a bankruptcy proceeding without reaffirmation,
                Servicer shall promptly accept and apply all borrower payments,
                including cure payments (where authorized by law or contract),
                trial modification payments, as well as non-conforming payments,
                unless such application conflicts with contract provisions or
                prevailing law. Servicer shall ensure that properly identified
                payments shall be posted no more than two business days after
                receipt at the address specified by Servicer and credited as of the
                date received to borrower’s account. Each monthly payment shall
                be applied in the order specified in the loan documents.
         3.     For any loan on which interest is not calculated based on a daily
                accrual or daily interest method and as to which any obligor is not
                a debtor in a bankruptcy proceeding without reaffirmation,
                Servicer shall promptly accept and apply all borrower conforming



                                     A-4
                                                                           GARCIA 04277
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page97
                                                          6 of 223
                                                               314



               payments, including cure payments (where authorized by law or
               contract), unless such application conflicts with contract provisions
               or prevailing law. Servicer shall continue to accept trial
               modification payments consistent with existing payment
               application practices. Servicer shall ensure that properly identified
               payments shall be posted no more than two business days after
               receipt at the address specified by Servicer. Each monthly
               payment shall be applied in the order specified in the loan
               documents.
               a.     Servicer shall accept and apply at least two non-conforming
                      payments from the borrower, in accordance with this
                      subparagraph, when the payment, whether on its own or
                      when combined with a payment made by another source,
                      comes within $50.00 of the scheduled payment, including
                      principal and interest and, where applicable, taxes and
                      insurance.
               b.     Except for payments described in paragraph I.B.3.a,
                      Servicer may post partial payments to a suspense or
                      unapplied funds account, provided that Servicer (1)
                      discloses to the borrower the existence of and any activity
                      in the suspense or unapplied funds account; (2) credits the
                      borrower’s account with a full payment as of the date that
                      the funds in the suspense or unapplied funds account are
                      sufficient to cover such full payment; and (3) applies
                      payments as required by the terms of the loan documents.
                      Servicer shall not take funds from suspense or unapplied
                      funds accounts to pay fees until all unpaid contractual
                      interest, principal, and escrow amounts are paid and
                      brought current or other final disposition of the loan.
         4.    Notwithstanding the provisions above, Servicer shall not be
               required to accept payments which are insufficient to pay the full
               balance due after the borrower has been provided written notice
               that the contract has been declared in default and the remaining
               payments due under the contract have been accelerated.
         5.    Servicer shall provide to borrowers (other than borrowers in
               bankruptcy or borrowers who have been referred to or are going
               through foreclosure) adequate information on monthly billing or
               other account statements to show in clear and conspicuous
               language:
               a.     total amount due;
               b.     allocation of payments, including a notation if any payment
                      has been posted to a “suspense or unapplied funds
                      account”;


                                    A-5
                                                                         GARCIA 04278
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page98
                                                          7 of 223
                                                               314



               c.     unpaid principal;
               d.     fees and charges for the relevant time period;
               e.     current escrow balance; and
               f.     reasons for any payment changes, including an interest rate
                      or escrow account adjustment, no later than 21 days before
                      the new amount is due (except in the case of loans as to
                      which interest accrues daily or the rate changes more
                      frequently than once every 30 days);
               Statements as described above are not required to be delivered with
               respect to any fixed rate residential mortgage loan as to which the
               borrower is provided a coupon book.
         6.    In the statements described in paragraphs I.A.18 and III.B.1.a,
               Servicer shall notify borrowers that they may receive, upon written
               request:
               a.     A copy of the borrower’s payment history since the
                      borrower was last less than 60 days past due;
               b.     A copy of the borrower’s note;
               c.     If Servicer has commenced foreclosure or filed a POC,
                      copies of any assignments of mortgage or deed of trust
                      required to demonstrate the right to foreclose on the
                      borrower’s note under applicable state law; and
               d.     The name of the investor that holds the borrower’s loan.
         7.    Servicer shall adopt enhanced billing dispute procedures, including
               for disputes regarding fees. These procedures will include:
               a.     Establishing readily available methods for customers to
                      lodge complaints and pose questions, such as by providing
                      toll-free numbers and accepting disputes by email;
               b.     Assessing and ensuring adequate and competent staff to
                      answer and respond to consumer disputes promptly;
               c.     Establishing a process for dispute escalation;
               d.     Tracking the resolution of complaints; and
               e.     Providing a toll-free number on monthly billing statements.
         8.    Servicer shall take appropriate action to promptly remediate any
               inaccuracies in borrowers’ account information, including:
               a.     Correcting the account information;
               b.     Providing cash refunds or account credits; and
               c.     Correcting inaccurate reports to consumer credit reporting



                                   A-6
                                                                       GARCIA 04279
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page99
                                                          8 of 223
                                                               314



                      agencies.
         9.    Servicer’s systems to record account information shall be
               periodically independently reviewed for accuracy and
               completeness by an independent reviewer.
         10.   As indicated in paragraph I.A.18, Servicer shall send the borrower
               an itemized plain language account summary setting forth each of
               the following items, to the extent applicable:
               a.     The total amount needed to reinstate or bring the account
                      current, and the amount of the principal obligation under
                      the mortgage;
               b.     The date through which the borrower’s obligation is paid;
               c.     The date of the last full payment;
               d.     The current interest rate in effect for the loan (if the rate is
                      effective for at least 30 days);
               e.     The date on which the interest rate may next reset or adjust
                      (unless the rate changes more frequently than once every
                      30 days);
               f.     The amount of any prepayment fee to be charged, if any;
               g.     A description of any late payment fees;
               h.     A telephone number or electronic mail address that may be
                      used by the obligor to obtain information regarding the
                      mortgage; and
               i.     The names, addresses, telephone numbers, and Internet
                      addresses of one or more counseling agencies or programs
                      approved by HUD
                      (http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm).
         11.   In active chapter 13 cases, Servicer shall ensure that:
               a.     prompt and proper application of payments is made on
                      account of (a) pre-petition arrearage amounts and (b) post-
                      petition payment amounts and posting thereof as of the
                      successful consummation of the effective confirmed plan;
               b.     the debtor is treated as being current so long as the debtor is
                      making payments in accordance with the terms of the then-
                      effective confirmed plan and any later effective payment
                      change notices; and
               c.     as of the date of dismissal of a debtor’s bankruptcy case,
                      entry of an order granting Servicer relief from the stay, or
                      entry of an order granting the debtor a discharge, there is a
                      reconciliation of payments received with respect to the


                                    A-7
                                                                           GARCIA 04280
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document1-2
                                14-1 Filed
                                       Filed
                                           03/12/12
                                             04/04/12Page
                                                      Page100
                                                            9 of
                                                              of223
                                                                 314



                        debtor’s obligations during the case and appropriately
                        update the Servicer’s systems of record. In connection with
                        such reconciliation, Servicer shall reflect the waiver of any
                        fee, expense or charge pursuant to paragraphs III.B.1.c.i or
                        III.B.1.d.
    C.    Documentation of Note, Holder Status and Chain of Assignment.
          1.     Servicer shall implement processes to ensure that Servicer or the
                 foreclosing entity has a documented enforceable interest in the
                 promissory note and mortgage (or deed of trust) under applicable
                 state law, or is otherwise a proper party to the foreclosure action.
          2.     Servicer shall include a statement in a pleading, affidavit of
                 indebtedness or similar affidavits in court foreclosure proceedings
                 setting forth the basis for asserting that the foreclosing party has
                 the right to foreclose.
          3.     Servicer shall set forth the information establishing the party’s
                 right to foreclose as set forth in I.C.2 in a communication to be
                 sent to the borrower as indicated in I.A.18.
          4.     If the original note is lost or otherwise unavailable, Servicer shall
                 comply with applicable law in an attempt to establish ownership of
                 the note and the right to enforcement. Servicer shall ensure good
                 faith efforts to obtain or locate a note lost while in the possession
                 of Servicer or Servicer’s agent and shall ensure that Servicer and
                 Servicer’s agents who are expected to have possession of notes or
                 assignments of mortgage on behalf of Servicer adopt procedures
                 that are designed to provide assurance that the Servicer or
                 Servicer’s agent would locate a note or assignment of mortgage if
                 it is in the possession or control of the Servicer or Servicer’s agent,
                 as the case may be. In the event that Servicer prepares or causes to
                 be prepared a lost note or lost assignment affidavit with respect to
                 an original note or assignment lost while in Servicer’s control,
                 Servicer shall use good faith efforts to obtain or locate the note or
                 assignment in accordance with its procedures. In the affidavit,
                 sworn statement or other filing documenting the lost note or
                 assignment, Servicer shall recite that Servicer has made a good
                 faith effort in accordance with its procedures for locating the lost
                 note or assignment.
          5.     Servicer shall not intentionally destroy or dispose of original notes
                 that are still in force.
          6.     Servicer shall ensure that mortgage assignments executed by or on
                 behalf of Servicer are executed with appropriate legal authority,
                 accurately reflective of the completed transaction and properly
                 acknowledged.



                                      A-8
                                                                            GARCIA 04281
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page101
                                                          10 of 223
                                                                314



    D.    Bankruptcy Documents.
          1.    Proofs of Claim (“POC”). Servicer shall ensure that POCs filed
                on behalf of Servicer are documented in accordance with the
                United States Bankruptcy Code, the Federal Rules of Bankruptcy
                Procedure, and any applicable local rule or order (“bankruptcy
                law”). Unless not permitted by statute or rule, Servicer shall
                ensure that each POC is documented by attaching:
                a.     The original or a duplicate of the note, including all
                       indorsements; a copy of any mortgage or deed of trust
                       securing the notes (including, if applicable, evidence of
                       recordation in the applicable land records); and copies of
                       any assignments of mortgage or deed of trust required to
                       demonstrate the right to foreclose on the borrower’s note
                       under applicable state law (collectively, “Loan
                       Documents”). If the note has been lost or destroyed, a lost
                       note affidavit shall be submitted.
                b.     If, in addition to its principal amount, a claim includes
                       interest, fees, expenses, or other charges incurred before the
                       petition was filed, an itemized statement of the interest,
                       fees, expenses, or charges shall be filed with the proof of
                       claim (including any expenses or charges based on an
                       escrow analysis as of the date of filing) at least in the detail
                       specified in the current draft of Official Form B 10
                       (effective December 2011) (“Official Form B 10”)
                       Attachment A.
                c.     A statement of the amount necessary to cure any default as
                       of the date of the petition shall be filed with the proof of
                       claim.
                d.     If a security interest is claimed in property that is the
                       debtor’s principal residence, the attachment prescribed by
                       the appropriate Official Form shall be filed with the proof
                       of claim.
                e.     Servicer shall include a statement in a POC setting forth the
                       basis for asserting that the applicable party has the right to
                       foreclose.
                f.     The POC shall be signed (either by hand or by appropriate
                       electronic signature) by the responsible person under
                       penalty of perjury after reasonable investigation, stating
                       that the information set forth in the POC is true and correct
                       to the best of such responsible person’s knowledge,
                       information, and reasonable belief, and clearly identify the
                       responsible person’s employer and position or title with the



                                    A-9
                                                                           GARCIA 04282
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page102
                                                          11 of 223
                                                                314



                      employer.
          2.   Motions for Relief from Stay (“MRS”). Unless not permitted by
               bankruptcy law, Servicer shall ensure that each MRS in a chapter
               13 proceeding is documented by attaching:
               a.     To the extent not previously submitted with a POC, a copy
                      of the Loan Documents; if such documents were previously
                      submitted with a POC, a statement to that effect. If the
                      promissory note has been lost or destroyed, a lost note
                      affidavit shall be submitted;
               b.     To the extent not previously submitted with a POC,
                      Servicer shall include a statement in an MRS setting forth
                      the basis for asserting that the applicable party has the right
                      to foreclose.
               c.     An affidavit, sworn statement or Declaration made by
                      Servicer or based on information provided by Servicer
                      (“MRS affidavit” (which term includes, without limitation,
                      any facts provided by Servicer that are included in any
                      attachment and submitted to establish the truth of such
                      facts) setting forth:
                      i.     whether there has been a default in paying pre-
                             petition arrearage or post-petition amounts (an
                             “MRS delinquency”);
                      ii.    if there has been such a default, (a) the unpaid
                             principal balance, (b) a description of any default
                             with respect to the pre-petition arrearage, (c) a
                             description of any default with respect to the post-
                             petition amount (including, if applicable, any
                             escrow shortage), (d) the amount of the pre-petition
                             arrearage (if applicable), (e) the post-petition
                             payment amount , (f) for the period since the date of
                             the first post-petition or pre-petition default that is
                             continuing and has not been cured, the date and
                             amount of each payment made (including escrow
                             payments) and the application of each such
                             payment, and (g) the amount, date and description
                             of each fee or charge applied to such pre-petition
                             amount or post-petition amount since the later of the
                             date of the petition or the preceding statement
                             pursuant to paragraph III.B.1.a; and
                      iii.   all amounts claimed, including a statement of the
                             amount necessary to cure any default on or about
                             the date of the MRS.



                                   A-10
                                                                          GARCIA 04283
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page103
                                                          12 of 223
                                                                314



                d.     All other attachments prescribed by statute, rule, or law.
                e.     Servicer shall ensure that any MRS discloses the terms of
                       any trial period or permanent loan modification plan
                       pending at the time of filing of a MRS or whether the
                       debtor is being evaluated for a loss mitigation option.
    E.    Quality Assurance Systems Review.
          1.    Servicer shall conduct regular reviews, not less than quarterly, of a
                statistically valid sample of affidavits, sworn statements,
                Declarations filed by or on behalf of Servicer in judicial
                foreclosures or bankruptcy proceedings and notices of default,
                notices of sale and similar notices submitted in non-judicial
                foreclosures to ensure that the documents are accurate and comply
                with prevailing law and this Agreement.
                a.     The reviews shall also verify the accuracy of the statements
                       in affidavits, sworn statements, Declarations and
                       documents used to foreclose in non-judicial foreclosures,
                       the account summary described in paragraph I.B.10, the
                       ownership statement described in paragraph I.C.2, and the
                       loss mitigation statement described in paragraph IV.B.13
                       by reviewing the underlying information. Servicer shall
                       take appropriate remedial steps if deficiencies are
                       identified, including appropriate remediation in individual
                       cases.
                b.     The reviews shall also verify the accuracy of the statements
                       in affidavits, sworn statements and Declarations submitted
                       in bankruptcy proceedings. Servicer shall take appropriate
                       remedial steps if deficiencies are identified, including
                       appropriate remediation in individual cases.
          2.    The quality assurance steps set forth above shall be conducted by
                Servicer employees who are separate and independent of
                employees who prepare foreclosure or bankruptcy affidavits,
                sworn statements, or other foreclosure or bankruptcy documents.
          3.    Servicer shall conduct regular pre-filing reviews of a statistically
                valid sample of POCs to ensure that the POCs are accurate and
                comply with prevailing law and this Agreement. The reviews shall
                also verify the accuracy of the statements in POCs. Servicer shall
                take appropriate remedial steps if deficiencies are identified,
                including appropriate remediation in individual cases. The pre-
                filing review shall be conducted by Servicer employees who are
                separate and independent of the persons who prepared the
                applicable POCs.




                                    A-11
                                                                          GARCIA 04284
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page104
                                                            13 of 223
                                                                  314



            4.     Servicer shall regularly review and assess the adequacy of its
                   internal controls and procedures with respect to its obligations
                   under this Agreement, and implement appropriate procedures to
                   address deficiencies.
II.   THIRD-PARTY PROVIDER OVERSIGHT.
      A.    Oversight Duties Applicable to All Third-Party Providers.
            Servicer shall adopt policies and processes to oversee and manage
            foreclosure firms, law firms, foreclosure trustees, subservicers and other
            agents, independent contractors, entities and third parties (including
            subsidiaries and affiliates) retained by or on behalf of Servicer that
            provide foreclosure, bankruptcy or mortgage servicing activities
            (including loss mitigation) (collectively, such activities are “Servicing
            Activities” and such providers are “Third-Party Providers”), including:
            1.     Servicer shall perform appropriate due diligence of Third-Party
                   Providers’ qualifications, expertise, capacity, reputation,
                   complaints, information security, document custody practices,
                   business continuity, and financial viability.
            2.     Servicer shall amend agreements, engagement letters, or oversight
                   policies, or enter into new agreements or engagement letters, with
                   Third-Party Providers to require them to comply with Servicer’s
                   applicable policies and procedures (which will incorporate any
                   applicable aspects of this Agreement) and applicable state and
                   federal laws and rules.
            3.     Servicer shall ensure that agreements, contracts or oversight
                   policies provide for adequate oversight, including measures to
                   enforce Third-Party Provider contractual obligations, and to ensure
                   timely action with respect to Third-Party Provider performance
                   failures.
            4.     Servicer shall ensure that foreclosure and bankruptcy counsel and
                   foreclosure trustees have appropriate access to information from
                   Servicer’s books and records necessary to perform their duties in
                   preparing pleadings and other documents submitted in foreclosure
                   and bankruptcy proceedings.
            5.     Servicer shall ensure that all information provided by or on behalf
                   of Servicer to Third-Party Providers in connection with providing
                   Servicing Activities is accurate and complete.
            6.     Servicer shall conduct periodic reviews of Third-Party Providers.
                   These reviews shall include:
                   a.      A review of a sample of the foreclosure and bankruptcy
                           documents prepared by the Third-Party Provider, to provide
                           for compliance with applicable state and federal law and



                                        A-12
                                                                             GARCIA 04285
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page105
                                                          14 of 223
                                                                314



                        this Agreement in connection with the preparation of the
                        documents, and the accuracy of the facts contained therein;
                 b.     A review of the fees and costs assessed by the Third-Party
                        Provider to provide that only fees and costs that are lawful,
                        reasonable and actually incurred are charged to borrowers
                        and that no portion of any fees or charges incurred by any
                        Third-Party Provider for technology usage, connectivity, or
                        electronic invoice submission is charged as a cost to the
                        borrower;
                 c.     A review of the Third-Party Provider’s processes to provide
                        for compliance with the Servicer’s policies and procedures
                        concerning Servicing Activities;
                 d.     A review of the security of original loan documents
                        maintained by the Third-Party Provider;
                 e.     A requirement that the Third-Party Provider disclose to the
                        Servicer any imposition of sanctions or professional
                        disciplinary action taken against them for misconduct
                        related to performance of Servicing Activities; and
                 f.     An assessment of whether bankruptcy attorneys comply
                        with the best practice of determining whether a borrower
                        has made a payment curing any MRS delinquency within
                        two business days of the scheduled hearing date of the
                        related MRS.
          The quality assurance steps set forth above shall be conducted by Servicer
          employees who are separate and independent of employees who prepare
          foreclosure or bankruptcy affidavits, sworn documents, Declarations or
          other foreclosure or bankruptcy documents.
          7.     Servicer shall take appropriate remedial steps if problems are
                 identified through this review or otherwise, including, when
                 appropriate, terminating its relationship with the Third-Party
                 Provider.
          8.     Servicer shall adopt processes for reviewing and appropriately
                 addressing customer complaints it receives about Third-Party
                 Provider services.
          9.     Servicer shall regularly review and assess the adequacy of its
                 internal controls and procedures with respect to its obligations
                 under this Section, and take appropriate remedial steps if
                 deficiencies are identified, including appropriate remediation in
                 individual cases.




                                     A-13
                                                                          GARCIA 04286
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page106
                                                            15 of 223
                                                                  314



       B.   Additional Oversight of Activities by Third-Party Providers.
            1.       Servicer shall require a certification process for law firms (and
                     recertification of existing law firm providers) that provide
                     residential mortgage foreclosure and bankruptcy services for
                     Servicer, on a periodic basis, as qualified to serve as a Third-Party
                     Provider to Servicer, including that attorneys have the experience
                     and competence necessary to perform the services requested.
            2.       Servicer shall ensure that attorneys are licensed to practice in the
                     relevant jurisdiction, have the experience and competence
                     necessary to perform the services requested, and that their services
                     comply with applicable rules, regulations and applicable law
                     (including state law prohibitions on fee splitting).
            3.       Servicer shall ensure that foreclosure and bankruptcy counsel and
                     foreclosure trustees have an appropriate Servicer contact to assist
                     in legal proceedings and to facilitate loss mitigation questions on
                     behalf of the borrower.
            4.       Servicer shall adopt policies requiring Third-Party Providers to
                     maintain records that identify all notarizations of Servicer
                     documents executed by each notary employed by the Third-Party
                     Provider.
III.   BANKRUPTCY.
       A.   General.
            1.       The provisions, conditions and obligations imposed herein are
                     intended to be interpreted in accordance with applicable federal,
                     state and local laws, rules and regulations. Nothing herein shall
                     require a Servicer to do anything inconsistent with applicable state
                     or federal law, including the applicable bankruptcy law or a court
                     order in a bankruptcy case.
            2.       Servicer shall ensure that employees who are regularly engaged in
                     servicing mortgage loans as to which the borrower or mortgagor is
                     in bankruptcy receive training specifically addressing bankruptcy
                     issues.
       B.   Chapter 13 Cases.
            1.       In any chapter 13 case, Servicer shall ensure that:
                     a.     So long as the debtor is in a chapter 13 case, within 180
                            days after the date on which the fees, expenses, or charges
                            are incurred, file and serve on the debtor, debtor’s counsel,
                            and the trustee a notice in a form consistent with Official
                            Form B10 (Supplement 2) itemizing fees, expenses, or
                            charges (1) that were incurred in connection with the claim



                                         A-14
                                                                               GARCIA 04287
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page107
                                                          16 of 223
                                                                314



                     after the bankruptcy case was filed, (2) that the holder
                     asserts are recoverable against the debtor or against the
                     debtor’s principal residence, and (3) that the holder intends
                     to collect from the debtor.
               b.    Servicer replies within time periods established under
                     bankruptcy law to any notice that the debtor has completed
                     all payments under the plan or otherwise paid in full the
                     amount required to cure any pre-petition default.
               c.    If the Servicer fails to provide information as required by
                     paragraph III.B.1.a with respect to a fee, expense or charge
                     within 180 days of the incurrence of such fee, expense, or
                     charge, then,
                     i.     Except for independent charges (“Independent
                            charge”) paid by the Servicer that is either (A)
                            specifically authorized by the borrower or (B)
                            consists of amounts advanced by Servicer in respect
                            of taxes, homeowners association fees, liens or
                            insurance, such fee, expense or charge shall be
                            deemed waived and may not be collected from the
                            borrower.
                     ii.    In the case of an Independent charge, the court may,
                            after notice and hearing, take either or both of the
                            following actions:
                            (a)     preclude the holder from presenting the
                                    omitted information, in any form, as
                                    evidence in any contested matter or
                                    adversary proceeding in the case, unless the
                                    court determines that the failure was
                                    substantially justified or is harmless; or
                            (b)     award other appropriate relief, including
                                    reasonable expenses and attorney’s fees
                                    caused by the failure.
               d.    If the Servicer fails to provide information as required by
                     paragraphs III.B.1.a or III.B.1.b and bankruptcy law with
                     respect to a fee, expense or charge (other than an
                     Independent Charge) incurred more than 45 days before the
                     date of the reply referred to in paragraph III.B.1.b, then
                     such fee, expense or charge shall be deemed waived and
                     may not be collected from the borrower.
               e.    Servicer shall file and serve on the debtor, debtor’s counsel,
                     and the trustee a notice in a form consistent with the current
                     draft of Official Form B10 (Supplement 1) (effective


                                  A-15
                                                                       GARCIA 04288
 Case 1:12-cv-00361-RMC Document 14-1
                                 1-2 Filed
                                      Filed03/12/12
                                            04/04/12 Page
                                                      Page108
                                                           17 of 223
                                                                 314



                            December 2011) of any change in the payment amount,
                            including any change that results from an interest rate or
                            escrow account adjustment, no later than 21 days before a
                            payment in the new amount is due. Servicer shall waive
                            and not collect any late charge or other fees imposed solely
                            as a result of the failure of the borrower timely to make a
                            payment attributable to the failure of Servicer to give such
                            notice timely.
IV.   LOSS MITIGATION.
      These requirements are intended to apply to both government-sponsored and
      proprietary loss mitigation programs and shall apply to subservicers performing
      loss mitigation services on Servicer’s behalf.
      A.     Loss Mitigation Requirements.
             1.     Servicer shall be required to notify potentially eligible borrowers
                    of currently available loss mitigation options prior to foreclosure
                    referral. Upon the timely receipt of a complete loan modification
                    application, Servicer shall evaluate borrowers for all available loan
                    modification options for which they are eligible prior to referring a
                    borrower to foreclosure and shall facilitate the submission and
                    review of loss mitigation applications. The foregoing
                    notwithstanding, Servicer shall have no obligation to solicit
                    borrowers who are in bankruptcy.
             2.     Servicer shall offer and facilitate loan modifications for borrowers
                    rather than initiate foreclosure when such loan modifications for
                    which they are eligible are net present value (NPV) positive and
                    meet other investor, guarantor, insurer and program requirements.
             3.     Servicer shall allow borrowers enrolled in a trial period plan under
                    prior HAMP guidelines (where borrowers were not pre-qualified)
                    and who made all required trial period payments, but were later
                    denied a permanent modification, the opportunity to reapply for a
                    HAMP or proprietary loan modification using current financial
                    information.
             4.     Servicer shall promptly send a final modification agreement to
                    borrowers who have enrolled in a trial period plan under current
                    HAMP guidelines (or fully underwritten proprietary modification
                    programs with a trial payment period) and who have made the
                    required number of timely trial period payments, where the
                    modification is underwritten prior to the trial period and has
                    received any necessary investor, guarantor or insurer approvals.
                    The borrower shall then be converted by Servicer to a permanent
                    modification upon execution of the final modification documents,




                                        A-16
                                                                              GARCIA 04289
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page109
                                                          18 of 223
                                                                314



                 consistent with applicable program guidelines, absent evidence of
                 fraud.
    B.    Dual Track Restricted.
          1.     If a borrower has not already been referred to foreclosure, Servicer
                 shall not refer an eligible borrower’s account to foreclosure while
                 the borrower’s complete application for any loan modification
                 program is pending if Servicer received (a) a complete loan
                 modification application no later than day 120 of delinquency, or
                 (b) a substantially complete loan modification application (missing
                 only any required documentation of hardship) no later than day
                 120 of delinquency and Servicer receives any required hardship
                 documentation no later than day 130 of delinquency. Servicer
                 shall not make a referral to foreclosure of an eligible borrower who
                 so provided an application until:
                 a.      Servicer determines (after the automatic review in
                         paragraph IV.G.1) that the borrower is not eligible for a
                         loan modification, or
                 b.      If borrower does not accept an offered foreclosure
                         prevention alternative within 14 days of the evaluation
                         notice, the earlier of (i) such 14 days, and (ii) borrower’s
                         decline of the foreclosure prevention offer.
          2.     If borrower accepts the loan modification resulting from Servicer’s
                 evaluation of the complete loan modification application referred
                 to in paragraph IV.B.1 (verbally, in writing (including e-mail
                 responses) or by submitting the first trial modification payment)
                 within 14 days of Servicer’s offer of a loan modification, then the
                 Servicer shall delay referral to foreclosure until (a) if the Servicer
                 fails timely to receive the first trial period payment, the last day for
                 timely receiving the first trial period payment, and (b) if the
                 Servicer timely receives the first trial period payment, after the
                 borrower breaches the trial plan.
          3.     If the loan modification requested by a borrower as described in
                 paragraph IV.B.1 is denied, except when otherwise required by
                 federal or state law or investor directives, if borrower is entitled to
                 an appeal under paragraph IV.G.3, Servicer will not proceed to a
                 foreclosure sale until the later of (if applicable):
                 a.      expiration of the 30-day appeal period; and
                 b.      if the borrower appeals the denial, until the later of (if
                         applicable) (i) if Servicer denies borrower’s appeal, 15 days
                         after the letter denying the appeal, (ii) if the Servicer sends
                         borrower a letter granting his or her appeal and offering a
                         loan modification, 14 days after the date of such offer, (iii)


                                      A-17
                                                                             GARCIA 04290
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page110
                                                          19 of 223
                                                                314



                      if the borrower timely accepts the loan modification offer
                      (verbally, in writing (including e-mail responses), or by
                      making the first trial period payment), after the Servicer
                      fails timely to receive the first trial period payment, and
                      (iv) if the Servicer timely receives the first trial period
                      payment, after the borrower breaches the trial plan.
          4.   If, after an eligible borrower has been referred to foreclosure, the
               Servicer receives a complete application from the borrower within
               30 days after the Post Referral to Foreclosure Solicitation Letter,
               then while such loan modification application is pending, Servicer
               shall not move for foreclosure judgment or order of sale (or, if a
               motion has already been filed, shall take reasonable steps to avoid
               a ruling on such motion), or seek a foreclosure sale. If Servicer
               offers the borrower a loan modification, Servicer shall not move
               for judgment or order of sale, (or, if a motion has already been
               filed, shall take reasonable steps to avoid a ruling on such motion),
               or seek a foreclosure sale until the earlier of (a) 14 days after the
               date of the related offer of a loan modification, and (b) the date the
               borrower declines the loan modification offer. If the borrower
               accepts the loan modification offer (verbally, in writing (including
               e-mail responses) or by submitting the first trial modification
               payment) within 14 days after the date of the related offer of loan
               modification, Servicer shall continue this delay until the later of (if
               applicable) (A) the failure by the Servicer timely to receive the
               first trial period payment, and (B) if the Servicer timely receives
               the first trial period payment, after the borrower breaches the trial
               plan.
          5.   If the loan modification requested by a borrower described in
               paragraph IV.B.4 is denied, then, except when otherwise required
               by federal or state law or investor directives, if borrower is entitled
               to an appeal under paragraph IV.G.3, Servicer will not proceed to a
               foreclosure sale until the later of (if applicable):
               a.     expiration of the 30-day appeal period; and
               b.     if the borrower appeals the denial, until the later of (if
                      applicable) (i) if Servicer denies borrower’s appeal, 15 days
                      after the letter denying the appeal, (ii) if the Servicer sends
                      borrower a letter granting his or her appeal and offering a
                      loan modification, 14 days after the date of such offer, (iii)
                      if the borrower timely accepts the loan modification offer
                      (verbally, in writing (including e-mail responses), or by
                      making the first trial period payment), after the failure of
                      the Servicer timely to receive the first trial period payment,
                      and (iv) if the Servicer timely receives the first trial period



                                    A-18
                                                                           GARCIA 04291
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page111
                                                          20 of 223
                                                                314



                      payment, after the borrower breaches the trial plan.
          6.   If, after an eligible borrower has been referred to foreclosure,
               Servicer receives a complete loan modification application more
               than 30 days after the Post Referral to Foreclosure Solicitation
               Letter, but more than 37 days before a foreclosure sale is
               scheduled, then while such loan modification application is
               pending, Servicer shall not proceed with the foreclosure sale. If
               Servicer offers a loan modification, then Servicer shall delay the
               foreclosure sale until the earlier of (i) 14 days after the date of the
               related offer of loan modification, and (ii) the date the borrower
               declines the loan modification offer. If the borrower accepts the
               loan modification offer (verbally, in writing (including e-mail
               responses) or by submitting the first trial modification payment)
               within 14 days, Servicer shall delay the foreclosure sale until the
               later of (if applicable) (A) the failure by the Servicer timely to
               receive the first trial period payment, and (B) if the Servicer timely
               receives the first trial period payment, after the borrower breaches
               the trial plan.
          7.   If the loan modification requested by a borrower described in
               paragraph IV.B.6 is denied and it is reasonable to believe that more
               than 90 days remains until a scheduled foreclosure date or the first
               date on which a sale could reasonably be expected to be scheduled
               and occur, then, except when otherwise required by federal or state
               law or investor directives, if borrower is entitled to an appeal under
               paragraph IV.G.3.a, Servicer will not proceed to a foreclosure sale
               until the later of (if applicable):
               a.     expiration of the 30-day appeal period; and
               b.     if the borrower appeals the denial, until the later of (if
                      applicable) (i) if Servicer denies borrower’s appeal, 15 days
                      after the letter denying the appeal, (ii) if the Servicer sends
                      borrower a letter granting his or her appeal and offering a
                      loan modification, 14 days after the date of such offer, (iii)
                      if the borrower timely accepts the loan modification offer
                      (verbally, in writing (including e-mail responses), or by
                      making the first trial period payment), after the Servicer
                      fails timely to receive the first trial period payment, and
                      (iv) if the Servicer timely receives the first trial period
                      payment, after the borrower breaches the trial plan.
          8.   If, after an eligible borrower has been referred to foreclosure,
               Servicer receives a complete loan modification application more
               than 30 days after the Post Referral to Foreclosure Solicitation
               Letter, but within 37 to 15 days before a foreclosure sale is
               scheduled, then Servicer shall conduct an expedited review of the



                                    A-19
                                                                          GARCIA 04292
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page112
                                                          21 of 223
                                                                314



                borrower and, if the borrower is extended a loan modification
                offer, Servicer shall postpone any foreclosure sale until the earlier
                of (a) 14 days after the date of the related evaluation notice, and (b)
                the date the borrower declines the loan modification offer. If the
                borrower timely accepts the loan modification offer (either in
                writing or by submitting the first trial modification payment),
                Servicer shall delay the foreclosure sale until the later of (if
                applicable) (A) the failure by the Servicer timely to receive the
                first trial period payment, and (B) if the Servicer timely receives
                the first trial period payment, after the borrower breaches the trial
                plan.
          9.    If, after an eligible borrower has been referred to foreclosure, the
                Servicer receives a complete loan modification application more
                than 30 days after the Post Referral to Foreclosure Solicitation
                Letter and less than 15 days before a scheduled foreclosure sale,
                Servicer must notify the borrower before the foreclosure sale date
                as to Servicer’s determination (if its review was completed) or
                inability to complete its review of the loan modification
                application. If Servicer makes a loan modification offer to the
                borrower, then Servicer shall postpone any sale until the earlier of
                (a) 14 days after the date of the related evaluation notice, and (b)
                the date the borrower declines the loan modification offer. If the
                borrower timely accepts a loan modification offer (either in writing
                or by submitting the first trial modification payment), Servicer
                shall delay the foreclosure sale until the later of (if applicable) (A)
                the failure by the Servicer timely to receive the first trial period
                payment, and (B) if the Servicer timely receives the first trial
                period payment, after the borrower breaches the trial plan.
          10.   For purposes of this section IV.B, Servicer shall not be responsible
                for failing to obtain a delay in a ruling on a judgment or failing to
                delay a foreclosure sale if Servicer made a request for such delay,
                pursuant to any state or local law, court rule or customary practice,
                and such request was not approved.
          11.   Servicer shall not move to judgment or order of sale or proceed
                with a foreclosure sale under any of the following circumstances:
                a.     The borrower is in compliance with the terms of a trial loan
                       modification, forbearance, or repayment plan; or
                b.     A short sale or deed-in-lieu of foreclosure has been
                       approved by all parties (including, for example, first lien
                       investor, junior lien holder and mortgage insurer, as
                       applicable), and proof of funds or financing has been
                       provided to Servicer.




                                     A-20
                                                                           GARCIA 04293
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page113
                                                          22 of 223
                                                                314



          12.    If a foreclosure or trustee’s sale is continued (rather than cancelled)
                 to provide time to evaluate loss mitigation options, Servicer shall
                 promptly notify borrower in writing of the new date of sale
                 (without delaying any related foreclosure sale).
          13.    As indicated in paragraph I.A.18, Servicer shall send a statement to
                 the borrower outlining loss mitigation efforts undertaken with
                 respect to the borrower prior to foreclosure referral. If no loss
                 mitigation efforts were offered or undertaken, Servicer shall state
                 whether it contacted or attempted to contact the borrower and, if
                 applicable, why the borrower was ineligible for a loan modification
                 or other loss mitigation options.
          14.    Servicer shall ensure timely and accurate communication of or
                 access to relevant loss mitigation status and changes in status to its
                 foreclosure attorneys, bankruptcy attorneys and foreclosure
                 trustees and, where applicable, to court-mandated mediators.
    C.    Single Point of Contact.
          1.     Servicer shall establish an easily accessible and reliable single
                 point of contact (“SPOC”) for each potentially-eligible first lien
                 mortgage borrower so that the borrower has access to an employee
                 of Servicer to obtain information throughout the loss mitigation,
                 loan modification and foreclosure processes.
          2.     Servicer shall initially identify the SPOC to the borrower promptly
                 after a potentially-eligible borrower requests loss mitigation
                 assistance. Servicer shall provide one or more direct means of
                 communication with the SPOC on loss mitigation-related
                 correspondence with the borrower. Servicer shall promptly
                 provide updated contact information to the borrower if the
                 designated SPOC is reassigned, no longer employed by Servicer,
                 or otherwise not able to act as the primary point of contact.
                 a.     Servicer shall ensure that debtors in bankruptcy are
                        assigned to a SPOC specially trained in bankruptcy issues.
          3.     The SPOC shall have primary responsibility for:
                 a.     Communicating the options available to the borrower, the
                        actions the borrower must take to be considered for these
                        options and the status of Servicer’s evaluation of the
                        borrower for these options;
                 b.     Coordinating receipt of all documents associated with loan
                        modification or loss mitigation activities;
                 c.     Being knowledgeable about the borrower’s situation and
                        current status in the delinquency/imminent default
                        resolution process; and



                                     A-21
                                                                            GARCIA 04294
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page114
                                                          23 of 223
                                                                314



               d.     Ensuring that a borrower who is not eligible for MHA
                      programs is considered for proprietary or other investor
                      loss mitigation options.
          4.   The SPOC shall, at a minimum, provide the following services to
               borrowers:
               a.     Contact borrower and introduce himself/herself as the
                      borrower’s SPOC;
               b.     Explain programs for which the borrower is eligible;
               c.     Explain the requirements of the programs for which the
                      borrower is eligible;
               d.     Explain program documentation requirements;
               e.     Provide basic information about the status of borrower’s
                      account, including pending loan modification applications,
                      other loss mitigation alternatives, and foreclosure activity;
               f.     Notify borrower of missing documents and provide an
                      address or electronic means for submission of documents
                      by borrower in order to complete the loan modification
                      application;
               g.     Communicate Servicer’s decision regarding loan
                      modification applications and other loss mitigation
                      alternatives to borrower in writing;
               h.     Assist the borrower in pursuing alternative non-foreclosure
                      options upon denial of a loan modification;
               i.     If a loan modification is approved, call borrower to explain
                      the program;
               j.     Provide information regarding credit counseling where
                      necessary;
               k.     Help to clear for borrower any internal processing
                      requirements; and
               l.     Have access to individuals with the ability to stop
                      foreclosure proceedings when necessary to comply with the
                      MHA Program or this Agreement.
          5.   The SPOC shall remain assigned to borrower’s account and
               available to borrower until such time as Servicer determines in
               good faith that all loss mitigation options have been exhausted,
               borrower’s account becomes current or, in the case of a borrower
               in bankruptcy, the borrower has exhausted all loss mitigation
               options for which the borrower is potentially eligible and has
               applied.



                                  A-22
                                                                        GARCIA 04295
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page115
                                                          24 of 223
                                                                314



          6.    Servicer shall ensure that a SPOC can refer and transfer a borrower
                to an appropriate supervisor upon request of the borrower.
          7.    Servicer shall ensure that relevant records relating to borrower’s
                account are promptly available to the borrower’s SPOC, so that the
                SPOC can timely, adequately and accurately inform the borrower
                of the current status of loss mitigation, loan modification, and
                foreclosure activities.
          8.    Servicer shall designate one or more management level employees
                to be the primary contact for the Attorneys General, state financial
                regulators, the Executive Office of U.S. Trustee, each regional
                office of the U.S. Trustee, and federal regulators for
                communication regarding complaints and inquiries from individual
                borrowers who are in default and/or have applied for loan
                modifications. Servicer shall provide a written acknowledgment to
                all such inquiries within 10 business days. Servicer shall provide a
                substantive written response to all such inquiries within 30 days.
                Servicer shall provide relevant loan information to borrower and to
                Attorneys General, state financial regulators, federal regulators, the
                Executive Office of the U.S. Trustee, and each U.S. Trustee upon
                written request and if properly authorized. A written complaint
                filed by a borrower and forwarded by a state attorney general or
                financial regulatory agency to Servicer shall be deemed to have
                proper authorization.
          9.    Servicer shall establish and make available to Chapter 13 trustees a
                toll-free number staffed by persons trained in bankruptcy to
                respond to inquiries from Chapter 13 trustees.
    D.    Loss Mitigation Communications with Borrowers.
          1.    Servicer shall commence outreach efforts to communicate loss
                mitigation options for first lien mortgage loans to all potentially
                eligible delinquent borrowers (other than those in bankruptcy)
                beginning on timelines that are in accordance with HAMP
                borrower solicitation guidelines set forth in the MHA Handbook
                version 3.2, Chapter II, Section 2.2, regardless of whether the
                borrower is eligible for a HAMP modification. Servicer shall
                provide borrowers with notices that include contact information for
                national or state foreclosure assistance hotlines and state housing
                counseling resources, as appropriate. The use by Servicer of
                nothing more than prerecorded automatic messages in loss
                mitigation communications with borrowers shall not be sufficient
                in those instances in which it fails to result in contact between the
                borrower and one of Servicer’s loss mitigation specialists.
                Servicer shall conduct affirmative outreach efforts to inform
                delinquent second lien borrowers (other than those in bankruptcy)



                                    A-23
                                                                          GARCIA 04296
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page116
                                                          25 of 223
                                                                314



               about the availability of payment reduction options. The foregoing
               notwithstanding, Servicer shall have no obligation to solicit
               borrowers who are in bankruptcy.
          2.   Servicer shall disclose and provide accurate information to
               borrowers relating to the qualification process and eligibility
               factors for loss mitigation programs.
          3.   Servicer shall communicate, at the written request of the borrower,
               with the borrower’s authorized representatives, including housing
               counselors. Servicer shall communicate with representatives from
               state attorneys general and financial regulatory agencies acting
               upon a written complaint filed by the borrower and forwarded by
               the state attorney general or financial regulatory agency to
               Servicer. When responding to the borrower regarding such
               complaint, Servicer shall include the applicable state attorney
               general on all correspondence with the borrower regarding such
               complaint.
          4.   Servicer shall cease all collection efforts while the borrower (i) is
               making timely payments under a trial loan modification or (ii) has
               submitted a complete loan modification application, and a
               modification decision is pending. Notwithstanding the above,
               Servicer reserves the right to contact a borrower to gather required
               loss mitigation documentation or to assist a borrower with
               performance under a trial loan modification plan.
          5.   Servicer shall consider partnering with third parties, including
               national chain retailers, and shall consider the use of select bank
               branches affiliated with Servicer, to set up programs to allow
               borrowers to copy, fax, scan, transmit by overnight delivery, or
               mail or email documents to Servicer free of charge.
          6.   Within five business days after referral to foreclosure, the Servicer
               (including any attorney (or trustee) conducting foreclosure
               proceedings at the direction of the Servicer) shall send a written
               communication (“Post Referral to Foreclosure Solicitation Letter”)
               to the borrower that includes clear language that:
               a.     The Servicer may have sent to the borrower one or more
                      borrower solicitation communications;
               b.     The borrower can still be evaluated for alternatives to
                      foreclosure even if he or she had previously shown no
                      interest;
               c.     The borrower should contact the Servicer to obtain a loss
                      mitigation application package;
               d.     The borrower must submit a loan modification application



                                   A-24
                                                                          GARCIA 04297
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page117
                                                          26 of 223
                                                                314



                       to the Servicer to request consideration for available
                       foreclosure prevention alternatives;
                e.     Provides the Servicer’s contact information for submitting
                       a complete loan modification application, including the
                       Servicer’s toll-free number; and
                f.     Unless the form of letter is otherwise specified by investor
                       directive or state law or the borrower is not eligible for an
                       appeal under paragraph IV.G.3.a, states that if the borrower
                       is contemplating or has pending an appeal of an earlier
                       denial of a loan modification application, that he or she
                       may submit a loan modification application in lieu of his or
                       her appeal within 30 days after the Post Referral to
                       Foreclosure Solicitation Letter.
    E.    Development of Loan Portals.
          1.    Servicer shall develop or contract with a third-party vendor to
                develop an online portal linked to Servicer’s primary servicing
                system where borrowers can check, at no cost, the status of their
                first lien loan modifications.
          2.    Servicer shall design portals that may, among other things:
                a.     Enable borrowers to submit documents electronically;
                b.     Provide an electronic receipt for any documents submitted;
                c.     Provide information and eligibility factors for proprietary
                       loan modification and other loss mitigation programs; and
                d.     Permit Servicer to communicate with borrowers to satisfy
                       any written communications required to be provided by
                       Servicer, if borrowers submit documents electronically.
          3.    Servicer shall participate in the development and implementation
                of a neutral, nationwide loan portal system linked to Servicer’s
                primary servicing system, such as Hope LoanPort to enhance
                communications with housing counselors, including using the
                technology used for the Borrower Portal, and containing similar
                features to the Borrower Portal.
          4.    Servicer shall update the status of each pending loan modification
                on these portals at least every 10 business days and ensure that
                each portal is updated on such a schedule as to maintain
                consistency.
    F.    Loan Modification Timelines.
          1.    Servicer shall provide written acknowledgement of the receipt of
                documentation submitted by the borrower in connection with a
                first lien loan modification application within 3 business days. In


                                    A-25
                                                                         GARCIA 04298
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page118
                                                          27 of 223
                                                                314



                 its initial acknowledgment, Servicer shall briefly describe the loan
                 modification process and identify deadlines and expiration dates
                 for submitted documents.
          2.     Servicer shall notify borrower of any known deficiency in
                 borrower’s initial submission of information, no later than 5
                 business days after receipt, including any missing information or
                 documentation required for the loan modification to be considered
                 complete.
          3.     Subject to section IV.B, Servicer shall afford borrower 30 days
                 from the date of Servicer’s notification of any missing information
                 or documentation to supplement borrower’s submission of
                 information prior to making a determination on whether or not to
                 grant an initial loan modification.
          4.     Servicer shall review the complete first lien loan modification
                 application submitted by borrower and shall determine the
                 disposition of borrower’s trial or preliminary loan modification
                 request no later than 30 days after receipt of the complete loan
                 modification application, absent compelling circumstances beyond
                 Servicer’s control.
          5.     Servicer shall implement processes to ensure that second lien loan
                 modification requests are evaluated on a timely basis. When a
                 borrower qualifies for a second lien loan modification after a first
                 lien loan modification in accordance with Section 2.c.i of the
                 General Framework for Consumer Relief Provisions, the Servicer
                 of the second lien loan shall (absent compelling circumstances
                 beyond Servicer’s control) send loan modification documents to
                 borrower no later than 45 days after the Servicer receives official
                 notification of the successful completion of the related first lien
                 loan modification and the essential terms.
          6.     For all proprietary first lien loan modification programs, Servicer
                 shall allow properly submitted borrower financials to be used for
                 90 days from the date the documents are received, unless Servicer
                 learns that there has been a material change in circumstances or
                 unless investor requirements mandate a shorter time frame.
          7.     Servicer shall notify borrowers of the final denial of any first lien
                 loan modification request within 10 business days of the denial
                 decision. The notification shall be in the form of the non-approval
                 notice required in paragraph IV.G.1 below.
    G.    Independent Evaluation of First Lien Loan Modification Denials.
          1.     Except when evaluated as provided in paragraphs IV.B.8 or
                 IV.B.9, Servicer’s initial denial of an eligible borrower’s request
                 for first lien loan modification following the submission of a


                                     A-26
                                                                           GARCIA 04299
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page119
                                                          28 of 223
                                                                314



               complete loan modification application shall be subject to an
               independent evaluation. Such evaluation shall be performed by an
               independent entity or a different employee who has not been
               involved with the particular loan modification.
          2.   Denial Notice.
               a.     When a first lien loan modification is denied after
                      independent review, Servicer shall send a written non-
                      approval notice to the borrower identifying the reasons for
                      denial and the factual information considered. The notice
                      shall inform the borrower that he or she has 30 days from
                      the date of the denial letter declination to provide evidence
                      that the eligibility determination was in error.
               b.     If the first lien modification is denied because disallowed
                      by investor, Servicer shall disclose in the written non-
                      approval notice the name of the investor and summarize the
                      reasons for investor denial.
               c.     For those cases where a first lien loan modification denial
                      is the result of an NPV calculation, Servicer shall provide
                      in the written non-approval notice the monthly gross
                      income and property value used in the calculation.
          3.   Appeal Process.
               a.     After the automatic review in paragraph IV.G.1 has been
                      completed and Servicer has issued the written non-approval
                      notice, in the circumstances described in the first sentences
                      of paragraphs IV.B.3, IV.B.5 or IV.B.7,except when
                      otherwise required by federal or state law or investor
                      directives, borrowers shall have 30 days to request an
                      appeal and obtain an independent review of the first lien
                      loan modification denial in accordance with the terms of
                      this Agreement. Servicer shall ensure that the borrower has
                      30 days from the date of the written non-approval notice to
                      provide information as to why Servicer’s determination of
                      eligibility for a loan modification was in error, unless the
                      reason for non-approval is (1) ineligible mortgage, (2)
                      ineligible property, (3) offer not accepted by borrower or
                      request withdrawn, or (4) the loan was previously modified.
               b.     For those cases in which the first lien loan modification
                      denial is the result of an NPV calculation, if a borrower
                      disagrees with the property value used by Servicer in the
                      NPV test, the borrower can request that a full appraisal be
                      conducted of the property by an independent licensed
                      appraiser (at borrower expense) consistent with HAMP



                                  A-27
                                                                         GARCIA 04300
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page120
                                                          29 of 223
                                                                314



                        directive 10-15. Servicer shall comply with the process set
                        forth in HAMP directive 10-15, including using such value
                        in the NPV calculation.
                 c.     Servicer shall review the information submitted by
                        borrower and use its best efforts to communicate the
                        disposition of borrower’s appeal to borrower no later than
                        30 days after receipt of the information.
                 d.     If Servicer denies borrower’s appeal, Servicer’s appeal
                        denial letter shall include a description of other available
                        loss mitigation, including short sales and deeds in lieu of
                        foreclosure.
    H.    General Loss Mitigation Requirements.
          1.     Servicer shall maintain adequate staffing and systems for tracking
                 borrower documents and information that are relevant to
                 foreclosure, loss mitigation, and other Servicer operations.
                 Servicer shall make periodic assessments to ensure that its staffing
                 and systems are adequate.
          2.     Servicer shall maintain adequate staffing and caseload limits for
                 SPOCs and employees responsible for handling foreclosure, loss
                 mitigation and related communications with borrowers and
                 housing counselors. Servicer shall make periodic assessments to
                 ensure that its staffing and systems are adequate.
          3.     Servicer shall establish reasonable minimum experience,
                 educational and training requirements for loss mitigation staff.
          4.     Servicer shall document electronically key actions taken on a
                 foreclosure, loan modification, bankruptcy, or other servicing file,
                 including communications with the borrower.
          5.     Servicer shall not adopt compensation arrangements for its
                 employees that encourage foreclosure over loss mitigation
                 alternatives.
          6.     Servicer shall not make inaccurate payment delinquency reports to
                 credit reporting agencies when the borrower is making timely
                 reduced payments pursuant to a trial or other loan modification
                 agreement. Servicer shall provide the borrower, prior to entering
                 into a trial loan modification, with clear and conspicuous written
                 information that adverse credit reporting consequences may result
                 from the borrower making reduced payments during the trial
                 period.
          7.     Where Servicer grants a loan modification, Servicer shall provide
                 borrower with a copy of the fully executed loan modification
                 agreement within 45 days of receipt of the executed copy from the



                                     A-28
                                                                           GARCIA 04301
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page121
                                                          30 of 223
                                                                314



                 borrower. If the modification is not in writing, Servicer shall
                 provide the borrower with a written summary of its terms, as
                 promptly as possible, within 45 days of the approval of the
                 modification.
          8.     Servicer shall not instruct, advise or recommend that borrowers go
                 into default in order to qualify for loss mitigation relief.
          9.     Servicer shall not discourage borrowers from working or
                 communicating with legitimate non-profit housing counseling
                 services.
          10.    Servicer shall not, in the ordinary course, require a borrower to
                 waive or release claims and defenses as a condition of approval for
                 a loan modification program or other loss mitigation relief.
                 However, nothing herein shall preclude Servicer from requiring a
                 waiver or release of claims and defenses with respect to a loan
                 modification offered in connection with the resolution of a
                 contested claim, when the borrower would not otherwise be
                 qualified for the loan modification under existing Servicer
                 programs.
          11.    Servicer shall not charge borrower an application fee in connection
                 with a request for a loan modification. Servicer shall provide
                 borrower with a pre-paid overnight envelope or pre-paid address
                 label for return of a loan modification application.
          12.    Notwithstanding any other provision of this Agreement, and to
                 minimize the risk of borrowers submitting multiple loss mitigation
                 requests for the purpose of delay, Servicer shall not be obligated to
                 evaluate requests for loss mitigation options from (a) borrowers
                 who have already been evaluated or afforded a fair opportunity to
                 be evaluated consistent with the requirements of HAMP or
                 proprietary modification programs, or (b) borrowers who were
                 evaluated after the date of implementation of this Agreement,
                 consistent with this Agreement, unless there has been a material
                 change in the borrower’s financial circumstances that is
                 documented by borrower and submitted to Servicer.
    I.    Proprietary First Lien Loan Modifications.
          1.     Servicer shall make publicly available information on its
                 qualification processes, all required documentation and
                 information necessary for a complete first lien loan modification
                 application, and key eligibility factors for all proprietary loan
                 modifications.
          2.     Servicer shall design proprietary first lien loan modification
                 programs that are intended to produce sustainable modifications
                 according to investor guidelines and previous results. Servicer


                                     A-29
                                                                           GARCIA 04302
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page122
                                                          31 of 223
                                                                314



                 shall design these programs with the intent of providing affordable
                 payments for borrowers needing longer term or permanent
                 assistance.
          3.     Servicer shall track outcomes and maintain records regarding
                 characteristics and performance of proprietary first lien loan
                 modifications. Servicer shall provide a description of modification
                 waterfalls, eligibility criteria, and modification terms, on a
                 publicly-available website.
          4.     Servicer shall not charge any application or processing fees for
                 proprietary first lien loan modifications.
    J.    Proprietary Second Lien Loan Modifications.
          1.     Servicer shall make publicly available information on its
                 qualification processes, all required documentation and
                 information necessary for a complete second lien modification
                 application.
          2.     Servicer shall design second lien modification programs with the
                 intent of providing affordable payments for borrowers needing
                 longer term or permanent assistance.
          3.     Servicer shall not charge any application or processing fees for
                 second lien modifications.
          4.     When an eligible borrower with a second lien submits all required
                 information for a second lien loan modification and the
                 modification request is denied, Servicer shall promptly send a
                 written non-approval notice to the borrower.
    K.    Short Sales.
          1.     Servicer shall make publicly available information on general
                 requirements for the short sale process.
          2.     Servicer shall consider appropriate monetary incentives to
                 underwater borrowers to facilitate short sale options.
          3.     Servicer shall develop a cooperative short sale process which
                 allows the borrower the opportunity to engage with Servicer to
                 pursue a short sale evaluation prior to putting home on the market.
          4.     Servicer shall send written confirmation of the borrower’s first
                 request for a short sale to the borrower or his or her agent within
                 10 business days of receipt of the request and proper written
                 authorization from the borrower allowing Servicer to communicate
                 with the borrower’s agent. The confirmation shall include basic
                 information about the short sale process and Servicer’s
                 requirements, and will state clearly and conspicuously that the




                                     A-30
                                                                          GARCIA 04303
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page123
                                                          32 of 223
                                                                314



                 Servicer may demand a deficiency payment if such deficiency
                 claim is permitted by applicable law.
          5.     Servicer shall send borrower at borrower’s address of record or to
                 borrower’s agent timely written notice of any missing required
                 documents for consideration of short sale within 30 days of
                 receiving borrower’s request for a short sale.
          6.     Servicer shall review the short sale request submitted by borrower
                 and communicate the disposition of borrower’s request no later
                 than 30 days after receipt of all required information and third-
                 party consents.
          7.     If the short sale request is accepted, Servicer shall
                 contemporaneously notify the borrower whether Servicer or
                 investor will demand a deficiency payment or related cash
                 contribution and the approximate amount of that deficiency, if such
                 deficiency obligation is permitted by applicable law. If the short
                 sale request is denied, Servicer shall provide reasons for the denial
                 in the written notice. If Servicer waives a deficiency claim, it shall
                 not sell or transfer such claim to a third-party debt collector or debt
                 buyer for collection.
    L.    Loss Mitigation During Bankruptcy.
          1.     Servicer may not deny any loss mitigation option to eligible
                 borrowers on the basis that the borrower is a debtor in bankruptcy
                 so long as borrower and any trustee cooperates in obtaining any
                 appropriate approvals or consents.
          2.     Servicer shall, to the extent reasonable, extend trial period loan
                 modification plans as necessary to accommodate delays in
                 obtaining bankruptcy court approvals or receiving full remittance
                 of debtor’s trial period payments that have been made to a chapter
                 13 trustee. In the event of a trial period extension, the debtor must
                 make a trial period payment for each month of the trial period,
                 including any extension month.
          3.     When the debtor is in compliance with a trial period or permanent
                 loan modification plan, Servicer will not object to confirmation of
                 the debtor’s chapter 13 plan, move to dismiss the pending
                 bankruptcy case, or file a MRS solely on the basis that the debtor
                 paid only the amounts due under the trial period or permanent loan
                 modification plan, as opposed to the non-modified mortgage
                 payments.
    M.    Transfer of Servicing of Loans Pending for Permanent Loan Modification.
          1.     Ordinary Transfer of Servicing from Servicer to Successor
                 Servicer or Subservicer.



                                     A-31
                                                                            GARCIA 04304
 Case 1:12-cv-00361-RMC Document 14-1
                                 1-2 Filed
                                      Filed03/12/12
                                            04/04/12 Page
                                                      Page124
                                                           33 of 223
                                                                 314



                  a.      At time of transfer or sale, Servicer shall inform successor
                          servicer (including a subservicer) whether a loan
                          modification is pending.
                  b.      Any contract for the transfer or sale of servicing rights shall
                          obligate the successor servicer to accept and continue
                          processing pending loan modification requests.
                  c.      Any contract for the transfer or sale of servicing rights shall
                          obligate the successor servicer to honor trial and permanent
                          loan modification agreements entered into by prior servicer.
                  d.      Any contract for transfer or sale of servicing rights shall
                          designate that borrowers are third party beneficiaries under
                          paragraphs IV.M.1.b and IV.M.1.c, above.
           2.     Transfer of Servicing to Servicer. When Servicer acquires
                  servicing rights from another servicer, Servicer shall ensure that it
                  will accept and continue to process pending loan modification
                  requests from the prior servicer, and that it will honor trial and
                  permanent loan modification agreements entered into by the prior
                  servicer.
V.   PROTECTIONS FOR MILITARY PERSONNEL.
     A.    Servicer shall comply with all applicable provisions of the
           Servicemembers Civil Relief Act (SCRA), 50 U.S.C. Appx. § 501 et seq.,
           and any applicable state law offering protections to servicemembers, and
           shall engage an independent consultant whose duties shall include a
           review of (a) all foreclosures in which an SCRA-eligible servicemember is
           known to have been an obligor or mortgagor, and (b) a sample of
           foreclosure actions (which sample will be appropriately enlarged to the
           extent Servicer identifies material exceptions), from January 1, 2009 to
           December 31, 2010 to determine whether the foreclosures were in
           compliance with the SCRA. Servicer shall remediate all monetary
           damages in compliance with the banking regulator Consent Orders.
     B.    When a borrower states that he or she is or was within the preceding 9
           months (or the then applicable statutory period under the SCRA) in active
           military service or has received and is subject to military orders requiring
           him or her to commence active military service, Lender shall determine
           whether the borrower may be eligible for the protections of the SCRA or
           for the protections of the provisions of paragraph V.F. If Servicer
           determines the borrower is so eligible, Servicer shall, until Servicer
           determines that such customer is no longer protected by the SCRA,
           1.     if such borrower is not entitled to a SPOC, route such customers to
                  employees who have been specially trained about the protections
                  of the SCRA to respond to such borrower’s questions, or




                                       A-32
                                                                             GARCIA 04305
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page125
                                                          34 of 223
                                                                314



          2.     if such borrower is entitled to a SPOC, designate as a SPOC for
                 such borrower a person who has been specially trained about the
                 protections of the SCRA (Servicemember SPOC).
    C.    Servicer shall, in addition to any other reviews it may perform to assess
          eligibility under the SCRA, (i) before referring a loan for foreclosure, (ii)
          within seven days before a foreclosure sale, and (iii) the later of (A)
          promptly after a foreclosure sale and (B) within three days before the
          regularly scheduled end of any redemption period, determine whether the
          secured property is owned by a servicemember covered under SCRA by
          searching the Defense Manpower Data Center (DMDC) for evidence of
          SCRA eligibility by either (a) last name and social security number, or (b)
          last name and date of birth.
    D.    When a servicemember provides written notice requesting protection
          under the SCRA relating to interest rate relief, but does not provide the
          documentation required by Section 207(b)(1) of the SCRA (50 USC
          Appx. § 527(b)(1)), Servicer shall accept, in lieu of the documentation
          required by Section 207(b)(1) of the SCRA, a letter on official letterhead
          from the servicemember’s commanding officer including a contact
          telephone number for confirmation:
          1.     Addressed in such a way as to signify that the commanding officer
                 recognizes that the letter will be relied on by creditors of the
                 servicemember (a statement that the letter is intended to be relied
                 upon by the Servicemember’s creditors would satisfy this
                 requirement);
          2.     Setting forth the full name (including middle initial, if any), Social
                 Security number and date of birth of the servicemember;
          3.     Setting forth the home address of the servicemember; and
          4.     Setting forth the date of the military orders marking the beginning
                 of the period of military service of the servicemember and, as may
                 be applicable, that the military service of the servicemember is
                 continuing or the date on which the military service of the
                 servicemember ended.
    E.    Servicer shall notify customers who are 45 days delinquent that, if they are
          a servicemember, (a) they may be entitled to certain protections under the
          SCRA regarding the servicemember’s interest rate and the risk of
          foreclosure, and (b) counseling for covered servicemembers is available at
          agencies such as Military OneSource, Armed Forces Legal Assistance,
          and a HUD-certified housing counselor. Such notice shall include a toll-
          free number that servicemembers may call to be connected to a person
          who has been specially trained about the protections of the SCRA to
          respond to such borrower’s questions. Such telephone number shall either
          connect directly to such a person or afford a caller the ability to identify



                                      A-33
                                                                            GARCIA 04306
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page126
                                                          35 of 223
                                                                314



          him- or herself as an eligible servicemember and be routed to such
          persons. Servicers hereby confirm that they intend to take reasonable
          steps to ensure the dissemination of such toll-free number to customers
          who may be eligible servicemembers.
    F.    Irrespective of whether a mortgage obligation was originated before or
          during the period of a servicemember’s military service, if, based on the
          determination described in the last sentence and subject to Applicable
          Requirements, a servicemember’s military orders (or any letter complying
          with paragraph V.D), together with any other documentation satisfactory
          to the Servicer, reflects that the servicemember is (a) eligible for Hostile
          Fire/Imminent Danger Pay and (b) serving at a location (i) more than 750
          miles from the location of the secured property or (ii) outside of the
          United States, then to the extent consistent with Applicable Requirements,
          the Servicer shall not sell, foreclose, or seize a property for a breach of an
          obligation on real property owned by a servicemember that is secured by
          mortgage, deed of trust, or other security in the nature of a mortgage,
          during, or within 9 months after, the period in which the servicemember is
          eligible for Hostile Fire/Imminent Danger Pay, unless either (i) Servicer
          has obtained a court order granted before such sale, foreclosure, or seizure
          with a return made and approved by the court, or (ii) if made pursuant to
          an agreement as provided in section 107 of the SCRA (50 U.S.C. Appx. §
          517). Unless a servicemember's eligibility for the protection under this
          paragraph can be fully determined by a proper search of the DMDC
          website, Servicer shall only be obligated under this provision if it is able to
          determine, based on a servicemember’s military orders (or any letter
          complying with paragraph V.D), together with any other documentation
          provided by or on behalf of the servicemember that is satisfactory to the
          Servicer, that the servicemember is (a) eligible for Hostile Fire/Imminent
          Danger Pay and (b) serving at a location (i) more than 750 miles from the
          location of the secured property or (ii) outside of the United States.
    G.    Servicer shall not require a servicemember to be delinquent to qualify for
          a short sale, loan modification, or other loss mitigation relief if the
          servicemember is suffering financial hardship and is otherwise eligible for
          such loss mitigation. Subject to Applicable Requirements, for purposes of
          assessing financial hardship in relation to (i) a short sale or deed in lieu
          transaction, Servicer will take into account whether the servicemember is,
          as a result of a permanent change of station order, required to relocate
          even if such servicemember’s income has not been decreased, so long as
          the servicemember does not have sufficient liquid assets to make his or her
          monthly mortgage payments, or (ii) a loan modification, Servicer will take
          into account whether the servicemember is, as a result of his or her under
          military orders required to relocate to a new duty station at least seventy
          five mile from his or her residence/secured property or to reside at a
          location other than the residence/secured property, and accordingly is



                                      A-34
                                                                             GARCIA 04307
 Case 1:12-cv-00361-RMC Document 14-1
                                 1-2 Filed
                                      Filed03/12/12
                                            04/04/12 Page
                                                      Page127
                                                           36 of 223
                                                                 314



            unable personally to occupy the residence and (a) the residence will
            continue to be occupied by his or her dependents, or (b) the residence is
            the only residential property owned by the servicemember.
      H.    Servicer shall not make inaccurate reports to credit reporting agencies
            when a servicemember, who has not defaulted before relocating under
            military orders to a new duty station, obtains a short sale, loan
            modification, or other loss mitigation relief.
VI.   RESTRICTIONS ON SERVICING FEES.
      A.    General Requirements.
            1.     All default, foreclosure and bankruptcy-related service fees,
                   including third-party fees, collected from the borrower by Servicer
                   shall be bona fide, reasonable in amount, and disclosed in detail to
                   the borrower as provided in paragraphs I.B.10 and VI.B.1.
      B.    Specific Fee Provisions.
            1.     Schedule of Fees. Servicer shall maintain and keep current a
                   schedule of common non-state specific fees or ranges of fees that
                   may be charged to borrowers by or on behalf of Servicer. Servicer
                   shall make this schedule available on its website and to the
                   borrower or borrower’s authorized representative upon request.
                   The schedule shall identify each fee, provide a plain language
                   explanation of the fee, and state the maximum amount of the fee or
                   how the fee is calculated or determined.
            2.     Servicer may collect a default-related fee only if the fee is for
                   reasonable and appropriate services actually rendered and one of
                   the following conditions is met:
                   a.      the fee is expressly or generally authorized by the loan
                           instruments and not prohibited by law or this Agreement;
                   b.      the fee is permitted by law and not prohibited by the loan
                           instruments or this Agreement; or
                   c.      the fee is not prohibited by law, this Agreement or the loan
                           instruments and is a reasonable fee for a specific service
                           requested by the borrower that is collected only after clear
                           and conspicuous disclosure of the fee is made available to
                           the borrower.
            3.     Attorneys’ Fees. In addition to the limitations in paragraph VI.B.2
                   above, attorneys’ fees charged in connection with a foreclosure
                   action or bankruptcy proceeding shall only be for work actually
                   performed and shall not exceed reasonable and customary fees for
                   such work. In the event a foreclosure action is terminated prior to
                   the final judgment and/or sale for a loss mitigation option, a



                                       A-35
                                                                             GARCIA 04308
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page128
                                                          37 of 223
                                                                314



                 reinstatement, or payment in full, the borrower shall be liable only
                 for reasonable and customary fees for work actually performed.
          4.     Late Fees.
                 a.     Servicer shall not collect any late fee or delinquency charge
                        when the only delinquency is attributable to late fees or
                        delinquency charges assessed on an earlier payment, and
                        the payment is otherwise a full payment for the applicable
                        period and is paid on or before its due date or within any
                        applicable grace period.
                 b.     Servicer shall not collect late fees (i) based on an amount
                        greater than the past due amount; (ii) collected from the
                        escrow account or from escrow surplus without the
                        approval of the borrower; or (iii) deducted from any regular
                        payment.
                 c.     Servicer shall not collect any late fees for periods during
                        which (i) a complete loan modification application is under
                        consideration; (ii) the borrower is making timely trial
                        modification payments; or (iii) a short sale offer is being
                        evaluated by Servicer.
    C.    Third-Party Fees.
          1.     Servicer shall not impose unnecessary or duplicative property
                 inspection, property preservation or valuation fees on the borrower,
                 including, but not limited to, the following:
                 a.     No property preservation fees shall be imposed on eligible
                        borrowers who have a pending application with Servicer
                        for loss mitigation relief or are performing under a loss
                        mitigation program, unless Servicer has a reasonable basis
                        to believe that property preservation is necessary for the
                        maintenance of the property, such as when the property is
                        vacant or listed on a violation notice from a local
                        jurisdiction;
                 b.     No property inspection fee shall be imposed on a borrower
                        any more frequently than the timeframes allowed under
                        GSE or HUD guidelines unless Servicer has identified
                        specific circumstances supporting the need for further
                        property inspections; and
                 c.     Servicer shall be limited to imposing property valuation
                        fees (e.g., BPO) to once every 12 months, unless other
                        valuations are requested by the borrower to facilitate a
                        short sale or to support a loan modification as outlined in
                        paragraph IV.G.3.a, or required as part of the default or



                                     A-36
                                                                           GARCIA 04309
 Case 1:12-cv-00361-RMC Document 14-1
                                 1-2 Filed
                                      Filed03/12/12
                                            04/04/12 Page
                                                      Page129
                                                           38 of 223
                                                                 314



                          foreclosure valuation process.
            2.     Default, foreclosure and bankruptcy-related services performed by
                   third parties shall be at reasonable market value.
            3.     Servicer shall not collect any fee for default, foreclosure or
                   bankruptcy-related services by an affiliate unless the amount of the
                   fee does not exceed the lesser of (a) any fee limitation or allowable
                   amount for the service under applicable state law, and (b) the
                   market rate for the service. To determine the market rate, Servicer
                   shall obtain annual market reviews of its affiliates’ pricing for such
                   default and foreclosure-related services; such market reviews shall
                   be performed by a qualified, objective, independent third-party
                   professional using procedures and standards generally accepted in
                   the industry to yield accurate and reliable results. The independent
                   third-party professional shall determine in its market survey the
                   price actually charged by third-party affiliates and by independent
                   third party vendors.
            4.     Servicer shall be prohibited from collecting any unearned fee, or
                   giving or accepting referral fees in relation to third-party default or
                   foreclosure-related services.
            5.     Servicer shall not impose its own mark-ups on Servicer initiated
                   third-party default or foreclosure-related services.
       D.   Certain Bankruptcy Related Fees.
            1.     Servicer must not collect any attorney’s fees or other charges with
                   respect to the preparation or submission of a POC or MRS
                   document that is withdrawn or denied, or any amendment thereto
                   that is required, as a result of a substantial misstatement by
                   Servicer of the amount due.
            2.     Servicer shall not collect late fees due to delays in receiving full
                   remittance of debtor’s payments, including trial period or
                   permanent modification payments as well as post-petition conduit
                   payments in accordance with 11 U.S.C. § 1322(b)(5), that debtor
                   has timely (as defined by the underlying Chapter 13 plan) made to
                   a chapter 13 trustee.
VII.   FORCE-PLACED INSURANCE.
       A.   General Requirements for Force-Placed Insurance.
            1.     Servicer shall not obtain force-placed insurance unless there is a
                   reasonable basis to believe the borrower has failed to comply with
                   the loan contract’s requirements to maintain property insurance.
                   For escrowed accounts, Servicer shall continue to advance
                   payments for the homeowner’s existing policy, unless the borrower
                   or insurance company cancels the existing policy.



                                        A-37
                                                                               GARCIA 04310
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page130
                                                          39 of 223
                                                                314



               For purposes of this section VII, the term “force-placed insurance”
               means hazard insurance coverage obtained by Servicer when the
               borrower has failed to maintain or renew hazard or wind insurance
               on such property as required of the borrower under the terms of the
               mortgage.
          2.   Servicer shall not be construed as having a reasonable basis for
               obtaining force-placed insurance unless the requirements of this
               section VII have been met.
          3.   Servicer shall not impose any charge on any borrower for force-
               placed insurance with respect to any property securing a federally
               related mortgage unless:
               a.     Servicer has sent, by first-class mail, a written notice to the
                      borrower containing:
                      i.      A reminder of the borrower’s obligation to maintain
                              hazard insurance on the property securing the
                              federally related mortgage;
                      ii.     A statement that Servicer does not have evidence of
                              insurance coverage of such property;
                      iii.    A clear and conspicuous statement of the
                              procedures by which the borrower may demonstrate
                              that the borrower already has insurance coverage;
                      iv.     A statement that Servicer may obtain such coverage
                              at the borrower’s expense if the borrower does not
                              provide such demonstration of the borrower’s
                              existing coverage in a timely manner;
                      v.      A statement that the cost of such coverage may be
                              significantly higher than the cost of the
                              homeowner’s current coverage;
                      vi.     For first lien loans on Servicer’s primary servicing
                              system, a statement that, if the borrower desires to
                              maintain his or her voluntary policy, Servicer will
                              offer an escrow account and advance the premium
                              due on the voluntary policy if the borrower: (a)
                              accepts the offer of the escrow account; (b) provides
                              a copy of the invoice from the voluntary carrier; (c)
                              agrees in writing to reimburse the escrow advances
                              through regular escrow payments; (d) agrees to
                              escrow to both repay the advanced premium and to
                              pay for the future premiums necessary to maintain
                              any required insurance policy; and (e) agrees
                              Servicer shall manage the escrow account in



                                   A-38
                                                                          GARCIA 04311
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page131
                                                          40 of 223
                                                                314



                              accordance with the loan documents and with state
                              and federal law; and
                      vii.    A statement, in the case of single interest coverage,
                              that the coverage may only protect the mortgage
                              holder’s interest and not the homeowner’s interest.
               b.     Servicer has sent, by first-class mail, a second written
                      notice, at least 30 days after the mailing of the notice under
                      paragraph VII.A.3.a that contains all the information
                      described in each clause of such paragraph.
               c.     Servicer has not received from the borrower written
                      confirmation of hazard insurance coverage for the property
                      securing the mortgage by the end of the 15-day period
                      beginning on the date the notice under paragraph VII.A.3.b
                      was sent by Servicer.
          4.   Servicer shall accept any reasonable form of written confirmation
               from a borrower or the borrower’s insurance agent of existing
               insurance coverage, which shall include the existing insurance
               policy number along with the identity of, and contact information
               for, the insurance company or agent.
          5.   Servicer shall not place hazard or wind insurance on a mortgaged
               property, or require a borrower to obtain or maintain such
               insurance, in excess of the greater of replacement value, last-
               known amount of coverage or the outstanding loan balance, unless
               required by Applicable Requirements, or requested by borrower in
               writing.
          6.   Within 15 days of the receipt by Servicer of evidence of a
               borrower’s existing insurance coverage, Servicer shall:
               a.     Terminate the force-placed insurance; and
               b.     Refund to the consumer all force-placed insurance
                      premiums paid by the borrower during any period during
                      which the borrower’s insurance coverage and the force
                      placed insurance coverage were each in effect, and any
                      related fees charged to the consumer’s account with respect
                      to the force-placed insurance during such period.
          7.   Servicer shall make reasonable efforts to work with the borrower
               to continue or reestablish the existing homeowner’s policy if there
               is a lapse in payment and the borrower’s payments are escrowed.
          8.   Any force-placed insurance policy must be purchased for a
               commercially reasonable price.




                                   A-39
                                                                         GARCIA 04312
 Case 1:12-cv-00361-RMC Document 14-1
                                 1-2 Filed
                                      Filed03/12/12
                                            04/04/12 Page
                                                      Page132
                                                           41 of 223
                                                                 314



            9.     No provision of this section VII shall be construed as prohibiting
                   Servicer from providing simultaneous or concurrent notice of a
                   lack of flood insurance pursuant to section 102(e) of the Flood
                   Disaster Protection Act of 1973.
VIII. GENERAL SERVICER DUTIES AND PROHIBITIONS.
      A.    Measures to Deter Community Blight.
            1.     Servicer shall develop and implement policies and procedures to
                   ensure that REO properties do not become blighted.
            2.     Servicer shall develop and implement policies and procedures to
                   enhance participation and coordination with state and local land
                   bank programs, neighborhood stabilization programs, nonprofit
                   redevelopment programs, and other anti-blight programs, including
                   those that facilitate discount sale or donation of low-value REO
                   properties so that they can be demolished or salvaged for
                   productive use.
            3.     As indicated in I.A.18, Servicer shall (a) inform borrower that if
                   the borrower continues to occupy the property, he or she has
                   responsibility to maintain the property, and an obligation to
                   continue to pay taxes owed, until a sale or other title transfer action
                   occurs; and (b) request that if the borrower wishes to abandon the
                   property, he or she contact Servicer to discuss alternatives to
                   foreclosure under which borrower can surrender the property to
                   Servicer in exchange for compensation.
            4.     When the Servicer makes a determination not to pursue foreclosure
                   action on a property with respect to a first lien mortgage loan,
                   Servicer shall:
                   a.     Notify the borrower of Servicer’s decision to release the
                          lien and not pursue foreclosure, and inform borrower about
                          his or her right to occupy the property until a sale or other
                          title transfer action occurs; and
                   b.     Notify local authorities, such as tax authorities, courts, or
                          code enforcement departments, when Servicer decides to
                          release the lien and not pursue foreclosure.
      B.    Tenants’ Rights.
            1.     Servicer shall comply with all applicable state and federal laws
                   governing the rights of tenants living in foreclosed residential
                   properties.
            2.     Servicer shall develop and implement written policies and
                   procedures to ensure compliance with such laws.




                                        A-40
                                                                              GARCIA 04313
 Case 1:12-cv-00361-RMC Document 14-1
                                 1-2 Filed
                                      Filed03/12/12
                                            04/04/12 Page
                                                      Page133
                                                           42 of 223
                                                                 314



IX.   GENERAL PROVISIONS, DEFINITIONS, AND IMPLEMENTATION.
      A.    Applicable Requirements.
            1.     The servicing standards and any modifications or other actions
                   taken in accordance with the servicing standards are expressly
                   subject to, and shall be interpreted in accordance with, (a)
                   applicable federal, state and local laws, rules and regulations,
                   including, but not limited to, any requirements of the federal
                   banking regulators, (b) the terms of the applicable mortgage loan
                   documents, (c) Section 201 of the Helping Families Save Their
                   Homes Act of 2009, and (d) the terms and provisions of the
                   Servicer Participation Agreement with the Department of Treasury,
                   any servicing agreement, subservicing agreement under which
                   Servicer services for others, special servicing agreement, mortgage
                   or bond insurance policy or related agreement or requirements to
                   which Servicer is a party and by which it or its servicing is bound
                   pertaining to the servicing or ownership of the mortgage loans,
                   including without limitation the requirements, binding directions,
                   or investor guidelines of the applicable investor (such as Fannie
                   Mae or Freddie Mac), mortgage or bond insurer, or credit enhancer
                   (collectively, the “Applicable Requirements”).
            2.     In the event of a conflict between the requirements of the
                   Agreement and the Applicable Requirements with respect to any
                   provision of this Agreement such that the Servicer cannot comply
                   without violating Applicable Requirements or being subject to
                   adverse action, including fines and penalties, Servicer shall
                   document such conflicts and notify the Monitor and the
                   Monitoring Committee that it intends to comply with the
                   Applicable Requirements to the extent necessary to eliminate the
                   conflict. Any associated Metric provided for in the Enforcement
                   Terms will be adjusted accordingly.
      B.    Definitions.
            1.     In each instance in this Agreement in which Servicer is required to
                   ensure adherence to, or undertake to perform certain obligations, it
                   is intended to mean that Servicer shall: (a) authorize and adopt
                   such actions on behalf of Servicer as may be necessary for Servicer
                   to perform such obligations and undertakings; (b) follow up on any
                   material non-compliance with such actions in a timely and
                   appropriate manner; and (c) require corrective action be taken in a
                   timely manner of any material non-compliance with such
                   obligations.
            2.     References to Servicer shall mean Wells Fargo Bank, N.A. and
                   Wells Fargo & Company and shall include Servicer’s successors
                   and assignees in the event of a sale of all or substantially all of the


                                        A-41
                                                                               GARCIA 04314
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page134
                                                          43 of 223
                                                                314



               assets of Servicer or of Servicer’s division(s) or major business
               unit(s) that are engaged as a primary business in customer-facing
               servicing of residential mortgages on owner-occupied properties.
               The provisions of this Agreement shall not apply to those divisions
               or major business units of Servicer that are not engaged as a
               primary business in customer-facing servicing of residential
               mortgages on owner-occupied one-to-four family properties on its
               own behalf or on behalf of investors.




                                  A-42
                                                                       GARCIA 04315
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page135
                                                          44 of 223
                                                                314




                  EXHIBIT B




                                                            GARCIA 04316
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page136
                                                            45 of 223
                                                                  314



                              DISTRIBUTION OF FUNDS

       1.      Any amount of the Direct Payment Settlement Amount that is not

distributed pursuant to Paragraph 2 shall be distributed as follows.

               a. Federal Payment Settlement Amount. The Escrow Agent shall distribute

                   $911,777,917.00 (the “Federal Payment Settlement Amount”) to the United

                   States in accordance with instructions to be provided by the United States.

                   i. Of the Federal Payment Settlement Amount, $684,090,417.00

                       shall, following payment of any amounts owed as a result of resolutions

                       pursuant to 31 U.S.C. § 3730(d), and subject to 28 U.S.C. § 527 (Note),

                       be deposited for losses incurred into FHA’s Capital Reserve Account,

                       the Veterans Housing Benefit Program Fund (pursuant to 38 U.S.C. §

                       3722(c)(3), as being incident to housing loan operations) or as otherwise

                       directed by the Department of Veterans Affairs, and as directed by Rural

                       Housing Service, Department of Agriculture, in accordance with

                       instructions from the United States. The United States intends that such

                       deposits conform with the Miscellaneous Receipts Act and other law.

                   ii. The Federal Payment Settlement Amount includes resolution of the

                       following qui tam actions: (i) $75,000,000 from the claims in United

                       States ex rel. Lagow v. Countrywide Financial Corp., et al., Civil

                       Action No. CV-09-2040 (E.D.N.Y.); (ii) $45,000,000 from those

                       claims in United States ex rel. Bibby et al. v. JPMorgan Chase et

                       al., No. 2:11-cv-00535-RHL-RJJ (N.D. Ga.) that are expressly

                       released by the United States in this litigation; (iii) $95,000,000

                       from those claims in United States ex rel. Szymoniak v.




                                                                                     GARCIA 04317
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page137
                                                          46 of 223
                                                                314



                 [SEALED], Civ No. 0:10-cv-01465 (D.S.C.) and in United States

                 ex rel. Szymoniak v. [SEALED], Civ No. 3:10-cv-575 (W.D.N.C.)

                 that are expressly released by the United States in this litigation;

                 (iv) $6,500,000 from the claims in United States ex rel. Mackler v.

                 Bank of America, N.A., et al., 11-CV-3270 (SLT) (E.D.N.Y.); and

                 (v) $6,187,500 from the claims in United States ex rel. Harris v.

                 J.P. Morgan Chase & Co., et al., Civil Action No. 10-10068-GAO

                 (D. Mass). Following payment of any amounts owed as a result of

                 resolutions pursuant to 31 U.S.C. § 3730(d), and subject to 28 U.S.C. §

                 527 (Note), these amounts shall be deposited into FHA’s Capital Reserve

                 Account and the Veterans Housing Benefit Program Fund (pursuant to

                 38 U.S.C. § 3722(c)(3), as being incident to housing loan operations) or

                 as otherwise directed by the Department of Veterans Affairs, in

                 accordance with instructions from the United States. The United States

                 intends that such deposits conform with the Miscellaneous Receipts Act

                 and other law.

          b. State Payment Settlement Amounts. In accordance with written

             instructions from each State Attorney General, the Escrow Agent shall

             distribute cash payments in the total amounts set forth in the attached

             Exhibit B-1.

              i. Each State Attorney General shall designate the uses of the funds

                 set forth in the attached Exhibit B-1. To the extent practicable,

                 such funds shall be used for purposes intended to avoid

                 preventable foreclosures, to ameliorate the effects of the


                                       B-2

                                                                              GARCIA 04318
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page138
                                                            47 of 223
                                                                  314



                          foreclosure crisis, to enhance law enforcement efforts to prevent

                          and prosecute financial fraud, or unfair or deceptive acts or

                          practices and to compensate the States for costs resulting from the

                          alleged unlawful conduct of the Defendants. Such permissible

                          purposes for allocation of the funds include, but are not limited to,

                          supplementing the amounts paid to state homeowners under the

                          Borrower Payment Fund, funding for housing counselors, state and

                          local foreclosure assistance hotlines, state and local foreclosure

                          mediation programs, legal assistance, housing remediation and

                          anti-blight projects, funding for training and staffing of financial

                          fraud or consumer protection enforcement efforts, and civil

                          penalties. Accordingly, each Attorney General has set forth

                          general instructions for the funds in the attached Exhibit B-2.

                   ii. No more than ten percent of the aggregate amount paid to the State

                          Parties under this paragraph 1(b) may be designated as a civil

                          penalty, fine, or similar payment. The remainder of the payments

                          is intended to remediate the harms to the States and their

                          communities resulting from the alleged unlawful conduct of the

                          Defendant and to facilitate the implementation of the Borrower

                          Payment Fund and consumer relief.

       2.      Of the Direct Payment Settlement Amount, $1,579,813,925.00 shall be

distributed as follows:




                                               B-3

                                                                                       GARCIA 04319
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page139
                                                          48 of 223
                                                                314



          a. In accordance with written instructions from the State members of the

             Monitoring Committee, the Escrow Agent shall make available

             $1,489,813,925.00 to the Administrator to provide cash payments to

             borrowers whose homes were finally sold or taken in foreclosure

             between and including January 1, 2008 and December 31, 2011; who

             submit claims arising from the Covered Conduct; and who otherwise

             meet criteria set forth by the State members of the Monitoring

             Committee. Any amounts made available hereunder remain a part of

             the Qualified Settlement Fund until distributed to borrowers and shall

             be administered in accordance with the terms set forth in Exhibit C.

          b. In accordance with written instructions from the State members of the

             Monitoring Committee, the Escrow Agent shall distribute

             $15,000,000.00 to the National Association of Attorneys General

             (NAAG) to create and administer the “Financial Services and

             Consumer Protection Enforcement, Education and Training Fund.”

             Such Fund shall be used to pay for expenses and training relating to

             the investigation and prosecution of cases involving fraud, unfair and

             deceptive acts and practices, and other illegal conduct related to

             financial services or state consumer protection laws. Illustrative

             examples include, but are not limited to, travel costs associated with

             investigation, litigation, or settlement of financial services or consumer

             protection cases; expert witness and consulting fees, training

             programs, NAAG Consumer Protection Conferences, information



                                      B-4

                                                                           GARCIA 04320
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page140
                                                          49 of 223
                                                                314



             exchanges, public education campaigns, and other uses. The State

             members of the Monitoring Committee shall develop rules and

             regulations governing the Financial Services and Consumer Protection

             Enforcement, Education and Training Fund in a separate memorandum

             of understanding after this Consent Judgment has been entered.

          c. In accordance with written instructions from the State members of the

             Monitoring Committee, the Escrow Agent shall distribute a total of

             $10,000,000.00 to the members of the Executive Committee and the

             Ameriquest Financial Services Fund (“AMFSF”) for reimbursement of

             costs and attorneys fees incurred during the investigation of this case

             and the settlement negotiations and for subsequent expenditures as

             authorized by each Attorney General. Such payments shall be made as

             designated by the Iowa Attorney General as the Chairman of the

             Executive Committee, and shall be made to the State Attorneys

             General of Arizona, California, Colorado, Connecticut, Delaware,

             Florida, Illinois, Iowa, Massachusetts, North Carolina, Ohio,

             Tennessee, Texas, and Washington and the Maryland Department of

             Labor, Licensing and Regulation and the Ameriquest Financial

             Services Fund. The authorized representatives of each state attorney

             general, the Maryland Department of Labor, Licensing and Regulation

             and the AMFSF will provide a letter to the Escrow Agent directing

             how each separate payment should be made.




                                      B-5

                                                                           GARCIA 04321
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page141
                                                          50 of 223
                                                                314



           d. In accordance with written instructions from the State members of the

               Monitoring Committee, the Escrow Agent shall distribute

               $65,000,000.00 to the Conference of State Bank Supervisors (CSBS).

               CSBS shall use $15,000,000 to establish the “State Financial

               Regulation Fund,” a fund to be managed and used by CSBS to support

               and improve state financial regulation and supervision. From the

               balance, CSBS shall transfer $1,000,000 per state to the state financial

               regulators who have signed this Consent Judgment. Where multiple

               agencies within a single state claim regulatory jurisdiction, CSBS shall

               transfer that state’s funds as provided in an agreement between or

               among those regulatory agencies. In addition, state financial

               regulators may, at their discretion, enter into an agreement with CSBS

               for the management and disbursement of all or a portion of the funds

               paid to them. If, for any reason, a state financial regulator elects to

               forego receipt of their transfer payment or in the case of a participating

               state where the state financial regulator declines to sign this Consent

               Judgment, such funds shall revert to the State Financial Regulation

               Fund.

 3. Any interest earned on funds held by the Escrow Agent may be used, at the

    discretion of the State members of the Monitoring Committee, to pay the costs

    and expenses of the escrow or the costs and expenses of administration, including

    taxes, or for any other housing related purpose.




                                        B-6

                                                                              GARCIA 04322
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page142
                                                          51 of 223
                                                                314



 4. Notwithstanding any implication to the contrary in any of the provisions of

    Exhibit B-2, all instructions therein shall be subject to the provisions of paragraph

    1.b(i) and 1.b(ii) of this Exhibit B. If and to the extent any amounts are paid into

    a fund or escrow account established by a State Party that is not an integral part of

    the government of such State, it is intended that such fund or account be deemed a

    Qualified Settlement Fund within the meaning of Treasury Regulation Section

    1.468B-1 of the U.S. Internal Revenue Code of 1986, as amended. To the extent

    that any state designates any payments hereunder as a civil penalty, such state

    shall provide the Defendant(s), upon request, such information as is reasonably

    necessary for tax reporting purposes with respect to such civil penalty.




                                        B-7

                                                                               GARCIA 04323
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page143
                                                          52 of 223
                                                                314




                 EXHIBIT B1




                                                            GARCIA 04324
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page144
                                                          53 of 223
                                                                314



                            EXHIBIT B1


              DOLLAR                                  DOLLAR
 STATE                                   STATE
            ALLOCATION                              ALLOCATION
AK            $3,286,839                 MS          $13,580,374
AL           $25,305,692                 MT           $4,858,276
AR           $12,830,241                 NC          $60,852,159
AZ           $97,784,204                 ND           $1,947,666
CA           $410,576,996                NE           $8,422,528
CO           $50,170,188                 NH           $9,575,447
CT           $26,102,142                 NJ          $72,110,727
DC            $4,433,081                 NM          $11,174,579
DE            $7,913,923                 NV          $57,368,430
FL           $334,073,974                NY          $107,642,490
GA           $99,365,105                 OH          $92,783,033
HI            $7,911,883                 OR          $29,253,190
IA           $14,651,922                 PA          $66,527,978
ID           $13,305,209                 RI           $8,500,755
IL           $105,806,405                SC          $31,344,349
IN           $43,803,419                 SD           $2,886,824
KS           $13,778,401                 TN          $41,207,810
KY           $19,198,220                 TX          $134,628,489
LA           $21,741,560                 UT          $21,951,641
MA            $44,450,668                VA          $66,525,233
MD            $59,697,470                VT           $2,552,240
ME            $6,907,023                 WA          $54,242,749
MI            $97,209,465                WI          $30,191,806
MN            $41,536,169                WV           $5,748,915
MO           $39,583,212                 WY           $2,614,515




                                                            GARCIA 04325
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page145
                                                          54 of 223
                                                                314




                 EXHIBIT B2




                                                            GARCIA 04326
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page146
                                                            55 of 223
                                                                  314



                                      EXHIBIT B2

                                       ALABAMA

The Court awards the State of Alabama a judgment in the amount of $25,305,692, which
shall be paid by electronic transfer to the Office of the Attorney General. Of this amount,
the Court awards $2,530,569 dollars in civil penalties (or 10% of the total) as defined by
and in accordance with Code of Alabama, 1975, §8-19-11 for misconduct relating to the
banks’ robo-signing in violation of Alabama’s Deceptive Trade Practices Act. The
remaining amount shall be used by the Attorney General, at his sole discretion, for costs
of investigation and litigation, for law enforcement efforts to prevent and prosecute
financial fraud, and/or for public protection purposes, such as to defray the operating cost
of any function of the Attorney General’s Office that protects citizens, whether through
investigation, representation, regulation, mediation, prosecution, victims’ assistance, or
consumer education concerning consumer-related financial or other crimes, or, at the sole
discretion of the Attorney General, to be used for housing programs, housing counseling,
legal assistance, foreclosure prevention hotlines, foreclosure mediation and investigation
of financial fraud or other wrongdoing overseen by any division of the Attorney
General’s Office.

In addition, the Attorney General may distribute any amount from the funds, at his sole
discretion, to other governmental entities or charitable organizations whose eleemosynary
purposes benefit those affected by the aforementioned misconduct

                                        ALASKA

Alaska’s payment of $3,286,839.00 shall be to the State of Alaska and delivered to the
Office of the Attorney General, 1031 West 4th Avenue, Suite 200, Anchorage, Alaska
99501.

                                       ARIZONA

1.      State Payment Settlement Amounts, Consent Judgment Ex. B, Paragraph 1(b)(i)
Arizona’s share of the State Payment Settlement Amounts (“Funds”) provided under this
Consent Judgment, and any interest thereon, shall be made payable to the Office of the
Arizona Attorney General. The Attorney General shall direct the use of the Funds in
Arizona. The Funds shall be used for purposes intended to avoid preventable
foreclosures, to ameliorate the effects of the foreclosure crisis, to enhance law
enforcement efforts to prevent and prosecute financial fraud, or unfair or deceptive acts
or practices and to compensate the State for costs resulting from the alleged unlawful
conduct of the Defendants. Such permissible purposes for allocation of the funds
include, but are not limited to, supplementing the amounts paid to state homeowners
under the Borrower Payment Fund, funding for housing counselors, state and local
foreclosure assistance hotlines, state and local foreclosure mediation programs, legal
assistance, housing remediation and anti-blight projects, funding for training and staffing
of financial fraud or consumer protection enforcement efforts, and civil penalties.




                                                                                GARCIA 04327
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page147
                                                            56 of 223
                                                                  314




The Attorney General shall deposit the Funds with the State Treasurer and the Funds
shall be held in a separate Court Ordered Trust Fund account and all interest thereon
deposited into that account and used only for the purposes set forth herein.

2.     Executive Committee Payment, Consent Judgment Ex. B, Paragraph 2(c)
Any funds paid to the Office of the Arizona Attorney General as reimbursement for
attorneys fees and costs for serving on the Executive Committee, and any interest
thereon, shall be deposited into the consumer fraud revolving fund pursuant to A.R.S. §
44-1531.01 and used for the purposes set forth therein.

                                      ARKANSAS

For the payment to the State of Arkansas as provided in Paragraph III (3) of the Consent
Judgment, and it accordance with the provisions of Paragraph 1. (b) of Exhibit B to the
Consent Judgment, Attorney General Dustin McDaniel directs that the total anticipated
sum of Twelve Million, Eight Hundred Thirty Thousand, two hundred and forty-one
dollars ($12,830,241) be paid to the State of Arkansas Office of the Attorney General
(and delivered to Carol Thompson, Chief Financial Officer) to then be distributed by the
Attorney General to the following entities for the following purposes:

   1. To the Arkansas Development Finance Authority to fund programs that provide to
      Arkansas residents down payment assistance, financial literacy and mortgage and
      foreclosure counseling ,tax credit assistance, rental assistance, low-interest
      financing, land acquisition, new construction, rehabilitation construction, and
      reconstruction, the sum of Nine Million dollars ($9,000,000.00);

   2. To the Arkansas Access to Justice Commission to provide equal access to justice
      to Arkansas residents affected by the mortgage and foreclosure crisis, the sum of
      Two Million dollars ($2,000,000.00);

   3. To the University of Arkansas School of Law to support its legal aid clinic, which
      provides legal representation to low-income Arkansans, the sum of Five Hundred
      Thousand dollars ($500,000.00);

   4. To the University of Arkansas at Little Rock School of Law to support its legal
      aid clinic, which provides legal representation to low-income Arkansans, the sum
      of Five Hundred Thousand dollars ($500,000.00);

And, to the Arkansas Treasury the remaining funds for fees, costs, and the costs of
investigation and pursuit of this matter, the sum of Eight Hundred Thirty Thousand, two
hundred and forty-one dollars ($830,241.00).




                                          B2-2

                                                                               GARCIA 04328
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page148
                                                            57 of 223
                                                                  314



                                     CALIFORNIA

The payment to the California Attorney General’s Office shall be used as follows:

   a) Ten percent of the payment shall be paid as a civil penalty and deposited in the
      Unfair Competition Law Fund;

   b) The remainder shall be paid and deposited into a Special Deposit Fund created for
      the following purposes: for the administration of the terms of this Consent
      Judgment; monitoring compliance with the terms of this Consent Judgment and
      enforcing the terms of this Consent Judgment; assisting in the implementation of
      the relief programs and servicing standards as described in this Consent
      Judgment; supporting the Attorney General’s continuing investigation into
      misconduct in the origination, servicing, and securitization of residential
      mortgage loans; to fund consumer fraud education, investigation, enforcement
      operations, litigation, public protection and/or local consumer aid; to provide
      borrower relief; to fund grant programs to assist housing counselors or other legal
      aid agencies that represent homeowners, former homeowners, or renters in
      housing-related matters; to fund other matters, including grant programs, for the
      benefit of California homeowners affected by the mortgage/foreclosure crisis; or
      to engage and pay for third parties to develop or administer any of the programs
      or efforts described above.

                                      COLORADO

1.      State Payment Settlement Amounts, Consent Judgment Ex. B, Paragraph 1(b)(i)
The first $1.0 Million paid to the State of Colorado pursuant to Ex. B, ¶ 1(b)(i), and any
interest thereon, shall be held in trust by the Colorado Attorney General and used for
future consumer protection and antitrust enforcement and education efforts. The
remainder of the funds paid under this provision, and any interest thereon, shall be held in
trust by the Colorado Attorney General and used for programs relating to foreclosure
prevention, loan modification and housing and for future consumer protection and
antitrust enforcement and education efforts.

2.      Executive Committee Payment, Consent Judgment Ex. B, Paragraph 2(c)
The funds paid to the State of Colorado under Ex. B, ¶ 2(c), and any interest thereon,
shall be held in trust by the Colorado Attorney General for the following purposes. First,
these funds, and any interest thereon, shall be used for reimbursement of the state’s actual
costs and attorney fees incurred in this matter. The remaining funds, and any interest
thereon, shall be held in trust by the Colorado Attorney General and may be used for
programs related to foreclosure prevention, loan modification and housing and for future
consumer protection and antitrust enforcement and education efforts.

                                    CONNECTICUT

The Escrow Agent shall pay up to $2.2 million of the Direct Payment Settlement Amount
payable to the State of Connecticut pursuant to paragraph 1(b) of Exhibit B of this
                                           B2-3

                                                                                 GARCIA 04329
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page149
                                                            58 of 223
                                                                  314



Consent Judgment to provide immediate assistance to Connecticut residents seeking to
avoid foreclosure by funding housing counselor positions through the Connecticut
Housing Finance Authority and/or the Department of Economic and Community
Development and by funding positions and other support to facilitate and expand the
Judicial Branch’s foreclosure related programs. All of the remaining Direct Payment
Settlement Amount payable to the State of Connecticut pursuant to paragraph 1(b) of
Exhibit B of this Consent Judgment shall be disbursed at the written instruction of the
Office of the Attorney General after consultation by the Office of the Attorney General
with the Office of Policy and Management and appropriate officials of the State of
Connecticut as may be required by Connecticut law.

The Escrow Agent shall pay any Direct Payment Settlement Amount payable to the
Office of the Attorney General pursuant to paragraph 2(c) of Exhibit B of this Consent
Judgment to the Attorney General’s Consumer Protection Fund, which funds shall be
expended to fund protection and education of consumers, including, without limitation,
legal assistance to Connecticut citizens seeking to avoid foreclosure, grants to non-profit
legal aid organizations assisting Connecticut citizens seeking to avoid foreclosure,
funding to support implementation of this Consent Judgment by the Office of the
Attorney General, and for any other purposes intended to avoid preventable foreclosures
and to ameliorate the effects of the foreclosure crisis.

                                      DELAWARE

The amount of $7,913,923.00 will be paid to the Delaware Department of Justice by wire
transfer or certified check payable to the “State of Delaware – Consumer Protection
Fund”, which shall be used in the sole discretion of the Delaware Department of Justice
exclusively for the following purposes related to consumer protection efforts to address
the mortgage and foreclosure crisis, financial fraud and deception, and housing-related
conduct: (1) investigations, enforcement operations, litigation, and other initiatives
conducted or overseen by the Delaware Department of Justice Fraud Division, including
training and staffing, (2) the Delaware Automatic Residential Mortgage Foreclosure
Mediation Program or any successor program, and (3) grants or other aid to agencies and
organizations approved by the Delaware Department of Justice for consumer assistance,
consumer education, credit and housing counseling, mediation programs, legal assistance,
training, or staffing. If the payment is made by certified check, it shall be delivered to:

                       Delaware Department of Justice
                       Fraud Division, Consumer Protection Unit
                       820 N. French Street
                       Wilmington, Delaware 19801
                       ATTN: Ian R. McConnel, Division Chief

                               DISTRICT of COLUMBIA

The payment for the District of Columbia shall be paid to the “D.C. Treasurer” in
accordance with instructions provided by the Office of the Attorney General for the

                                           B2-4

                                                                                 GARCIA 04330
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page150
                                                            59 of 223
                                                                  314



District of Columbia. The payment shall be used by the District of Columbia
Government, subject to appropriation, for one or more of the following purposes: (1)
mortgage-related or foreclosure-related counseling, (2) mortgage-related or foreclosure-
related legal assistance or advocacy, (3) mortgage-related or foreclosure-related
mediation, (4) outreach and/or assistance to help current and former homeowners secure
the benefits for which they are eligible under mortgage-related or foreclosure-related
settlements or judgments, (5) enforcement work in the area of financial fraud or
consumer protection.

                                       FLORIDA

Of the payment identified in Exhibit B-1 that Defendants are making to settle this matter
with the Attorney General, State of Florida, Department of Legal Affairs, 10% is to be
paid to the State of Florida as a penalty; the remainder shall be held in escrow by the
escrow agent for subsequent disbursement as directed in writing by the Florida Attorney
General for purposes consistent with Exhibit B, paragraph 1b(i) of this consent judgment

                                       GEORGIA

The State Settlement Payment Amount to Georgia shall be paid to the state treasury to the
credit of the general fund and shall be available for appropriation by the General
Assembly for any purpose permitted by state law, including, to the extent practicable but
not limited to, those purposes intended to avoid preventable foreclosures, to ameliorate
the effects of the foreclosure crisis, to enhance law enforcement efforts to prevent and
prosecute financial fraud or unfair or deceptive acts or practices, or to compensate
Georgia for costs resulting from the alleged unlawful conduct of the Defendants.

                                        HAWAII

The monies are to be held in trust for the benefit of homeowners and others in the State of
Hawaii who are, have been, or may be affected by mortgage loan proceedings. This
includes, but is not limited to, those who have been subject to foreclosure, are in
foreclosure, are at risk of foreclosure, have delinquent mortgage loan payments, have
negative equity in their homes, have lost their homes due to foreclosure, have been
unable to refinance their mortgage loans, or are leasing a dwelling affected by
foreclosure. The monies shall be used for housing and financial counseling, public
education, mediation, dispute resolution, and enforcement of laws and agreements
protecting the rights of homeowners and lessees. The monies shall be used only for
these purposes. The monies shall be deposited into an administrative trust account to be
administered by the Attorney General of the State of Hawaii, who as custodian shall have
sole discretion to make determinations as to the amounts and the purposes for which the
monies are to be expended.




                                          B2-5

                                                                                GARCIA 04331
     Case 1:12-cv-00361-RMC Document 14-1
                                     1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                          Page151
                                                               60 of 223
                                                                     314



                                            IDAHO

Pursuant to Idaho Code § 48-606(5), the money paid to the State of Idaho, as identified in
Exhibit B-1 of the Consent Judgment, shall be remitted to the consumer protection fund.

                                          ILLINOIS

The funds allocated to the Attorney General of Illinois shall be expended, in the sole
discretion of the Attorney General, primarily for programs to avoid foreclosure and
ameliorate the effects on homeowners of the foreclosure crisis, including without
limitation, the funding of: legal assistance, housing counseling, administrative oversight
for the funded programs by the Attorney General or others; to support law enforcement
efforts to prevent and prosecute financial fraud or unfair and deceptive acts or practices;
and for such other purposes as directed by the Attorney General.

                                          INDIANA

Pursuant to the terms of the Consent Judgment entered into between the (a) United States
of America and the State Parties; and (b) the Defendants, the State of Indiana will accept
and use its cash payments identified in Exhibit B-1 as follows:

1.       The cash payment shall be made to the Office of the Indiana Attorney General.

2.     A portion of the cash payment will be used for existing and new programs of the
Attorney General, including but not limited to:

      a. Consumer protection services and unfair and deceptive acts and practices
         investigations, enforcement, litigation, training, outreach, education, and related
         purposes.

      b. Homeowner protection services, investigations, enforcement, litigation, training,
         outreach, education, and related purposes regarding mortgage lending and
         foreclosures.

      c. Financial fraud protection services, investigations, enforcement, litigation,
         training, outreach, education, and related purposes.

      d. Education and training of counselors, facilitators, attorneys, investigators, and
         other stakeholders regarding the terms of the settlement.

3.     To carry out the purposes of paragraph two (2), funds may be deposited in the
following fund accounts and other related fund accounts as necessary:

      a. Homeowner Protection Unit Fund

      b. Consumer Fees and Settlements Fund

                                             B2-6

                                                                                   GARCIA 04332
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page152
                                                            61 of 223
                                                                  314




   c. Identity Theft Unit Fund

   d. Real Estate Appraiser Licensing Fund

   e. Telephone Solicitation Fund

   f. Consumer Assistance Program Fund

4.     A portion of the cash payment will be used for a combination of existing and new
programs created or administered by the Indiana General Assembly and state executive
branch agencies, including but not limited to:

   a. Housing counseling, foreclosure prevention, legal assistance, foreclosure
      mediation, victim assistance, and related purposes.

   b. Settlement conferences, court facilitator services, and related purposes.

   c. Land banks and related purposes.

   d. Homeowner and renter energy assistance programs such as the Lower Income
      Hoosier Energy Assistance Program, with priority given to homeowners.

   e. Workforce and job training programs to assist unemployed and underemployed
      state residents in increasing income to avoid foreclosure and obtain affordable
      housing.

   f. Neighborhood stabilization programs and community blight remediation
      programs.

   g. Law enforcement efforts and programs to prevent and address financial,
      consumer, mortgage lending, and mortgage foreclosure fraud.

   h. Foreclosure prevention and assistance programs for military service members and
      veterans.

5.    The Attorney General may allocate and designate up to ten percent of the cash
payment as a civil penalty or fine.

6.     The Attorney General shall allocate the cash payment among the identified
purposes at his discretion based on the terms of the settlement.

                                         IOWA

The Escrow Agent shall distribute the funds according to written direction received from
the Attorney General of Iowa. The payment shall be used, at the sole discretion of the

                                          B2-7

                                                                                  GARCIA 04333
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page153
                                                            62 of 223
                                                                  314



Attorney General of Iowa, for any use permitted by law or this Consent Judgment,
including but not limited to:

   1) Purposes intended to avoid preventable foreclosures, to ameliorate the effects of
      the foreclosure crisis, to enhance law enforcement efforts to prevent and prosecute
      financial fraud and unfair or deceptive acts or practices, and to compensate the
      State of Iowa for costs resulting from the alleged unlawful conduct of the
      Defendant. Such permissible purposes for allocation of the funds further include,
      but are not limited to, supplementing the amounts paid to homeowners under the
      Borrower Payment Fund, funding for housing counselors, state and local
      foreclosure assistance hotlines, state and local foreclosure mediation programs,
      legal assistance, housing remediation and anti-blight projects, funding for training
      and staffing of financial fraud or consumer protection enforcement efforts, and
      civil penalties.

   2) Investigative and administrative costs in connection with the matters addressed
      herein, including costs incurred before and after the signing of this Consent
      Judgment.

   3) Public education relating to consumer fraud, mortgage, housing and financial
      issues and for enforcement of Iowa Code section 714.16, as referenced in Iowa
      Code section 714.16A.

   4) Any other lawful purpose.

                                       KANSAS

The Kansas Attorney General shall dedicate not less than 25 percent of any cash payment
to the State of Kansas for the following purposes: 1) supporting the Attorney General’s
ongoing investigation and prosecution of suppliers in the housing and financial sectors
who violate the law; 2) resolving consumer complaints filed with the Attorney General to
prevent foreclosures and remedy mortgage servicing abuses suffered by Kansas
consumers; and 3) defraying the investigative, administrative and consumer education
costs associated with this settlement, including but not limited to the dedication of
additional staff to monitor compliance with its terms. The remainder of any cash
payment to the State of Kansas that is not dedicated to the above purposes shall be
designated as a civil penalty and shall be deposited to the State General Fund for
appropriation by the Legislature

                                     KENTUCKY

The Office of the Attorney General for the Commonwealth of Kentucky (hereinafter, the
“Attorney General” and "the Commonwealth," respectively) shall direct the payment of
$19,198,220 to the Commonwealth in a manner consistent with the terms of the Consent
Judgment to which this Exhibit B-2 refers, such that any funds distributed by the
Attorney General shall be used for purposes intended to avoid preventable foreclosures,

                                          B2-8

                                                                               GARCIA 04334
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page154
                                                            63 of 223
                                                                  314



to ameliorate the effects of the foreclosure crisis, to enhance law enforcement efforts to
prevent and prosecute financial fraud or unfair or deceptive acts or practices, to address
the collateral consequences of such conduct, and to compensate the Commonwealth for
costs resulting from the alleged unlawful conduct of the Defendants. Such payments
shall include:

   i) $5,048,220 in agency restricted funds to directly compensate the Office of the
      Attorney General for the reasonable costs of investigation and litigation of the
      alleged unlawful conduct of the Defendants, and to finance, within the Office of
      the Attorney General, ongoing consumer protection actions including, but not
      limited to, actions addressing any conduct similar to the alleged unlawful conduct
      of the Defendants by any entity not released by the State Release
      contemporaneously executed with this Consent Judgment; any civil and criminal
      investigations emanating from any allegedly improper conduct not released
      pursuant to the State Release perpetrated by any Defendant or any other person or
      entity; investigations and potential litigation pertaining to MERS or any related
      entity involving mortgage assignments in the Commonwealth; and claims of fraud
      or improper conduct relating to the pooling of, marketing of, or sale of any
      securities product involving or containing mortgage related payment streams; and

   ii) $14,150,000 to be distributed at the express direction of the Attorney General to
       agencies, organizations or entities to avoid preventable foreclosures, to ameliorate
       the effects of the foreclosure crisis, to enhance law enforcement efforts to prevent
       and prosecute financial fraud or unfair or deceptive acts or practices, to address
       the collateral consequences of such conduct, and to compensate the
       Commonwealth for costs resulting from the alleged unlawful conduct of the
       Defendants, including, but not limited to, the following:

       a. The Kentucky Housing Corporation, for purposes including, but not limited
          to, mortgage assistance to Kentucky homeowners, down payments and/or
          closing costs assistance for qualifying homebuyers, state and local foreclosure
          prevention and mediation programs, housing rehabilitation and anti-blight
          projects;

       b. The Kentucky Homeownership Protection Center, to provide homeownership
          and mortgage-related credit counseling to Kentucky consumers;

       c. The four federally-funded civil legal aid service organizations within the
          Commonwealth, to provide housing-related legal assistance to low income
          consumers;

       d. The Commonwealth's Unified Prosecutorial System (“UPS”), to support and
          sustain new and ongoing investigations and prosecutions relating to the
          foreclosure crisis and consequential criminal conduct plaguing local
          communities throughout the Commonwealth;



                                           B2-9

                                                                                 GARCIA 04335
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page155
                                                            64 of 223
                                                                  314



       e. The Commonwealth's Department of Financial Institutions ("DFI"), to assist
          in regulatory and educational efforts targeting financial services institutions
          subject to DFI's jurisdictional oversight, and consumers purchasing products
          and services from such institutions;

       f. The Commonwealth’s Department of Public Health, to support and maintain
          consumer safety and injury prevention programs, including but not limited to,
          lead abatement programs affecting low income individuals or communities;
          and

       g. Within the discretion of the Attorney General, any other organization or entity
          substantially able to implement, manage, develop or support any program
          consistent with the aims of this settlement.

Funds directed to any agency, organization or entity by the Attorney General pursuant to
the terms of this paragraph shall be appropriated, administered and expended consistent
with the terms of KRS Chapter 48, as applicable.

                                       LOUISIANA

Said payment shall be payable to the Louisiana Department of Justice Consumer
Enforcement Fund and shall be used for investigation of mortgage and foreclosure
matters, consumer protection law enforcement and education, litigation funds, public
protection, reimbursement of costs and fees associated with the investigation of this
matter, ensuring compliance under the terms of this agreement, federal, and state
regulations, or for any other purpose, at the direction of the Attorney General, as
permitted by state law.

                                      MARYLAND

The settlement amount of $59,697,470.00 shall be paid for the benefit of the citizens of
the State of Maryland, of which the maximum of 10%, or $5,969,747.00, shall be paid to
the Office of the Attorney General of Maryland as a civil penalty to be deposited in the
General Fund of the State of Maryland. The balance of $53,727,723.00 shall be held in
trust pursuant to paragraph 1.b. of Exhibit B to the Consent Order, to be disbursed only as
directed by the Office of the Attorney General of Maryland and to be used only for
housing and foreclosure-relief purposes and for related investigations and enforcement
activities. These purposes and activities may include, but are not limited to, the provision
of housing counseling, legal assistance, criminal or civil investigations of fraud related to
housing and the securitization of mortgage loans, enforcement activities, foreclosure
prevention, foreclosure remediation, restitution, and programs to address community
blight or to fund other programs reasonably targeted to benefit persons harmed by
mortgage fraud.




                                           B2-10

                                                                                 GARCIA 04336
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page156
                                                            65 of 223
                                                                  314



                                  MASSACHUSETTS

Payment to Massachusetts (“the Payment”) shall be payable to the Commonwealth of
Massachusetts and directed to the Office of the Attorney General, and shall be used,
consistent with this paragraph, to provide consumer and community relief to remedy the
alleged unfair and deceptive acts and practices that gave rise to this Consent Decree,
allocated as follows:

    a) $4.4 million shall be paid as a civil penalty pursuant to G.L. c. 93A, § 4;

    b) $1.0 million shall be paid as costs and attorneys fees pursuant to G.L. c. 93A, § 4;

    c) $1.5 million shall be used for the administration of the terms of this Consent
       Judgment, monitoring compliance with the terms of this Consent Judgment and
       enforcing the terms of this Consent Judgment, assisting in the implementation of
       the relief programs and servicing standards as described in this Consent
       Judgment, and supporting the Attorney General’s continuing investigation into
       misconduct in the origination, servicing, and securitization of residential
       mortgage loans; and

    d) the remainder of the Payment shall be used to establish the Consumer and
       Community Foreclosure Relief Fund (“the Fund”) which shall be used, in the sole
       discretion of the Attorney General, to fund or assist in funding programs intended
       to avoid preventable foreclosures, mitigate the effects of foreclosures on
       borrowers and communities, provide compensation to borrowers, other persons
       and communities arising out of alleged unfair or deceptive acts or practices that
       gave rise to the Consent Decree, and/or enhance law enforcement efforts to
       prevent and prosecute financial fraud or unfair or deceptive acts or practices. The
       Fund may further be used to provide consumer education, outreach, local
       consumer aid funds, consumer protection enforcement funds, and public
       protection funds or for other uses permitted by state law.

                                         MAINE

Funds paid to the Maine Bureau of Consumer Credit Protection shall be deposited in the
nonlapsing, dedicated account authorized to accept funds from any public or private
source as described in 14 MRS § 6112(4) to fund the Bureau’s foreclosure prevention
program. Amounts paid to the Maine Attorney General shall be used to fund foreclosure
diversion programs including the Bureau of Consumer Credit Protection’s foreclosure
prevention program and to legal aid organizations for direct legal services to consumers
in support of foreclosure prevention efforts, to defray the costs of the inquiry leading
hereto or for other uses permitted by state law at the sole discretion of the Attorney
General




                                           B2-11

                                                                                 GARCIA 04337
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page157
                                                            66 of 223
                                                                  314



                                      MICHIGAN

Payment shall be forwarded at the direction of the Michigan Attorney General. Said
payment shall be used for attorneys’ fees and other costs of the inquiry leading hereto,
and other uses as are consistent with state law and this consent judgment.

                                      MINNESOTA

The State of Minnesota shall use the funds paid pursuant to Exhibit B-1 (“Minnesota
Direct Payment Funds”) to provide restitution to Minnesota residents who were harmed
by Defendant’s origination, servicing, or foreclosure practices. The Minnesota Direct
Payment Funds shall be deposited into an interest-bearing escrow account. The
reasonable expenses of the escrow account and for developing, administering, and
implementing the restitution plan, including the expenses of settlement administration
and independent claims review, may be paid with Minnesota Direct Payment Funds.
After full and fair restitution has been paid to individuals harmed by Defendant’s
practices as set forth above, any amount remaining shall be deposited into the State of
Minnesota General Fund. Defendant shall provide to the settlement administrator
retained by the Minnesota Attorney General to administer the Minnesota Direct Payment
Funds (the “Settlement Administrator”) all information already in its possession and
readily available that is reasonably necessary for the administration of the Minnesota
Direct Payment Funds, within a reasonable time after receipt of the request for the
information. Information pertaining to individual borrowers who may be eligible for
payments under the Minnesota Direct Payment Funds, including names and other
identifying information and information necessary to verify or corroborate claims for
restitution of Minnesota borrowers, shall be provided to Minnesota so long as such
information is used solely for the purpose of contacting eligible borrowers, responding to
inquiries from borrowers regarding their eligibility for Minnesota Direct Payment Funds,
and/or complying with tax reporting and withholding obligations, if any. Appropriate
information security protocols, including prior borrower authorization where applicable,
shall be utilized to ensure the privacy of borrower information and compliance with all
applicable privacy laws.

                                      MISSISSIPPI

The settlement payment for the State of Mississippi in the amount of $13,580.374.00
shall be distributed to the Mississippi Attorney General for disbursements in accordance
with the terms of the Consent Judgment to which this Exhibit refers.

                                       MISSOURI

The Escrow Agent shall pay $39,583,212 to the State of Missouri:

   a. $38,583,212 to the State of Missouri Office of the Attorney General and
   b. $1,000,000 to the state of Missouri Office of the Attorney General to the credit of
      the Merchandising Practices Revolving Fund for advocacy of consumers

                                          B2-12

                                                                                GARCIA 04338
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page158
                                                            67 of 223
                                                                  314



       impacted by the practices addressed in this Consent Judgment, for the
       investigation and prosecution of persons involved in unfair, deceptive and
       fraudulent practices related to financial services, and for such other purposes as
       authorized by law.

                                        MONTANA

Pursuant to ¶ 1(b) of Exhibit B to the foregoing Consent Judgment, the sum of
$4,858,276 shall be distributed to the state consumer protection account for the Montana
Department of Justice, according to wire transfer instructions to be provided by the
Montana Attorney General’s Office to the Trustee.

The sum of $450,000 shall be for civil fines, costs and fees pursuant to Mont. Code Ann.
§ 30-14-143.

The remaining funds shall be used, at the sole discretion of the Attorney General of
Montana, for purposes intended to avoid preventable foreclosures, to ameliorate the
effects of the foreclosure crisis, and to enhance law enforcement efforts to prevent and
prosecute financial fraud, or unfair or deceptive acts or practices. These purposes include
but are not limited to, funding for housing counselors, state and local foreclosure
assistance services, state and local foreclosure mediation programs, legal assistance, and
funding for training and staffing of financial fraud or consumer protection enforcement
efforts.

                                       NEBRASKA

The Nebraska Attorney General, on behalf of the State of Nebraska, directs that
Nebraska’s portion of the Direct Payment Settlement Amount, pursuant to Exhibit B,
Paragraph (1)(b) of the attached Consent Judgment, be distributed to the following, to be
used for any purpose(s) allowed pursuant to said Consent Judgment: State of Nebraska-
Cash Reserve Fund (11000).

                                         NEVADA

Funds shall be directed to the Nevada Attorney General to be deposited into an account
and used for the following purposes: avoiding preventable foreclosure, ameliorating the
effects of the mortgage and foreclosure crisis in Nevada, enhance consumer protection
and legal aid efforts, enhance consumer financial and housing counseling
assistance including economic education and/or instruction on financial literacy for the
benefit of Nevada residents, enhance law enforcement efforts to investigate, prosecute
and prevent financial fraud or unfair or deceptive acts or practices at the sole discretion of
the Attorney General. The aforementioned account shall be interest bearing and all
accrued interest shall stay with the account for the above enumerated purposes.

                                   NEW HAMPSHIRE



                                           B2-13

                                                                                  GARCIA 04339
   Case 1:12-cv-00361-RMC Document 14-1
                                   1-2 Filed
                                        Filed03/12/12
                                              04/04/12 Page
                                                        Page159
                                                             68 of 223
                                                                   314



 The funds received by the New Hampshire Attorney General pursuant to this agreement
 shall be deposited in the consumer escrow account at the Department of Justice and used
 at the sole discretion of the New Hampshire Attorney General for the protection of
 consumers in the State of New Hampshire. The permissible purposes for allocation of the
 funds include, but are not limited to, funding for housing counselors, state and local
 foreclosure assistance programs, state and local foreclosure mediation programs, legal
 assistance, funding for training and staffing of financial fraud and/or consumer protection
 enforcement efforts, supplementing the amounts paid to state homeowners under the
 Borrower Payment Fund, and civil penalties.

                                      NEW JERSEY

 New Jersey plans to apply its share of the settlement proceeds for its attorneys’ fees,
 investigation costs and other expenses related to the investigation and resolution of this
 matter as well as on one or more of the following programs: Affordable Housing, Local
 Planning Services, Developmental Disabilities Residential Services, State Rental
 Assistance Program, Homelessness Prevention, Shelter Assistance, Community Based
 Senior Programs, Mental Health Residential Programs, Social Services for the Homeless,
 and/or Temporary Assistance for Needy Families

                                       NEW YORK

The State Payment Settlement Amount for New York, set forth in Exhibit B-1 to this
Consent Judgment (“New York Settlement”), will be paid to the Office of the Attorney
General of the State of New York (“NYOAG”) by certified check payable to the State of
New York, Department of Law and deposited by the NYOAG in an account that may be
used, as determined by the NYOAG, to address matters relating to housing, lending,
mortgage defaults, foreclosures, or the mortgage crisis, including without limitation
consumer assistance, investigation, enforcement operations, litigation, public protection,
consumer education, or local consumer aid, and for penalties, costs, fees, or any other use
permitted under law. The New York Settlement shall be disbursed by the NYOAG in its
sole discretion and at its direction consistent with the terms of this Consent Judgment. The
certified check shall be delivered to:

                New York State Office of the Attorney General
                120 Broadway, 25th Floor
                New York, New York 10271-0332
                Attn.: Scott Wilson, Senior Advisor and Special Counsel

                                      NEW MEXICO

 Funds allocated to the Attorney General of the State of New Mexico shall be expended,
 in the sole discretion of the Attorney General, primarily for programs to avoid
 preventable foreclosures and ameliorate the effects on homeowners of the foreclosure
 crisis, including without limitation, funding for housing counselors, establishment of a
 state foreclosure assistance hotline, state and local foreclosure mediation programs, legal

                                           B2-14

                                                                                  GARCIA 04340
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page160
                                                            69 of 223
                                                                  314



assistance for homeowners facing foreclosure, funding for administrative oversight for
and coordination of funded programs by the Attorney General, and to enhance law
enforcement efforts to prevent and prosecute financial fraud or unfair or deceptive acts or
practices.

                                 NORTH CAROLINA

For the payment of settlement funds pursuant to Paragraph III (3) of the Consent
Judgment and in accordance with the provisions of Paragraph 1 (b) of Exhibit B to the
Consent Judgment, North Carolina Attorney General Roy Cooper sets forth the following
funding allocations for the State of North Carolina’s settlement payment and directs the
Escrow Agent to pay said funds as follows:

   x   $5.74 million to be allocated as civil penalties payable to the Civil Penalty and
       Forfeiture Fund pursuant to N.C. Gen. Stat. § 115C-457.2 and Article 9, Section 7
       of the North Carolina Constitution;

   x    $30.60 million to the North Carolina Housing Finance Agency for distribution as
       follows: (a) $19.12 million to be allocated to housing counseling providers to
       ensure that North Carolina homeowners receive the benefits due under this
       Consent Judgment, and to ensure the availability of homeownership and
       foreclosure prevention counseling services in North Carolina; (b) $11.47 million
       to be allocated to legal services providers in North Carolina for legal
       representation and assistance to North Carolinians in foreclosure or other housing
       or lending-related matters;

   x   $6.69 million to the Conference of District Attorneys of the North Carolina
       Administrative Office of the Courts to administer a program of grants among the
       prosecutorial districts in North Carolina for the purpose of expanding prosecution
       of lending and financial crimes, and expanding prosecution and investigative
       abilities in those areas, and obtaining training relating to lending and financial
       crimes;

   x   $2.87 million to the North Carolina State Bureau of Investigation to expand its
       accounting and financial investigative ability and its expertise to investigate
       financial and lending crimes;

   x   $4.78 million to the North Carolina Department of Justice to enable its Consumer
       Protection Division to hire attorneys, investigators, financial accountants and
       other specialists and staff as needed in order to increase its efforts to investigate
       and pursue cases related to financial fraud and unfair or deceptive trade practices
       in mortgage lending and financial services, and to assure public awareness of
       consumers’ eligibility for relief under the Consent Judgment and address
       consumer need for information;



                                          B2-15

                                                                                 GARCIA 04341
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page161
                                                            70 of 223
                                                                  314



   x   $8.6 million to the general fund of the State of North Carolina as compensation
       for costs and economic losses sustained by the State due to mortgage fraud and
       foreclosure misconduct. (It is anticipated that an additional $1 million will be
       paid to the general fund of the State of North Carolina in the form of attorneys
       fees.)

To the extent there are funds remaining or unallocated under the allocations set forth
above, the Escrow Agent is directed to distribute such funds to the North Carolina
Housing Finance Agency for it to distribute consistent with the purposes outlined above.
If North Carolina’s settlement payment amount is reduced for unanticipated reasons, the
individual allocations set forth above will each be reduced by the corresponding
percentage amount.

                                  NORTH DAKOTA

The settlement payment to the State of North Dakota shall be paid to the North Dakota
Attorney General, and shall be used, in the Attorney General’s discretion, to fund housing
remediation projects designed to create more affordable and available housing or lodging
in areas where more housing or lodging is needed, including creating available housing or
lodging for personnel in law enforcement, emergency response, et cetera, and to
compensate the state for attorney’s fees and costs resulting from the alleged unlawful
conduct of the Defendants.

                                         OHIO

Ohio’s share of the Direct Payment Settlement Amount shall be distributed and delivered
to the office of the Ohio Attorney General, and shall be placed in the following two
funds:

   1. $90,783,033.00 in the Attorney General Court Order Fund pursuant to section
      109.111 of the Ohio Revised Code. The funds shall be transferred, distributed,
      disbursed, or allocated for the purposes described in Paragraph 1(b)(i) of Exhibit
      B of the Consent Judgment, including the costs of the Ohio Attorney General in
      administering this settlement and fund. Interest or other income earned on this
      account shall also be transferred, distributed, disbursed, or allocated for the
      purposes described in Paragraph 1(b)(i) of Exhibit B of the Consent Judgment and
      for the costs of the Ohio Attorney General in administering this settlement and
      fund.

   2. $2,000,000.00 shall be placed in the Consumer Protection Enforcement Fund
      created pursuant to section 1345.51 of the Ohio Revised Code. The funds shall be
      used for the purposes described in section 1345.51.

                                       OREGON




                                         B2-16

                                                                               GARCIA 04342
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page162
                                                            71 of 223
                                                                  314



1.1   Payment. Servicers shall make available a total sum of Twenty-Nine Million
Two Hundred Fifty-Three Thousand One Hundred Ninety Dollars ($29,253,190) for
payment to the State of Oregon, allocated as follows:

   (a) Four Million Dollars ($4,000,000) shall be deposited into the Oregon Department
       of Justice Operating Account established pursuant to ORS 180.180.

   (b) Twenty-Five Million Two Hundred Fifty-Three Thousand One Hundred Ninety
       Dollars ($25,253,190) shall be deposited into the General Fund with a
       recommendation to the Oregon Legislative Assembly that such funds be used for
       housing and foreclosure relief and mitigation as set forth in this Consent
       Judgment.

                                    PENNSYLVANIA

The Attorney General of the Commonwealth of Pennsylvania (“Attorney General”)
directs that the State Payment Settlement Amount, as that term is used in Exhibit B of
this Consent Judgment (“Settlement Amount”), be distributed to the Office of Attorney
General, to be allocated by the Attorney General, at her sole discretion, to the Office of
Attorney General and the Pennsylvania Department of Banking to further their respective
educational and law enforcement purposes; and the balance to be allocated by the
Attorney General, at her sole discretion, to appropriate programs that help Pennsylvania
homeowners avoid foreclosure. The amount, timing, and manner of the allocation of the
Settlement Amount shall be at the sole discretion of the Attorney General.

                                    RHODE ISLAND

The Rhode Island Attorney General shall receive all state government designated funds
paid under this agreement. Said funds shall be held in separate accounts and must be used
solely for mortgage foreclosure related issues and/or consumer education, outreach,
training or related consumer issues as determined by the Rhode Island Attorney General

                                  SOUTH CAROLINA

With respect to the State of South Carolina’s payment, said payment shall be used by the
South Carolina Attorney General for a consumer protection enforcement fund, consumer
education fund, consumer litigation fund, local consumer aid fund, or revolving fund; for
consumer restitution, including the administrative costs thereof; for attorneys’ fees and
other costs of investigation and litigation; for reimbursement of state agencies; for cy pres
purposes; or for any other uses not prohibited by law. The South Carolina Attorney
General shall have sole discretion over the distribution of the funds.

                                    SOUTH DAKOTA

Said payment shall be used by the Attorneys General for attorney fees and other costs of
investigation and litigation, or to be placed in, or applied to, the consumer protection

                                           B2-17

                                                                                 GARCIA 04343
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page163
                                                            72 of 223
                                                                  314



enforcement fund, consumer education or litigation, to defray the costs of the inquiry
leading hereto, or may be used to fund or assist in funding housing counselor programs,
foreclosure assistance personnel, foreclosure mediation programs, legal assistance and
funding for training and staffing of financial fraud or consumer protection enforcement
efforts, civil penalties or for other uses permitted by state law, at the sole discretion of the
Attorney General

                                        TENNESSEE

The settlement amount of $41,207,810.00 shall be paid for the benefit of the citizens of
the State of Tennessee, of which the maximum of 10%, or $4,120,781.00, shall be paid to
the general fund of the State of Tennessee as a civil penalty. The remaining
$37,087,029.00 shall be paid to the Office of the Attorney General of Tennessee and shall
be used for purposes consistent with applicable provisions of the consent judgment as
directed by the Office of the Attorney General, including funding foreclosure prevention
counseling, other housing and legal assistance programs, related compliance,
investigative, enforcement, and education purposes, or to fund other programs reasonably
targeted to housing or tenant issues.

                                           TEXAS

Said payment to the State of Texas in the amount of One Hundred Thirty-Four Million,
Six Hundred Twenty-Eight Thousand, Four Hundred Eighty-Nine Dollars
($134,628,489.00) shall be allocated as follows:

    A. Ten Million Dollars ($10,000,000.00) for civil penalties pursuant to Tex. Bus. &
       Com. Code §17.47(c) paid to the State of Texas for deposit to the judicial fund
       pursuant to Texas Government Code §402.007;

    B. One Hundred Twenty-Four Million, Six Hundred Twenty-Eight Thousand, Four
       Hundred Eighty-Nine Dollars ($124,628,489.00) paid to the State of Texas for
       deposit into the General Revenue Fund pursuant to Texas Government Code
       §404.094(b) and §404.097(c).

                                            UTAH

The Attorney General of the State of Utah directs that the Utah portion of the State
Payment Settlement Amounts, as that term is used in Exhibit B of this Consent Judgment,
be distributed to the State of Utah to be further allocated as determined by the Utah State
Legislature.

                                         VERMONT

The state funds may be used for housing-related or other purposes.

                                         VIRGINIA

                                            B2-18

                                                                                    GARCIA 04344
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page164
                                                            73 of 223
                                                                  314




The State Payment Settlement Amount for Virginia totaling $66,525,233 shall be
provided to the Virginia Attorney General for deposit to the Attorney General's
Regulatory, Consumer Advocacy, Litigation and Enforcement Revolving Trust Fund (the
"Revolving Fund"). Amounts deposited to the Revolving Fund may be used for costs of
the Attorney General associated with his consumer protection advocacy and enforcement
efforts and other delineated purposes permitted by State law.

                                    WASHINGTON

The State of Washington will use its share of the State Payment Settlement Amount, as
follows:

   1. Ten percent will be designated as a civil penalty.

   2. No more than $5 million will be used to compensate the State for its costs and
      fees to date, for costs of monitoring and enforcing the terms of the settlement, and
      for enforcing RCW 19.86, the Consumer Protection Act.

   3. The remaining amount will be used for purposes intended to avoid preventable
      foreclosures or ameliorate the effects of the foreclosure crisis. As permitted by the
      Consent Judgment, such uses may include

       a. supplementing the amounts paid to state homeowners under the Borrower
          Payment Fund;

       b. funding for housing counselors;

       c. funding for state and local foreclosure assistance hotlines;

       d. funding for state and local foreclosure mediation programs;

       e. funding for civil legal assistance; or

       f. funding for housing remediation and anti-blight projects.

The State of Washington will convene a committee of public and private stakeholders
who are experienced in foreclosure assistance, mortgage lending, civil legal services or
housing related issues to determine how best to use the funds. As required by the
Consent Judgment, the Attorney General will exercise his discretion over the final
disposition of the funds in accordance with the purposes as set forth in the Consent
Judgment and will provide instructions to the Escrow Agent accordingly.

                                   WEST VIRGINIA




                                          B2-19

                                                                                GARCIA 04345
  Case 1:12-cv-00361-RMC Document 14-1
                                  1-2 Filed
                                       Filed03/12/12
                                             04/04/12 Page
                                                       Page165
                                                            74 of 223
                                                                  314



Settlement payments to the State of West Virginia in the amount of $5,748,915.00 shall
be placed in trust and used at the discretion of the Attorney General solely for consumer
protection purposes, including but not limited to, direct payments, restitution, consumer
education, legal services, credit or bankruptcy counseling and education, housing
counseling, conflict resolution programs, and costs associated with implementing court
orders.

                                      WISCONSIN

Money owed to the State of Wisconsin shall be made payable to ‘Attorney General, State
of Wisconsin,’ and may be used for any purpose permitted under the Consent Judgment,
as solely determined and directed by the Attorney General.

                                      WYOMING

 The Escrow Agent shall distribute the amount constituting the State Payment Settlement
 Amount for the State of Wyoming to the Attorney General of the State of Wyoming, as
 trustee, to hold and distribute such amount, pursuant to Wyoming Statute § 9-1-
 639(a)(i), exclusively for the purpose of addressing mortgage and foreclosure
 matters in the State of Wyoming, by providing grants or other aid to agencies and
 organizations approved by the Attorney General of the State of Wyoming for mortgage
 and housing related consumer assistance, consumer education, credit counseling,
 mediation programs, legal assistance, training, or staffing.




                                          B2-20

                                                                               GARCIA 04346
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page166
                                                          75 of 223
                                                                314




                  EXHIBIT C




                                                            GARCIA 04347
      Case 1:12-cv-00361-RMC Document 14-1
                                      1-2 Filed
                                           Filed03/12/12
                                                 04/04/12 Page
                                                           Page167
                                                                76 of 223
                                                                      314



                             BORROWER PAYMENT AMOUNT

       1.      The Borrower Payment Amount shall be administered under the direction and

control of the State members of the Monitoring Committee in the following manner.

       2.      Within ninety (90) days of the Effective Date of this Consent Judgment, the State

members of the Monitoring Committee shall choose and retain a Settlement Administrator (“the

Administrator”) to administer the distribution of cash payments to individual borrowers under

this and all similar Consent Judgments with other servicers concerning the Covered Conduct (the

“Related Consent Judgments”). All costs and expenses of the Administrator, including taxes,

shall be paid from the Borrower Payment Amount.

       3.      Defendant shall provide to the Administrator all information already in its

possession and readily available that is reasonably necessary for the administration of this and

the Related Consent Judgments, within a reasonable time after receipt of the request for

information. Defendant is ordered herein to provide such information under 15 U.S.C. §

6802(e)(1)(A), (5) and (8) of the Gramm-Leach-Bliley Act. Such information pertaining to

individual eligible Borrowers, including names and other identifying information, may be

provided to individual states, but only if the information is used solely for the purpose of

contacting eligible Borrowers, responding to inquiries from Borrowers regarding their eligibility

or concerning the award of borrower payments under this Consent Judgment, and/or complying

with tax reporting and withholding obligations, if any. The Administrator shall utilize

appropriate information security protocols to ensure the privacy of Borrower information and

otherwise comply with all applicable privacy laws. After the completion of the Borrower

Payment process, the Administrator shall provide a report to each Defendant identifying which

borrowers have received payment. In addition, Defendant may request from the Administrator




                                                                                     GARCIA 04348
     Case 1:12-cv-00361-RMC Document 14-1
                                     1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                          Page168
                                                               77 of 223
                                                                     314



such interim reports as may be deemed reasonable by the State Members of the Monitoring

Committee. Interim reports necessary to insure that Borrowers will not receive duplicate

payments by virtue of litigation, the foreclosure review required by federal banking agencies or

otherwise hereby are deemed reasonable. Defendant shall warrant to the State Members of the

Monitoring Committee at the time of supplying information to the Administrator that the

information is complete and accurate to the best of its knowledge and capability.

       4.      The Administrator shall permit reasonable onsite inspection by the State members

of the Monitoring Committee on the premises of the Administrator to monitor administration of

this and all Related Consent Judgments.

       5.      As a condition to receipt of any payments pursuant to this process, borrowers

must agree that such payment shall offset and operate to reduce any other obligation Defendant

has to the borrowers to provide compensation or other payments. However, borrowers shall not

be required to release or waive any other right or legal claim as a condition of receiving such

payments.

       6.      Any cash payment to individual borrowers awarded under the terms of this

Consent Judgment is not and shall not be considered as forgiven debt.

       7.      The purposes of the payments described in this Exhibit C are remedial and relate

to the reduction in the proceeds deemed realized by borrowers for tax purposes from the

foreclosure sale of residential properties owned by the borrowers allegedly resulting from the

allegedly unlawful conduct of the Defendants.




                                                C-2
                                                                                    GARCIA 04349
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page169
                                                          78 of 223
                                                                314




                  EXHIBIT D




                                                            GARCIA 04350
    Case 1:12-cv-00361-RMC Document 14-1
                                    1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                         Page170
                                                              79 of 223
                                                                    314




                             Consumer Relief Requirements
        $Q\6HUYLFHUDVGHILQHGLQWKH6HUYLFLQJ6WDQGDUGVVHWIRUWKLQ([KLELW$WRWKLV
&RQVHQW-XGJPHQW KHUHLQDIWHU³6HUYLFHU´RU³3DUWLFLSDWLQJ6HUYLFHU´ DJUHHVWKDWLWZLOO
QRWLPSOHPHQWDQ\RIWKH&RQVXPHU5HOLHI5HTXLUHPHQWVGHVFULEHGKHUHLQWKURXJK
SROLFLHVWKDWDUHLQWHQGHGWR L GLVIDYRUDVSHFLILFJHRJUDSK\ZLWKLQRUDPRQJVWDWHVWKDW
DUHDSDUW\WRWKH&RQVHQW-XGJPHQWRU LL GLVFULPLQDWHDJDLQVWDQ\SURWHFWHGFODVVRI
ERUURZHUV7KLVSURYLVLRQVKDOOQRWSUHFOXGHWKHLPSOHPHQWDWLRQRISLORWSURJUDPVLQ
SDUWLFXODUJHRJUDSKLFDUHDV
       $Q\GLVFXVVLRQRISURSHUW\LQWKHVH&RQVXPHU5HOLHI5HTXLUHPHQWVLQFOXGLQJ
DQ\GLVFXVVLRQLQ7DEOHRURWKHUGRFXPHQWVDWWDFKHGKHUHWRUHIHUVWRDXQLWVLQJOH
IDPLO\SURSHUW\ KHUHLQDIWHU³3URSHUW\´RUFROOHFWLYHO\³3URSHUWLHV´ 
        $Q\FRQVXPHUUHOLHIJXLGHOLQHVRUUHTXLUHPHQWVWKDWDUHIRXQGLQ7DEOHRURWKHU
GRFXPHQWVDWWDFKHGKHUHWRDUHKHUHE\LQFRUSRUDWHGLQWRWKHVH&RQVXPHU5HOLHI
5HTXLUHPHQWVDQGVKDOOEHDIIRUGHGWKHVDPHGHIHUHQFHDVLIWKH\ZHUHZULWWHQLQWKHWH[W
EHORZ
        )RUWKHDYRLGDQFHRIGRXEWVXEMHFWWRWKH&RQVXPHU5HOLHI5HTXLUHPHQWV
GHVFULEHGEHORZ6HUYLFHUVKDOOUHFHLYHFUHGLWIRUFRQVXPHUUHOLHIDFWLYLWLHVZLWKUHVSHFW
WRORDQVLQVXUHGRUJXDUDQWHHGE\WKH86'HSDUWPHQWRI+RXVLQJDQG8UEDQ
'HYHORSPHQW86'HSDUWPHQWRI9HWHUDQV$IIDLUVRUWKH86'HSDUWPHQWRI
$JULFXOWXUHLQDFFRUGDQFHZLWKWKHWHUPVDQGFRQGLWLRQVKHUHLQSURYLGHGWKDWQRWKLQJ
KHUHLQVKDOOEHGHHPHGWRLQDQ\ZD\UHOLHYH6HUYLFHURIWKHREOLJDWLRQWRFRPSO\ZLWK
WKHUHTXLUHPHQWVRIWKH86'HSDUWPHQWRI+RXVLQJDQG8UEDQ'HYHORSPHQW86
'HSDUWPHQWRI9HWHUDQV$IIDLUVDQGWKH86'HSDUWPHQWRI$JULFXOWXUHZLWKUHVSHFWWR
WKHVHUYLFLQJRIVXFKORDQV
        6HUYLFHUVKDOOQRWLQWKHRUGLQDU\FRXUVHUHTXLUHDERUURZHUWRZDLYHRUUHOHDVH
OHJDOFODLPVDQGGHIHQVHVDVDFRQGLWLRQRIDSSURYDOIRUORVVPLWLJDWLRQDFWLYLWLHVXQGHU
WKHVH&RQVXPHU5HOLHI5HTXLUHPHQWV+RZHYHUQRWKLQJKHUHLQVKDOOSUHFOXGH6HUYLFHU
IURPUHTXLULQJDZDLYHURUUHOHDVHRIOHJDOFODLPVDQGGHIHQVHVZLWKUHVSHFWWRD
&RQVXPHU5HOLHIDFWLYLW\RIIHUHGLQFRQQHFWLRQZLWKWKHUHVROXWLRQRIDFRQWHVWHGFODLP
ZKHQWKHERUURZHUZRXOGQRWRWKHUZLVHKDYHUHFHLYHGDVIDYRUDEOHWHUPVRUZKHQWKH
ERUURZHUUHFHLYHVDGGLWLRQDOFRQVLGHUDWLRQ
       3URJUDPPDWLFH[FHSWLRQVWRWKHFUHGLWLQJDYDLODEOHIRUWKH&RQVXPHU5HOLHI
5HTXLUHPHQWVOLVWHGEHORZPD\EHJUDQWHGE\WKH0RQLWRULQJ&RPPLWWHHRQDFDVHE\
FDVHEDVLV
        7RWKHH[WHQWD6HUYLFHULVUHVSRQVLEOHIRUWKHVHUYLFLQJRIDPRUWJDJHORDQWR
ZKLFKWKHVH&RQVXPHU5HOLHI5HTXLUHPHQWVPD\DSSO\WKH6HUYLFHUVKDOOUHFHLYHFUHGLW
IRUDOOFRQVXPHUUHOLHIDQGUHILQDQFLQJDFWLYLWLHVXQGHUWDNHQLQFRQQHFWLRQZLWKVXFK




                                              

                                                                                 GARCIA 04351
     Case 1:12-cv-00361-RMC Document 14-1
                                     1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                          Page171
                                                               80 of 223
                                                                     314
                                                




                       \
PRUWJDJHORDQE\DQ\RILWVVXEVHUYLFHUVWRWKHVDPHH[WHQWDVLI6HUYLFHUKDGXQGHUWDNHQ
VXFKDFWLYLWLHVLWVHOI 
 )LUVW/LHQ0RUWJDJH0RGLILFDWLRQV
              D 6HUYLFHUZLOOUHFHLYHFUHGLWXQGHU7DEOH6HFWLRQIRUILUVWOLHQ
                 PRUWJDJHORDQPRGLILFDWLRQVPDGHLQDFFRUGDQFHZLWKWKHJXLGHOLQHVVHW
                 IRUWKLQWKLV6HFWLRQ
              E )LUVWOLHQVRQRFFXSLHG3URSHUWLHVZLWKDQXQSDLGSULQFLSDOEDODQFH
                  ³83%´ SULRUWRFDSLWDOL]DWLRQDWRUEHORZWKHKLJKHVW*6(FRQIRUPLQJ
                 ORDQOLPLWFDSDVRI-DQXDU\VKDOOFRQVWLWXWHDWOHDVWRIWKH
                 HOLJLEOHFUHGLWVIRUILUVWOLHQV WKH³$SSOLFDEOH/LPLWV´ 
              F (OLJLEOHERUURZHUVPXVWEHDWOHDVWGD\VGHOLQTXHQWRURWKHUZLVH
                 TXDOLI\DVEHLQJDWLPPLQHQWULVNRIGHIDXOWGXHWRERUURZHU¶VILQDQFLDO
                 VLWXDWLRQ
              G (OLJLEOHERUURZHUV¶SUHPRGLILFDWLRQORDQWRYDOXHUDWLR ³/79´ LV
                 JUHDWHUWKDQ
              H 3RVWPRGLILFDWLRQSD\PHQWVKRXOGWDUJHWDGHEWWRLQFRPHUDWLR ³'7,´ 
                 RI RUDQDIIRUGDELOLW\PHDVXUHPHQWFRQVLVWHQWZLWK+$03
                 JXLGHOLQHV DQGDPRGLILHG/79RIQRJUHDWHUWKDQSURYLGHGWKDW
                 HOLJLEOHERUURZHUVUHFHLYHDPRGLILFDWLRQWKDWPHHWVWKHIROORZLQJWHUPV
                      L 3D\PHQWRISULQFLSDODQGLQWHUHVWPXVWEHUHGXFHGE\DWOHDVW
                      LL :KHUH/79H[FHHGVDWD'7,RISULQFLSDOVKDOOEH
                          UHGXFHGWRD/79RIVXEMHFWWRDPLQLPXP'7,RI
                           ZKLFKPLQLPXPPD\EHZDLYHGE\6HUYLFHUDW6HUYLFHU¶VVROH

  ,ID6HUYLFHUKROGVDPRUWJDJHORDQEXWGRHVQRWVHUYLFHRUFRQWUROWKHVHUYLFLQJ
       ULJKWVIRUVXFKORDQ HLWKHUWKURXJKLWVRZQVHUYLFLQJRSHUDWLRQVRUDVXEVHUYLFHU 
       WKHQQRFUHGLWVKDOOEHJUDQWHGWRWKDW6HUYLFHUIRUFRQVXPHUUHOLHIDQGUHILQDQFLQJ
       DFWLYLWLHVUHODWHGWRWKDWORDQ

     6HUYLFHUPD\UHO\RQDERUURZHU¶VVWDWHPHQWDWWKHWLPHRIWKHPRGLILFDWLRQ
       HYDOXDWLRQWKDWD3URSHUW\LVRFFXSLHGRUWKDWWKHERUURZHULQWHQGVWRUHQWRUUH
       RFFXS\WKHSURSHUW\

     &RQVLVWHQWZLWK+$03'7,LVEDVHGRQILUVWOLHQPRUWJDJHGHEWRQO\)RUQRQ
       RZQHURFFXSLHGSURSHUWLHV6HUYLFHUVKDOOFRQVLGHURWKHUDSSURSULDWHPHDVXUHVRI
       DIIRUGDELOLW\

     )RUWKHSXUSRVHVRIWKHVHJXLGHOLQHV/79PD\EHGHWHUPLQHGLQDFFRUGDQFHZLWK
       +$0335$




                                                '
                                                                                    GARCIA 04352
    Case 1:12-cv-00361-RMC Document 14-1
                                    1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                         Page172
                                                              81 of 223
                                                                    314
                                               




                      GLVFUHWLRQ SURYLGHGWKDWIRULQYHVWRURZQHGORDQVWKH/79DQG
                      '7,QHHGQRWEHUHGXFHGWRDOHYHOWKDWZRXOGFRQYHUWWKH
                      PRGLILFDWLRQWRQHWSUHVHQWYDOXH ³139´ QHJDWLYH
           I '7,UHTXLUHPHQWVPD\EHZDLYHGIRUILUVWOLHQPRUWJDJHVWKDWDUHGD\V
              RUPRUHGHOLQTXHQWDVORQJDVSD\PHQWRISULQFLSDODQGLQWHUHVWLVUHGXFHG
              E\DWOHDVWDQG/79LVUHGXFHGWRDWOHDVW
           J 6HUYLFHUVKDOODOVREHHQWLWOHGWRFUHGLWIRUDQ\DPRXQWVRISULQFLSDO
              UHGXFWLRQZKLFKORZHU/79EHORZ
           K :KHQ6HUYLFHUUHGXFHVSULQFLSDORQDILUVWOLHQPRUWJDJHYLDLWV
              SURSULHWDU\PRGLILFDWLRQSURFHVVDQGD3DUWLFLSDWLQJ6HUYLFHURZQVWKH
              VHFRQGOLHQPRUWJDJHWKHVHFRQGOLHQVKDOOEHPRGLILHGE\WKHVHFRQGOLHQ
              RZQLQJ3DUWLFLSDWLQJ6HUYLFHULQDFFRUGDQFHZLWK6HFWLRQFLEHORZ
              SURYLGHGWKDWDQ\3DUWLFLSDWLQJ6HUYLFHURWKHUWKDQWKHILYHODUJHVW
              VHUYLFHUVVKDOOEHJLYHQDUHDVRQDEOHDPRXQWRIWLPHDVGHWHUPLQHGE\WKH
              0RQLWRUDIWHUWKDW3DUWLFLSDWLQJ6HUYLFHU¶V6WDUW'DWHWRPDNHV\VWHP
              FKDQJHVQHFHVVDU\WRSDUWLFLSDWHLQDQGLPSOHPHQWWKLVUHTXLUHPHQW
              &UHGLWIRUVXFKVHFRQGOLHQPRUWJDJHZULWHGRZQVVKDOOEHFUHGLWHGLQ
              DFFRUGDQFHZLWKWKHVHFRQGOLHQSHUFHQWDJHVDQGFDSGHVFULEHGLQ7DEOH
              6HFWLRQ
           L ,QWKHHYHQWWKDWLQWKHILUVWPRQWKVDIWHU6HUYLFHU¶V6WDUW'DWH DV
              GHILQHGEHORZ 6HUYLFHUWHPSRUDULO\SURYLGHVIRUEHDUDQFHRUFRQGLWLRQDO
              IRUJLYHQHVVWRDQHOLJLEOHERUURZHUDVWKH6HUYLFHUUDPSVXSXVHRI
              SULQFLSDOUHGXFWLRQ6HUYLFHUVKDOOUHFHLYHFUHGLWIRUSULQFLSDOUHGXFWLRQRQ
              VXFKPRGLILFDWLRQVSURYLGHGWKDW L 6HUYLFHUPD\QRWUHFHLYHFUHGLWIRU
              ERWKWKHIRUEHDUDQFHDQGWKHVXEVHTXHQWSULQFLSDOUHGXFWLRQDQG LL 
              6HUYLFHUZLOORQO\UHFHLYHWKHFUHGLWIRUWKHSULQFLSDOUHGXFWLRQRQFHWKH
              SULQFLSDOLVDFWXDOO\IRUJLYHQLQDFFRUGDQFHZLWKWKHVH&RQVXPHU5HOLHI
              5HTXLUHPHQWVDQG7DEOH
           M (OLJLEOHPRGLILFDWLRQVLQFOXGHDQ\PRGLILFDWLRQWKDWLVPDGHRQRUDIWHU
              6HUYLFHU¶V6WDUW'DWHLQFOXGLQJ
                   L :ULWHRIIVPDGHWRDOORZIRUUHILQDQFLQJXQGHUWKH)+$6KRUW
                      5HILQDQFH3URJUDP
                  LL 0RGLILFDWLRQVXQGHUWKH0DNLQJ+RPH$IIRUGDEOH3URJUDP
                       LQFOXGLQJWKH+RPH$IIRUGDEOH0RGLILFDWLRQ3URJUDP ³+$03´ 
                      7LHURU7LHU RUWKH+RXVLQJ)LQDQFH$JHQF\+DUGHVW+LW)XQG
                       ³+)$+DUGHVW+LW)XQG´  RUDQ\RWKHUIHGHUDOSURJUDP ZKHUH
                      SULQFLSDOLVIRUJLYHQH[FHSWWRWKHH[WHQWWKDWVWDWHRUIHGHUDOIXQGV
                      SDLGWR6HUYLFHULQLWVFDSDFLW\DVDQLQYHVWRUDUHWKHVRXUFHRID
                      6HUYLFHU¶VFUHGLWFODLP




                                             '
                                                                                  GARCIA 04353
    Case 1:12-cv-00361-RMC Document 14-1
                                    1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                         Page173
                                                              82 of 223
                                                                    314
                                               




                     LLL 0RGLILFDWLRQVXQGHURWKHUSURSULHWDU\RURWKHUJRYHUQPHQW
                          PRGLILFDWLRQSURJUDPVSURYLGHGWKDWVXFKPRGLILFDWLRQVPHHWWKH
                          JXLGHOLQHVVHWIRUWKKHUHLQ
 6HFRQG/LHQ3RUWIROLR0RGLILFDWLRQV
             D 6HUYLFHULVUHTXLUHGWRDGKHUHWRWKHVHJXLGHOLQHVLQRUGHUWRUHFHLYHFUHGLW
                XQGHU7DEOH6HFWLRQ
             E $ZULWHGRZQRIDVHFRQGOLHQPRUWJDJHZLOOEHFUHGLWDEOHZKHUHVXFK
                ZULWHGRZQIDFLOLWDWHVHLWKHU D DILUVWOLHQPRGLILFDWLRQWKDWLQYROYHVDQ
                RFFXSLHG3URSHUW\IRUZKLFKWKHERUURZHULVGD\VGHOLQTXHQWRU
                RWKHUZLVHDWLPPLQHQWULVNRIGHIDXOWGXHWRWKHERUURZHU¶VILQDQFLDO
                VLWXDWLRQRU E DVHFRQGOLHQPRGLILFDWLRQWKDWLQYROYHVDQRFFXSLHG
                3URSHUW\ZLWKDVHFRQGOLHQZKLFKLVDWOHDVWGD\VGHOLQTXHQWRU
                RWKHUZLVHDWLPPLQHQWULVNRIGHIDXOWGXHWRWKHERUURZHU¶VILQDQFLDO
                VLWXDWLRQ



  7ZRH[DPSOHVDUHKHUHE\SURYLGHG([DPSOHRQDPRUWJDJHORDQDW/79ZKHQD6HUYLFHU
      LQLWVFDSDFLW\DVDQLQYHVWRU H[WLQJXLVKHVRISULQFLSDOWKURXJKWKH+$033ULQFLSDO5HGXFWLRQ
     $OWHUQDWLYH ³35$´ PRGLILFDWLRQLQRUGHUWREULQJWKH/79GRZQWRLIWKH6HUYLFHUUHFHLYHV
     LQ35$SULQFLSDOUHGXFWLRQLQFHQWLYHSD\PHQWVIURPWKH86'HSDUWPHQWRIWKH7UHDVXU\IRU
     WKDWH[WLQJXLVKPHQWWKHQWKH6HUYLFHUPD\FODLPRISULQFLSDOUHGXFWLRQIRUFUHGLWXQGHUWKHVH
     &RQVXPHU5HOLHI5HTXLUHPHQWV

                                     HAMP-PRA Incentive Amount
       LTV Reduction Band:                      Received:                     Allowable Settlement Credit:
     /79WR/79         /79                  /79   
     /79WR/79         /79                  /79   
     /79WR/79         /79                   /79   
     /79WR/79        1RQH QRFUHGLWEHORZ/79          /79  
     Total:                       $28.10                                  $46.90

     ([DPSOHRQDPRUWJDJHORDQDW/79ZKHQD6HUYLFHU LQLWVFDSDFLW\DVDQLQYHVWRU 
     H[WLQJXLVKHVRISULQFLSDOWKURXJKD+$0335$PRGLILFDWLRQLQRUGHUWREULQJWKH/79GRZQWR
     LIWKH6HUYLFHUUHFHLYHVLQ35$SULQFLSDOUHGXFWLRQLQFHQWLYHSD\PHQWVIURP7UHDVXU\
     IRUWKDWH[WLQJXLVKPHQWWKHQDOWKRXJKWKH6HUYLFHUZRXOGKDYHIXQGHGLQSULQFLSDOUHGXFWLRQ
     RQWKDWORDQWKH6HUYLFHUPD\FODLPRISULQFLSDOUHGXFWLRQIRUFUHGLWXQGHUWKHVH&RQVXPHU
     5HOLHI5HTXLUHPHQWV
     
                                     HAMP-PRA Incentive Amount
       LTV Reduction Band:                      Received:                     Allowable Settlement Credit:
     /79WR/79         /79                   /79   
     /79WR/79         /79                  /79   
     /79WR/79         /79                  /79   
     /79WR/79         /79                   /79   
     /79WR/79        1RQH QRFUHGLWEHORZ/79          /79  
     Total:                       $35.60                                  $55.70





                                                     '
                                                                                               GARCIA 04354
    Case 1:12-cv-00361-RMC Document 14-1
                                    1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                         Page174
                                                              83 of 223
                                                                    314
                                               




           F 5HTXLUHG6HFRQG/LHQ0RGLILFDWLRQV
                   L 6HUYLFHUDJUHHVWKDWLWPXVWZULWHGRZQVHFRQGOLHQVFRQVLVWHQW
                      ZLWKWKHIROORZLQJSURJUDPXQWLOLWV&RQVXPHU5HOLHI5HTXLUHPHQW
                      FUHGLWVDUHIXOILOOHG
                           $ZULWHGRZQRIDVHFRQGOLHQPRUWJDJHZLOOEHFUHGLWDEOH
                             ZKHUHDVXFFHVVIXOILUVWOLHQPRGLILFDWLRQLVFRPSOHWHGE\D
                             3DUWLFLSDWLQJ6HUYLFHUYLDDVHUYLFHU¶VSURSULHWDU\QRQ
                             +$03PRGLILFDWLRQSURFHVVLQDFFRUGDQFHZLWK6HFWLRQ
                             ZLWKWKHILUVWOLHQPRGLILFDWLRQPHHWLQJWKHIROORZLQJ
                             FULWHULD
                                  D 0LQLPXPSD\PHQWUHGXFWLRQ SULQFLSDODQG
                                     LQWHUHVW 
                                  E ,QFRPHYHULILHG
                                  F $83%DWRUEHORZWKH$SSOLFDEOH/LPLWVDQG
                                  G 3RVWPRGLILFDWLRQ'7,EHWZHHQDQG
                           ,ID3DUWLFLSDWLQJ6HUYLFHUKDVFRPSOHWHGDVXFFHVVIXO
                             SURSULHWDU\ILUVWOLHQPRGLILFDWLRQDQGWKHVHFRQGOLHQORDQ
                             DPRXQWLVJUHDWHUWKDQ83%DQGWKHFXUUHQWPRQWKO\
                             SD\PHQWLVJUHDWHUWKDQWKHQ
                                  D 6HUYLFHUVKDOOH[WLQJXLVKDQGUHFHLYHFUHGLWLQ
                                     DFFRUGDQFHZLWK7DEOH6HFWLRQLLLRQDQ\
                                     VHFRQGOLHQWKDWLVJUHDWHUWKDQGD\VGHOLQTXHQW
                                  E 2WKHUZLVH6HUYLFHUVKDOOVROYHIRUDVHFRQGOLHQ
                                     SD\PHQWXWLOL]LQJWKH+$036HFRQG/LHQ
                                     0RGLILFDWLRQ3URJUDP ³03´ ORJLFXVHGDVRI
                                     -DQXDU\
                                  F 6HUYLFHUVKDOOXVHWKHIROORZLQJSD\PHQWZDWHUIDOO
                                          L )RUJLYHQHVVHTXDOWRWKHOHVVHURI D 
                                             DFKLHYLQJFRPELQHGORDQWRYDOXH
                                             UDWLR ³&/79´ RU E 83% VXEMHFWWR
                                             PLQLPXPIRUJLYHQHVVOHYHO WKHQ
                                         LL 5HGXFHUDWHXQWLOWKH03SD\PHQWUHTXLUHG
                                             E\03ORJLFDVRI-DQXDU\WKHQ


   &RQVLVWHQWZLWK+$03'7,LVEDVHGRQILUVWOLHQPRUWJDJHGHEWRQO\)RUQRQ
       RZQHURFFXSLHGSURSHUWLHV6HUYLFHUVKDOOFRQVLGHURWKHUDSSURSULDWHPHDVXUHVRI
       DIIRUGDELOLW\




                                             '
                                                                                GARCIA 04355
    Case 1:12-cv-00361-RMC Document 14-1
                                    1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                         Page175
                                                              84 of 223
                                                                    314
                                               




                                        LLL ([WHQGWHUPWR³037HUP´ JUHDWHURI
                                             PRGLILHGILUVWRUUHPDLQLQJVHFRQG 
                                 G 6HUYLFHUVKDOOPDLQWDLQDQ,2SURGXFWRSWLRQ
                                    FRQVLVWHQWZLWK03SURWRFROV
           G (OLJLEOHVHFRQGOLHQPRGLILFDWLRQVLQFOXGHDQ\PRGLILFDWLRQWKDWLVPDGH
              RQRUDIWHU6HUYLFHU¶V6WDUW'DWHLQFOXGLQJ
                   L 3ULQFLSDOUHGXFWLRQRUH[WLQJXLVKPHQWVWKURXJKWKH0DNLQJ+RPH
                      $IIRUGDEOH3URJUDP LQFOXGLQJ03 WKH)+$6KRUW5HILQDQFH
                      6HFRQG/LHQ ³)+$/3´ 3URJUDPRUWKH+)$+DUGHVW+LW)XQG
                       RUDQ\RWKHUIHGHUDOSURJUDP H[FHSW WRWKHH[WHQW WKDWVWDWHRU
                      IHGHUDOIXQGVDUHWKHVRXUFHRID6HUYLFHU¶VFUHGLWFODLP
                  LL 6HFRQGOLHQZULWHGRZQVRUH[WLQJXLVKPHQWVFRPSOHWHGXQGHU
                      SURSULHWDU\PRGLILFDWLRQSURJUDPVDUHHOLJLEOHSURYLGHGWKDWVXFK
                      ZULWHGRZQVRUH[WLQJXLVKPHQWVPHHWWKHJXLGHOLQHVDVVHWIRUWK
                      KHUHLQ
           H ([WLQJXLVKLQJEDODQFHVRIVHFRQGOLHQVWRVXSSRUWWKHIXWXUHDELOLW\RI
              LQGLYLGXDOVWREHFRPHKRPHRZQHUVZLOOEHFUHGLWHGEDVHGRQDSSOLFDEOH
              FUHGLWVLQ7DEOH
 (QKDQFHG%RUURZHU7UDQVLWLRQDO)XQGV
              6HUYLFHUPD\UHFHLYHFUHGLWDVGHVFULEHGLQ7DEOH6HFWLRQIRU
              SURYLGLQJDGGLWLRQDOWUDQVLWLRQDOIXQGVWRKRPHRZQHUVLQFRQQHFWLRQZLWK
              DVKRUWVDOHRUGHHGLQOLHXRIIRUHFORVXUHWRKRPHRZQHUVIRUWKHDPRXQW
              DERYH
 6KRUW6DOHV
           D $VGHVFULEHGLQWKHSUHFHGLQJSDUDJUDSK6HUYLFHUPD\UHFHLYHFUHGLWIRU
              SURYLGLQJLQFHQWLYHSD\PHQWVIRUERUURZHUVRQRUDIWHU6HUYLFHU¶V6WDUW
              'DWHZKRDUHHOLJLEOHDQGDPHQDEOHWRDFFHSWLQJVXFKSD\PHQWVLQUHWXUQ
              IRUDGLJQLILHGH[LWIURPD3URSHUW\YLDVKRUWVDOHRUVLPLODUSURJUDP
              &UHGLWVKDOOEHSURYLGHGLQDFFRUGDQFHZLWK7DEOH6HFWLRQL
           E 7RIDFLOLWDWHVXFKVKRUWVDOHV6HUYLFHUPD\UHFHLYHFUHGLWIRUH[WLQJXLVKLQJ
              VHFRQGOLHQVRQRUDIWHU6HUYLFHU¶V6WDUW'DWHXQGHU7DEOH6HFWLRQ
           F 6KRUWVDOHVWKURXJKWKH+RPH$IIRUGDEOH)RUHFORVXUH$OWHUQDWLYHV
               +$)$ 3URJUDPRUDQ\+)$+DUGHVW+LW)XQGSURJUDPRUSURSULHWDU\
              SURJUDPVFORVHGRQRUDIWHU6HUYLFHU¶V6WDUW'DWHDUHHOLJLEOH
           G 6HUYLFHUVKDOOEHUHTXLUHGWRH[WLQJXLVKDVHFRQGOLHQRZQHGE\6HUYLFHU
              EHKLQGDVXFFHVVIXOVKRUWVDOHGHHGLQOLHXFRQGXFWHGE\D3DUWLFLSDWLQJ
              6HUYLFHU SURYLGHGWKDWDQ\3DUWLFLSDWLQJ6HUYLFHURWKHUWKDQWKHILYH
              ODUJHVWVHUYLFHUVVKDOOEHJLYHQDUHDVRQDEOHDPRXQWRIWLPHDVGHWHUPLQHG




                                            '
                                                                                GARCIA 04356
    Case 1:12-cv-00361-RMC Document 14-1
                                    1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                         Page176
                                                              85 of 223
                                                                    314
                                               




              E\WKH0RQLWRUDIWHUWKHLU6WDUW'DWHWRPDNHV\VWHPFKDQJHVQHFHVVDU\WR
              SDUWLFLSDWHLQDQGLPSOHPHQWWKLVUHTXLUHPHQW ZKHUHWKHILUVWOLHQLV
              JUHDWHUWKDQ/79DQGKDVD83%DWRUEHORZWKH$SSOLFDEOH/LPLWV
              XQWLO6HUYLFHU¶V&RQVXPHU5HOLHI5HTXLUHPHQWFUHGLWVDUHIXOILOOHG7KH
              ILUVWOLHQKROGHUZRXOGSD\WRWKHVHFRQGOLHQKROGHURI83%VXEMHFWWR
              DIORRUDQGDQFHLOLQJ7KHVHFRQGOLHQKROGHUZRXOGWKHQ
              UHOHDVHWKHQRWHRUOLHQDQGZDLYHWKHEDODQFH
 'HILFLHQF\:DLYHUV
           D 6HUYLFHUPD\UHFHLYHFUHGLWIRUZDLYLQJGHILFLHQF\EDODQFHVLIQRWHOLJLEOH
              IRUFUHGLWXQGHUVRPHRWKHUSURYLVLRQVXEMHFWWRWKHFDSSURYLGHGLQWKH
              7DEOH6HFWLRQL
           E &UHGLWIRUVXFKZDLYHUVRIDQ\GHILFLHQF\LVRQO\DYDLODEOHZKHUH6HUYLFHU
              KDVDYDOLGGHILFLHQF\FODLPPHDQLQJZKHUH6HUYLFHUFDQHYLGHQFHWRWKH
              0RQLWRUWKDWLWKDGWKHDELOLW\WRSXUVXHDGHILFLHQF\DJDLQVWWKHERUURZHU
              EXWZDLYHGLWVULJKWWRGRVRDIWHUFRPSOHWLRQRIWKHIRUHFORVXUHVDOH
 )RUEHDUDQFHIRU8QHPSOR\HG%RUURZHUV
           D 6HUYLFHUPD\UHFHLYHFUHGLWIRUIRUJLYHQHVVRISD\PHQWRIDUUHDUDJHVRQ
              EHKDOIRIDQXQHPSOR\HGERUURZHULQDFFRUGDQFHZLWK7DEOH6HFWLRQL
           E 6HUYLFHUPD\UHFHLYHFUHGLWXQGHU7DEOH6HFWLRQLLIRUIXQGV
              H[SHQGHGWRILQDQFHSULQFLSDOIRUEHDUDQFHVROXWLRQVIRUXQHPSOR\HG
              ERUURZHUVDVDPHDQVRINHHSLQJWKHPLQWKHLUKRPHVXQWLOVXFKWLPHDV
              WKHERUURZHUFDQUHVXPHSD\PHQWV&UHGLWZLOORQO\EHSURYLGHG
              EHJLQQLQJLQWKHWKPRQWKRIWKHIRUEHDUDQFHXQGHU7DEOH6HFWLRQLL
 $QWL%OLJKW3URYLVLRQV
           D 6HUYLFHUPD\UHFHLYHFUHGLWIRUFHUWDLQDQWLEOLJKWDFWLYLWLHVLQDFFRUGDQFH
              ZLWKDQGVXEMHFWWRFDSVFRQWDLQHGLQ7DEOH6HFWLRQ
           E $Q\3URSHUW\YDOXHXVHGWRFDOFXODWHFUHGLWVIRUWKLVSURYLVLRQVKDOOKDYHD
              SURSHUW\HYDOXDWLRQPHHWLQJWKHVWDQGDUGVDFFHSWDEOHXQGHUWKH0DNLQJ
              +RPH$IIRUGDEOHSURJUDPVUHFHLYHGZLWKLQPRQWKVRIWKHWUDQVDFWLRQ
 %HQHILWVIRU6HUYLFHPHPEHUV
           D 6KRUW6DOHV
              L      6HUYLFHUVKDOOZLWKUHVSHFWWRRZQHGSRUWIROLRILUVWOLHQVSURYLGH
                      VHUYLFHPHPEHUVZKRTXDOLI\IRU6&5$EHQHILWV ³(OLJLEOH
                      6HUYLFHPHPEHUV´ DVKRUWVDOHDJUHHPHQWFRQWDLQLQJD
                      SUHGHWHUPLQHGPLQLPXPQHWSURFHHGVDPRXQW ³0LQLPXP1HW
                      3URFHHGV´ WKDW6HUYLFHUZLOODFFHSWIRUVKRUWVDOHWUDQVDFWLRQXSRQ
                      UHFHLSWRIWKHOLVWLQJDJUHHPHQWDQGDOOUHTXLUHGWKLUGSDUW\
                      DSSURYDOV7KH0LQLPXP1HW3URFHHGVPD\EHH[SUHVVHGDVD




                                             '
                                                                                GARCIA 04357
    Case 1:12-cv-00361-RMC Document 14-1
                                    1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                         Page177
                                                              86 of 223
                                                                    314
                                               




                        IL[HGGROODUDPRXQWDVDSHUFHQWDJHRIWKHFXUUHQWPDUNHWYDOXHRI
                        WKHSURSHUW\RUDVDSHUFHQWDJHRIWKHOLVWSULFHDVDSSURYHGE\
                        6HUYLFHU$IWHUSURYLGLQJWKH0LQLPXP1HW3URFHHGV6HUYLFHU
                        PD\QRWLQFUHDVHWKHPLQLPXPQHWUHTXLUHPHQWVDERYHWKH
                        0LQLPXP1HW3URFHHGVDPRXQWXQWLOWKHLQLWLDOVKRUWVDOH
                        DJUHHPHQWWHUPLQDWLRQGDWHLVUHDFKHG QRWOHVVWKDQFDOHQGDU
                        GD\VIURPWKHGDWHRIWKHLQLWLDOVKRUWVDOHDJUHHPHQW 6HUYLFHU
                        PXVWGRFXPHQWVXEVHTXHQWFKDQJHVWRWKH0LQLPXP1HW3URFHHGV
                        ZKHQWKHVKRUWVDOHDJUHHPHQWLVH[WHQGHG
              LL       (OLJLEOH6HUYLFHPHPEHUVVKDOOEHHOLJLEOHIRUWKLVVKRUWVDOH
                        SURJUDPLI D WKH\DUHDQDFWLYHGXW\IXOOWLPHVWDWXV(OLJLEOH
                        6HUYLFHPHPEHU E WKHSURSHUW\VHFXULQJWKHPRUWJDJHLVQRW
                        YDFDQWRUFRQGHPQHG F WKHSURSHUW\VHFXULQJWKHPRUWJDJHLVWKH
                        (OLJLEOH6HUYLFHPHPEHU¶VSULPDU\UHVLGHQFH RUWKHSURSHUW\ZDV
                        KLVRUKHUSULQFLSDOUHVLGHQFHLPPHGLDWHO\EHIRUHKHRUVKHPRYHG
                        SXUVXDQWWRD3HUPDQHQW&KDQJHRI6WDWLRQ ³3&6´ RUGHUGDWHGRQ
                        RUDIWHU2FWREHU G WKH(OLJLEOH6HUYLFHPHPEHU
                        SXUFKDVHGWKHVXEMHFWSULPDU\UHVLGHQFHRQRUDIWHU-XO\
                        DQGEHIRUH'HFHPEHUDQG H WKH(OLJLEOH
                        6HUYLFHPHPEHUUHORFDWHVRUKDVUHORFDWHGIURPWKHVXEMHFW
                        SURSHUW\QRWPRUHWKDQPRQWKVSULRUWRWKHGDWHRIWKHVKRUWVDOH
                        DJUHHPHQWWRDQHZGXW\VWDWLRQRUKRPHSRUWRXWVLGHDPLOH
                        UDGLXVRIWKH(OLJLEOH6HUYLFHPHPEHU¶VIRUPHUGXW\VWDWLRQRU
                        KRPHSRUWXQGHUD3&6(OLJLEOH6HUYLFHPHPEHUVZKRKDYH
                        UHORFDWHGPD\EHHOLJLEOHLIWKH(OLJLEOH6HUYLFHPHPEHUSURYLGHV
                        GRFXPHQWDWLRQWKDWWKHSURSHUW\ZDVWKHLUSULQFLSDOUHVLGHQFHSULRU
                        WRUHORFDWLRQRUGXULQJWKHPRQWKSHULRGSULRUWRWKHGDWHRIWKH
                        VKRUWVDOHDJUHHPHQW
           E 6KRUW6DOH:DLYHUV
                    L ,IDQ(OLJLEOH6HUYLFHPHPEHUTXDOLILHVIRUDVKRUWVDOHKHUHXQGHU
                       DQGVHOOVKLVRUKHUSULQFLSDOUHVLGHQFHLQDVKRUWVDOHFRQGXFWHGLQ
                       DFFRUGDQFHZLWK6HUYLFHU¶VWKHQFXVWRPDU\VKRUWVDOHSURFHVV
                       6HUYLFHUVKDOOLQWKHFDVHRIDQRZQHGSRUWIROLRILUVWOLHQZDLYH
                       WKHDGGLWLRQDODPRXQWRZHGE\WKH(OLJLEOH6HUYLFHPHPEHUVRORQJ
                       DVLWLVOHVVWKDQ
                    LL 6HUYLFHUVKDOOUHFHLYHFUHGLWXQGHU7DEOH6HFWLRQIRU
                        PDQGDWRU\ZDLYHUVRIDPRXQWVXQGHUWKLV6HFWLRQE
           F :LWKUHVSHFWWRWKHUHILQDQFLQJSURJUDPGHVFULEHGLQ6HFWLRQEHORZ
              6HUYLFHUVKDOOXVHUHDVRQDEOHHIIRUWVWRLGHQWLI\DFWLYHVHUYLFHPHPEHUVLQ
              LWVRZQHGSRUWIROLRZKRZRXOGTXDOLI\DQGWRVROLFLWWKRVHLQGLYLGXDOVIRU
              WKHUHILQDQFLQJSURJUDP




                                              '
                                                                                  GARCIA 04358
    Case 1:12-cv-00361-RMC Document 14-1
                                    1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                         Page178
                                                              87 of 223
                                                                    314
                                               




 5HILQDQFLQJ3URJUDP
           D 6HUYLFHUVKDOOFUHDWHDUHILQDQFLQJSURJUDPIRUFXUUHQWERUURZHUV
              6HUYLFHUVKDOOSURYLGHQRWLILFDWLRQWRHOLJLEOHERUURZHUVLQGLFDWLQJWKDW
              WKH\PD\UHILQDQFHXQGHUWKHSURJUDPGHVFULEHGKHUHLQ7KHPLQLPXP
              RFFXSLHG3URSHUW\HOLJLELOLW\FULWHULDIRUVXFKDSURJUDPVKDOOEH
                   L 7KHSURJUDPVKDOODSSO\RQO\WR6HUYLFHURZQHGILUVWOLHQ
                      PRUWJDJHORDQV
                  LL /RDQPXVWEHFXUUHQWZLWKQRGHOLQTXHQFLHVLQSDVWPRQWKV
                 LLL )L[HGUDWHORDQV$506RU,2VDUHHOLJLEOHLIWKH\KDYHDQLQLWLDO
                      SHULRGRI\HDUVRUPRUH
                 LY &XUUHQW/79LVJUHDWHUWKDQ
                  Y /RDQVPXVWKDYHEHHQRULJLQDWHGSULRUWR-DQXDU\
                 YL /RDQPXVWQRWKDYHUHFHLYHGDQ\PRGLILFDWLRQLQWKHSDVW
                     PRQWKV
                 YLL /RDQPXVWKDYHDFXUUHQWLQWHUHVWUDWHRIDWOHDVWRU3006
                      EDVLVSRLQWVZKLFKHYHULVJUHDWHU
                YLLL 7KHPLQLPXPGLIIHUHQFHEHWZHHQWKHFXUUHQWLQWHUHVWUDWHDQGWKH
                      RIIHUHGLQWHUHVWUDWHXQGHUWKLVSURJUDPPXVWEHDWOHDVWEDVLV
                      SRLQWVRUWKHUHPXVWEHDWOHDVWDUHGXFWLRQLQPRQWKO\
                      SD\PHQW
                 L[ 0D[LPXP83%ZLOOEHDQDPRXQWDWRUEHORZWKH$SSOLFDEOH
                     /LPLWV
                  [ 7KHIROORZLQJW\SHVRIORDQVDUHH[FOXGHGIURPWKHSURJUDP
                     HOLJLELOLW\
                           )+$9$
                           3URSHUW\RXWVLGHWKH6WDWHV'&DQG3XHUWR5LFR
                           /RDQVRQ0DQXIDFWXUHG+RPHV
                           /RDQVIRUERUURZHUVZKRKDYHEHHQLQEDQNUXSWF\DQ\WLPH
                             ZLWKLQWKHSULRUPRQWKV
                           /RDQVWKDWKDYHEHHQLQIRUHFORVXUHZLWKLQWKHSULRU
                             PRQWKV
           E 7KHUHILQDQFLQJSURJUDPVKDOOEHPDGHDYDLODEOHWRDOOERUURZHUVILWWLQJ
              WKHPLQLPXPHOLJLELOLW\FULWHULDGHVFULEHGDERYHLQD6HUYLFHUZLOOEH
              IUHHWRH[WHQGWKHSURJUDPWRRWKHUFXVWRPHUVEH\RQGWKHPLQLPXP
              HOLJLELOLW\FULWHULDSURYLGHGDERYHDQGZLOOUHFHLYHFUHGLWXQGHUWKLV
              $JUHHPHQWIRUVXFKUHILQDQFLQJVSURYLGHGWKDWVXFKFXVWRPHUVKDYHDQ




                                            '
                                                                                GARCIA 04359
    Case 1:12-cv-00361-RMC Document 14-1
                                    1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                         Page179
                                                              88 of 223
                                                                    314
                                               




              /79RIRYHUDQGZRXOGQRWKDYHTXDOLILHGIRUDUHILQDQFHXQGHU
              6HUYLFHU¶VJHQHUDOO\DYDLODEOHUHILQDQFHSURJUDPVDVRI6HSWHPEHU
              1RWZLWKVWDQGLQJWKHIRUHJRLQJ6HUYLFHUVKDOOQRWEHUHTXLUHGWR
              VROLFLWRUUHILQDQFHERUURZHUVZKRGRQRWVDWLVI\WKHHOLJLELOLW\FULWHULD
              XQGHUDDERYH,QDGGLWLRQ6HUYLFHUVKDOOQRWEHUHTXLUHGWRUHILQDQFHD
              ORDQXQGHUFLUFXPVWDQFHVWKDWLQWKHUHDVRQDEOHMXGJPHQWRIWKH6HUYLFHU
              ZRXOGUHVXOWLQ7URXEOHG'HEW5HVWUXFWXULQJ ³7'5´ WUHDWPHQW$OHWWHU
              WRWKH8QLWHG6WDWHV6HFXULWLHVDQG([FKDQJH&RPPLVVLRQUHJDUGLQJ7'5
              WUHDWPHQWGDWHG1RYHPEHUVKDOOEHSURYLGHGWRWKH0RQLWRUIRU
              UHYLHZ
           F 7KHVWUXFWXUHRIWKHUHILQDQFHGORDQVVKDOOEHDVIROORZV
                   L 6HUYLFHUPD\RIIHUUHILQDQFHGORDQVZLWKUHGXFHGUDWHVHLWKHU
                           )RUWKHOLIHRIWKHORDQ
                           )RUORDQVZLWKFXUUHQWLQWHUHVWUDWHVDERYHRU3006
                             EDVLVSRLQWVZKLFKHYHULVJUHDWHUWKHLQWHUHVWUDWH
                             PD\EHUHGXFHGIRU\HDUV$IWHUWKH\HDUIL[HGLQWHUHVW
                             UDWHSHULRGWKHUDWHZLOOUHWXUQWRWKHSUHH[LVWLQJUDWH
                             VXEMHFWWRDPD[LPXPUDWHLQFUHDVHRIDQQXDOO\RU
                           )RUORDQVZLWKDQLQWHUHVWUDWHEHORZRU3006
                             EDVLVSRLQWVZKLFKHYHULVJUHDWHUWKHLQWHUHVWUDWHPD\
                             EHUHGXFHGWRREWDLQDWOHDVWDEDVLVSRLQWLQWHUHVWUDWH
                             UHGXFWLRQRUSD\PHQWUHGXFWLRQLQPRQWKO\SD\PHQW
                             IRUDSHULRGRI\HDUVIROORZHGE\DQQXDOLQWHUHVW
                             UDWHLQFUHDVHVZLWKDPD[LPXPHQGLQJLQWHUHVWUDWHRI
                             RU3006EDVLVSRLQWV
                  LL 7KHRULJLQDOWHUPRIWKHORDQPD\EHFKDQJHG
                 LLL 5DWHUHGXFWLRQFRXOGEHGRQHWKURXJKDPRGLILFDWLRQRIWKH
                      H[LVWLQJORDQWHUPVRUUHILQDQFHLQWRDQHZORDQ
                 LY 1HZWHUPRIWKHORDQKDVWREHDIXOO\DPRUWL]LQJSURGXFW
                  Y 7KHQHZLQWHUHVWUDWHZLOOEHFDSSHGDWEDVLVSRLQWVRYHUWKH
                     3006UDWHRUZKLFKHYHULVJUHDWHUGXULQJWKHLQLWLDOUDWH
                     UHGXFWLRQSHULRG
           G %DQNVIHHVDQGH[SHQVHVVKDOOQRWH[FHHGWKHDPRXQWRIIHHVFKDUJHGE\
              %DQNVXQGHUWKHFXUUHQW+RPH$IIRUGDEOH5HILQDQFH3URJUDP ³+$53´ 
              JXLGHOLQHV
           H 7KHSURJUDPVKDOOEHFUHGLWHGXQGHUWKHVH&RQVXPHU5HOLHI5HTXLUHPHQWV
              DVIROORZV




                                            '
                                                                                GARCIA 04360
    Case 1:12-cv-00361-RMC Document 14-1
                                    1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                         Page180
                                                              89 of 223
                                                                    314
                                               




                   L &UHGLWZLOOEHFDOFXODWHGDVWKHGLIIHUHQFHEHWZHHQWKHSUHH[LVWLQJ
                      LQWHUHVWUDWHDQGWKHRIIHUHGLQWHUHVWUDWHWLPHV83%WLPHVD
                      PXOWLSOLHU
                  LL 7KHPXOWLSOLHUVKDOOEHDVIROORZV
                           ,IWKHQHZUDWHDSSOLHVIRUWKHOLIHRIWKHORDQWKHPXOWLSOLHU
                             VKDOOEHIRUORDQVZLWKDUHPDLQLQJWHUPJUHDWHUWKDQ
                             \HDUVIRUORDQVZLWKDUHPDLQLQJWHUPEHWZHHQDQG
                             \HDUVDQGIRUORDQVZLWKDUHPDLQLQJWHUPOHVVWKDQ
                             \HDUV
                           ,IWKHQHZUDWHDSSOLHVIRU\HDUVWKHPXOWLSOLHUVKDOOEH
           I $GGLWLRQDOGROODUVVSHQWE\HDFK6HUYLFHURQWKHUHILQDQFLQJSURJUDP
              EH\RQGWKDW6HUYLFHU¶VUHTXLUHGFRPPLWPHQWVKDOOEHFUHGLWHGDJDLQVW
              WKDW6HUYLFHU¶VILUVWOLHQSULQFLSDOUHGXFWLRQREOLJDWLRQDQGDJDLQVW
              WKDW6HUYLFHU¶VVHFRQGOLHQSULQFLSDOUHGXFWLRQREOLJDWLRQXSWRWKHOLPLWV
              VHWIRUWKLQ7DEOH
 7LPLQJ,QFHQWLYHVDQG3D\PHQWV
           D )RUWKHFRQVXPHUUHOLHIDQGUHILQDQFLQJDFWLYLWLHVLPSRVHGE\WKLV
              $JUHHPHQW6HUYLFHUVKDOOEHHQWLWOHGWRUHFHLYHFUHGLWDJDLQVW6HUYLFHU¶V
              RXWVWDQGLQJVHWWOHPHQWFRPPLWPHQWVIRUDFWLYLWLHVWDNHQRQRUDIWHU
              6HUYLFHU¶VVWDUWGDWH0DUFK VXFKGDWHWKH³6WDUW'DWH´ 
           E 6HUYLFHUVKDOOUHFHLYHDQDGGLWLRQDOFUHGLWDJDLQVW6HUYLFHU¶V
              RXWVWDQGLQJVHWWOHPHQWFRPPLWPHQWVIRUDQ\ILUVWRUVHFRQGOLHQSULQFLSDO
              UHGXFWLRQDQGDQ\DPRXQWVFUHGLWHGSXUVXDQWWRWKHUHILQDQFLQJSURJUDP
              ZLWKLQPRQWKVRI6HUYLFHU¶V6WDUW'DWH HJDFUHGLWIRU6HUYLFHU
              DFWLYLW\ZRXOGFRXQWDV 
           F 6HUYLFHUVKDOOFRPSOHWHRILWV&RQVXPHU5HOLHI5HTXLUHPHQWFUHGLWV
              ZLWKLQWZR\HDUVRIWKH6HUYLFHU¶V6WDUW'DWH
           G ,I6HUYLFHUIDLOVWRPHHWWKHFRPPLWPHQWVHWIRUWKLQWKHVH&RQVXPHU
              5HOLHI5HTXLUHPHQWVZLWKLQWKUHH\HDUVRI6HUYLFHU¶V6WDUW'DWH6HUYLFHU
              VKDOOSD\DQDPRXQWHTXDOWRRIWKHXQPHWFRPPLWPHQWDPRXQW
              H[FHSWWKDWLI6HUYLFHUIDLOVWRPHHWWKHWZR\HDUFRPPLWPHQWQRWHGDERYH
              DQGWKHQIDLOVWRPHHWWKHWKUHH\HDUFRPPLWPHQWWKH6HUYLFHUVKDOOSD\DQ
              DPRXQWHTXDOWRRIWKHXQPHWWKUHH\HDUFRPPLWPHQWDPRXQW
              SURYLGHGKRZHYHUWKDWLI6HUYLFHUPXVWSD\DQ\3DUWLFLSDWLQJ6WDWHIRU
              IDLOXUHWRPHHWWKHREOLJDWLRQVRIDVWDWHVSHFLILFFRPPLWPHQWWRSURYLGH
              &RQVXPHU5HOLHISXUVXDQWWRWKHWHUPVRIWKDWFRPPLWPHQWWKHQ
              6HUYLFHU¶VREOLJDWLRQWRSD\XQGHUWKLVSURYLVLRQVKDOOEHUHGXFHGE\WKH
              DPRXQWWKDWVXFKD3DUWLFLSDWLQJ6WDWHZRXOGKDYHUHFHLYHGXQGHUWKLV
              SURYLVLRQDQGWKH)HGHUDOSRUWLRQRIWKHSD\PHQWDWWULEXWDEOHWRWKDW




                                            '
                                                                                  GARCIA 04361
    Case 1:12-cv-00361-RMC Document 14-1
                                    1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                         Page181
                                                              90 of 223
                                                                    314
                                               




                3DUWLFLSDWLQJ6WDWH7KHSXUSRVHRIWKHDQGDPRXQWVLVWR
                HQFRXUDJH6HUYLFHUWRPHHWLWVFRPPLWPHQWVVHWIRUWKLQWKHVH&RQVXPHU
                5HOLHI5HTXLUHPHQWV
 $SSOLFDEOH5HTXLUHPHQWV
     7KHSURYLVLRQRIFRQVXPHUUHOLHIE\WKH6HUYLFHULQDFFRUGDQFHZLWKWKLV$JUHHPHQW
     LQFRQQHFWLRQZLWKDQ\UHVLGHQWLDOPRUWJDJHORDQLVH[SUHVVO\VXEMHFWWRDQGVKDOOEH
     LQWHUSUHWHGLQDFFRUGDQFHZLWKDVDSSOLFDEOHWKHWHUPVDQGSURYLVLRQVRIWKH6HUYLFHU
     3DUWLFLSDWLRQ$JUHHPHQWZLWKWKH86'HSDUWPHQWRI7UHDVXU\DQ\VHUYLFLQJ
     DJUHHPHQWVXEVHUYLFLQJDJUHHPHQWXQGHUZKLFK6HUYLFHUVHUYLFHVIRURWKHUVVSHFLDO
     VHUYLFLQJDJUHHPHQWPRUWJDJHRUERQGLQVXUDQFHSROLF\RUUHODWHGDJUHHPHQWRU
     UHTXLUHPHQWVWRZKLFK6HUYLFHULVDSDUW\DQGE\ZKLFKLWRULWVVHUYLFLQJDIILOLDWHVDUH
     ERXQGSHUWDLQLQJWRWKHVHUYLFLQJRURZQHUVKLSRIWKHPRUWJDJHORDQVLQFOXGLQJ
     ZLWKRXWOLPLWDWLRQWKHUHTXLUHPHQWVELQGLQJGLUHFWLRQVRULQYHVWRUJXLGHOLQHVRIWKH
     DSSOLFDEOHLQYHVWRU VXFKDV)DQQLH0DHRU)UHGGLH0DF PRUWJDJHRUERQGLQVXUHU
     RUFUHGLWHQKDQFHUSURYLGHGKRZHYHUWKDWWKHLQDELOLW\RID6HUYLFHUWRRIIHUDW\SH
     IRUPRUIHDWXUHRIWKHFRQVXPHUUHOLHISD\PHQWVE\YLUWXHRIDQ$SSOLFDEOH
     5HTXLUHPHQWVKDOOQRWUHOLHYHWKH6HUYLFHURILWVDJJUHJDWHFRQVXPHUUHOLHIREOLJDWLRQV
     LPSRVHGE\WKLV$JUHHPHQWLHWKH6HUYLFHUPXVWVDWLVI\VXFKREOLJDWLRQVWKURXJK
     WKHRIIHURIRWKHUW\SHVIRUPVRUIHDWXUHVRIFRQVXPHUUHOLHISD\PHQWVWKDWDUHQRW
     OLPLWHGE\VXFK$SSOLFDEOH5HTXLUHPHQW
            




                                              '
                                                                                   GARCIA 04362
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page182
                                                          91 of 223
                                                                314




               EXHIBIT D-1




                                                            GARCIA 04363
         Case 1:12-cv-00361-RMC Document 14-1
                                         1-2 Filed
                                              Filed03/12/12
                                                    04/04/12 Page
                                                              Page183
                                                                   92 of 223
                                                                         314




                                                           Table 11

Menu Item                                           Credit Towards Settlement         Credit Cap
Consumer Relief Funds

                                                                                                 
1. First Lien Mortgage                                                                Minimum 30%
   Modification2                                                                       for First Lien
                                                                                       Mods (which
                                                                                       can be reduced
           
                                                                                       by 2.5% of
                                                                                      overall consumer
                                                                                      relief funds for
                                                                                      excess
                                                                                      refinancing
                                                                                       program credits
     
                                                                                       above the
     3257)2/,2/2$16                                                                  minimum amount
                                                                                       required)
     i.)LUVWOLHQSULQFLSDO                     /79 :ULWH            
          IRUJLYHQHVVPRGLILFDWLRQ                GRZQ &UHGLW
                                                    
                                                    /79!:ULWH
                                                    GRZQ &UHGLW IRURQO\
                                                    WKHSRUWLRQRISULQFLSDO
                                                    IRUJLYHQRYHU 
     ii.)RUJLYHQHVVRIIRUEHDUDQFH               :ULWHGRZQ                Max 12.5%
          DPRXQWVRQH[LVWLQJ                      &UHGLW
          PRGLILFDWLRQV                            
                                                   



  :KHUHDSSOLFDEOHWKHQXPEHURIGD\VRIGHOLQTXHQF\ZLOOEHGHWHUPLQHGE\WKHQXPEHURIGD\VDORDQLV
GHOLQTXHQWDWWKHVWDUWRIWKHHDUOLHURIWKHILUVWRUVHFRQGOLHQPRGLILFDWLRQSURFHVV)RUH[DPSOHLIDERUURZHU
DSSOLHVIRUDILUVWOLHQSULQFLSDOUHGXFWLRQRQ)HEUXDU\WKHQDQ\GHOLQTXHQF\GHWHUPLQDWLRQIRUDODWHUVHFRQG
OLHQPRGLILFDWLRQPDGHSXUVXDQWWRWKHWHUPVRIWKLV$JUHHPHQWZLOOEHEDVHGRQWKHQXPEHURIGD\VWKHVHFRQGOLHQ
ZDVGHOLQTXHQWDVRI)HEUXDU\

  &UHGLWIRUDOOPRGLILFDWLRQVLVGHWHUPLQHGIURPWKHGDWHWKHPRGLILFDWLRQLVDSSURYHGRUFRPPXQLFDWHGWRWKH
ERUURZHU+RZHYHUQRFUHGLWVVKDOOEHFUHGLWHGXQOHVVWKHSD\PHQWVRQWKHPRGLILFDWLRQDUHFXUUHQWDVRIGD\V
IROORZLQJWKHLPSOHPHQWDWLRQRIWKHPRGLILFDWLRQLQFOXGLQJDQ\WULDOSHULRGH[FHSWLIWKHIDLOXUHWRPDNHSD\PHQWV
RQWKHPRGLILFDWLRQZLWKLQWKHGD\SHULRGLVGXHWRXQHPSOR\PHQWRUUHGXFHGKRXUVLQZKLFKFDVH6HUYLFHUVKDOO
UHFHLYHFUHGLWSURYLGHGWKDW6HUYLFHUKDVUHGXFHGWKHSULQFLSDOEDODQFHRQWKHORDQ(OLJLEOH0RGLILFDWLRQVZLOO
LQFOXGHDQ\PRGLILFDWLRQWKDWLVFRPSOHWHGRQRUDIWHUWKH6WDUW'DWHDVORQJDVWKHORDQLVFXUUHQWGD\VDIWHUWKH
PRGLILFDWLRQLVLPSOHPHQWHG

  $OOPLQLPXPDQGPD[LPXPSHUFHQWDJHVUHIHUWRDSHUFHQWDJHRIWRWDOFRQVXPHUUHOLHIIXQGV



                                                                                                     GARCIA 04364
       Case 1:12-cv-00361-RMC Document 14-1
                                       1-2 Filed
                                            Filed03/12/12
                                                  04/04/12 Page
                                                            Page184
                                                                 93 of 223
                                                                       314




Menu Item                            Credit Towards Settlement      Credit Cap
                                    
                                    
                                    
                                     
   iii. (DUQHGIRUJLYHQHVVRYHUD /79 :ULWH
        SHULRGRIQRJUHDWHUWKDQ GRZQ &UHGLW
        \HDUV±SURYLGHG            
        FRQVLVWHQWZLWK35$        /79!:ULWH
                                    GRZQ &UHGLW IRURQO\
                                    WKHSRUWLRQRISULQFLSDO
                                     IRUJLYHQRYHU 
   

   6(59,&()2527+(56                
   
   iv.)LUVWOLHQSULQFLSDO        :ULWHGRZQ           
        IRUJLYHQHVVPRGLILFDWLRQ     &UHGLW
        RQLQYHVWRUORDQV
         IRUJLYHQHVVE\LQYHVWRU    

   v. (DUQHGIRUJLYHQHVVRYHUD      /79 :ULWH       
       SHULRGRIQRJUHDWHUWKDQ   GRZQ &UHGLW
       \HDUV±SURYLGHG              
       FRQVLVWHQWZLWK35$           /79!:ULWH
                                     GRZQ &UHGLW IRURQO\
                                      WKHSRUWLRQRISULQFLSDO
                                      IRUJLYHQRYHU
2. Second Lien Portfolio                                            Minimum of 60%
   Modifications                                                    for 1st and 2nd
                                                                    Lien Mods (which
                                                                    can be reduced by
                                                                    10% of overall
                                                                    consumer relief
                                                                    funds for excess
                                                                    refinancing
                                                                    program credits
                                                                    above the
                                                                    minimum
                                                                    amounts
                                                                    required)
                                                                        
   L3HUIRUPLQJ6HFRQG/LHQV     :ULWHGRZQ           
         GD\VGHOLQTXHQW        &UHGLW

                                                '
                                                                                 GARCIA 04365
     Case 1:12-cv-00361-RMC Document 14-1
                                     1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                          Page185
                                                               94 of 223
                                                                     314




Menu Item                            Credit Towards Settlement       Credit Cap
                                    
   LL6HULRXVO\'HOLQTXHQW                                            
                                            :ULWH
        6HFRQG/LHQV
                                            GRZQ &UHGLW
         !GD\VGHOLQTXHQW 
                                                                        
   LLL1RQ3HUIRUPLQJ6HFRQG
         /LHQV RUPRUHGD\V
         GHOLQTXHQW                 :ULWHGRZQ 
                                     &UHGLW
         
         
         
3. Enhanced Borrower                                                 Max 5%
   Transitional Funds


      L   6HUYLFHU0DNHV           3D\PHQW &UHGLW     
           3D\PHQW                  IRUWKHDPRXQWRYHU 
                                     3D\PHQW &UHGLW     
                                      IRUWKHDPRXQWRYHUWKH
     LL   ,QYHVWRU0DNHV
                                     DYHUDJHSD\PHQW
           3D\PHQW QRQ*6( 
                                     HVWDEOLVKHGE\)DQQLH0DHDQG
                                     )UHGGLH0DF 
4. Short Sales/Deeds in Lieu                                            
        
                                                                        
     L   6HUYLFHUPDNHV            
          SD\PHQWWRXQUHODWHG
                                     3D\PHQW &UHGLW
          QGOLHQKROGHUIRU
          UHOHDVHRIQGOLHQ
     LL   6HUYLFHUIRUJLYHV                                            
           GHILFLHQF\DQGUHOHDVHV :ULWHGRZQ 
           OLHQRQVWOLHQ        &UHGLW
           3RUWIROLR/RDQV
    LLL   ,QYHVWRUIRUJLYHV                                            
           GHILFLHQF\DQGUHOHDVHV :ULWHGRZQ 
           OLHQRQVW/LHQ        &UHGLW
           LQYHVWRUORDQV
    LY    )RUJLYHQHVVRI                                               
           GHILFLHQF\EDODQFHDQG 
           UHOHDVHRIOLHQRQ


                                                '
                                                                                  GARCIA 04366
     Case 1:12-cv-00361-RMC Document 14-1
                                     1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                          Page186
                                                               95 of 223
                                                                     314




Menu Item                              Credit Towards Settlement      Credit Cap
          3RUWIROLR6HFRQG/LHQV
            3HUIRUPLQJ6HFRQG                                           
            /LHQV                    :ULWHGRZQ 
              GD\V               &UHGLW
            GHOLQTXHQW 
                                                                        
            6HULRXVO\                 
            'HOLQTXHQW6HFRQG
                                       
            /LHQV
              !GD\V            :ULWHGRZQ 
            GHOLQTXHQW                &UHGLW
            
            1RQ3HUIRUPLQJ                                              
            6HFRQG/LHQV 
                                       :ULWHGRZQ 
            RUPRUHGD\V
                                       &UHGLW
            GHOLQTXHQW 
            
5. Deficiency Waivers                                                Max 10%

      L   'HILFLHQF\ZDLYHGRQ       :ULWHGRZQ            
           VWDQGQGOLHQVORDQV   &UHGLW
                                                                        
                                           
6. Forbearance for unemployed              
   homeowners                              
                                          
    L 6HUYLFHUIRUJLYHV             QHZIRUJLYHQHVV 
         SD\PHQWDUUHDUDJHVRQ        &UHGLW
         EHKDOIRIERUURZHU               
                                          
    LL 6HUYLFHUIDFLOLWDWHV             
         WUDGLWLRQDOIRUEHDUDQFH          QHZIRUEHDUDQFH 
         SURJUDP                         &UHGLW
                                      
                                                                        
7. Anti-Blight Provisions                                               Max 12%

      L   )RUJLYHQHVVRI                                               
           SULQFLSDODVVRFLDWHG
                                               SURSHUW\
           ZLWKDSURSHUW\ZKHUH
                                               YDOXH &UHGLW
           6HUYLFHUGRHVQRW
           SXUVXHIRUHFORVXUH


                                                  '
                                                                                   GARCIA 04367
     Case 1:12-cv-00361-RMC Document 14-1
                                     1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                          Page187
                                                               96 of 223
                                                                     314




Menu Item                               Credit Towards Settlement     Credit Cap
     LL   &DVKFRVWVSDLGE\                                           
           6HUYLFHUIRU           3D\PHQW &UHGLW           
           GHPROLWLRQRISURSHUW\
     LLL5(2SURSHUWLHV                                            
              GRQDWHGWRDFFHSWLQJ
              PXQLFLSDOLWLHVRUQRQ
                                        SURSHUW\YDOXH 
              SURILWVRUWRGLVDEOHG
                                        &UHGLW
              VHUYLFHPHPEHUVRU
              UHODWLYHVRIGHFHDVHG
              VHUYLFHPHPEHUV
              







                                                  '
                                                                                   GARCIA 04368
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page188
                                                          97 of 223
                                                                314




                  EXHIBIT E




                                                            GARCIA 04369
 Case 1:12-cv-00361-RMC Document 14-1
                                 1-2 Filed
                                      Filed03/12/12
                                            04/04/12 Page
                                                      Page189
                                                           98 of 223
                                                                 314




                               Enforcement Terms

A.   Implementation Timeline. Servicer anticipates that it will phase in the
     implementation of the Servicing Standards and Mandatory Relief Requirements
     (i) through (iv), as described in Section C.12, using a grid approach that
     prioritizes implementation based upon: (i) the importance of the Servicing
     Standard to the borrower; and (ii) the difficulty of implementing the Servicing
     Standard. In addition to the Servicing Standards and any Mandatory Relief
     Requirements that have been implemented upon entry of this Consent Judgment,
     the periods for implementation will be: (a) within 60 days of entry of this
     Consent Judgment; (b) within 90 days of entry of this Consent Judgment; and (c)
     within 180 days of entry of this Consent Judgment. Servicer will agree with the
     Monitor chosen pursuant to Section C, below, on the timetable in which the
     Servicing Standards and Mandatory Relief Requirements (i) through (iv) will be
     implemented. In the event that Servicer, using reasonable efforts, is unable to
     implement certain of the standards on the specified timetable, Servicer may apply
     to the Monitor for a reasonable extension of time to implement those standards or
     requirements.
B.   Monitoring Committee. A committee comprising representatives of the state
     Attorneys General, State Financial Regulators, the U.S. Department of Justice,
     and the U.S. Department of Housing and Urban Development shall monitor
     Servicer’s compliance with this Consent Judgment (the “Monitoring Committee”).
     The Monitoring Committee may substitute representation, as necessary. Subject
     to Section F, the Monitoring Committee may share all Monitor Reports, as that
     term is defined in Section D.2 below, with any releasing party.
C.   Monitor
     Retention and Qualifications and Standard of Conduct
     1.     Pursuant to an agreement of the parties, Joseph A. Smith Jr. is appointed
            to the position of Monitor under this Consent Judgment. If the Monitor is
            at any time unable to complete his or her duties under this Consent
            Judgment, Servicer and the Monitoring Committee shall mutually agree
            upon a replacement in accordance with the process and standards set forth
            in Section C of this Consent Judgment.
     2.     Such Monitor shall be highly competent and highly respected, with a
            reputation that will garner public confidence in his or her ability to
            perform the tasks required under this Consent Judgment. The Monitor
            shall have the right to employ an accounting firm or firms or other firm(s)
            with similar capabilities to support the Monitor in carrying out his or her
            duties under this Consent Judgment. Monitor and Servicer shall agree on
            the selection of a “Primary Professional Firm,” which must have adequate
            capacity and resources to perform the work required under this agreement.




                                                                            GARCIA 04370
Case 1:12-cv-00361-RMC Document 14-1
                                1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                     Page190
                                                          99 of 223
                                                                314




          The Monitor shall also have the right to engage one or more attorneys or
          other professional persons to represent or assist the Monitor in carrying
          out the Monitor’s duties under this Consent Judgment (each such
          individual, along with each individual deployed to the engagement by the
          Primary Professional Firm, shall be defined as a “Professional”). The
          Monitor and Professionals will collectively possess expertise in the areas
          of mortgage servicing, loss mitigation, business operations, compliance,
          internal controls, accounting, and foreclosure and bankruptcy law and
          practice. The Monitor and Professionals shall at all times act in good faith
          and with integrity and fairness towards all the Parties.
    3.    The Monitor and Professionals shall not have any prior relationships with
          the Parties that would undermine public confidence in the objectivity of
          their work and, subject to Section C.3(e), below, shall not have any
          conflicts of interest with any Party.
          (a)    The Monitor and Professionals will disclose, and will make a
                 reasonable inquiry to discover, any known current or prior
                 relationships to, or conflicts with, any Party, any Party’s holding
                 company, any subsidiaries of the Party or its holding company,
                 directors, officers, and law firms.
          (b)    The Monitor and Professionals shall make a reasonable inquiry to
                 determine whether there are any facts that a reasonable individual
                 would consider likely to create a conflict of interest for the
                 Monitor or Professionals. The Monitor and Professionals shall
                 disclose any conflict of interest with respect to any Party.
          (c)    The duty to disclose a conflict of interest or relationship pursuant
                 to this Section C.3 shall remain ongoing throughout the course of
                 the Monitor’s and Professionals’ work in connection with this
                 Consent Judgment.
          (d)    All Professionals shall comply with all applicable standards of
                 professional conduct, including ethics rules and rules pertaining to
                 conflicts of interest.
          (e)    To the extent permitted under prevailing professional standards, a
                 Professional’s conflict of interest may be waived by written
                 agreement of the Monitor and Servicer.
          (f)    Servicer or the Monitoring Committee may move the Court for an
                 order disqualifying any Professionals on the grounds that such
                 Professional has a conflict of interest that has inhibited or could
                 inhibit the Professional’s ability to act in good faith and with
                 integrity and fairness towards all Parties.




                                      E-2
                                                                            GARCIA 04371
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page191
                                                        100of
                                                           of314
                                                              223




    4.     The Monitor must agree not to be retained by any Party, or its successors
           or assigns, for a period of 2 years after the conclusion of the terms of the
           engagement. Any Professionals who work on the engagement must agree
           not to work on behalf of Servicer, or its successor or assigns, for a period
           of 1 year after the conclusion of the term of the engagement (the
           “Professional Exclusion Period”). Any Firm that performs work with
           respect to Servicer on the engagement must agree not to perform work on
           behalf of Servicer, or its successor or assigns, that consists of advising
           Servicer on a response to the Monitor’s review during the engagement and
           for a period of six months after the conclusion of the term of the
           engagement (the “Firm Exclusion Period”). The Professional Exclusion
           Period and Firm Exclusion Period, and terms of exclusion may be altered
           on a case-by-case basis upon written agreement of Servicer and the
           Monitor. The Monitor shall organize the work of any Firms so as to
           minimize the potential for any appearance of, or actual, conflicts.
    Monitor’s Responsibilities
    5.     It shall be the responsibility of the Monitor to determine whether Servicer
           is in compliance with the Servicing Standards and the Mandatory Relief
           Requirements (as defined in Section C.12) and whether Servicer has
           satisfied the Consumer Relief Requirements, in accordance with the
           authorities provided herein and to report his or her findings as provided in
           Section D.3, below.
    6.     The manner in which the Monitor will carry out his or her compliance
           responsibilities under this Consent Judgment and, where applicable, the
           methodologies to be utilized shall be set forth in a work plan agreed upon
           by Servicer and the Monitor, and not objected to by the Monitoring
           Committee (the “Work Plan”).
    Internal Review Group
    7.     Servicer will designate an internal quality control group that is
           independent from the line of business whose performance is being
           measured (the “Internal Review Group”) to perform compliance reviews
           each calendar quarter (“Quarter”) in accordance with the terms and
           conditions of the Work Plan (the “Compliance Reviews”) and satisfaction
           of the Consumer Relief Requirements after the (A) end of each calendar
           year (and, in the discretion of the Servicer, any Quarter) and (B) earlier of
           the Servicer assertion that it has satisfied its obligations thereunder and the
           third anniversary of the Start Date (the “Satisfaction Review”). For the
           purposes of this provision, a group that is independent from the line of
           business shall be one that does not perform operational work on mortgage
           servicing, and ultimately reports to a Chief Risk Officer, Chief Audit




                                        E-3
                                                                              GARCIA 04372
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page192
                                                        101of
                                                           of314
                                                              223




          Executive, Chief Compliance Officer, or another employee or manager
          who has no direct operational responsibility for mortgage servicing.
    8.    The Internal Review Group shall have the appropriate authority, privileges,
          and knowledge to effectively implement and conduct the reviews and
          metric assessments contemplated herein and under the terms and
          conditions of the Work Plan.
    9.    The Internal Review Group shall have personnel skilled at evaluating and
          validating processes, decisions, and documentation utilized through the
          implementation of the Servicing Standards. The Internal Review Group
          may include non-employee consultants or contractors working at
          Servicer’s direction.
    10.   The qualifications and performance of the Internal Review Group will be
          subject to ongoing review by the Monitor. Servicer will appropriately
          remediate the reasonable concerns of the Monitor as to the qualifications
          or performance of the Internal Review Group.
    Work Plan
    11.   Servicer’s compliance with the Servicing Standards shall be assessed via
          metrics identified and defined in Schedule E-1 hereto (as supplemented
          from time to time in accordance with Sections C.12 and C.23, below, the
          “Metrics”). The threshold error rates for the Metrics are set forth in
          Schedule E-1 (as supplemented from time to time in accordance with
          Sections C.12 and C.23, below, the “Threshold Error Rates”). The
          Internal Review Group shall perform test work to compute the Metrics
          each Quarter, and report the results of that analysis via the Compliance
          Reviews. The Internal Review Group shall perform test work to assess the
          satisfaction of the Consumer Relief Requirements within 45 days after the
          (A) end of each calendar year (and, in the discretion of the Servicer, any
          Quarter) and (B) earlier of (i) the end of the Quarter in which Servicer
          asserts that it has satisfied its obligations under the Consumer Relief
          Provisions and (ii) the Quarter during which the third anniversary of the
          Start Date occurs, and report that analysis via the Satisfaction Review.
    12.   In addition to the process provided under Sections C.23 and 24, at any
          time after the Monitor is selected, the Monitor may add up to three
          additional Metrics and associated Threshold Error Rates, all of which
          (a) must be similar to the Metrics and associated Threshold Error Rates
          contained in Schedule E-1, (b) must relate to material terms of the
          Servicing Standards, or the following obligations of Servicer: (i) after the
          Servicer asserts that it has satisfied its obligation to provide a refinancing
          program under the framework of the Consumer Relief Requirements
          (“Framework”), to provide notification to eligible borrowers indicating



                                       E-4
                                                                              GARCIA 04373
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page193
                                                        102of
                                                           of314
                                                              223




          that such borrowers may refinance under the refinancing program
          described in the Framework, (ii) to make the Refinancing Program
          available to all borrowers fitting the minimum eligibility criteria described
          in 9.a of the Framework, (iii) when the Servicer owns the second lien
          mortgage, to modify the second lien mortgage when a Participating
          Servicer (as defined in the Framework) reduces principal on the related
          first lien mortgage, as described in the Framework, (iv) with regard to
          servicer-owned first liens, to waive the deficiency amounts less than
          $250,000 if an Eligible Servicemember qualifies for a short sale under the
          Framework and sells his or her principal residence in a short sale
          conducted in accordance with Servicer’s then customary short sale process,
          or (v) without prejudice to the implementation of pilot programs in
          particular geographic areas, to implement the Framework requirements
          through policies that are not intended to disfavor a specific geography
          within or among states that are a party to the Consent Judgment or
          discriminate against any protected class of borrowers (collectively, the
          obligations described in (i) through (v) are hereinafter referred to as the
          “Mandatory Relief Requirements”), (c) must either (i) be outcomes-based
          (but no outcome-based Metric shall be added with respect to any
          Mandatory Relief Requirement) or (ii) require the existence of policies
          and procedures implementing any of the Mandatory Relief Requirements
          or any material term of the Servicing Standards, in a manner similar to
          Metrics 5.B-E, and (d) must be distinct from, and not overlap with, any
          other Metric or Metrics. In consultation with Servicer and the Monitoring
          Committee, Schedule E-1 shall be amended by the Monitor to include the
          additional Metrics and Threshold Error Rates as provided for herein, and
          an appropriate timeline for implementation of the Metric shall be
          determined.
    13.   Servicer and the Monitor shall reach agreement on the terms of the Work
          Plan within 90 days of the Monitor’s appointment, which time can be
          extended for good cause by agreement of Servicer and the Monitor. If
          such Work Plan is not objected to by the Monitoring Committee within 20
          days, the Monitor shall proceed to implement the Work Plan. In the event
          that Servicer and the Monitor cannot agree on the terms of the Work Plan
          within 90 days or the agreed upon terms are not acceptable to the
          Monitoring Committee, Servicer and Monitoring Committee or the
          Monitor shall jointly petition the Court to resolve any disputes. If the
          Court does not resolve such disputes, then the Parties shall submit all
          remaining disputes to binding arbitration before a panel of three arbitrators.
          Each of Servicer and the Monitoring Committee shall appoint one
          arbitrator, and those two arbitrators shall appoint a third.




                                       E-5
                                                                            GARCIA 04374
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page194
                                                        103of
                                                           of314
                                                              223




    14.   The Work Plan may be modified from time to time by agreement of the
          Monitor and Servicer. If such amendment to the Work Plan is not
          objected to by the Monitoring Committee within 20 days, the Monitor
          shall proceed to implement the amendment to the Work Plan. To the
          extent possible, the Monitor shall endeavor to apply the Servicing
          Standards uniformly across all Servicers.
    15.   The following general principles shall provide a framework for the
          formulation of the Work Plan:
          (a)    The Work Plan will set forth the testing methods and agreed
                 procedures that will be used by the Internal Review Group to
                 perform the test work and compute the Metrics for each Quarter.

          (b)    The Work Plan will set forth the testing methods and agreed
                 procedures that will be used by Servicer to report on its
                 compliance with the Consumer Relief Requirements of this
                 Consent Judgment, including, incidental to any other testing,
                 confirmation of state-identifying information used by Servicer to
                 compile state-level Consumer Relief information as required by
                 Section D.2.

          (c)    The Work Plan will set forth the testing methods and procedures
                 that the Monitor will use to assess Servicer’s reporting on its
                 compliance with the Consumer Relief Requirements of this
                 Consent Judgment.
          (d)    The Work Plan will set forth the methodology and procedures the
                 Monitor will utilize to review the testing work performed by the
                 Internal Review Group.
          (e)    The Compliance Reviews and the Satisfaction Review may include
                 a variety of audit techniques that are based on an appropriate
                 sampling process and random and risk-based selection criteria, as
                 appropriate and as set forth in the Work Plan.
          (f)    In formulating, implementing, and amending the Work Plan,
                 Servicer and the Monitor may consider any relevant information
                 relating to patterns in complaints by borrowers, issues or
                 deficiencies reported to the Monitor with respect to the Servicing
                 Standards, and the results of prior Compliance Reviews.
          (g)    The Work Plan should ensure that Compliance Reviews are
                 commensurate with the size, complexity, and risk associated with
                 the Servicing Standard being evaluated by the Metric.




                                     E-6
                                                                          GARCIA 04375
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page195
                                                        104of
                                                           of314
                                                              223




           (h)    Following implementation of the Work Plan, Servicer shall be
                  required to compile each Metric beginning in the first full Quarter
                  after the period for implementing the Servicing Standards
                  associated with the Metric, or any extension approved by the
                  Monitor in accordance with Section A, has run.
    Monitor’s Access to Information
    16.    So that the Monitor may determine whether Servicer is in compliance with
           the Servicing Standards and Mandatory Relief Requirements, Servicer
           shall provide the Monitor with its regularly prepared business reports
           analyzing Executive Office servicing complaints (or the equivalent);
           access to all Executive Office servicing complaints (or the equivalent)
           (with appropriate redactions of borrower information other than borrower
           name and contact information to comply with privacy requirements); and,
           if Servicer tracks additional servicing complaints, quarterly information
           identifying the three most common servicing complaints received outside
           of the Executive Office complaint process (or the equivalent). In the event
           that Servicer substantially changes its escalation standards or process for
           receiving Executive Office servicing complaints (or the equivalent),
           Servicer shall ensure that the Monitor has access to comparable
           information.
    17.    So that the Monitor may determine whether Servicer is in compliance with
           the Servicing Standards and Mandatory Relief Requirements, Servicer
           shall notify the Monitor promptly if Servicer becomes aware of reliable
           information indicating Servicer is engaged in a significant pattern or
           practice of noncompliance with a material aspect of the Servicing
           Standards or Mandatory Relief Requirements.
    18.    Servicer shall provide the Monitor with access to all work papers prepared
           by the Internal Review Group in connection with determining compliance
           with the Metrics or satisfaction of the Consumer Relief Requirements in
           accordance with the Work Plan.
    19.    If the Monitor becomes aware of facts or information that lead the Monitor
           to reasonably conclude that Servicer may be engaged in a pattern of
           noncompliance with a material term of the Servicing Standards that is
           reasonably likely to cause harm to borrowers or with any of the Mandatory
           Relief Requirements, the Monitor shall engage Servicer in a review to
           determine if the facts are accurate or the information is correct.
    20.    Where reasonably necessary in fulfilling the Monitor’s responsibilities
           under the Work Plan to assess compliance with the Metrics or the
           satisfaction of the Consumer Relief Requirements, the Monitor may
           request information from Servicer in addition to that provided under



                                       E-7
                                                                           GARCIA 04376
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page196
                                                        105of
                                                           of314
                                                              223




          Sections C.16-19. Servicer shall provide the requested information in a
          format agreed upon between Servicer and the Monitor.
    21.   Where reasonably necessary in fulfilling the Monitor’s responsibilities
          under the Work Plan to assess compliance with the Metrics or the
          satisfaction of the Consumer Relief Requirements, the Monitor may
          interview Servicer’s employees and agents, provided that the interviews
          shall be limited to matters related to Servicer’s compliance with the
          Metrics or the Consumer Relief Requirements, and that Servicer shall be
          given reasonable notice of such interviews.

    Monitor’s Powers

    22.   Where the Monitor reasonably determines that the Internal Review
          Group’s work cannot be relied upon or that the Internal Review Group did
          not correctly implement the Work Plan in some material respect, the
          Monitor may direct that the work on the Metrics (or parts thereof) be
          reviewed by Professionals or a third party other than the Internal Review
          Group, and that supplemental work be performed as necessary.
    23.   If the Monitor becomes aware of facts or information that lead the Monitor
          to reasonably conclude that Servicer may be engaged in a pattern of
          noncompliance with a material term of the Servicing Standards that is
          reasonably likely to cause harm to borrowers or tenants residing in
          foreclosed properties or with any of the Mandatory Relief Requirements,
          the Monitor shall engage Servicer in a review to determine if the facts are
          accurate or the information is correct. If after that review, the Monitor
          reasonably concludes that such a pattern exists and is reasonably likely to
          cause material harm to borrowers or tenants residing in foreclosed
          properties, the Monitor may propose an additional Metric and associated
          Threshold Error Rate relating to Servicer’s compliance with the associated
          term or requirement. Any additional Metrics and associated Threshold
          Error Rates (a) must be similar to the Metrics and associated Threshold
          Error Rates contained in Schedule E-1, (b) must relate to material terms of
          the Servicing Standards or one of the Mandatory Relief Requirements,
          (c) must either (i) be outcomes-based (but no outcome-based Metric shall
          be added with respect to any Mandatory Relief Requirement) or (ii)
          require the existence of policies and procedures required by the Servicing
          Standards or the Mandatory Relief Requirements, in a manner similar to
          Metrics 5.B-E, and (d) must be distinct from, and not overlap with, any
          other Metric or Metrics. Notwithstanding the foregoing, the Monitor may
          add a Metric that satisfies (a)-(c) but does not satisfy (d) of the preceding
          sentence if the Monitor first asks the Servicer to propose, and then
          implement, a Corrective Action Plan, as defined below, for the material



                                      E-8
                                                                           GARCIA 04377
 Case
 Case1:12-cv-00361-RMC
      1:12-cv-00361-RMC Document
                        Document14-1
                                 1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                    Page197
                                                         106of
                                                            of314
                                                               223




               term of the Servicing Standards with which there is a pattern of
               noncompliance and that is reasonably likely to cause material harm to
               borrowers or tenants residing in foreclosed properties, and the Servicer
               fails to implement the Corrective Action Plan according to the timeline
               agreed to with the Monitor.
      24.      If Monitor proposes an additional Metric and associated Threshold Error
               Rate pursuant to Section C.23, above, Monitor, the Monitoring Committee,
               and Servicer shall agree on amendments to Schedule E-1 to include the
               additional Metrics and Threshold Error Rates provided for in Section C.23,
               above, and an appropriate timeline for implementation of the Metric. If
               Servicer does not timely agree to such additions, any associated
               amendments to the Work Plan, or the implementation schedule, the
               Monitor may petition the court for such additions.
      25.      Any additional Metric proposed by the Monitor pursuant to the processes
               in Sections C.12, C.23, or C.24 and relating to provision VIII.B.1 of the
               Servicing Standards shall be limited to Servicer’s performance of its
               obligations to comply with (1) the federal Protecting Tenants at
               Foreclosure Act and state laws that provide comparable protections to
               tenants of foreclosed properties; (2) state laws that govern relocation
               assistance payments to tenants (“cash for keys”); and (3) state laws that
               govern the return of security deposits to tenants.
D. Reporting
      Quarterly Reports
      1.       Following the end of each Quarter, Servicer will report the results of its
               Compliance Reviews for that Quarter (the “Quarterly Report”). The
               Quarterly Report shall include: (i) the Metrics for that Quarter; (ii)
               Servicer’s progress toward meeting its payment obligations under this
               Consent Judgment; (iii) general statistical data on Servicer’s overall
               servicing performance described in Schedule Y. Except where an
               extension is granted by the Monitor, Quarterly Reports shall be due no
               later than 45 days following the end of the Quarter and shall be provided
               to: (1) the Monitor, and (2) the Board of Servicer or a committee of the
               Board designated by Servicer. The first Quarterly Report shall cover the
               first full Quarter after this Consent Judgment is entered.
      2.       Following the end of each Quarter, Servicer will transmit to each state a
               report (the “State Report”) including general statistical data on Servicer’s
               servicing performance, such as aggregate and state-specific information
               regarding the number of borrowers assisted and credited activities
               conducted pursuant to the Consumer Relief Requirements, as described in
               Schedule Y. The State Report will be delivered simultaneous with the



                                           E-9
                                                                                GARCIA 04378
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page198
                                                        107of
                                                           of314
                                                              223




          submission of the Quarterly Report to the Monitor. Servicer shall provide
          copies of such State Reports to the Monitor and Monitoring Committee.
    Monitor Reports
    3.    The Monitor shall report on Servicer’s compliance with this Consent
          Judgment in periodic reports setting forth his or her findings (the “Monitor
          Reports”). The first three Monitor Reports will each cover two Quarterly
          Reports. If the first three Monitor Reports do not find Potential Violations
          (as defined in Section E.1, below), each successive Monitor Report will
          cover four Quarterly Reports, unless and until a Quarterly Report reveals a
          Potential Violation (as defined in Section E.1, below). In the case of a
          Potential Violation, the Monitor may (but retains the discretion not to)
          submit a Monitor Report after the filing of each of the next two Quarterly
          Reports, provided, however, that such additional Monitor Report(s) shall
          be limited in scope to the Metric or Metrics as to which a Potential
          Violation has occurred.
    4.    Prior to issuing any Monitor Report, the Monitor shall confer with
          Servicer and the Monitoring Committee regarding its preliminary findings
          and the reasons for those findings. Servicer shall have the right to submit
          written comments to the Monitor, which shall be appended to the final
          version of the Monitor Report. Final versions of each Monitor Report
          shall be provided simultaneously to the Monitoring Committee and
          Servicers within a reasonable time after conferring regarding the
          Monitor’s findings. The Monitor Reports shall be filed with the Court
          overseeing this Consent Judgment and shall also be provided to the Board
          of Servicer or a committee of the Board designated by Servicer.
    5.    The Monitor Report shall: (i) describe the work performed by the Monitor
          and any findings made by the Monitor’s during the relevant period, (ii) list
          the Metrics and Threshold Error Rates, (iii) list the Metrics, if any, where
          the Threshold Error Rates have been exceeded, (iv) state whether a
          Potential Violation has occurred and explain the nature of the Potential
          Violation, and (v) state whether any Potential Violation has been cured. In
          addition, following each Satisfaction Review, the Monitor Report shall
          report on the Servicer’s satisfaction of the Consumer Relief Requirements,
          including regarding the number of borrowers assisted and credited
          activities conducted pursuant to the Consumer Relief Requirements, and
          identify any material inaccuracies identified in prior State Reports. Except
          as otherwise provided herein, the Monitor Report may be used in any
          court hearing, trial, or other proceeding brought pursuant to this Consent
          Judgment pursuant to Section J, below, and shall be admissible in
          evidence in a proceeding brought under this Consent Judgment pursuant to
          Section J, below. Such admissibility shall not prejudice Servicer’s right



                                      E-10
                                                                           GARCIA 04379
 Case
 Case1:12-cv-00361-RMC
      1:12-cv-00361-RMC Document
                        Document14-1
                                 1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                    Page199
                                                         108of
                                                            of314
                                                               223




             and ability to challenge the findings and/or the statements in the Monitor
             Report as flawed, lacking in probative value or otherwise. The Monitor
             Report with respect to a particular Potential Violation shall not be
             admissible or used for any purpose if Servicer cures the Potential
             Violation pursuant to Section E, below.
      Satisfaction of Payment Obligations
      6.     Upon the satisfaction of any category of payment obligation under this
             Consent Judgment, Servicer, at its discretion, may request that the Monitor
             certify that Servicer has discharged such obligation. Provided that the
             Monitor is satisfied that Servicer has met the obligation, the Monitor may
             not withhold and must provide the requested certification. Any
             subsequent Monitor Report shall not include a review of Servicer’s
             compliance with that category of payment obligation.
      Compensation
      7.     Within 120 days of entry of this Consent Judgment, the Monitor shall, in
             consultation with the Monitoring Committee and Servicer, prepare and
             present to Monitoring Committee and Servicer an annual budget providing
             its reasonable best estimate of all fees and expenses of the Monitor to be
             incurred during the first year of the term of this Consent Judgment,
             including the fees and expenses of Professionals and support staff (the
             “Monitoring Budget”). On a yearly basis thereafter, the Monitor shall
             prepare an updated Monitoring Budget providing its reasonable best
             estimate of all fees and expenses to be incurred during that year. Absent
             an objection within 20 days, a Monitoring Budget or updated Monitoring
             Budget shall be implemented. Consistent with the Monitoring Budget,
             Servicer shall pay all fees and expenses of the Monitor, including the fees
             and expenses of Professionals and support staff. The fees, expenses, and
             costs of the Monitor, Professionals, and support staff shall be reasonable.
             Servicer may apply to the Court to reduce or disallow fees, expenses, or
             costs that are unreasonable.
E. Potential Violations and Right to Cure
      1.     A “Potential Violation” of this Consent Judgment occurs if the Servicer
             has exceeded the Threshold Error Rate set for a Metric in a given Quarter.
             In the event of a Potential Violation, Servicer shall meet and confer with
             the Monitoring Committee within 15 days of the Quarterly Report or
             Monitor Report indicating such Potential Violation.
      2.     Servicer shall have a right to cure any Potential Violation.
      3.     Subject to Section E.4, a Potential Violation is cured if (a) a corrective
             action plan approved by the Monitor (the “Corrective Action Plan”) is
             determined by the Monitor to have been satisfactorily completed in


                                         E-11
                                                                                GARCIA 04380
 Case
 Case1:12-cv-00361-RMC
      1:12-cv-00361-RMC Document
                        Document14-1
                                 1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                    Page200
                                                         109of
                                                            of314
                                                               223




             accordance with the terms thereof; and (b) a Quarterly Report covering the
             Cure Period reflects that the Threshold Error Rate has not been exceeded
             with respect to the same Metric and the Monitor confirms the accuracy of
             said report using his or her ordinary testing procedures. The Cure Period
             shall be the first full quarter after completion of the Corrective Action Plan
             or, if the completion of the Corrective Action Plan occurs within the first
             month of a Quarter and if the Monitor determines that there is sufficient
             time remaining, the period between completion of the Corrective Action
             Plan and the end of that Quarter.
      4.     If after Servicer cures a Potential Violation pursuant to the previous
             section, another violation occurs with respect to the same Metric, then the
             second Potential Violation shall immediately constitute an uncured
             violation for purposes of Section J.3, provided, however, that such second
             Potential Violation occurs in either the Cure Period or the quarter
             immediately following the Cure Period.
      5.     In addition to the Servicer’s obligation to cure a Potential Violation
             through the Corrective Action Plan, Servicer must remediate any material
             harm to particular borrowers identified through work conducted under the
             Work Plan. In the event that a Servicer has a Potential Violation that so
             far exceeds the Threshold Error Rate for a metric that the Monitor
             concludes that the error is widespread, Servicer shall, under the
             supervision of the Monitor, identify other borrowers who may have been
             harmed by such noncompliance and remediate all such harms to the extent
             that the harm has not been otherwise remediated.
      6.     In the event a Potential Violation is cured as provided in Sections E.3,
             above, then no Party shall have any remedy under this Consent Judgment
             (other than the remedies in Section E.5) with respect to such Potential
             Violation.
F. Confidentiality
      1.     These provisions shall govern the use and disclosure of any and all
             information designated as “CONFIDENTIAL,” as set forth below, in
             documents (including email), magnetic media, or other tangible things
             provided by the Servicer to the Monitor in this case, including the
             subsequent disclosure by the Monitor to the Monitoring Committee of
             such information. In addition, it shall also govern the use and disclosure
             of such information when and if provided to the participating state parties
             or the participating agency or department of the United States whose
             claims are released through this settlement (“participating state or federal
             agency whose claims are released through this settlement”).




                                         E-12
                                                                               GARCIA 04381
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page201
                                                        110of
                                                           of314
                                                              223




    2.    The Monitor may, at his discretion, provide to the Monitoring Committee
          or to a participating state or federal agency whose claims are released
          through this settlement any documents or information received from the
          Servicer related to a Potential Violation or related to the review described
          in Section C.19; provided, however, that any such documents or
          information so provided shall be subject to the terms and conditions of
          these provisions. Nothing herein shall be construed to prevent the Monitor
          from providing documents received from the Servicer and not designated
          as “CONFIDENTIAL” to a participating state or federal agency whose
          claims are released through this settlement.
    3.    The Servicer shall designate as “CONFIDENTIAL” that information,
          document or portion of a document or other tangible thing provided by the
          Servicer to the Monitor, the Monitoring Committee or to any other
          participating state or federal agency whose claims are released through
          this settlement that Servicer believes contains a trade secret or confidential
          research, development, or commercial information subject to protection
          under applicable state or federal laws (collectively, “Confidential
          Information”). These provisions shall apply to the treatment of
          Confidential Information so designated.
    4.    Except as provided by these provisions, all information designated as
          “CONFIDENTIAL” shall not be shown, disclosed or distributed to any
          person or entity other than those authorized by these provisions.
          Participating states and federal agencies whose claims are released
          through this settlement agree to protect Confidential Information to the
          extent permitted by law.
    5.    This agreement shall not prevent or in any way limit the ability of a
          participating state or federal agency whose claims are released through
          this settlement to comply with any subpoena, Congressional demand for
          documents or information, court order, request under the Right of
          Financial Privacy Act, or a state or federal public records or state or
          federal freedom of information act request; provided, however, that in the
          event that a participating state or federal agency whose claims are released
          through this settlement receives such a subpoena, Congressional demand,
          court order or other request for the production of any Confidential
          Information covered by this Order, the state or federal agency shall, unless
          prohibited under applicable law or the unless the state or federal agency
          would violate or be in contempt of the subpoena, Congressional demand,
          or court order, (1) notify the Servicer of such request as soon as
          practicable and in no event more than ten (10) calendar days of its receipt
          or three calendar days before the return date of the request, whichever is
          sooner, and (2) allow the Servicer ten (10) calendar days from the receipt
          of the notice to obtain a protective order or stay of production for the



                                      E-13
                                                                            GARCIA 04382
 Case
 Case1:12-cv-00361-RMC
      1:12-cv-00361-RMC Document
                        Document14-1
                                 1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                    Page202
                                                         111of
                                                            of314
                                                               223




            documents or information sought, or to otherwise resolve the issue, before
            the state or federal agency discloses such documents or information. In all
            cases covered by this Section, the state or federal agency shall inform the
            requesting party that the documents or information sought were produced
            subject to the terms of these provisions.
G.   Dispute Resolution Procedures. Servicer, the Monitor, and the Monitoring
     Committee will engage in good faith efforts to reach agreement on the proper
     resolution of any dispute concerning any issue arising under this Consent
     Judgment, including any dispute or disagreement related to the withholding of
     consent, the exercise of discretion, or the denial of any application. Subject to
     Section J, below, in the event that a dispute cannot be resolved, Servicer, the
     Monitor, or the Monitoring Committee may petition the Court for resolution of
     the dispute. Where a provision of this agreement requires agreement, consent of,
     or approval of any application or action by a Party or the Monitor, such agreement,
     consent or approval shall not be unreasonably withheld.
H.   Consumer Complaints. Nothing in this Consent Judgment shall be deemed to
     interfere with existing consumer complaint resolution processes, and the Parties
     are free to bring consumer complaints to the attention of Servicer for resolution
     outside the monitoring process. In addition, Servicer will continue to respond in
     good faith to individual consumer complaints provided to it by State Attorneys
     General or State Financial Regulators in accordance with the routine and practice
     existing prior to the entry of this Consent Judgment, whether or not such
     complaints relate to Covered Conduct released herein.
I.   Relationship to Other Enforcement Actions. Nothing in this Consent Judgment
     shall affect requirements imposed on the Servicer pursuant to Consent Orders
     issued by the appropriate Federal Banking Agency (FBA), as defined in 12 U.S.C.
     § 1813(q), against the Servicer. In conducting their activities under this Consent
     Judgment, the Monitor and Monitoring Committee shall not impede or otherwise
     interfere with the Servicer’s compliance with the requirements imposed pursuant
     to such Orders or with oversight and enforcement of such compliance by the FBA.
J.   Enforcement
     1.     Consent Judgment. This Consent Judgment shall be filed in the U.S.
            District Court for the District of Columbia (the “Court”) and shall be
            enforceable therein. Servicer and the Releasing Parties shall waive their
            rights to seek judicial review or otherwise challenge or contest in any
            court the validity or effectiveness of this Consent Judgment. Servicer and
            the Releasing Parties agree not to contest any jurisdictional facts,
            including the Court’s authority to enter this Consent Judgment.
     2.     Enforcing Authorities. Servicer’s obligations under this Consent
            Judgment shall be enforceable solely in the U.S. District Court for the



                                        E-14
                                                                             GARCIA 04383
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page203
                                                        112of
                                                           of314
                                                              223




          District of Columbia. An enforcement action under this Consent
          Judgment may be brought by any Party to this Consent Judgment or the
          Monitoring Committee. Monitor Report(s) and Quarterly Report(s) shall
          not be admissible into evidence by a Party to this Consent Judgment
          except in an action in the Court to enforce this Consent Judgment. In
          addition, unless immediate action is necessary in order to prevent
          irreparable and immediate harm, prior to commencing any enforcement
          action, a Party must provide notice to the Monitoring Committee of its
          intent to bring an action to enforce this Consent Judgment. The members
          of the Monitoring Committee shall have no more than 21 days to
          determine whether to bring an enforcement action. If the members of the
          Monitoring Committee decline to bring an enforcement action, the Party
          must wait 21 additional days after such a determination by the members of
          the Monitoring Committee before commencing an enforcement action.
    3.    Enforcement Action. In the event of an action to enforce the obligations
          of Servicer and to seek remedies for an uncured Potential Violation for
          which Servicer’s time to cure has expired, the sole relief available in such
          an action will be:
          (a)    Equitable Relief. An order directing non-monetary equitable relief,
                 including injunctive relief, directing specific performance under
                 the terms of this Consent Judgment, or other non-monetary
                 corrective action.
          (b)    Civil Penalties. The Court may award as civil penalties an amount
                 not more than $1 million per uncured Potential Violation; or, in the
                 event of a second uncured Potential Violation of Metrics 1.a, 1.b,
                 or 2.a (i.e., a Servicer fails the specific Metric in a Quarter, then
                 fails to cure that Potential Violation, and then in subsequent
                 Quarters, fails the same Metric again in a Quarter and fails to cure
                 that Potential Violation again in a subsequent Quarter), where the
                 final uncured Potential Violation involves widespread
                 noncompliance with that Metric, the Court may award as civil
                 penalties an amount not more than $5 million for the second
                 uncured Potential Violation.

          Nothing in this Section shall limit the availability of remedial
          compensation to harmed borrowers as provided in Section E.5.

          (c)    Any penalty or payment owed by Servicer pursuant to the Consent
                 Judgment shall be paid to the clerk of the Court or as otherwise
                 agreed by the Monitor and the Servicer and distributed by the
                 Monitor as follows:




                                      E-15
                                                                             GARCIA 04384
 Case
 Case1:12-cv-00361-RMC
      1:12-cv-00361-RMC Document
                        Document14-1
                                 1-2 Filed
                                     Filed03/12/12
                                           04/04/12 Page
                                                    Page204
                                                         113of
                                                            of314
                                                               223




                    1.      In the event of a penalty based on a violation of a term of
                            the Servicing Standards that is not specifically related to
                            conduct in bankruptcy, the penalty shall be allocated, first,
                            to cover the costs incurred by any state or states in
                            prosecuting the violation, and second, among the
                            participating states according to the same allocation as the
                            State Payment Settlement Amount.

                    2.      In the event of a penalty based on a violation of a term of
                            the Servicing Standards that is specifically related to
                            conduct in bankruptcy, the penalty shall be allocated to the
                            United States or as otherwise directed by the Director of the
                            United States Trustee Program.

                    3.      In the event of a payment due under Paragraph 10.d of the
                            Consumer Relief requirements, 50% of the payment shall
                            be allocated to the United States, and 50% shall be
                            allocated to the State Parties to the Consent Judgment,
                            divided among them in a manner consistent with the
                            allocation in Exhibit B of the Consent Judgment.

K.   Sunset. This Consent Judgment and all Exhibits shall retain full force and effect
     for three and one-half years from the date it is entered (the “Term”), unless
     otherwise specified in the Exhibit. Servicer shall submit a final Quarterly Report
     for the last quarter or portion thereof falling within the Term, and shall cooperate
     with the Monitor’s review of said report, which shall be concluded no later than
     six months following the end of the Term, after which time Servicer shall have no
     further obligations under this Consent Judgment.




                                         E-16
                                                                               GARCIA 04385
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page205
                                                        114of
                                                           of314
                                                              223




               EXHIBIT E-1




                                                         GARCIA 04386
Servicing Standards Quarterly Compliance Metrics
Executive Summary
                                                                                                                                                                                                                                      Case







Sampling: (a) A random selection of the greater of 100 loans and a statistically significant sample. (b) Sample will be selected from the population as defined in column E

Review and Reporting Period: Results will be reported Quarterly and 45 days after the end of the quarter.

Errors Definition: An error is a measurement in response to a test question related to the Servicing Standards that results in the failure of the specified outcome. Errors in response to multiple questions with respect
to a single outcome would be treated as only a single error.
Metrics Tested

                   A                                      B                                    C               D                                 E                                                     F
                                                                                                                                                                                                                                      Case1:12-cv-00361-RMC




                                                                                        Loan Level
                                                                                        Tolerance for      Threshold
Metric                             Measurements                                         Error1             Error Rate2   Test Loan Population and Error Definition            Test Questions
1. Outcome Creates Significant Negative Customer Impact
     A. Foreclosure sale in error  Customer is in default, legal standing to                  n/a              1%        Population Definition: Foreclosure Sales that        1.   Did the foreclosing party have legal standing to
                                   foreclose, and the loan is not subject to                                             occurred in the review period.                            foreclose?
                                                                                                                                                                                                                                           1:12-cv-00361-RMC Document




                                   active trial, or BK.                                                                                                                       2.   Was the borrower in an active trial period plan
                                                                                                                         A. Sample :# of Foreclosure Sales in the
                                                                                                                                                                                   (unless the servicer took appropriate steps to
                                                                                                                            review period that were tested.
                                                                                                                                                                                   postpone sale)?
                                                                                                                                                                                                                                                             Document14-1




                                                                                                                         B.   Error Definition: # of loans that went to       3.   Was the borrower offered a loan modification
                                                                                                                              foreclosure sale in error due to failure of          fewer than 14 days before the foreclosure sale
                                                                                                                              any one of the test questions for this               date (unless the borrower declined the offer or
                                                                                                                              metric.
                                                                                                                                                                                                                                                                      1-2 Filed




                                                                                                                                                                                   the servicer took appropriate steps to
                                                                                                                                                                                   postpone the sale)?
                                                                                                                         Error Rate = B/A
                                                                                                                                                                              4.   Was the borrower not in default (unless the
                                                                                                                                                                                   default is cured to the satisfaction of the
                                                                                                                                                                                   Servicer or investor within 10 days before the
                                                                                                                                                                                   foreclosure sale date and the Servicer took
                                                                                                                                                                                                                                                                          Filed03/12/12




                                                                                                                                                                                   appropriate steps to postpone sale)?
                                                                                                                                                                              5.   Was the borrower protected from foreclosure
                                                                                                                                                                                   by Bankruptcy (unless Servicer had notice of
                                                                                                                                                                                   such protection fewer than 10 days before the
                                                                                                                                                                                                                                                                                04/04/12 Page




                                                                                                                                                                                   foreclosure sale date and Servicer took
                                                                                                                                                                                   appropriate steps to postpone sale)?
                                                                                                                                                                                                                                                                                         Page206
                                                                                                                                                                                                                                                                                              115of




                                                                                                                      E1-1
                                                                                                                                                                                                                                                                                                 of314
                                                                                                                                                                                                                                                                                                    223




    GARCIA 04387
                 A                                     B                            C                D                                E                                                    F

                                                                              Loan Level
                                                                              Tolerance for     Threshold
                                                                                                                                                                                                                         Case




                                                                                    1                      2
Metric                            Measurements                                Error             Error Rate     Test Loan Population and Error Definition          Test Questions
    B. Incorrect Mod denial       Program eligibility, all documentation       5% On income         5%         Population Definition: Modification Denied In      1. Was the evaluation of eligibility Inaccurate ( as
                                  received, DTI test, NPV test.                   errors                       the Review Period.                                     per HAMP, Fannie, Freddie or proprietary
                                                                                                                                                                      modification criteria)?
                                                                                                               Error Definition: # of loans that were denied a
                                                                                                                                                                  2. Was the income calculation Inaccurate?
                                                                                                               modification as a result of failure of anyone of
                                                                                                                                                                  3. Were the inputs used in the decision tool (NPV
                                                                                                               the test questions for this metric.
                                                                                                                                                                      and Waterfall test) entered in error or
                                                                                                                                                                      inconsistent with company policy?
                                                                                                                                                                  4. Was the loan NPV positive?
                                                                                                                                                                  5. Was there an inaccurate determination that
                                                                                                                                                                      the documents received were incomplete?
                                                                                                                                                                                                                         Case1:12-cv-00361-RMC




                                                                                                                                                                  6. Was the trial inappropriately failed?
2. Integrity of Critical Sworn Documents
      A. Was AOI properly           Based upon personal knowledge, properly     Question 1,         5%         Population Definition: Affidavits of               1.   Taken as a whole and accounting for contrary
prepared                            notarized, amounts agree to system of           Y/N;                       indebtedness filed in the review period.                evidence provided by the Servicer, does the
                                    record within tolerance if overstated.      Question 2,                                                                            sample indicate systemic issues with either
                                                                                                               Error Definition: For question 1, yes; for
                                                                                 Amounts                                                                               affiants lacking personal knowledge or
                                                                                                               question 2, the # of Loans where the sum of
                                                                              overstated (or,                                                                          improper notarization?
                                                                                                                                                                                                                              1:12-cv-00361-RMC Document




                                                                                                               errors exceeds the allowable threshold.
                                                                              for question on
                                                                                   Escrow                                                                         2.   Verify all the amounts outlined below against
                                                                                 Amounts,                                                                              the system of record
                                                                                                                                                                                                                                                Document14-1




                                                                               understated)                                                                            a. Was the correct principal balance used
                                                                               by the greater                                                                               Was the correct interest amount (and per
                                                                              of $99 or 1% of                                                                               diem) used?
                                                                                 the Total                                                                             b. Was the escrow balance correct?
                                                                                                                                                                                                                                                         1-2 Filed




                                                                               Indebtedness                                                                            c. Were correct other fees used?
                                                                                  Amount                                                                               d. Was the correct corporate advance
                                                                                                                                                                            balance used?
                                                                                                                                                                       e. Was the correct late charge balance used?
                                                                                                                                                                       f. Was the suspense balance correct?
                                                                                                                                                                                                                                                             Filed03/12/12




                                                                                                                                                                       g. Was the total indebtedness amount on
                                                                                                                                                                            the Affidavit correct?
                                                                                                                                                                                                                                                                   04/04/12 Page
                                                                                                                                                                                                                                                                            Page207
                                                                                                                                                                                                                                                                                 116of




                                                                                                           E1-2
                                                                                                                                                                                                                                                                                    of314
                                                                                                                                                                                                                                                                                       223




  GARCIA 04388
                  A                             B                        C                D                               E                                                  F

                                                                   Loan Level
                                                                   Tolerance for     Threshold
                                                                                                                                                                                                           Case




                                                                         1                      2
Metric                      Measurements                           Error             Error Rate     Test Loan Population and Error Definition       Test Questions
    B. POC                  Accurate statement of pre-petition      Amounts over         5%         Population Definition: POCs filed in the        1) Are the correct amounts set forth in the form,
                            arrearage to system of record.          stated by the                   review period.                                      with respect to pre-petition missed payments,
                                                                    greater of $50                                                                      fees, expenses charges, and escrow shortages
                                                                                                    Error Definition: # of Loans where sum of
                                                                     or 3% of the                                                                       or deficiencies?
                                                                                                    errors exceeds the allowable threshold.
                                                                     correct Pre-
                                                                       Petition
                                                                      Arrearage

        C. MRS Affidavits   Customer is in default and amount of      Amounts            5%         Population Definition: Affidavits supporting    1.   Verify against the system of record, within
                            arrearage is within tolerance.         overstated (or                   MRS’s filed in the review period                     tolerance if overstated:
                                                                                                                                                                                                           Case1:12-cv-00361-RMC




                                                                     for escrows                    Error Definition: # of Loans where the sum of         a. the post-petition default amount;
                                                                      amounts,                      errors exceeds the allowable threshold.               b. the amount of fees or charges applied to
                                                                    understated)                                                                               such pre-petition default amount or post-
                                                                   by the greater                                                                              petition amount since the later of the
                                                                   of $50 or 3% of                                                                             date of the petition or the preceding
                                                                     the correct                                                                               statement; and
                                                                    Post Petition                                                                         c. escrow shortages or deficiencies.
                                                                                                                                                                                                                1:12-cv-00361-RMC Document




                                                                    Total Balance
                                                                                                                                                                                                                                  Document14-1
                                                                                                                                                                                                                                           1-2 Filed
                                                                                                                                                                                                                                               Filed03/12/12
                                                                                                                                                                                                                                                     04/04/12 Page
                                                                                                                                                                                                                                                              Page208
                                                                                                                                                                                                                                                                   117of




                                                                                                E1-3
                                                                                                                                                                                                                                                                      of314
                                                                                                                                                                                                                                                                         223




  GARCIA 04389
                 A                                  B                    C               D                               E                                                    F

                                                                   Loan Level
                                                                   Tolerance for    Threshold
                                                                                                                                                                                                             Case




                                                                         1                     2
Metric                          Measurements                       Error            Error Rate     Test Loan Population and Error Definition         Test Questions
3. Pre-foreclosure Initiation
A. Pre Foreclosure Initiation   Accuracy of Account information.   Amounts over         5%         Population Definition: Loans with a               ** Verify all the amounts outlined below against
                                                                   stated by the                   Foreclosure referral date in the review period.   the system of record.
                                                                   greater of $99
                                                                                                   Error Definition: # of Loans that were referred
                                                                    or 1% of the                                                                     1.   Was the loan delinquent as of the date the first
                                                                                                   to foreclosure with an error in any one of the
                                                                   Total balance                                                                          legal action was filed?
                                                                                                   foreclosure initiation test questions.
                                                                                                                                                     2.   Was information contained in the Account
                                                                                                                                                          Statement completed accurately?
                                                                                                                                                          a) The total amount needed to reinstate or
                                                                                                                                                               bring the account current, and the amount
                                                                                                                                                                                                             Case1:12-cv-00361-RMC




                                                                                                                                                               of the principal;
                                                                                                                                                          b) The date through which the borrower’s
                                                                                                                                                               obligation is paid;
                                                                                                                                                          c) The date of the last full payment;
                                                                                                                                                          d) The current interest rate in effect for the
                                                                                                                                                               loan;
                                                                                                                                                          e) The date on which the interest rate may
                                                                                                                                                                                                                  1:12-cv-00361-RMC Document




                                                                                                                                                               next reset or adjust;
                                                                                                                                                          f) The amount of any prepayment fee to be
                                                                                                                                                               charged, if any;
                                                                                                                                                                                                                                    Document14-1




                                                                                                                                                          g) A description of any late payment fees;
                                                                                                                                                               and
                                                                                                                                                          h) a telephone number or electronic mail
                                                                                                                                                               address that may be used by the obligor to
                                                                                                                                                                                                                                             1-2 Filed




                                                                                                                                                               obtain information regarding the
                                                                                                                                                               mortgage.
                                                                                                                                                                                                                                                 Filed03/12/12
                                                                                                                                                                                                                                                       04/04/12 Page
                                                                                                                                                                                                                                                                Page209
                                                                                                                                                                                                                                                                     118of




                                                                                               E1-4
                                                                                                                                                                                                                                                                        of314
                                                                                                                                                                                                                                                                           223




  GARCIA 04390
                 A                                   B                               C              D                               E                                                     F

                                                                               Loan Level
                                                                               Tolerance for   Threshold
                                                                                                                                                                                                                         Case




                                                                                     1                    2
Metric                          Measurements                                   Error           Error Rate     Test Loan Population and Error Definition         Test Questions
B. Pre Foreclosure Initiation   Notification sent to the customer supporting          N/A          5%         Population Definition: Loans with a               1. Were all the required notifications statements
   Notifications                right to foreclose along with: Applicable                                     Foreclosure referral date in the review period.       mailed no later than 14 days prior to first Legal
                                information upon customers request,                                                                                                 Date (i) Account Statement; (ii) Ownership
                                                                                                              Error Definition: # of Loans that were referred
                                Account statement information, Ownership                                                                                            Statement; and (iii) Loss Mitigation Statement?
                                                                                                              to foreclosure with an error in any one of the
                                statement, and Loss Mitigation statement.                                                                                       2. Did the Ownership Statement accurately
                                                                                                              foreclosure initiation test questions.
                                Notifications required before 14 days prior                                                                                         reflect that the servicer or investor has the
                                to referral to foreclosure.                                                                                                         right to foreclose?
                                                                                                                                                                3.   Was the Loss Mitigation Statement complete
                                                                                                                                                                     and did it accurately state that
                                                                                                                                                                                                                         Case1:12-cv-00361-RMC




                                                                                                                                                                     a)   The borrower was ineligible (if applicable);
                                                                                                                                                                          or
                                                                                                                                                                     b) The borrower was solicited, was the
                                                                                                                                                                        subject of right party contact routines, and
                                                                                                                                                                        that any timely application submitted by
                                                                                                                                                                        the borrower was evaluated?
                                                                                                                                                                                                                              1:12-cv-00361-RMC Document
                                                                                                                                                                                                                                                Document14-1
                                                                                                                                                                                                                                                         1-2 Filed
                                                                                                                                                                                                                                                             Filed03/12/12
                                                                                                                                                                                                                                                                   04/04/12 Page
                                                                                                                                                                                                                                                                            Page210
                                                                                                                                                                                                                                                                                 119of




                                                                                                          E1-5
                                                                                                                                                                                                                                                                                    of314
                                                                                                                                                                                                                                                                                       223




  GARCIA 04391
                 A                                       B                               C               D                                E                                                      F

                                                                                   Loan Level
                                                                                   Tolerance for    Threshold
                                                                                                                                                                                                                             Case




                                                                                         1                     2
Metric                            Measurements                                     Error            Error Rate     Test Loan Population and Error Definition           Test Questions
4. Accuracy and Timeliness of Payment Application and Appropriateness of Fees


     A. Fees adhere to guidance      Services rendered, consistent with loan       Amounts over         5%         Population Definition: Defaulted loans (60 +)       For fees collected in the test period:
(Preservation fees, Valuation fees   instrument, within applicable requirements.   stated by the                   with borrower payable default related fees*
and Attorney's fees)                                                               greater of $50                  collected.                                               1. Was the frequency of the fees collected
                                                                                    or 3% of the                                                                               (in excess of what is consistent with state
                                                                                                                   Error Definition: # of loans where the sum of
                                                                                    Total Default                                                                              guidelines or fee provisions in servicing
                                                                                                                   default related fee errors exceeds the
                                                                                    Related Fees                                                                               standards?
                                                                                                                   threshold.
                                                                                     Collected                                                                              2. Was amount of the fee collected higher
                                                                                                                   * Default related fees are defined as any fee               than the amount allowable under the
                                                                                                                                                                                                                             Case1:12-cv-00361-RMC




                                                                                                                   collected for a default-related service after the           Servicer’s Fee schedule and for which
                                                                                                                   agreement date.                                             there was not a valid exception?
    B. Adherence to customer         Payments posted timely (within 2 business         Amounts          5%         Population Definition: All subject payments              1. Were payments posted to the right
payment processing                   days of receipt) and accurately.              understated by                  posted within review period.                                 account number?
                                                                                     the greater                                                                            2. Were payments posted in the right
                                                                                                                   Error Definition: # of loans with an error in                amount?
                                                                                    $50.00 or 3%
                                                                                                                                                                            3. Were properly identified conforming
                                                                                                                                                                                                                                  1:12-cv-00361-RMC Document




                                                                                        of the                     any one of the payment application test
                                                                                                                                                                                payments posted within 2 business days
                                                                                      scheduled                    questions.
                                                                                                                                                                                of receipt and credited as of the date of
                                                                                                                                                                                                                                                    Document14-1




                                                                                       payment                                                                                  receipt?
                                                                                                                                                                            4. Did servicer accept payments within
                                                                                                                                                                                $50.00 of the scheduled payment,
                                                                                                                                                                                including principal and interest and
                                                                                                                                                                                                                                                             1-2 Filed




                                                                                                                                                                                where applicable taxes and insurance as
                                                                                                                                                                                required by the servicing standards?
                                                                                                                                                                            5. Were partial payments credited to the
                                                                                                                                                                                borrower’s account as of the date that
                                                                                                                                                                                the funds cover a full payment?
                                                                                                                                                                                                                                                                 Filed03/12/12




                                                                                                                                                                            6. Were payments posted to principal
                                                                                                                                                                                interest and escrow before fees and
                                                                                                                                                                                expenses?
                                                                                                                                                                                                                                                                       04/04/12 Page
                                                                                                                                                                                                                                                                                Page211
                                                                                                                                                                                                                                                                                     120of




                                                                                                               E1-6
                                                                                                                                                                                                                                                                                        of314
                                                                                                                                                                                                                                                                                           223




  GARCIA 04392
                 A                                       B                                 C                D                                E                                                  F

                                                                                     Loan Level
                                                                                     Tolerance for     Threshold
                                                                                                                                                                                                                               Case




                                                                                           1                      2
Metric                             Measurements                                      Error             Error Rate     Test Loan Population and Error Definition         Test Questions
    C. Reconciliation of certain   Appropriately updating the Servicer’s              Amounts over         5%         Population Definition: All accounts where in-             1. Were all required waivers of Fees,
waived fees. (I.b.11.C)            systems of record in connection with the           stated by the                   line reconciliation routine is completed within               expense or charges applied and/or
                                   reconciliation of payments as of the date of       greater of $50                  review period.                                                corrected accurately as part of the
                                                                                                                                                                                    reconciliation?
                                   dismissal of a debtor’s Chapter 13                  or 3 % of the
                                                                                                                      Error Definition: # of loans with an error in
                                   bankruptcy case, entry of an order granting            correct
                                                                                                                      the reconciliation routine resulting in
                                   Servicer relief from the stay under Chapter        reconciliation
                                                                                                                      overstated amounts remaining on the
                                   13, or entry of an order granting the debtor           amount                      borrower account.
                                   a discharge under Chapter 13, to reflect the
                                   waiver of any fee, expense or charge
                                                                                                                                                                                                                               Case1:12-cv-00361-RMC




                                   pursuant to paragraphs III.B.1.c.i or III.B.1.d
                                   of the Servicing Standards (within applicable
                                   tolerances).

     D. Late fees adhere to        Late fees are collected only as permitted               Y/N             5%         Population Definition: All late fees collected            1.   Was a late fee collected with respect
guidance                           under the Servicing Standards (within                                              within the review period.                                      to a delinquency attributable solely to
                                                                                                                                                                                                                                    1:12-cv-00361-RMC Document




                                   applicable tolerances).                                                                                                                           late fees or delinquency charges
                                                                                                                      Error Definition: # of loans with an error on                  assessed on an earlier payment?
                                                                                                                      any one of the test questions.
                                                                                                                                                                                                                                                      Document14-1
                                                                                                                                                                                                                                                               1-2 Filed
                                                                                                                                                                                                                                                                   Filed03/12/12
                                                                                                                                                                                                                                                                         04/04/12 Page
                                                                                                                                                                                                                                                                                  Page212
                                                                                                                                                                                                                                                                                       121of




                                                                                                                  E1-7
                                                                                                                                                                                                                                                                                          of314
                                                                                                                                                                                                                                                                                             223




  GARCIA 04393
                  A                                    B                            C              D                               E                                                F

                                                                              Loan Level
                                                                              Tolerance for   Threshold
                                                                                                                                                                                                                   Case




                                                                                    1                    2
Metric                           Measurements                                 Error           Error Rate     Test Loan Population and Error Definition     Test Questions
5. Policy/Process Implementation
     A. Third Party Vendor       Is periodic third party review process in         Y/N             N         Quarterly review of a vendors providing           1.   Is there evidence of documented
Management                       place? Is there evidence of remediation of                                  Foreclosure Bankruptcy, Loss mitigation and            oversight policies and procedures
                                 identified issues?                                                          other Mortgage services.                               demonstrating compliance with vendor
                                                                                                                                                                    oversight provisions: (i) adequate due
                                                                                                             Error Definition: Failure on any one of the            diligence procedures, (ii) adequate
                                                                                                             test questions for this metric.                        enforcement procedures (iii) adequate
                                                                                                                                                                    vendor performance evaluation
                                                                                                                                                                    procedures (iv) adequate remediation
                                                                                                                                                                    procedures?3
                                                                                                                                                                                                                   Case1:12-cv-00361-RMC




                                                                                                                                                               2.   Is there evidence of periodic sampling and
                                                                                                                                                                    testing of foreclosure documents
                                                                                                                                                                    (including notices of default and letters of
                                                                                                                                                                    reinstatement) and bankruptcy
                                                                                                                                                                    documents prepared by vendors on behalf
                                                                                                                                                                    of the servicer?
                                                                                                                                                               3.   Is there evidence of periodic sampling of
                                                                                                                                                                                                                        1:12-cv-00361-RMC Document




                                                                                                                                                                    fees and costs assessed by vendors to; (i)
                                                                                                                                                                    substantiate services were rendered (ii)
                                                                                                                                                                    fees are in compliance with servicer fee
                                                                                                                                                                                                                                          Document14-1




                                                                                                                                                                    schedule (iii) Fees are compliant with state
                                                                                                                                                                    law and provisions of the servicing
                                                                                                                                                                    standards?
                                                                                                                                                                                                                                                   1-2 Filed




                                                                                                                                                               4.   Is there evidence of vendor scorecards
                                                                                                                                                                    used to evaluate vendor performance that
                                                                                                                                                                    include quality metrics (error rate etc)?
                                                                                                                                                               5.   Evidence of remediation for vendors who
                                                                                                                                                                    fail metrics set forth in vendor scorecards
                                                                                                                                                                    and/or QC sample tests consistent with
                                                                                                                                                                                                                                                       Filed03/12/12




                                                                                                                                                                    the servicer policy and procedures?

        B. Customer Portal        Implementation of a customer portal.             Y/N             N         A Quarterly testing review of Customer            1. Does the portal provide loss mitigation
                                                                                                             Portal.                                              status updates?
                                                                                                                                                                                                                                                             04/04/12 Page
                                                                                                                                                                                                                                                                      Page213
                                                                                                                                                                                                                                                                           122of




                                                                                                         E1-8
                                                                                                                                                                                                                                                                              of314
                                                                                                                                                                                                                                                                                 223




  GARCIA 04394
                   A                                      B                               C              D                               E                                                F

                                                                                    Loan Level
                                                                                    Tolerance for   Threshold
                                                                                                                                                                                                                       Case




                                                                                          1                    2
Metric                                Measurements                                  Error           Error Rate     Test Loan Population and Error Definition      Test Questions
    C. SPOC                           Implement single point of contact (“SPOC”).          Y/N           N         Quarterly review of SPOC program per               1. Is there evidence of documented policies
                                                                                        5% for          For        provisions in the servicing standard.                  and procedures demonstrating
                                                                                      Question 4     Question                                                             compliance with SPOC program
                                                                                                      #4: 5%       Population Definition (for Question 4):                provisions?
                                                                                                                   Potentially eligible borrowers who were            2. Is there evidence that a single point of
                                                                                                                   identified as requesting loss mitigation               contact is available for applicable
                                                                                                                   assistance.                                            borrowers?
                                                                                                                                                                      3. Is there evidence that relevant records
                                                                                                                   Error Definition: Failure on any one of the            relating to borrower’s account are
                                                                                                                   test questions for this metric.                        available to the borrower’s SPOC?
                                                                                                                                                                                                                       Case1:12-cv-00361-RMC




                                                                                                                                                                      4. Is there evidence that the SPOC has been
                                                                                                                                                                          identified to the borrower and the
                                                                                                                                                                          method the borrower may use to contact
                                                                                                                                                                          the SPOC has been communicated to the
                                                                                                                                                                          borrower?

        D. Workforce Management       Training and staffing adequacy                     Y/N             N         Loss mitigation, SPOC and Foreclosure Staff.       1. Is there evidence of documented
                                                                                                                                                                                                                            1:12-cv-00361-RMC Document




                                      requirements.                                                                                                                       oversight policies and procedures
                                                                                                                   Error Definition: Failure on any one of the            demonstrating effective forecasting,
                                                                                                                   test questions for this metric.                        capacity planning, training and monitoring
                                                                                                                                                                                                                                              Document14-1




                                                                                                                                                                          of staffing requirements for foreclosure
                                                                                                                                                                          operations?
                                                                                                                                                                      2. Is there evidence of periodic training and
                                                                                                                                                                          certification of employees who prepare
                                                                                                                                                                                                                                                       1-2 Filed




                                                                                                                                                                          Affidavits sworn statements or
                                                                                                                                                                          declarations.

     E. Affidavit of Indebtedness     Affidavits of Indebtedness are signed by           Y/N             N         Annual Review of Policy.                           1. Is there evidence of documented policies
Integrity.                            affiants who have personal knowledge of                                                                                             and procedures sufficient to provide
                                                                                                                                                                                                                                                           Filed03/12/12




                                      relevant facts and properly review the                                                                                              reasonable assurance that affiants have
                                      affidavit before signing it.                                                                                                        personal knowledge of the matters
                                                                                                                                                                          covered by affidavits of indebtedness and
                                                                                                                                                                          have reviewed affidavit before signing it?
                                                                                                                                                                                                                                                                 04/04/12 Page




        F. Account Status Activity.   System of record electronically documents          Y/N             N         Annual Review of Policy.                           1. Is there evidence of documented policies
                                      key activity of a foreclosure, loan                                                                                                and procedures designed to ensure that
                                                                                                                                                                                                                                                                          Page214




                                      modification, or bankruptcy.                                                                                                       the system of record contains
                                                                                                                                                                                                                                                                               123of




                                                                                                                                                                         documentation of key activities?

                                                                                                               E1-9
                                                                                                                                                                                                                                                                                  of314
                                                                                                                                                                                                                                                                                     223




  GARCIA 04395
                 A                                  B                      C              D                                E                                                   F

                                                                     Loan Level
                                                                     Tolerance for   Threshold
                                                                                                                                                                                                             Case




                                                                           1                    2
Metric                          Measurements                         Error           Error Rate     Test Loan Population and Error Definition        Test Questions
6. Customer Experiences
     A. Complaint response      Meet the requirements of Regulator        N/A            5%         Population Definition: Government                     1.   Was written acknowledgment regarding
timeliness                      complaint handling.                                                 submitted complaints and inquiries from                    complaint/inquires sent within 10
                                                                                                    individual borrowers who are in default                    business days of complaint/inquiry
                                                                                                    and/or have applied for loan modifications                 receipt?**
                                                                                                    received during the three months prior to 40          2.   Was a written response (“Forward
                                                                                                    days prior to the review period. (To allow for             Progress”) sent within 30 calendar days of
                                                                                                    response period to expire).                                complaint/inquiry receipt?**
                                                                                                    Error Definition: # of loans that exceeded the             **receipt= from the Attorney General,
                                                                                                    required response timeline.                                state financial regulators, the Executive
                                                                                                                                                                                                             Case1:12-cv-00361-RMC




                                                                                                                                                               Office for United States Trustees/regional
                                                                                                                                                               offices of the United States Trustees, and
                                                                                                                                                               the federal regulators and documented
                                                                                                                                                               within the System of Record.
    B. Loss Mitigation
         i. Loan Modification                                             N/A            5%         Population Definition: Loan modifications        1.   Did the Servicer notify borrower of any known
                                                                                                                                                                                                                  1:12-cv-00361-RMC Document




Document Collection timeline                                                                        and loan modification requests (packages)             deficiency in borrower’s initial submission of
compliance                                                                                          that that were missing documentation at               information, no later than 5 business days
                                                                                                    receipt and received more than 40 days prior          after receipt, including any missing information
                                                                                                                                                                                                                                    Document14-1




                                                                                                    to the end of the review period.                      or documentation?
                                                                                                                                                     2.   Was the Borrower afforded 30 days from the
                                                                                                    Error Definition: The total # of loans                date of Servicer’s notification of any missing
                                                                                                                                                                                                                                             1-2 Filed




                                                                                                    processed outside the allowable timelines as          information or documentation to supplement
                                                                                                    defined under each timeline requirement               borrower’s submission of information prior to
                                                                                                    tested.                                               making a determination on whether or not to
                                                                                                                                                          grant an initial loan modification?
                                                                                                                                                                                                                                                 Filed03/12/12
                                                                                                                                                                                                                                                       04/04/12 Page
                                                                                                                                                                                                                                                                Page215
                                                                                                                                                                                                                                                                     124of




                                                                                               E1-10
                                                                                                                                                                                                                                                                        of314
                                                                                                                                                                                                                                                                           223




  GARCIA 04396
                 A                                 B         C              D                               E                                                   F

                                                       Loan Level
                                                       Tolerance for   Threshold
                                                                                                                                                                                            Case




                                                             1                    2
Metric                              Measurements       Error           Error Rate     Test Loan Population and Error Definition         Test Questions
         ii. Loan Modification                                             10%        Population Definition: Loan modification          1. Did the servicer respond to request for a
Decision/Notification timeline                                                        requests (packages) that are denied or                modification within 30 days of receipt of all
compliance                                                                            approved in the review period.                        necessary documentation?
                                                                                                                                        2. Denial Communication: Did the servicer notify
                                                                                      Error Definition: The total # of loans                customers within 10 days of denial decision?
                                                                                      processed outside the allowable timelines as
                                                                                      defined under each timeline requirement
                                                                                      tested.


         iii. Loan Modification                                            10%        Population Definition: Loan modification          1.   Did Servicer respond to a borrowers request
                                                                                                                                                                                            Case1:12-cv-00361-RMC




Appeal timeline compliance                                                            requests (packages) that are borrower appeals          for an appeal within 30 days of receipt?
                                                                                      in the review period.

                                                                                      Error Definition: The total # of loans
                                                                                      processed outside the allowable timeline
                                                                                      tested.
                                                                                                                                                                                                 1:12-cv-00361-RMC Document




          iv. Short Sale Decision                                          10%        Population Definition: Short sale requests        1.   Was short sale reviewed and a decision
timeline compliance                                                                   (packages) that are complete in the three              communicated within 30 days of borrower
                                                                                                                                                                                                                   Document14-1




                                                                                      months prior to 30 days prior to the end of the        submitting completed package?
                                                                                      review period. (to allow for short sale review
                                                                                      to occur).
                                                                                                                                                                                                                            1-2 Filed




                                                                                      Error Definition: The total # of loans
                                                                                      processed outside the allowable timeline
                                                                                      tested.
                                                                                                                                                                                                                                Filed03/12/12
                                                                                                                                                                                                                                      04/04/12 Page
                                                                                                                                                                                                                                               Page216
                                                                                                                                                                                                                                                    125of




                                                                                 E1-11
                                                                                                                                                                                                                                                       of314
                                                                                                                                                                                                                                                          223




  GARCIA 04397
                       A                                  B                              C              D                                E                                                    F

                                                                                   Loan Level
                                                                                   Tolerance for   Threshold
                                                                                                                                                                                                                          Case




                                                                                         1                    2
Metric                               Measurements                                  Error           Error Rate     Test Loan Population and Error Definition         Test Questions
          v. Short Sale Document                                                                       5%         Population Definition: Short sale requests            1. Did the Servicer provide notice of missing
Collection timeline compliance                                                                                    (packages) missing documentation that are                 documents within 30 days of the request
                                                                                                                  received in the three months prior to 30 days             for the short sale?
                                                                                                                  prior to the end of the review period (to allow
                                                                                                                  for short sale review to occur).
                                                                                                                  Error Definition: The total # of loans
                                                                                                                  processed outside the allowable timeline
                                                                                                                  tested.
                                                                                                                                                                                                                          Case1:12-cv-00361-RMC




vi. Charge of application fees for                                                                      1%         Population Definition: loss mitigation           1.   Did the servicer assess a fee for processing a
Loss mitigation                                                                                                   requests (packages) that are Incomplete,               loss mitigation request?
                                                                                                                  denied , approved and borrower appeals in
                                                                                                                  the review period.
                                                                                                                  (Same as 6.B.i)
                                                                                                                                                                                                                               1:12-cv-00361-RMC Document




                                                                                                                  Error Definition: The # of loss mitigation
                                                                                                                  applications where servicer collected a
                                                                                                                                                                                                                                                 Document14-1




                                                                                                                  processing fee.
          vii. Short Sales
                a. Inclusion of      Provide information related to any required        n/a            5%          Population Definition: Short sales approved      1.   If the short sale was accepted, did borrower
                                                                                                                                                                                                                                                          1-2 Filed




notice of whether or not a           deficiency claim.                                                            in the review period.                                  receive notification that deficiency or cash
deficiency will be required                                                                                                                                              contribution will be needed?
                                                                                                                  Error Definition: The # of short sales that
                                                                                                                                                                    2.   Did borrower receive in this notification
                                                                                                                  failed any one of the deficiency test questions
                                                                                                                                                                         approximate amounts related to deficiency or
                                                                                                                                                                         cash contribution?
                 viii. Dual Track
                                                                                                                                                                                                                                                              Filed03/12/12
                                                                                                                                                                                                                                                                    04/04/12 Page
                                                                                                                                                                                                                                                                             Page217
                                                                                                                                                                                                                                                                                  126of




                                                                                                             E1-12
                                                                                                                                                                                                                                                                                     of314
                                                                                                                                                                                                                                                                                        223




  GARCIA 04398
                       A                                         B                             C              D                                E                                                      F

                                                                                         Loan Level
                                                                                         Tolerance for   Threshold
                                                                                                                                                                                                                                      Case




                                                                                               1                    2
Metric                                      Measurements                                 Error           Error Rate     Test Loan Population and Error Definition          Test Questions
               a. Referred to               Loan was referred to foreclosure in error.           n/a         5%         Population Definition: Loans with a first legal    1. Was the first legal action taken while the
foreclosure in violation of Dual                                                                                        action date in the review period.                      servicer was in possession of an active,
Track Provisions                                                                                                                                                               complete loan modification package (as
                                                                                                                        Error Definition: The # of loans with a first
                                                                                                                                                                               defined by the Servicing Standards) that was
                                                                                                                        legal filed in the review period that failed any
                                                                                                                                                                               not decisioned as required by the standards?
                                                                                                                        one of the dual tracking test questions.
                                                                                                                                                                           2. Was the first legal commenced while the
                                                                                                                                                                               borrower was approved for a loan
                                                                                                                                                                               modification but prior to the expiration of the
                                                                                                                                                                               borrower acceptance period, borrower decline
                                                                                                                                                                               of offer or while in an active trial period plan?
                                                                                                                                                                                                                                      Case1:12-cv-00361-RMC




               b. Failure to                Foreclosure proceedings allowed to proceed        n/a            5%         Population Definition: Active foreclosures         1. Did the servicer proceed to judgment or order
postpone foreclosure                        in error.                                                                   during review period.                                  of sale upon receipt of a complete loan
proceedings in violation of Dual                                                                                                                                               modification package within 30 days of the
                                                                                                                        Error Definition: # of active foreclosures that
Track Provisions                                                                                                                                                               Post-Referral to Foreclosure Solicitation
                                                                                                                        went to judgment as a result of failure of any
                                                                                                                                                                               Letter?**
                                                                                                                        one on of the active foreclosure dual track test
                                                                                                                                                                                    **Compliance of Dual tracking provisions
                                                                                                                        question.
                                                                                                                                                                                    for foreclosure sales are referenced in 1.A
                                                                                                                                                                                                                                           1:12-cv-00361-RMC Document




        C. Forced Placed Insurance
                                                                                                                                                                                                                                                             Document14-1




                 i. Timeliness of notices   Notices sent timely with necessary                n/a            5%         Population Definition: Loans with forced           1.   Did Servicer send all required notification
                                            information.                                                                placed coverage initiated in review period.             letters (ref. V 3a i-vii) notifying the customer of
                                                                                                                                                                                lapse in insurance coverage?
                                                                                                                        Error Definition: # of loans with active force
                                                                                                                                                                                                                                                                      1-2 Filed




                                                                                                                                                                           2.   Did the notification offer the customer the
                                                                                                                        place insurance resulting from an error in any
                                                                                                                                                                                option to have the account escrowed to
                                                                                                                        one of the force-place insurance test
                                                                                                                                                                                facilitate payment of all insurance premiums
                                                                                                                        questions.
                                                                                                                                                                                and any arrearage by the servicer prior to
                                                                                                                                                                                obtaining force place insurance?
                                                                                                                                                                                                                                                                          Filed03/12/12




                                                                                                                                                                           3.   Did the servicer assess forced place insurance
                                                                                                                                                                                when there was evidence of a valid policy?
          ii Termination of Force           Timely termination of force placed                               5%         Population Definition: Loans with forced                Did Servicer terminate FPI within 15 days of
place Insurance                             insurance.                                                                  placed coverage terminated in review period.            receipt of evidence of a borrower’s existing
                                                                                                                                                                                                                                                                                04/04/12 Page




                                                                                                                                                                                insurance coverage and refund the pro-rated
                                                                                                                        Error Definition: # of loans terminated force
                                                                                                                                                                                portion to the borrower’s escrow account?
                                                                                                                        place insurance with an error in any one of the
                                                                                                                                                                                                                                                                                         Page218




                                                                                                                        force- place insurance test questions.
                                                                                                                                                                                                                                                                                              127of




                                                                                                                   E1-13
                                                                                                                                                                                                                                                                                                 of314
                                                                                                                                                                                                                                                                                                    223




  GARCIA 04399
                   A                            B                             C              D                              E                                       F

                                                                        Loan Level
                                                                        Tolerance for   Threshold
                                                                                                                                                                                    Case




                                                                              1                    2
Metric                        Measurements                              Error           Error Rate     Test Loan Population and Error Definition   Test Questions
1
 Loan Level Tolerance for Error: This represents a threshold beyond which the variance between the actual outcome and the expected outcome on a single test case is deemed
reportable

2
 Threshold Error Rate: For each metric or outcome tested if the total number of reportable errors as a percentage of the total number of cases tested exceeds this limit then the
Servicer will be determined to have failed that metric for the reported period.

3
 For purposes of determining whether a proposed Metric and associated Threshold Error Rate is similar to those contained in this Schedule, this Metric 5.A shall be excluded from
consideration and shall not be treated as representative.
                                                                                                                                                                                    Case1:12-cv-00361-RMC
                                                                                                                                                                                         1:12-cv-00361-RMC Document
                                                                                                                                                                                                           Document14-1
                                                                                                                                                                                                                    1-2 Filed
                                                                                                                                                                                                                        Filed03/12/12
                                                                                                                                                                                                                              04/04/12 Page
                                                                                                                                                                                                                                       Page219
                                                                                                                                                                                                                                            128of




                                                                                                  E1-14
                                                                                                                                                                                                                                               of314
                                                                                                                                                                                                                                                  223




    GARCIA 04400
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page220
                                                        129of
                                                           of314
                                                              223




                  EXHIBIT F




                                                         GARCIA 04401
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page221
                                                             130of
                                                                of314
                                                                   223




                                      FEDERAL RELEASE

       This Federal Release (“Release”) is entered into among the United States of America, its

agencies, and departments (collectively, “the United States”), acting through the United States

Department of Justice, and Wells Fargo & Company (the “COMPANY”) (hereafter the United

States and the COMPANY are collectively referred to as “the Parties”), through their authorized

representatives.

                                            RECITALS

       A.      The COMPANY is a Delaware corporation headquartered in San Francisco,

California.


       B.      The COMPANY is a financial holding and a bank holding company. The

COMPANY, either through its own operations or through the operations of its affiliates and

subsidiaries, serves, and during the relevant period served: (1) as a participant in the Direct

Endorsement Lender program of the Federal Housing Administration (FHA) within the United

States Department of Housing and Urban Development (HUD); (2) as a mortgagee or servicer

for mortgages insured or guaranteed by federal mortgage programs administered by agencies that

include FHA, the United States Department of Veterans Affairs (VA), and the United States

Department of Agriculture Rural Development; (3) as a participating servicer in the Making

Home Affordable Program (MHA) (including MHA's component program, the Home Affordable

Modification Program (HAMP)) of the United States Department of the Treasury (Treasury) and

HUD, and as a participant in various state programs of the Housing Finance Agency Innovation

Fund for the Hardest Hit Housing Markets (HHF); and (4) as an entity that litigates single-family




                                                                                      GARCIA 04402
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page222
                                                             131of
                                                                of314
                                                                   223




residential mortgage issues in U.S. Bankruptcy Courts in capacities that include commencing and

pursuing or supporting litigation commenced against mortgagors and other debtors.


        C.       The United States contends that it has certain civil claims based on conduct of the

COMPANY and its affiliated entities in servicing of mortgage loans (the “Covered Servicing

Conduct”). Such Covered Servicing Conduct encompasses all activities of the COMPANY, of

any affiliated entity during or prior to such time as it was an affiliated entity, and all of the

current or former officers, directors, employees and agents of any of the foregoing, directed

toward servicing (including subservicing and master servicing), whether for their own account or

for the account of others, of mortgage loans for single-family residential homeowners (which

includes loans secured by one- to four-family residential properties, whether used for investor or

consumer purposes), whether in the form of a mortgage, deed of trust or other security

instrument creating a lien upon such property or any other property described therein that secures

the related mortgage loan (“single-family residential mortgage loans”) from and after the closing

of a borrower’s mortgage loan and includes, but is not limited to, the following conduct:


                 (1)    Deficiencies in performing loan modification and other loss mitigation

activities, including extensions, forbearances, short sales and deeds in lieu of foreclosure, setting

the qualifying criteria for any of the foregoing and/or setting the terms and conditions for any of

the foregoing;


                 (2)    Deficiencies in foreclosing on single-family residential mortgage loans or

acquiring title in lieu of foreclosure, including the designation and identity of the foreclosing

party, the timing of foreclosures, transfer of legal or beneficial ownership to the mortgage loan
                                                  F-2


                                                                                         GARCIA 04403
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page223
                                                              132of
                                                                 of314
                                                                    223




 and/or the related servicing rights or obligations, the charging of any fees, the preparation,

 contents, execution, notarization or presentation of any documents filed with or submitted to a

 court or any government agency, or otherwise used as part of the foreclosure process (including,

 but not limited to, affidavits, declarations, certifications, substitutions of trustees, and

 assignments) and dual-tracking foreclosure and loan modification activities, and communications

 with borrowers in respect of foreclosure;


                 (3)     Other deficiencies in servicing single-family residential mortgage loans

 relating to:


                         (a)     Collections activity, including all contact with borrowers (e.g.,

telephone calls, letters, and in-person visits) in respect of such activities;


                         (b)     Practices relating to paying or failing to pay taxes (including

property taxes), hazard insurance, forced-place insurance, and homeowner association dues or

other items provided for in a mortgage loan escrow arrangement (including making or failing to

make such payments), including obtaining or maintaining insurance and advancing funds to pay

therefor and the creation and maintenance of such escrow accounts;


                         (c)     Use or supervision of vendors, agents and contract employees, and

their activities in connection with creation and recording of assignments, servicing, foreclosure,

and loss mitigation activities, including subservicers, foreclosure and bankruptcy attorneys, and

other default service providers, and pursuit of claims against vendors and other third parties for

failure of such third parties to comply with contractual or other obligations;

                                                   F-3


                                                                                          GARCIA 04404
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page224
                                                              133of
                                                                 of314
                                                                    223




                        (d)     Activities related to the executing, notarizing, transferring or

recording of mortgages; the obtaining, executing, notarizing, transferring or recording of

assignments; or activities related to the use of any mortgage registry system, including MERS,

and including the transferring of mortgages or assignments using MERS;


                        (e)     Account statements, disclosures, and/or other communications to

borrowers; unintentional reporting errors regarding activities that, but for this Paragraph, would

be Covered Servicing Conduct, and unintentional remittance errors that are cured;


                        (f)     Maintenance and placement of loan-level and pool-level mortgage

insurance and guarantees, hazard insurance, flood insurance, title insurance, and other insurance

related to mortgage loans and related properties, including claims activity;


                        (g)     Handling and resolution of inquiries, disputes and complaints by or

on behalf of borrowers and frequency and adequacy of communications with borrowers;


                        (h)     Securing, inspecting, repairing, maintaining, or preserving

properties both before and after foreclosure or other acquisition of title;


                        (i)     Adequacy of staffing, training, systems and processes, including

maintenance and security of access to records relating to servicing, foreclosure, bankruptcy,

property sale and management and activities related or ancillary thereto;


                        (j)     Determinations in respect of the appropriate actions of obtaining

value for mortgage loans, including whether to pursue foreclosure on properties, whether to assert


                                                  F-4


                                                                                       GARCIA 04405
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page225
                                                              134of
                                                                 of314
                                                                    223




or abandon liens and other claims and actions taken in respect thereof, and whether to pursue a

loan modification or any particular loan modification or other form of loss mitigation;


                         (k)   Acceptance, rejection, application, or reporting of payments made

on behalf of borrowers, including the assessment of any fees and placement of the payment(s) in a

suspense account;


                         (l)   Obtaining, securing, updating, transferring, or providing

promissory notes or endorsements of promissory notes through allonges or otherwise;


                         (m)   Licensing or registration of employees, agents, or contractors, or

designation of employees as agents for another entity, through corporate resolutions or Powers of

Attorney or otherwise;


                         (n)   Pursuing claims post foreclosure, including seeking deficiency

judgments;


                         (o)   Eviction notices, registrations of vacant properties, and any activity

relating to the sale or disposition of foreclosed or acquired properties (including Real Estate

Owned properties), including management of such properties and proceedings related to such

properties;


                         (p)   Executing, notarizing, or recording any documents related to the

sale of acquired properties, including the warranty deeds and closing documents;




                                                 F-5


                                                                                      GARCIA 04406
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page226
                                                              135of
                                                                 of314
                                                                    223




                       (q)     Custodial and trustee functions related to the Covered Servicing

Conduct;


                       (r)     Quality control, quality assurance or compliance or audit testing or

oversight related to the Covered Servicing Conduct; for avoidance of doubt, quality control or

compliance reviews associated with the origination, sale, or securitization of mortgage loans does

not constitute Covered Servicing Conduct;


                       (s)     Reporting, certification or registration requirements related to any

of the Covered Servicing Conduct; and


                       (t)     Communications with borrowers with respect to the Covered

Servicing Conduct.


               (4)     Deficiencies in the COMPANY’s or any of its affiliates’ participation in

and implementation of the Hardest Hit Fund Program and Making Home Affordable Program,

including all of its component programs (e.g., HAMP, 2MP, HAFA, UP, PRA-HAMP, FHA-

HAMP, FHA2LP, and RD-HAMP).


        D.     The United States further contends that it has certain civil claims based on the

conduct of the COMPANY and its affiliated entities in originating mortgage loans (the “Covered

Origination Conduct”). Such Covered Origination Conduct consists of all activities of the

COMPANY, of any affiliated entity during or prior to such time as it was an affiliated entity, and

all of the current or former officers, directors, employees, and agents of any of the foregoing,

directed toward directly or indirectly originating, assisting in the origination of, or purchasing
                                                 F-6


                                                                                      GARCIA 04407
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page227
                                                             136of
                                                                of314
                                                                   223




single-family residential mortgage loans and excludes conduct occurring following the closing of

the borrower’s mortgage loan that is otherwise covered as the Covered Servicing Conduct. Such

Covered Origination Conduct includes, but is not limited to, the following conduct:


               (1)     Submitting loans for insurance endorsement and claims for insurance

benefits for FHA loans that the COMPANY or any affiliated entity during or prior to such time

as it was an affiliated entity endorsed or underwrote as a participant in the FHA’s Direct

Endorsement Program that failed to meet any applicable underwriting requirements, including

those set forth in the applicable version of the HUD Handbook 4155.1, as supplemented by

relevant mortgagee letters, all as of the time of origination;


               (2)     Submitting loans for insurance endorsement or claims for insurance

benefits for FHA loans that the COMPANY or any affiliated entity during or prior to such time

as it was an affiliated entity endorsed or underwrote as a participant in the FHA’s Direct

Endorsement Program while failing to implement applicable quality control measures; and


               (3)     Other deficiencies in originating single-family residential mortgage loans

relating to:


                       (a)     Processing, underwriting, closing, or funding of loans and the

terms and conditions of such loans;


                       (b)     Approving or denying loan applications;




                                                 F-7


                                                                                    GARCIA 04408
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page228
                                                              137of
                                                                 of314
                                                                    223




                        (c)     Pricing of loans, including the charging and splitting of any fee or

discount points;


                        (d)     Recommendations of particular types of loan products, loan

features or terms and conditions of any loan;


                        (e)     Valuing the properties used as collateral for such loans, including

use of employee, independent and vendor management appraisers and alternative valuation

methods such as AVMs and BPOs;


                        (f)     Use of vendors, including vendor management companies and

other providers of real estate settlement services, whether affiliated or unaffiliated;


                        (g)     Payment of fees or other things of value in connection with the

making or receiving of referrals of settlement and other services;


                        (h)     Conduct of any vendors used in connection with the origination of

loans, including, but not limited to, closing agents, appraisers, real estate agents, title review,

flood inspection, and mortgage brokers;


                        (i)     Drafting of loan documents and loan disclosures and the provision

of such disclosures;


                        (j)     Obtaining and recording of collateral documents relating to loans,

including, but not limited to, use of trustees or designees on mortgages or deeds of trust;


                        (k)     Advertising of loans and solicitation of borrowers;
                                                 F-8


                                                                                          GARCIA 04409
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page229
                                                              138of
                                                                 of314
                                                                    223




                        (l)    Licensing, registration, qualifications or approvals of employees in

connection with the Covered Origination Conduct; and


                        (m)    Quality control, quality assurance or compliance or audit testing or

oversight related to the Covered Origination Conduct.


        E.      The United States further contends that it has certain civil claims based on the

COMPANY’s servicing, including servicing by any affiliated entity during or prior to such time

as it was an affiliated entity, and by any of the COMPANY’s or such affiliated entities’ current

or former officers, directors, employees, and agents, of loans of borrowers in bankruptcy (the

“Covered Bankruptcy Conduct”). Such Covered Bankruptcy Conduct includes, but is not limited

to, the following conduct:


                (1)     Deficiencies in servicing residential mortgage loans for borrowers in

bankruptcy relating to:


                        (a)    The preparation, prosecution, documentation, substantiation, or

filing of proofs of claim, motions seeking relief from the automatic stay, objections to plan

confirmation, motions to dismiss bankruptcy cases, and affidavits, declarations, and other

mortgage-related documents in bankruptcy courts;


                        (b)    Charging and timing of fees and expenses, including any fees or

expenses assessed to the borrower due to delay while the bankruptcy court reviews a pending

request for loan modification or delay by the Chapter 13 trustee to timely remit the borrower’s

payments;
                                                 F-9


                                                                                     GARCIA 04410
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page230
                                                              139of
                                                                 of314
                                                                    223




                        (c)     Use or disclosure of escrow accounts, including any advances on

borrower’s behalf;


                        (d)     Account statements, disclosures, and/or other communications to

borrowers, including: (i) assessing, imposing, posting, or collecting fees and charges; (ii)

disclosure of fees and charges assessed, imposed or posted during the bankruptcy case; and (iii)

collection of undisclosed post-petition fees and charges after the borrower receives a discharge,

the COMPANY obtains relief from the automatic stay, or the bankruptcy case is dismissed;


                        (e)     Adequacy of staffing, training, systems, and processes relating to

administering and servicing loans for borrowers in bankruptcy;


                        (f)     Use or supervision of vendors and contract employees, including

Lender Processing Services, Inc., bankruptcy attorneys and other default service providers;


                        (g)     Pursuit of or failure to pursue claims against vendors and other

third parties for failure of such third parties to comply with contractual or other obligations; and


                        (h)     Handling and resolution of inquiries, disputes or complaints by or

on behalf of borrowers, and frequency and adequacy of communications with borrowers in

bankruptcy.


                (2)     Deficiencies in accounting for, processing, approving and administering

loan modifications for borrowers in bankruptcy relating to:




                                                 F-10


                                                                                       GARCIA 04411
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page231
                                                             140of
                                                                of314
                                                                   223




                       (a)     Charging late fees or seeking arrearages while a trial period

modification plan or permanent loan modification plan is in place and borrower is timely making

payments under the terms of the loan modification plan;


                       (b)     Seeking relief from the automatic stay when the COMPANY has

approved a trial period or permanent loan modification plan and borrower is timely making

payments under the terms of the loan modification plan; and


                       (c)     Delays in approving or finalizing the documentation necessary to

the approval of loan modifications for borrowers in bankruptcy.


        F.     This Release is neither an admission of liability of the allegations of the

Complaint or in cases settled pursuant to this Consent Judgment, nor a concession by the United

States that its claims are not well-founded.


        To avoid the delay, uncertainty, inconvenience, and expense of protracted litigation of the

above claims, and in consideration of the mutual promises and obligations of the Consent

Judgment, the Parties agree and covenant as follows:


                                  TERMS AND CONDITIONS

               (1)     The COMPANY and/or its affiliated entities shall pay or cause to be paid,

for the purposes specified in the Consent Judgment, the amount specified in Paragraph 3 of the

Consent Judgment (“Direct Payment Settlement Amount”) by electronic funds transfer no later

than seven days after the United States District Court for the District of Columbia enters the final

non-appealable Consent Judgment (the “Effective Date of the Consent Judgment”) pursuant to
                                               F-11


                                                                                     GARCIA 04412
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page232
                                                              141of
                                                                 of314
                                                                    223




written instructions to be provided by the United States Department of Justice. The COMPANY

and/or its affiliated entities shall also undertake, for the purposes specified in the Consent

Judgment, certain consumer relief activities as set forth in Exhibit D to such Consent Judgment

and will be obligated to make certain payments (the “Consumer Relief Payments”) in the event

that it does not or they do not complete the Consumer Relief Requirements set forth in Exhibit D

to the Consent Judgment. The releases contained in this Release shall become effective upon

payment of the Direct Payment Settlement Amount. The United States may declare this Release

null and void with respect to the United States if the COMPANY or its affiliated entities do not

make the Consumer Relief Payments required under this Consent Judgment and fails to cure

such non-payment within thirty days of written notice by the United States.


                (2)


                        (a)     Subject to the exceptions in Paragraph 11 (concerning excluded

claims) below, the United States fully and finally releases the COMPANY and any current or

former affiliated entity (to the extent the COMPANY retains liabilities associated with such

former affiliated entity), and any of their respective successors or assigns, as well as any current

or former director, current or former officer, and current or former employee of any of the

foregoing, individually and collectively, from any civil or administrative claims the United States

has or may have, and from any civil or administrative remedies or penalties (expressly including

punitive or exemplary damages) it may seek or impose, based on the Covered Servicing Conduct

that has taken place as of 11:59 p.m., Eastern Standard Time, on February 8, 2012 (and, for the

avoidance of doubt, with respect to FHA-insured loans, whether or not a claim for mortgage

                                                 F-12


                                                                                       GARCIA 04413
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page233
                                                              142of
                                                                 of314
                                                                    223




insurance benefits has been or is in the future submitted), under the Financial Institutions Reform,

Recovery, and Enforcement Act (“FIRREA”), the False Claims Act, the Racketeer Influenced and

Corrupt Organizations Act, the Real Estate Settlement Procedures Act, the Fair Credit Reporting

Act, the Fair Debt Collection Practices Act, the Truth in Lending Act, the Interstate Land Sales

Full Disclosure Act, 15 U.S.C. § 1691(d) (“Reason for Adverse Action”) or § 1691(e)

(“Appraisals”), sections 502 through 509 (15 U.S.C. § 6802-6809) of the Gramm-Leach Bliley

Act except for section 505 (15 U.S.C. § 6805) as it applies to section 501(b) (15 U.S.C. §

6801(b)), or that the Civil Division of the United States Department of Justice has actual and

present authority to assert and compromise pursuant to 28 C.F.R. § 0.45.


                        (b)     Subject to the exceptions in Paragraph 11 (concerning excluded

claims) below, the United States fully and finally releases the COMPANY and any current or

former affiliated entity (to the extent the COMPANY retains liabilities associated with such

former affiliated entity), and any of their respective successors or assigns, as well as any current

or former director, current or former officer, or current or former employee of any of the

foregoing, individually and collectively, from any civil or administrative claims the United States

has or may have, and from any civil or administrative remedies or penalties (expressly including

punitive or exemplary damages) it may seek or impose, based on the Covered Origination

Conduct that has taken place as of 11:59 p.m., Eastern Standard Time, on February 8, 2012, under

the Real Estate Settlement Procedures Act, the Fair Credit Reporting Act, the Truth in Lending

Act, 15 U.S.C. § 1691(d) (“Reason for Adverse Action”) or § 1691(e) (“Appraisals”), or the

Interstate Land Sales Full Disclosure Act.


                                                 F-13


                                                                                       GARCIA 04414
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page234
                                                              143of
                                                                 of314
                                                                    223




                        (c)     Subject to the exceptions in Paragraph 11 (concerning excluded

claims) below, the United States fully and finally releases the COMPANY and any current or

former affiliated entity (to the extent the COMPANY retains liability associated with such former

affiliated entity), and any of their respective successors or assigns, as well as any current or

former director, current or former officer, and current or former employee of any of the foregoing,

individually and collectively, from any civil or administrative claims the United States has or may

have, and from any civil or administrative remedies or penalties (expressly including punitive or

exemplary damages) it may seek to impose under FIRREA based on the Covered Origination

Conduct only to the extent that:


                                (i)     such claim is (A) based upon false, misleading or

                fraudulent representations (or a scheme to defraud consisting solely of such a

                false, misleading or fraudulent representation) made by the COMPANY or

                affiliated entity as of 11:59 p.m., Eastern Standard Time, on February 8, 2012, to

                a borrower in connection with the COMPANY’s or affiliated entity’s making of a

                residential mortgage loan to such borrower; or (B) an action pursuant to 12 U.S.C.

                § 1833a(c)(2) in which the action is consisting solely of the allegation that the

                COMPANY or one of its affiliated entities made a false statement or

                misrepresentation (or engaged in a scheme to defraud based solely upon such a

                false statement or misrepresentation) to the COMPANY or another affiliated

                entity, as of 11:59 p.m., Eastern Standard Time, on February 8, 2012, in

                connection with the COMPANY’s or affiliated entity’s making of a residential

                mortgage loan to a borrower; and
                                              F-14


                                                                                        GARCIA 04415
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page235
                                                              144of
                                                                 of314
                                                                    223




                               (ii)    (A) the only federally insured financial institution that was

                affected by the statement or misrepresentation (or scheme), or by actions based

                on, incorporating, or omitting the statement or misrepresentation (or scheme) was

                the COMPANY or an affiliated entity; (B) the false statement or

                misrepresentation (or scheme) was not made to, directed at, or part of a scheme to

                defraud, any person or entity other than or in addition to the borrower and/or the

                COMPANY or an affiliated entity, including, but not limited to, any other

                financial institution (as defined in 18 U.S.C. § 20), investors, and governmental

                entities; (C) the false statement or misrepresentation (or scheme), or actions based

                on, incorporating, or omitting the statement or misrepresentation (or scheme) did

                not harm any other financial institution (as defined in 18 U.S.C. § 20), investors,

                governmental entities, or any other entities other than the COMPANY or an

                affiliated entity; and (D) there was no material monetary effect on an agency of

                the United States.


                (3)


                        (a)    Subject to the exceptions in Paragraph 11 (concerning excluded

claims) below, the United States Department of Housing and Urban Development fully and

finally releases the COMPANY and any current or former affiliated entity (to the extent the

COMPANY retains liabilities associated with such former affiliated entity), and any of their

respective successors or assigns, as well as any current or former director, current or former

officer, and current or former employee of any of the foregoing, individually and collectively,

                                                F-15


                                                                                      GARCIA 04416
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page236
                                                              145of
                                                                 of314
                                                                    223




from any civil or administrative claims it has or may have, and from any civil or administrative

remedies or penalties (expressly including punitive or exemplary damages) it may seek or impose,

based on the Covered Servicing Conduct with respect to FHA loans that has taken place as of

11:59 p.m., Eastern Standard Time, on February 8, 2012 (and, for the avoidance of doubt, with

respect to FHA-insured loans, whether or not a claim for mortgage insurance benefits has been or

is in the future submitted). Notwithstanding the foregoing, in no instance shall this Release

relieve the COMPANY or any affiliated entity from the obligation to remedy, upon identification,

defects of title or such other problems caused by the acts or omissions of the COMPANY or any

affiliated entity that may preclude FHA from accepting assignment or paying a claim for which

FHA lacks statutory authority pursuant to 12 U.S.C. § 1707(a) and § 1710(a)(1)(B), in which case

FHA shall reconvey the property back to the COMPANY or the affiliated entity to remedy the

defect in title or such other problem and the COMPANY or the affiliated entity shall convey the

property back to FHA once the defect or problem is cured. Further, nothing in this Release shall

relieve COMPANY or affiliated entity of any obligation to provide FHA with any and all

mortgage insurance premium payments that have been or should have been collected, plus

interest, if any. Notwithstanding any other provision of this Release, FHA shall calculate the

payment of insurance benefits for any insured mortgage in accordance with its regulations.


                        (b)     Subject to the exceptions in Paragraph 11 (concerning excluded

claims) below, the United States fully and finally releases the COMPANY and any current or

former affiliated entity (to the extent the COMPANY retains liabilities associated with such

former affiliated entity), and any of their respective successors or assigns, as well as any current

or former director, current or former officer, and current or former employee of any of the
                                                 F-16


                                                                                       GARCIA 04417
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page237
                                                              146of
                                                                 of314
                                                                    223




foregoing, individually and collectively, from any civil or administrative claims it has or may

have and from any civil or administrative remedies or penalties (expressly including punitive or

exemplary damages) it may seek or impose under FIRREA, the False Claims Act, and the

Program Fraud Civil Remedies Act where the sole basis for such claim or claims is that the

COMPANY or any current or former affiliated entity (to the extent the COMPANY retains

liabilities associated with such former affiliated entity) or any of their respective successors or

assigns, submitted to HUD-FHA prior to 11:59 p.m., Eastern Standard Time, on February 8, 2012

a false or fraudulent annual certification that the mortgagee had “conform[ed] to all HUD-FHA

regulations necessary to maintain its HUD-FHA approval” (including, but not limited to, the

requirement that the mortgagee implement and maintain a quality control program that conforms

to HUD-FHA requirements), or “complied with and agree[d] to continue to comply with HUD-

FHA regulations, handbooks, Mortgagee Letters, Title I Letters, policies, and terms of any

agreements entered into with the Department under HUD’s Direct Endorsement Program.” For

avoidance of doubt, this Paragraph means that the United States is barred from asserting that a

false annual certification renders the COMPANY or any current or former affiliated entity (to the

extent the COMPANY retains liabilities associated with such former affiliated entity) liable under

the False Claims Act and the other laws cited above for loans endorsed by the COMPANY or its

affiliated entity for FHA insurance during the period of time applicable to the annual certification

without regard to whether any such loans contain material violations of HUD-FHA requirements,

or that a false individual loan certification that “this mortgage is eligible for HUD mortgage

insurance under the Direct Endorsement program” renders the COMPANY or any current or

former affiliated entity (to the extent the COMPANY retains liabilities associated with such

                                                 F-17


                                                                                        GARCIA 04418
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page238
                                                              147of
                                                                 of314
                                                                    223




former affiliated entity) liable under the False Claims Act for any individual loan that does not

contain a material violation of HUD-FHA requirements. However, this Paragraph does not (i)

release, bar or otherwise preclude the right of the United States to pursue any civil or

administrative claims or remedies it has or may have, or release or preclude under res judicata or

collateral estoppel theories any civil or administrative remedies or penalties it may seek or

impose, against the COMPANY, any current or former affiliated entity (to the extent the

COMPANY retains liabilities associated with such former affiliated entity), and any of their

respective successors or assigns, for conduct with respect to the insurance of residential mortgage

loans that violates any laws, regulations or other HUD-FHA requirements applicable to the

insurance of residential mortgage loans by HUD, including, but not limited to, material violations

of any applicable HUD-FHA requirements with respect to an individual loan or loans, except if

and to the extent such claim, remedy or penalty is based solely on such entity’s failure to provide

HUD with an accurate annual certification as described above; (ii) release or otherwise bar the

United States from introducing evidence of any alleged failure to comply with applicable HUD-

FHA requirements, including, but not limited to, sufficient quality control, underwriting or due

diligence programs, in any way (including, but not limited to, for the purpose of proving intent) in

connection with any claim that there was a material violation(s) of applicable HUD-FHA

requirements with respect to an individual loan or loans that would subject the COMPANY or an

affiliated entity to liability under the False Claims Act or any other federal statutory or common

law administrative or judicial claim; or (iii) permit the COMPANY or its affiliates to offset or

otherwise reduce any potential liability for such claims or remedies by any amount paid under the

Consent Judgment. The parties agree that the issue of whether and to what extent the United

                                                F-18


                                                                                      GARCIA 04419
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page239
                                                              148of
                                                                 of314
                                                                    223




States may use statistical sampling of individual loans or similar techniques for calculating

damages or proving material violations of HUD-FHA underwriting requirements with respect to a

pool of loans is not addressed by the Consent Judgment and shall be governed by the law of the

relevant administrative or judicial forum of any future dispute. Notwithstanding the foregoing, in

no instance shall this Release relieve the COMPANY or any affiliated entity from the obligation

to remedy, upon identification, defects of title or such other problems caused by the acts or

omissions of the COMPANY or an affiliated entity that may preclude FHA from accepting

assignment or paying a claim for which FHA lacks statutory authority pursuant to 12 U.S.C. §

1707(a) and § 1710(a)(1)(B), in which case FHA shall reconvey the property back to the

COMPANY or affiliated entity to remedy the defect in title or such other problem and the

COMPANY or affiliated entity shall convey the property back to FHA once the defect or problem

is cured.


                (4)    Subject to the exceptions in Paragraph 11 (concerning excluded claims)

below, for loans that closed before 11:59 p.m., Eastern Standard Time, on February 8, 2012 and

are guaranteed by the Department of Veterans Affairs (VA), the United States fully and finally

releases the COMPANY and any current or former affiliated entity (to the extent the

COMPANY retains liabilities associated with such former affiliated entity), and any of their

respective successors or assigns, as well as any current or former director, current or former

officer, and current or former employee of any of the foregoing, individually and collectively,

from any civil or administrative claims it has or may have based on Covered Origination

Conduct that arises under FIRREA, the False Claims Act, or the Program Fraud Civil Remedies

Act to the extent that they are based on any failure by the COMPANY or any current or former
                                                F-19


                                                                                     GARCIA 04420
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page240
                                                             149of
                                                                of314
                                                                   223




affiliated entity and any of their respective successors or assigns, as well as any current or former

director, current or former officer, and current or former employee of any of the foregoing,

individually and collectively, to conform to all VA regulations necessary to maintain the

authority of the COMPANY or any current or former affiliated entity to close VA-guaranteed

loans on an automatic basis. Nothing in the foregoing shall be interpreted to release the right of

the United States to pursue any civil or administrative claims it has or may have, or to release

any civil or administrative remedies or penalties it may seek or impose, against the COMPANY,

any current or former affiliated entity (to the extent the COMPANY retains liabilities associated

with such former affiliated entity), and any of their respective successors or assigns, based on

Covered Origination Conduct that violates the laws or regulations applicable to the guaranty of

residential mortgage loans by VA with respect to any residential mortgage loan or loans, except

if and to the extent such claim, remedy or penalty is based on such entity’s failure to provide VA

with an accurate general program compliance certification, to implement an effective quality

control plan, or to conform to all VA regulations necessary to maintain the authority of the

COMPANY or any current or former affiliated entity to close VA-guaranteed loans on an

automatic basis.


               (5)     Subject to the exceptions in Paragraph 11 (concerning excluded claims)

below, for loans that closed before 11:59 p.m., Eastern Standard Time, on February 8, 2012 and

are guaranteed by the Department of Agriculture (USDA), the United States fully and finally

releases the COMPANY and any current or former affiliated entity (to the extent the

COMPANY retains liabilities associated with such former affiliated entity), and any of their

respective successors or assigns, as well as any current or former director, current or former
                                               F-20


                                                                                      GARCIA 04421
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page241
                                                             150of
                                                                of314
                                                                   223




officer, and current or former employee of any of the foregoing, individually and collectively,

from any civil or administrative claims it has or may have against the COMPANY and any of

their respective successors or assigns, as well as any current or former director, current or former

officer, and current or former employee of any of the foregoing, individually and collectively,

based on Covered Origination Conduct that arises under FIRREA, the False Claims Act, or the

Program Fraud Civil Remedies Act to the extent that they are based on statements made in the

COMPANY’s or current or former affiliated entity’s application for approved lender status in the

Single Family Housing Guaranteed Loan Program. Nothing in the foregoing shall be interpreted

to release the right of the United States to pursue any civil or administrative claims it has or may

have, or to release any civil or administrative remedies or penalties it may seek or impose,

against the COMPANY, any current or former affiliated entity (to the extent the COMPANY

retains liabilities associated with such former affiliated entity), and any of their respective

successors or assigns, based on Covered Origination Conduct that violates the laws or

regulations applicable to the guaranty of residential mortgage loans by USDA with respect to any

residential mortgage loan or loans, except if and to the extent such claim, remedy or penalty is

based on such entity’s failure to provide USDA with an accurate general program compliance

certification, to implement an effective quality control plan, or on statements made in the

COMPANY’s or current or former affiliated entity’s application for approved lender status in the

Single Family Housing Guaranteed Loan Program.


               (6)     Subject to the exceptions described in this Paragraph 6 and in Paragraph

11 (concerning excluded claims) below, the United States Department of the Treasury

(“Treasury”) fully and finally releases the COMPANY and any current or former affiliated entity
                                              F-21


                                                                                       GARCIA 04422
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page242
                                                             151of
                                                                of314
                                                                   223




(to the extent the COMPANY retains liabilities associated with such former affiliated entity), and

any of their respective successors or assigns, as well as any current or former director, current or

former officer, and current or former employee of any of the foregoing, individually and

collectively, and will refrain from instituting, directing, or maintaining any civil or

administrative claims the Treasury has or may have, and from any civil remedies or penalties

(expressly including punitive or exemplary damages) it may seek or impose against the

COMPANY and any current or former affiliated entity (to the extent the COMPANY retains

liabilities associated with such former affiliated entity), and any of their respective successors or

assigns, as well as any current or former director, current or former officer, and current or former

employee of any of the foregoing, individually and collectively, based on the Covered Servicing

Conduct that has taken place as of 11:59 p.m., Eastern Standard Time, on February 8, 2012;

furthermore, as of February 8, 2012, Treasury is withholding Making Home Affordable servicer

incentive payments from the COMPANY or any current or former affiliated entity, and, upon the

immediately succeeding Making Home Affordable Program incentive payment date, Treasury

shall release and remit to the COMPANY and any current or former affiliated entity all

outstanding Making Home Affordable Program servicer incentive payments previously withheld

by Treasury. Notwithstanding the foregoing, Treasury, in connection with the Making Home

Affordable Program, reserves the right to continue to perform compliance reviews on the

COMPANY’s Making Home Affordable Program activities occurring prior to February 8, 2012,

to require non-financial remedies with respect to such activities, and to publicly release servicer

assessments with respect thereto. If, as the result of any such compliance review occurring after

February 8, 2012, Treasury determines that the COMPANY or any of its affiliated entities have

                                                F-22


                                                                                          GARCIA 04423
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page243
                                                             152of
                                                                of314
                                                                   223




not adequately corrected identified instances of noncompliance that occurred prior to the date

specified in the first sentence of this Paragraph and were communicated to COMPANY or any of

its affiliated entities by Treasury in a letter dated March 9, 2012, Treasury reserves the right to

adjust any Making Home Affordable Program incentive payments made or owed to the

COMPANY or any of its affiliated entities with respect to those identified instances of

noncompliance. In addition, with respect to instances of noncompliance that occur after

February 8, 2012, Treasury reserves the right to exercise all available remedies, both financial

and non-financial, under the Making Home Affordable Program Commitment to Purchase

Financial Instrument and Servicer Participation Agreement, as amended, between Treasury and

COMPANY or any of its affiliated entities (“the SPA”).


               (7)     Subject to the exceptions in Paragraph 11 (concerning excluded claims)

below, the Bureau of Consumer Financial Protection (“CFPB”) fully and finally releases the

COMPANY and any current or former affiliated entity (to the extent such COMPANY retains

liabilities associated with such former affiliated entity), and any of their respective successors or

assigns as well as any current or former director, current or former officer, and current or former

employee of any of the foregoing, individually and collectively, and will refrain from instituting,

directing, or maintaining any civil or administrative claims the CFPB has or may have, and from

any civil remedies or penalties (expressly including punitive or exemplary damages) it may seek

or impose against the COMPANY and any current or former affiliated entity (to the extent the

COMPANY retains liabilities associated with such former affiliated entity), and any of their

respective successors or assigns, as well as any current or former director, current or former

officer, or current or former employee of any of the foregoing, individually and collectively,
                                               F-23


                                                                                      GARCIA 04424
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page244
                                                             153of
                                                                of314
                                                                   223




based on Covered Servicing Conduct or Covered Origination Conduct that has taken place prior

to July 21, 2011. Notwithstanding the foregoing, the CFPB reserves the right to obtain

information related to conduct that occurred prior to July 21, 2011 under its authority granted by

Title X of the Dodd-Frank Wall Street Reform and Consumer Protection Act.


               (8)     Subject to the exceptions in Paragraph 11 (concerning excluded claims)

below, and conditioned upon the full payment of the Direct Payment Settlement Amount, the

Federal Trade Commission fully and finally releases the COMPANY and any current or former

affiliated entity (to the extent the COMPANY retains liabilities associated with such former

affiliated entity), and any of their respective successors or assigns, as well as any current or

former director, current or former officer, and current or former employee of any of the

foregoing, individually and collectively, from any civil or administrative claim the Federal Trade

Commission has or may have, or civil or administrative remedies or penalties (expressly

including punitive or exemplary damages) it may seek or impose, based on the Covered

Origination Conduct that has taken place as of 11:59 p.m., Eastern Standard Time, on February

8, 2012, or based on the Covered Servicing Conduct that has taken place as of 11:59 p.m.,

Eastern Standard Time, on February 8, 2012, provided, however, that nothing in this Paragraph

or Release shall be interpreted to release any liability to the Federal Trade Commission relating

to the Covered Servicing Conduct or Covered Origination Conduct of any affiliated entity that

the COMPANY has acquired on or after November 30, 2011, or, notwithstanding Section C.3.i

of this Release, any conduct or claims involving the privacy, security, or confidentiality of

consumer information.


                                                F-24


                                                                                       GARCIA 04425
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page245
                                                              154of
                                                                 of314
                                                                    223




                (9)     Subject to the exceptions in Paragraph 11 (concerning excluded claims)

below:


                        (a)    Upon the Effective Date of the Consent Judgment, the Executive

Office for United States Trustees (“EOUST”) and the United States Trustees and Acting United

States Trustees for Regions 1 through 21 (collectively, with the EOUST, “the United States

Trustees”) will consent to and agree to take such steps as may be reasonably necessary to fully

and finally withdraw or facilitate the dismissal with prejudice of pending objections and other

actions by the United States Trustees, including all related discovery requests, whether formal or

informal, and requests for examination under Fed. R. Bankr. P. 2004 (collectively, “the Discovery

Requests”) and subpoenas or subpoenas duces tecum (collectively, “the Subpoenas”), directed to

or filed against the COMPANY, its affiliates, and employees and officers of the COMPANY and

its affiliates, pertaining to the COMPANY’s or its affiliates’ mortgage-related claims filed in a

bankruptcy case prior to 11:59 p.m., Eastern Standard Time, on February 8, 2012 and based on

the Covered Bankruptcy Conduct. The United States Trustees further agree not to take any action

to obtain discovery from the COMPANY or any affiliated entity pursuant to any court order

granting such Discovery Requests or with respect to enforcing related Subpoenas pending as of

11:59 p.m., Eastern Standard Time, on February 8, 2012. Upon the Effective Date of the Consent

Judgment, the United States Trustees further agree to take such steps as may be reasonably

necessary to fully and finally withdraw or facilitate the dismissal with prejudice of Discovery

Requests and Subpoenas directed to or filed against any other party where the discovery was

sought for the purpose of obtaining relief against the COMPANY, its affiliates, or employees and

officers of the COMPANY or its affiliates, and pertains to the COMPANY’s or its affiliates’
                                              F-25


                                                                                      GARCIA 04426
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page246
                                                              155of
                                                                 of314
                                                                    223




mortgage-related claims filed in a bankruptcy case prior to 11:59 p.m., Eastern Standard Time, on

February 8, 2012 and based on the Covered Bankruptcy Conduct, except that nothing in this

Paragraph requires the United States Trustee to withdraw or facilitate the dismissal of Discovery

Requests and Subpoenas to the extent that relief against another party, other than the COMPANY,

its affiliates, or employees and officers of the COMPANY or its affiliates, is the purpose of such

discovery.


                        (b)    Upon the Effective Date of the Consent Judgment, the COMPANY

and its affiliated entities will consent to and agrees to take such steps as may be reasonably

necessary to fully and finally withdraw or facilitate the dismissal with prejudice of pending

adversary proceedings, contested matters, appeals, and other actions filed by the COMPANY or

its affiliated entities, including all Discovery Requests and Subpoenas directed to or filed against

any United States Trustee, relating to objections and other actions by the United States Trustees,

including Discovery Requests and Subpoenas, directed to or filed against the COMPANY, its

affiliated entities, or employees and officers of the COMPANY or its affiliated entities pertaining

to the COMPANY’s or its affiliated entities’ mortgage-related claims filed in a bankruptcy case

prior to 11:59 p.m., Eastern Standard Time, on February 8, 2012 and based on the Covered

Bankruptcy Conduct. The COMPANY and its affiliated entities further agree not to take any

action to obtain discovery from the United States Trustees pursuant to any court order granting

such Discovery Requests or with respect to enforcing related Subpoenas pending as of 11:59 p.m.,

Eastern Standard Time, on February 8, 2012.




                                                F-26


                                                                                      GARCIA 04427
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page247
                                                              156of
                                                                 of314
                                                                    223




                        (c)     The United States Trustees fully and finally release any claims,

and will refrain from instituting, directing or maintaining any action or participating in any action

by a third party (except that the United States Trustees may participate in an action to the extent

ordered by a court provided that the United States Trustees may not seek such a court order

formally or informally), against the COMPANY and any current or former affiliated entity (to the

extent the COMPANY retains liabilities associated with such former affiliated entity), and any of

their respective successors or assigns, as well as any current or former director, current or former

officer, and current or former employee of any of the foregoing, individually and collectively,

pertaining to the COMPANY’s or its affiliated entities’ mortgage-related claims filed in a

bankruptcy case prior to 11:59 p.m., Eastern Standard Time, on February 8, 2012 and based on

the Covered Bankruptcy Conduct. The United States Trustees shall refrain from sharing

information obtained via the Discovery Requests and Subpoenas outside the federal government

(unless required to do so under applicable law or pursuant to a court order) in support of any

action, against the COMPANY, or any current or former affiliated entity (to the extent the

COMPANY retains liabilities associated with such former affiliated entity), and any of their

respective successors or assigns, as well as any current or former director, current or former

officer, and current or former employee of any of the foregoing, individually and collectively,

pertaining to the COMPANY’s or its affiliated entities’ mortgage-related claims filed in a

bankruptcy case prior to 11:59 p.m., Eastern Standard Time, on February 8, 2012 and based on

the Covered Bankruptcy Conduct. Except as otherwise provided in the Enforcement Terms in

Exhibit E of the Consent Judgment, the United States Trustees further agree to refrain from

seeking to invalidate the COMPANY’s or its affiliates’ lien on residential real property, including

                                                F-27


                                                                                      GARCIA 04428
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page248
                                                              157of
                                                                 of314
                                                                    223




in an adversary proceeding pursuant to Fed. R. Bank. P. 7001(2) and 11 U.S.C. § 506, or to

impose monetary sanctions or other punitive relief against the COMPANY, and any current or

former affiliated entity (to the extent the COMPANY retains liabilities associated with such

former affiliated entity), and any of their respective successors or assigns, as well as any current

or former director, current or former officer, and current or former employee of any of the

foregoing, individually and collectively, pertaining to the COMPANY’s or its affiliated entities

mortgage-related claims filed in a bankruptcy case after 11:59 p.m., Eastern Standard Time, on

February 8, 2012 and based on the Covered Bankruptcy Conduct where the Covered Bankruptcy

Conduct occurred before 11:59 p.m., Eastern Standard Time, on February 8, 2012.


                        (d)     Notwithstanding the foregoing, nothing in this Paragraph shall be

construed to be (1) a waiver of any defenses or claims of the COMPANY, its affiliates, or

employees and officers of the COMPANY or its affiliates, against any other party, or a dismissal

of any pending adversary proceedings, contested matters, appeals, and other actions filed by the

COMPANY, its affiliates, or employees and officers of the COMPANY or its affiliates, against

any other party, wherein the United States Trustee is a party or otherwise involved; (2) a waiver

of any defenses or claims of the United States Trustee against any other party, or a dismissal of

any pending adversary proceedings, contested matters, appeals, and other actions filed by the

United States Trustee against any other party wherein the COMPANY, its affiliates, or employees

and officers of the COMPANY or its affiliates, is a party or otherwise involved; or (3) a waiver

of, or restriction or prohibition on, the United States Trustees’ ability, to the extent permitted by

law, informally or formally, in individual bankruptcy cases, to seek a cure of material

inaccuracies in the COMPANY’s or its affiliates’ mortgage-related claims filed in a bankruptcy
                                              F-28


                                                                                        GARCIA 04429
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page249
                                                              158of
                                                                 of314
                                                                    223




case and based on the Covered Bankruptcy Conduct, but not to impose monetary sanctions or

other punitive relief against the COMPANY or its affiliates in addition to such cure; provided,

however, that this provision shall not constitute a waiver of, or restriction or prohibition on, the

COMPANY’s or its affiliates’ ability to dispute whether the United States Trustees have authority

or ability to seek such a cure.


                (10)    For the purposes of this Release, the term “affiliated entity” shall mean

entities that are directly or indirectly controlled by, or control, or are under common control with,

the COMPANY as of or prior to 11:59 p.m., Eastern Standard Time, on February 8, 2012. The

term “control” with respect to an entity means the beneficial ownership (as defined in Rule 13d-3

promulgated under the Securities Exchange Act of 1934, as amended) of 50 percent or more of

the voting interest in such entity.


                (11)    Notwithstanding any other term of this Release, the following claims of

the United States are specifically reserved and are not released:


                        (a)       Any liability arising under Title 26, United States Code (Internal

Revenue Code);


                        (b)       Any liability of individuals (including current or former directors,

officers, and employees of the COMPANY or any affiliated entity) who have received or receive

in the future notification that they are the target of a criminal investigation (as defined in the

United States Attorneys’ Manual); have been or are indicted or charged; or have entered or in the

future enter into a plea agreement, based on the Covered Servicing Conduct, the Covered

                                                  F-29


                                                                                         GARCIA 04430
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page250
                                                              159of
                                                                 of314
                                                                    223




Origination Conduct, and the Covered Bankruptcy Conduct (collectively, the “Covered

Conduct”);


                         (c)     Any criminal liability;


                         (d)     Any liability to the United States for any conduct other than the

Covered Conduct, or any liability for any Covered Conduct that is not expressly released herein;


                         (e)     Any and all claims whether legal or equitable, in connection with

investors or purchasers in or of securities or based on the sale, transfer or assignment of any

interest in a loan, mortgage, or security to, into, or for the benefit of a mortgage-backed security,

trust, special purpose entity, financial institution, investor, or other entity, including but not

limited to in the context of a mortgage securitization or whole loan sale to such entities

(“Securitization/Investment Claims”). Securitization/Investment Claims include, but are not

limited to, claims based on the following, all in connection with investors or purchasers in or of

securities or in connection with a sale, transfer, or assignment of any interest in loan, mortgage or

security to, into, or for the benefit of a mortgage-backed security, trust, special purpose entity,

financial institution, investor, or other entity:


                                 (i)     The United States’ capacity as an owner, purchaser, or

                 holder of whole loans, securities, derivatives, or other similar investments,

                 including without limitation, mortgage backed securities, collateralized debt

                 obligations, or structured investment vehicles.




                                                    F-30


                                                                                         GARCIA 04431
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page251
                                                        160of
                                                           of314
                                                              223




                      (ii)    The creation, formation, solicitation, marketing,

       assignment, transfer, valuation, appraisal, underwriting, offer, sale, substitution,

       of or issuance of any interest in such whole loans, mortgages, securities,

       derivatives, or other similar investments.


                      (iii)   Claims that the COMPANY or an affiliated entity made

       false or misleading statements or omissions, or engaged in other misconduct in

       connection with the sale, transfer or assignment of any interest in a loan,

       mortgage, or security or in connection with investors or purchasers in or of such

       loans, mortgages, or securities, including but not limited to conduct that affected a

       federally insured financial institution or violated a legal duty to a mortgage-

       backed security, trust, special purpose entity, financial institution, or investor

       (including the United States), or governmental agency and/or that subjects the

       COMPANY or an affiliated entity to a civil penalty or other remedy under 12

       U.S.C. § 1833a.


                      (iv)    Representations, warranties, certifications, statements, or

       claims made regarding such whole loans, securities, derivatives or other similar

       investments, including representations, warranties, certifications or claims

       regarding the eligibility, characteristics, or quality of mortgages or mortgagors;


                      (v)     Activities related to the executing, notarizing, transferring

       or recording of mortgages; the endorsement or transfer of a loan; and the

       obtaining, executing, notarizing, transferring or recording of assignments;
                                        F-31


                                                                               GARCIA 04432
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page252
                                                        161of
                                                           of314
                                                              223




                      (vi)    Obtaining, securing, updating, transferring, or providing

       promissory notes or endorsements of promissory notes through allonges or

       otherwise;


                      (vii)   Custodial and trustee functions;


                      (viii) Intentional or fraudulent failure to pay investors sums owed

       with respect to any security, derivatives, or similar investment;


                      (ix)    Contractual covenants, agreements, obligations and legal

       duties to a mortgage-backed security, trust, special purpose entity, financial

       institution, investor, or other entity (including the United States);


                      (x)     Covered Origination Conduct (except to the extent such

       conduct is released in Paragraphs 3.b, 4 or 5); and


                      (xi)    Covered Servicing Conduct to the extent the COMPANY

       or any affiliated entity engaged in the Covered Servicing Conduct in question not

       in its capacity as servicer, subservicer or master servicer, but in its capacity as the

       originator of a mortgage loan or as seller, depositor, guarantor, sponsor,

       securitization trustee, securities underwriter, document custodian or any other

       capacity.




                                        F-32


                                                                               GARCIA 04433
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page253
                                                             162of
                                                                of314
                                                                   223




       The exclusion set forth above in this Paragraph shall not apply to

Securitization/Investment Claims based on the following conduct, and such claims are included

in what is being released:

               Securitization/Investment Claims based on Covered Servicing Conduct by the

               COMPANY or any current or former affiliated entity where: (1) such conduct was

               performed by the COMPANY or any affiliated entity in its capacity as the loan

               servicer, master servicer or subservicer, whether conducted for its own account or

               pursuant to a third party servicing agreement or similar agreement, and not in its

               capacity as loan originator, seller, depositor, guarantor, sponsor, securitization

               trustee, securities underwriter, or any other capacity; and (2) such conduct was not

               in connection with (x) the creation, formation, solicitation, marketing, sale,

               assignment, transfer, offer, sale, substitution, underwriting, or issuance of any

               interest in securities, derivatives or other similar investments or (y) the sale or

               transfer of mortgage loans. The claims addressed in this sub-paragraph include,

               without limitation, Securitization and Investment Claims that the party seeking to

               enforce a mortgage loan against a borrower and homeowner in respect of that

               borrower’s default did not have a documented enforceable interest in the

               promissory note and mortgage or deed of trust under applicable state law or is

               otherwise not a proper party to the foreclosure or bankruptcy action or claims

               based on such party’s attempts to obtain such a documented enforceable interest

               or become such a proper party.



                                                F-33


                                                                                       GARCIA 04434
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page254
                                                              163of
                                                                 of314
                                                                    223




                        (f)     Any liability arising under Section 8 of the Real Estate Settlement

Procedures Act, 12 U.S.C. § 2607, relating to private mortgage insurance, with respect to claims

brought by the CFPB;


                        (g)     Except with respect to claims related to the delivery of initial or

annual privacy notices, requirements with respect to the communication of non-public personal

information to non-affiliated third parties, or other conduct required by Sections 502 through 509

of the Gramm-Leach-Bliley Act (15 U.S.C. §§ 6802-6809), any claims or conduct involving the

obligation of a financial institution under Section 501(b) of the Gramm-Leach-Bliley Act (15

U.S.C. s. 6801(b)) and its implementing regulations to maintain administrative, technical, and

physical information security safeguards;


                        (h)     Any liability arising under the Fair Housing Act; any provision of

the Equal Credit Opportunity Act that is not expressly released in Paragraph 2 of this Release,

including any provision prohibiting discriminatory conduct; the Home Mortgage Disclosure Act;

or any other statute or law that prohibits discrimination of persons based on race, color, national

origin, gender, disability, or any other protected status;


                        (i)     Administrative claims, proceedings, or actions brought by HUD

against any current or former director, officer, or employee for suspension, debarment or

exclusion from any HUD program;


                        (j)     Any liability arising under the federal environmental laws;




                                                  F-34


                                                                                       GARCIA 04435
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page255
                                                              164of
                                                                 of314
                                                                    223




                         (k)     Any liability to or claims brought by (i) the Federal Housing

Finance Agency; (ii) any Government Sponsored Enterprise, including the Federal National

Mortgage Association and the Federal Home Loan Mortgage Corporation (except where the

Government Sponsored Enterprise seeks to impose such liability or pursue such claims in its

capacity as an administrator of the Making Home Affordable Program of Treasury); (iii) the

Federal Deposit Insurance Corporation (whether in its capacity as a Corporation, Receiver, or

Conservator); (iv) the Government National Mortgage Association (“Ginnie Mae”) arising out of

COMPANY’s contractual obligations related to serving as Master Subservicer on defaulted

Ginnie Mae portfolios, including claims for breach of such obligations; (v) the CFPB with respect

to claims within its authority as of the designated transfer date of July 21, 2011 that are not

expressly released in Paragraph 7; (vi) the National Credit Union Administration, whether in its

capacity as a Federal agency, Liquidating Agent, or Conservator; (vii) the Securities and

Exchange Commission; (viii) the Federal Reserve Board and its member institutions; (ix) Maiden

Lane LLC, Maiden Lane II LLC, Maiden Lane III LLC, entities that are consolidated for

accounting purposes on the financial statements of the Federal Reserve Bank of New York, and

the Federal Reserve Bank of New York; (x) the Office of the Comptroller of the Currency; (xi)

the USDA (except to the extent claims are released in Paragraph 5); (xii) the VA (except to the

extent claims are released in Paragraph 4); (xiii) the Commodity Futures Trading Commission;

and (xvi) the Inspectors General of such entities;


                         (l)     Any liability to the United States for the following claims alleged

against Wells Fargo, Inc., or any of its current or former subsidiaries, affiliates, officers, directors,


                                                  F-35


                                                                                         GARCIA 04436
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page256
                                                              165of
                                                                 of314
                                                                    223




employees or agents, including but not limited to Wells Fargo Bank, National Association, or any

other entity or person:


                                (i)     All claims or allegations based on any conduct alleged in

                United States ex rel. [Under Seal] v. [Under Seal], 2:11-cv-00535-RLH-RJJ (D.

                Nev.);


                                (ii)    All claims or allegations based on any conduct alleged in

                United States ex rel. Szymoniak v. [Under Seal], Civ. No. 0:10-cv-01465 (D.S.C.)

                or in United States ex rel. Szymoniak v. [Under Seal], Civ. No. 3:10-cv-575

                (W.D.N.C.), except any such claims that are encompassed by the releases

                described in paragraphs 2 to 9, above, and not otherwise reserved from these

                releases in this agreement;


                                (iii)   All claims or allegations based on any conduct alleged in

                United States ex rel. Bibby et al. v. Wells Fargo Bank, National Association, Inc.

                et al., C.A. No. 1:06-CV-0547-AT (N.D. Ga.); and


                                (iv)    All claims or allegations based on any conduct alleged in

                United States of America ex rel. John Doe and Richard Roe v. Wells Fargo, C.A.

                No. CV-11-5457 (E.D.N.Y.);


                          (m)   Any action that may be taken by the appropriate Federal Banking

Agency (FBA), as defined in 12 U.S.C. § 1813(q), against COMPANY, any of its affiliated

entities, and/or any institution-affiliated party of COMPANY, as defined in 12 U.S.C. § 1813(u),
                                                F-36


                                                                                     GARCIA 04437
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page257
                                                              166of
                                                                 of314
                                                                    223




pursuant to 12 U.S.C. § 1818, and any action by the FBA to enforce the Consent Order issued

against the COMPANY by the FBA on April 13, 2011;


                       (n)    Any liability based upon obligations created by this Consent

Judgment;


                       (o)    The parties agree that notwithstanding any other provision of this

Release, the United States retains the right to investigate and sue the COMPANY and any

affiliated entity under FIRREA for any conduct, statements or omissions that are:


                              (i)     Made or undertaken in connection with either (a) the

               creation, formation, transfer, sale, conveyance, or securitization of mortgage-

               backed securities, derivatives, collateralized debt obligations and credit default

               swaps, or other similar securities or (b) the sale or transfer of mortgage loans;


                              (ii)    Made or undertaken by the COMPANY or an affiliated

               entity in its capacity as loan originator, seller, depositor, guarantor, sponsor,

               securitization trustee, securities underwriter, or any capacity other than as loan

               servicer, master servicer or subservicer, in connection with the origination

               (including Covered Origination Conduct), underwriting, due diligence, quality

               control, valuation, appraisal, pledging, substitution, recording, assignment, or

               securitization of mortgages, whole loans, mortgage-backed securities, derivatives,

               collateralized debt obligations and credit default swaps, or other similar securities




                                                F-37


                                                                                       GARCIA 04438
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page258
                                                             167of
                                                                of314
                                                                   223




               (except to the extent such conduct is released in Paragraphs 2.c, 3.b, 4 or 5 and

               not excluded from this Release in Subsections (a)-(n) of this Paragraph 11);


                               (iii)   Made to or directed at federal governmental entities (except

               to the extent such conduct is released in Paragraphs 2.a, 3.a, 3.b, 4 or 5 and not

               excluded from this Release in Subsections (a)-(n) of this Paragraph 11); or


                               (iv)    Based on (A) the failure by the COMPANY or affiliated

               entity to pay investors or trustees any sums received by the COMPANY or

               affiliated entity and owed to the investors and trustees with respect to any

               security, derivatives, or similar investment; (B) the failure by the COMPANY or

               affiliated entity to disclose that it failed to pay investors or trustees any sums

               received by the COMPANY or affiliated entity and owed to investors or trustees

               with respect to any security, derivatives, or similar investment; (C) the collection

               by the COMPANY or affiliated entity of money or other consideration from loan

               sellers with respect to loans that the COMPANY or an affiliated entity had sold to

               others or packaged into a security for sale to others; or (D) the failure by the

               COMPANY or affiliated entity to repurchase loans to the extent that it had a

               contractual obligation to repurchase.


The COMPANY and its affiliated entities agree that they have not been released from any

liability under FIRREA for such conduct or statements. To the extent that this reservation of

FIRREA claims is inconsistent with any other provision of this Release, the reservation of

FIRREA claims shall control. This reservation of FIRREA Claims shall not be construed to
                                                F-38


                                                                                       GARCIA 04439
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page259
                                                             168of
                                                                of314
                                                                   223




otherwise limit any other claim that the United States has against the COMPANY or its affiliated

entities, to alter the requirements of FIRREA, or to waive any defense available to the

COMPANY or its affiliated entities under existing law.

               (12)    For avoidance of doubt, this Release shall not preclude a claim by any

private individual or entity for harm to that private individual or entity, except for a claim

asserted by a private individual or entity under 31 U.S.C. § 3730(b) that is subject to this Release

and not excluded by Paragraph 11.


               (13)    The COMPANY and its affiliated entities waive and shall not assert any

defenses they may have to any criminal prosecution or administrative action based on the

Covered Conduct that may be based in whole or in part on a contention that, under the Double

Jeopardy Clause in the Fifth Amendment of the Constitution or under the Excessive Fines Clause

in the Eighth Amendment of the Constitution, this Release bars a remedy sought in such criminal

prosecution or administrative action. Nothing in this Paragraph or any other provision of this

Consent Judgment constitutes an agreement by the United States concerning the characterization

of the Federal Settlement Amount for purposes of Title 26, United States Code (Internal Revenue

Code).


               (14)    The COMPANY and any current or former affiliated entity, as well as any

current or former director, current or former officer, or current or former employee of any of the

foregoing, but only to the extent that the COMPANY and any current or former affiliated entity

possesses the ability to release claims on behalf of such individuals or entities, fully and finally

releases the United States and its employees from any claims based on the Covered Conduct to

                                                F-39


                                                                                       GARCIA 04440
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page260
                                                              169of
                                                                 of314
                                                                    223




the extent, and only to the extent, that such individual or entity is released from claims based on

that Covered Conduct under Paragraphs 2 through 9 of this Release and such claim is not

excluded under Paragraph 11 of this Release (including, for the avoidance of doubt, claims by

the entities listed in Paragraph 11(k)), as well as claims under the Equal Access to Justice Act, 28

U.S.C. § 2412 based on the United States’ investigation and prosecution of the foregoing

released claims. Nothing herein is intended to release claims for mortgage insurance or

mortgage guaranty payments or claims for payment for goods and services, such as incentive

payments under HAMP.


                (15)


                        (a)    Unallowable Costs Defined: All costs (as defined in the Federal

Acquisition Regulations, 48 C.F.R. § 31.205-47) incurred by or on behalf of the COMPANY and

any current or former affiliated entity (to the extent the COMPANY retains liabilities associated

with such former affiliated entity), any successor or assign, as well as any current or former

director, current or former officer, and current or former employee of any of the foregoing,

individually and collectively, in connection with:


                               (1)     the matters covered by the Consent Judgment;


                               (2)     the United States’ audits and civil investigations of the

                                       matters covered by the Consent Judgment;


                               (3)     the COMPANY’s and its affiliated entities’ investigation,

                                       defense, and corrective actions undertaken in response to
                                                F-40


                                                                                      GARCIA 04441
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page261
                                                              170of
                                                                 of314
                                                                    223




                                       the United States’ audit(s) and civil investigation(s) in

                                       connection with the matters covered by the Consent

                                       Judgment (including attorney’s fees);


                               (4)     the negotiation and performance of the Consent Judgment;

                                       and


                               (5)     the payments made to the United States or others pursuant

                                       to the Consent Judgment,


                                       are unallowable costs for government contracting purposes

                                       (“Unallowable Costs”).


                        (b)    Future Treatment of Unallowable Costs: Unallowable Costs will

be separately determined and accounted for by the COMPANY and its affiliated entities, and the

COMPANY and its affiliated entities shall not charge such Unallowable Costs directly or

indirectly to any contract with the United States.


                        (c)    Treatment of Unallowable Costs Previously Submitted for

Payment: Within 90 days of the Effective Date of the Consent Judgment, the COMPANY and its

affiliated entities shall identify and repay by adjustment to future claims for payment or otherwise

any Unallowable Costs included in payments previously sought by the COMPANY or any of its

affiliated entities from the United States. The COMPANY and its affiliated entities agree that the

United States, at a minimum, shall be entitled to recoup from any overpayment plus applicable

interest and penalties as a result of the inclusion of such Unallowable Costs on previously-
                                                F-41


                                                                                      GARCIA 04442
      Case
      Case1:12-cv-00361-RMC
           1:12-cv-00361-RMC Document
                             Document14-1
                                      1-2 Filed
                                          Filed03/12/12
                                                04/04/12 Page
                                                         Page262
                                                              171of
                                                                 of314
                                                                    223




submitted requests for payment. The United States reserves its rights to audit, examine, or re-

examine the COMPANY’s or affiliated entities’ books and records and to disagree with any

calculations submitted by the COMPANY or any of its affiliated entities regarding any

Unallowable Costs included in payments previously sought by the COMPANY or its affiliated

entities, or the effect of any such Unallowable Costs on the amount of such payments.


                (16)   The COMPANY and its affiliated entities agree to cooperate fully and

truthfully with the United States’ investigation of individuals and entities not released in this

Release. Upon reasonable notice, the COMPANY shall encourage, and agrees not to impair, the

reasonable cooperation of its directors, officers and employees, and shall use its reasonable

efforts to make available and encourage the cooperation of former directors, officers, and

employees for interviews and testimony, consistent with the rights and privileges of such

individuals.


                (17)   This Release is intended to be and shall be for the benefit only of the

Parties and entities and individuals identified in this Release, and no other party or entity shall

have any rights or benefits hereunder.


                (18)   Each party shall bear its own legal and other costs incurred in connection

with this matter, including the preparation and performance of this Consent Judgment.


                (19)   Each party and signatory to this Consent Judgment represents that it freely

and voluntarily enters into the Consent Judgment without any degree of duress or compulsion.




                                                F-42


                                                                                       GARCIA 04443
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page263
                                                             172of
                                                                of314
                                                                   223




                (20)    This Release is governed by the laws of the United States. The exclusive

jurisdiction and venue for any dispute arising out of matters covered by this Release is the United

States District Court for the District of Columbia. For purposes of construing this Release, this

Release shall be deemed to have been drafted by all the Parties and shall not, therefore, be

construed against any party for that reason in any subsequent dispute.


                (21)    The Consent Judgment constitutes the complete agreement between the

Parties as to the matters addressed herein. The Consent Judgment may not be amended except

by written consent of the Parties.


                (22)    The undersigned represent and warrant that they are fully authorized to

execute the Consent Judgment on behalf of the Parties indicated below.


                (23)    The Consent Judgment may be executed in counterparts, each of which

constitutes an original and all of which constitute one and the same Consent Judgment.


                (24)    This Release is binding on, and inures to the benefit of, the COMPANY’s

and its affiliated entities’ successors, heirs, and assigns.


                (25)    The Parties may disclose this Release, and information about this Release,

to the public at their discretion.


                (26)    Facsimiles of signatures shall constitute acceptable, binding signatures for

purposes of this Release.




                                                  F-43


                                                                                     GARCIA 04444
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page264
                                                             173of
                                                                of314
                                                                   223




              (27)    Whenever the words “include,” “includes,” or “including” are used in this

Release, they shall be deemed to be followed by the words “without limitation.”




                                             F-44


                                                                                  GARCIA 04445
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page265
                                                        174of
                                                           of314
                                                              223




                 EXHIBIT G




                                                         GARCIA 04446
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page266
                                                             175of
                                                                of314
                                                                   223



                                            State Release

        I.      Covered Conduct

        For purposes of this Release, the term “Covered Conduct” means residential mortgage

loan servicing, residential foreclosure services, and residential mortgage loan origination

services. For purposes of this Release, the term “Bank” means Wells Fargo & Company, as well

as its current and former parent corporations or other forms of legal entities, direct and indirect

subsidiaries, brother or sister corporations or other forms of legal entities, divisions or affiliates,

and the predecessors, successors, and assigns of any of them, as well as the current and former

directors, officers, and employees of any of the foregoing. For purposes of this Section I only,

the term “Bank” includes agents (including, without limitation, third-party vendors) of the Bank

and the Bank is released from liability for the covered conduct acts of its agents (including,

without limitation, third-party vendors). This Release does not release the agents (including,

without limitation, third-party vendors) themselves for any of their conduct. For purposes of this

Release, the term “residential mortgage loans” means loans secured by one- to four-family

residential properties, irrespective of usage, whether in the form of a mortgage, deed of trust, or

other security interest creating a lien upon such property or any other property described therein

that secures the related mortgage note.

        For purposes of this Release, the term “residential mortgage loan servicing” means all

actions, errors or omissions of the Bank, arising out of or relating to servicing (including

subservicing and master servicing) of residential mortgage loans from and after the closing of

such loans, whether for the Bank’s account or for the account of others, including, but not

limited to, the following: (1) Loan modification and other loss mitigation activities, including,

without limitation, extensions, forbearances, payment plans, short sales and deeds in lieu of




                                                                                         GARCIA 04447
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page267
                                                             176of
                                                                of314
                                                                   223



foreclosure, and evaluation, approval, denial, and implementation of the terms and conditions of

any of the foregoing; (2) Communications with borrowers relating to borrower accounts,

including, without limitation, account statements and disclosures provided to borrowers; (3)

Handling and resolution of inquiries, disputes or complaints by or on behalf of borrowers; (4)

Collection activity related to delinquent borrower accounts; (5) Acceptance, rejection,

application or posting of payments made by or on behalf of borrowers, including, without

limitation, assessment and collection of fees or charges, placement of payments in suspense

accounts and credit reporting; (6) Maintenance, placement or payment (or failure to make

payment) of any type of insurance or insurance premiums, or claims activity with respect to any

such insurance; (7) Payment of taxes, homeowner association dues, or other borrower escrow

obligations, and creation and maintenance of escrow accounts; (8) Use, conduct or supervision of

vendors, agents and contract employees, whether affiliated or unaffiliated, including, without

limitation, subservicers and foreclosure and bankruptcy attorneys, in connection with servicing,

loss mitigation, and foreclosure activities; (9) Adequacy of staffing, training, systems, data

integrity or security of data that is unrelated to privacy issues, quality control, quality assurance,

auditing and processes relating to the servicing of residential mortgage loans, foreclosure,

bankruptcy, and property sale and management services; (10) Securing, inspecting, repairing,

maintaining, or preserving properties before and after foreclosure or acquisition or transfer of

title; (11) Servicing of residential mortgage loans involved in bankruptcy proceedings; (12)

Obtaining, executing, notarizing, endorsing, recording, providing, maintaining, registering

(including in a registry system), and transferring promissory notes, mortgages, or mortgage

assignments or other similar documents, or transferring interests in such documents among and

between servicers and owners, and custodial functions or appointment of officers relating to such



                                                 G-2
                                                                                       GARCIA 04448
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page268
                                                             177of
                                                                of314
                                                                   223



documents; (13) Decisions on disposition of residential mortgage loans, including, without

limitation, whether to pursue foreclosure on properties, whether to assert or abandon liens and

other claims and actions taken in respect thereof, and whether to pursue any particular loan

modification or other form of loss mitigation; (14) Servicing of residential mortgage loans of

borrowers who are covered by federal or state protections due to military status; (15) Licensing

or registration of employees, agents, vendors or contractors, or designation of employees as

agents of another entity; (16) Quality control, quality assurance, compliance, audit testing,

oversight, reporting, or certification or registration requirements related to the foregoing; and

(17) Trustee functions related to the servicing of residential mortgage loans.

       For purposes of this Release, the term “residential foreclosure services” means all

actions, errors or omissions of the Bank arising out of or relating to foreclosures on residential

mortgage loans, whether for the Bank’s own account or for the account of others, including, but

not limited to, the following: (1) Evaluation of accounts for modification or foreclosure referral;

(2) Maintenance, assignment, recovery and preparation of documents that have been filed or

otherwise used to initiate or pursue foreclosures, and custodial actions related thereto; (3)

Drafting, review, execution and notarization of documents (including, but not limited to,

affidavits, notices, certificates, substitutions of trustees, and assignments) prepared or filed in

connection with foreclosures or sales of acquired properties, or in connection with remediation of

improperly filed documents; (4) Commencement, advancement and finality of foreclosures,

including, without limitation, any issues relating to standing, fees, or notices; (5) Acquisition of

title post-foreclosure or in lieu of foreclosure; (6) Pursuit of pre- and post-foreclosure claims by

the Bank, including, without limitation, the seeking of deficiency judgments when permitted by

law, acts or omissions regarding lien releases, and evictions and eviction proceedings; (7)



                                                 G-3
                                                                                        GARCIA 04449
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page269
                                                             178of
                                                                of314
                                                                   223



Management, maintenance, and disposition of properties in default or properties owned or

controlled by the Bank, whether prior to or during the foreclosure process or after foreclosure,

and executing, notarizing, or recording any documents related to the sale of acquired properties;

and (8) Trustee functions related to the foreclosure of residential mortgage loans.

       For purposes of this Release, the term “residential mortgage loan origination services”

means all actions, errors or omissions of the Bank arising out of or relating to the origination of,

or the assistance in the origination of, residential mortgage loans, or the purchasing of residential

mortgage whole loans, including, but not limited to, the following: (1) Advertising, solicitation,

disclosure, processing, review, underwriting, closing and funding of borrower residential

mortgage loans or lending services, including, without limitation, the charges, terms, pricing, and

conditions of such loans or lending services; (2) Approving or denying loan applications; (3)

Recommendation, offering or provision of loan products, including, without limitation, whether

such products’ features or terms and conditions were appropriate for a particular borrower; (4)

Valuation of the properties used as collateral for such loans, including, without limitation, use of

employees, independent and vendor management appraisers, and alternative valuation methods

such as AVMs and BPOs; (5) Use, referral, conduct or supervision of, or payment of fees or

other forms of consideration to, vendors, agents or contract employees, whether affiliated or

unaffiliated, and whether retained by the Bank, borrower or otherwise, including, without

limitation, closing agents, appraisers, real estate agents, mortgage brokers, and providers of real

estate settlement services; (6) Drafting and execution of residential mortgage loan documents

and disclosures and the provision of such disclosures; (7) Obtaining or recording of collateral

documents relating to the origination of residential mortgage loans, including, without limitation,

use of trustees or designees on mortgages or deeds of trust; (8) Licensing and registration of



                                                G-4
                                                                                      GARCIA 04450
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page270
                                                             179of
                                                                of314
                                                                   223



employees in connection with origination of residential mortgage loans; (9) Quality control,

quality assurance, or compliance audit testing, or oversight related to the origination of

residential mortgage loans; and (10) Communications with borrowers related to the origination

of residential mortgage loans.

       II.     Release of Covered Conduct

       By their execution of this Consent Judgment, the Attorneys General and state mortgage

regulators (“Regulators”) that are parties to this Consent Judgment release and forever discharge

the Bank from the following: any civil or administrative claim, of any kind whatsoever, direct or

indirect, that an Attorney General or Regulator, respectively, has or may have or assert,

including, without limitation, claims for damages, fines, injunctive relief, remedies, sanctions, or

penalties of any kind whatsoever based on, arising out of, or resulting from the Covered Conduct

on or before the Effective Date, or any examination (or penalties arising from such an

examination) relating to the Covered Conduct on or before the Effective Date, except for claims

and the other actions set forth in Section IV, below (collectively, the “Released Claims”).

       This Release does not release any claims against any entity other than the Bank as

defined in Section I above.

       III.    Covenants by the Bank

       1.      The Bank waives and shall not assert any defenses the Bank may have to any

criminal prosecution based on the Covered Conduct that may be based in whole or in part on a

contention that, under the Double Jeopardy Clause in the Fifth Amendment of the Constitution or

under the Excessive Fines Clause in the Eighth Amendment of the Constitution, this Release bars

a remedy sought in such criminal prosecution.




                                                G-5
                                                                                     GARCIA 04451
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page271
                                                             180of
                                                                of314
                                                                   223



       2.      The Bank agrees to cooperate with an Attorney General’s criminal investigation

of individuals and entities not released in this Release. For purposes of this covenant,

cooperation shall not include any requirement that the Bank waive the attorney-client privilege

or any other applicable privileges or protection, included but not limited to the attorney work

product doctrine. Upon reasonable notice, the Bank agrees not to impair the reasonable

cooperation of its directors, officers and employees, and shall use its reasonable efforts to make

available and encourage the cooperation of former directors, officers, and employees for

interviews and testimony, consistent with the rights and privileges of such individuals.

       IV.     Claims and Other Actions Exempted from Release

       Notwithstanding the foregoing and any other term of this Consent Judgment, the

following claims are hereby not released and are specifically reserved:

       1.      Securities and securitization claims based on the offer, sale, or purchase of

securities, or other conduct in connection with investors or purchasers in or of securities,

regardless of the factual basis of the claim, including such claims of the state or state entities as

an owner, purchaser, or holder of whole loans, securities, derivatives or similar investments,

including, without limitation, mortgage backed securities, collateralized debt obligations or

structured investment vehicles, and including, but not limited to, such claims based on the

following:

               (a) the creation, formation, solicitation, marketing, assignment, transfer, offer,

       sale or substitution of securities, derivatives, or other similar investments, including,

       without limitation, mortgage backed securities, collateralized debt obligations,

       collateralized loan obligations, or structured investment vehicles;




                                                 G-6
                                                                                       GARCIA 04452
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page272
                                                             181of
                                                                of314
                                                                   223



                (b) representations, warranties, certifications, or claims made regarding such

       securities or investments, such as representations, warranties, certifications or claims

       regarding origination, funding, and underwriting activities, and including the eligibility,

       characteristics, or quality of the mortgages or the mortgagors;

                (c) the transfer, sale, conveyance, or assignment of mortgage loans to, and the

       purchase and acquisition of such mortgage loans by, the entity creating, forming and

       issuing the securities, derivatives or other similar investments relating to such mortgage

       loans;

                (d) all servicing-, foreclosure-, and origination-related conduct, but solely to the

       extent that such claims are based on the offer, sale, or purchase of securities, or other

       conduct in connection with investors or purchasers in or of securities; and

                (e) all Covered Conduct, but solely to the extent that such claims are based on the

       offer, sale, or purchase of securities, or other conduct in connection with investors or

       purchasers in or of securities.

For avoidance of doubt, securities and securitization claims based on the offer, sale, or purchase

of securities, or other conduct in connection with investors or purchasers in or of securities, that

are based on any source of law, including, but not limited to, false claims acts or equivalent laws,

securities laws, and common law breach of fiduciary duty, are not released.

       2.       Claims against a trustee or custodian or an agent thereof based on or arising out of

the conduct of the trustee, custodian or such agent related to the pooling of residential mortgage

loans in trusts, mortgage backed securities, collateralized debt obligations, collateralized loan

obligations, or structured investment vehicles, including, but not limited to, the performance of

trustee or custodial functions in such conduct.



                                                  G-7
                                                                                       GARCIA 04453
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page273
                                                             182of
                                                                of314
                                                                   223



        3.       Liability based on the Bank’s obligations created by this Consent Judgment.

        4.       Obligations relating to assurances of voluntary compliance entered into between

various states and Wells Fargo, N.A. in 2010, 2011, and 2012 relating to pay option ARMs.

        5.       Claims raised by the Illinois Attorney General in Illinois v. Wells Fargo & Co., et

al., 2009-CH-26434.

        6.       Claims raised in State of Connecticut v. Acordia, Inc., X10-UNYCV-

0704020455-S (currently pending before the Connecticut Supreme Court).

        7.       Claims raised in State ex rel. Darrell V. McGraw, Jr. v. Acordia of West Virginia,

Inc., et al. (civil action no. 05-C-115W - circuit court of Hancock County).

        8.       Claims raised in State of New York v. JPMorgan Chase Bank, et al., Index No.

2768/2012 (N.Y. Sup. Ct.), and any similar claims – relating to the same types of acts, practices,

or conduct set forth in that lawsuit – that may be asserted in the future by the Office of the New

York State Attorney General against Citigroup, Inc., Citibank, N.A., CitiMortgage, Inc., Ally

Financial, Inc., GMAC Mortgage LLC, Residential Capital, LLC, or their parents, subsidiaries,

or affiliates.

        9.       Claims and remedies raised in State of Delaware v. MERSCORP, Inc. et al. (CA-

NO-6987-CS), currently pending in the Court of Chancery for the State of Delaware, and any

similar claims – relating to the same types of acts, practices, or conduct set forth in that lawsuit

in connection with mortgages registered in the MERS system and loans secured by such

mortgages – that may be asserted in the future by the Delaware Department of Justice against

Bank of America, N.A., BAC Home Loans Servicing, LP, JPMorgan Chase Bank, N.A., Chase

Home Finance LLC, EMC Mortgage Corporation, Wells Fargo Bank, N.A., Citigroup, Inc.,




                                                 G-8
                                                                                       GARCIA 04454
       Case
       Case1:12-cv-00361-RMC
            1:12-cv-00361-RMC Document
                              Document14-1
                                       1-2 Filed
                                           Filed03/12/12
                                                 04/04/12 Page
                                                          Page274
                                                               183of
                                                                  of314
                                                                     223



Citibank, N.A., CitiMortgage, Inc., Ally Financial, Inc., GMAC Mortgage LLC, Residential

Capital, LLC, or their parents, subsidiaries, or affiliates.

         10.    Claims raised in Commonwealth of Massachusetts v. Bank of America, N.A., et al.

(Civ. A. No. 11-4363), currently pending in the Superior Court of Massachusetts, Suffolk

County.

         11.    Claims of any kind that the State of Utah has or may have against any person or

entity not released under this Consent Judgment, or any right that State of Utah has or may have

to take law enforcement action of any kind against any person or entity not released under this

Consent Judgment, including any person or entity who is or may be a co-obligor with a person or

entity that is released under this Consent Judgment, all of which claims, rights and actions are

expressly reserved by the State of Utah.

         12.    Claims against Mortgage Electronic Registration Systems, Inc. or MERSCORP,

INC.

         13.    Claims arising out of alleged violations of fair lending laws that relate to

discriminatory conduct in lending.

         14.    Claims of state, county and local pension or other governmental funds as

investors (whether those claims would be brought directly by those pension or other

governmental funds or by the Office of the Attorney General as attorneys representing the

pension or other governmental funds).

         15.    Tax claims, including, but not limited to, claims relating to real estate transfer

taxes.

         16.    Claims of county and local governments and claims of state regulatory agencies

having specific regulatory jurisdiction that is separate and independent from the regulatory and



                                                  G-9
                                                                                       GARCIA 04455
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page275
                                                             184of
                                                                of314
                                                                   223



enforcement jurisdiction of the Attorney General, but not including claims of Regulators that are

released herein.

       17.     Criminal enforcement of state criminal laws.

       18.     Claims of county recorders, city recorders, town recorders or other local

government officers or agencies (or, for Hawaii only, where a statewide recording system is

applicable and operated by the state, claims by Hawaii; and for Maryland, where the recording

system is the joint responsibility of the counties or Baltimore City and the state, claims of the

counties or Baltimore City and the state), for fees relating to the recordation or registration

process of mortgages or deeds of trust, including assignments, transfers, and conveyances,

regardless of whether those claims would be brought directly by such local government officers

or agencies or through the Office of the Attorney General as attorneys representing such local

government officers or agencies.

       19.     Claims and defenses asserted by third parties, including individual mortgage loan

borrowers on an individual or class basis.

       20.     Claims seeking injunctive or declaratory relief to clear a cloud on title where the

Covered Conduct has resulted in a cloud on title to real property under state law; provided,

however, that neither the Attorneys General nor Regulators shall otherwise take actions seeking

to invalidate past mortgage assignments or foreclosures in connection with loans serviced and/or

owned by the Bank. For the avoidance of doubt, nothing in this paragraph 20 releases, waives or

bars any legal or factual argument related to the validity of past mortgage assignments or

foreclosures that could be made in support of claims not released herein, including, without

limitation, all claims preserved under paragraphs 1 through 23 of Section IV of this Release.




                                                G-10
                                                                                      GARCIA 04456
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page276
                                                             185of
                                                                of314
                                                                   223



       21.    Disciplinary proceedings brought by a Regulator against individual employees

with respect to mortgage loan origination conduct for misconduct or violations under state law.

       22.    Authority to resolve consumer complaints brought to the attention of the Bank for

resolution outside of the monitoring process, as described in Section H of the Enforcement

Terms (Exhibit E).

       23.    Claims against Bank for reimbursement to mortgage borrowers:

              (a) That represent: (i) a fee imposed upon and collected from a mortgage

      borrower by Bank and retained by Bank which fee is later determined to have been

      specifically prohibited by applicable state law (an “Unauthorized Fee”), provided that

      such determination of impermissibility is not predicated, directly or indirectly, on a

      finding of a violation of any federal law, rule, regulation, agency directive or similar

      requirement; and (ii) an actual overpayment by a borrower resulting from a clear and

      demonstrable error in calculation of amounts due from said borrower; and

              (b) That are subject to the following: (i) are identified in the course of a

       mandatory state regulatory compliance examination commenced after the Effective Date

       by the Iowa Division of Banking, Nevada Division of Mortgage Lending, New

       Hampshire Banking Department, Ohio Division of Financial Institutions, or Rhode Island

       Department of Business Regulation, which examination period is specifically limited to

       Bank’s Covered Conduct beginning on January 1, 2011 and ending on January 1, 2012;

       or (ii) are part of a state regulatory compliance examination that was open or in process

       as of the Effective Date; and




                                               G-11
                                                                                     GARCIA 04457
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page277
                                                        186of
                                                           of314
                                                              223



        (c) That are not duplicative of any prior voluntary or involuntary payment to the

 affected loan borrower by Bank, whether directly or indirectly, from any State Payment

 or other source.




                                       G-12
                                                                            GARCIA 04458
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page278
                                                        187of
                                                           of314
                                                              223




                 EXHIBIT H




                              H-1                        GARCIA 04459
          Case
          Case1:12-cv-00361-RMC
               1:12-cv-00361-RMC Document
                                 Document14-1
                                          1-2 Filed
                                              Filed03/12/12
                                                    04/04/12 Page
                                                             Page279
                                                                  188of
                                                                     of314
                                                                        223



                            USDOJ Servicemembers Civil Relief Act Settlement Provisions:
                                       Wells Fargo Bank, N.A. and Wells Fargo & Company


In exchange for a full release of the United States’1 potential civil claims under the

Servicemembers Civil Relief Act (“SCRA”), 50 U.S.C. app. § 501, et seq., arising prior to the

date of this agreement against Servicer2 with respect to the servicing of residential mortgages,

under the provisions of the SCRA related to (a) mortgage foreclosure and (b) the prohibition

against charging more than 6% interest on SCRA-covered mortgaged debt after a valid request

by a servicemember to lower the interest rate and receipt of orders, Servicer agrees to the

provisions set forth below.


       I. Servicer shall comply with all the “Protections for Military Personnel” provisions in the

              Settlement Agreement (“Article V”). In addition, Servicer shall undertake additional

              remedial action and agree to the policy changes set forth below.

       II.            Compensation for Servicemembers and Co-Borrowers

                      a. Violations of Sections 533 and 521 of the SCRA related to completed

                             foreclosures on active duty servicemembers: Servicer will engage an independent

                             consultant whose duties shall include a review of all completed foreclosures from

                             January 1, 2006 to the present to evaluate whether the completed foreclosures

                             were in compliance with Sections 533 and 521 of the SCRA. Servicer shall

1
   The following claims are specifically reserved and not released: Any action that may be taken by the appropriate
Federal Banking Agency (FBA), as defined in 12 U.S.C. § 1813(q), against Servicer, any of its affiliated entities,
and/or any institution-affiliated party of Servicer, as defined in 12 U.S.C. § 1813(u), pursuant to 12 U.S.C. § 1818,
and any action by the FBA to enforce the Consent Order issued against Servicer by the FBA on April 13, 2011.
2
  For purposes of the agreement in this exhibit, “Servicer” shall mean Wells Fargo Bank, N.A. and Wells Fargo &
Company, and their successors and assignees in the event of a sale of all or substantially all of the mortgage
servicing related assets of (1) Wells Fargo Bank, N.A. or Wells Fargo & Company, or (2) any of Wells Fargo Bank,
N.A. or Wells Fargo & Company’s division(s) or major business unit(s) that are engaged in servicing residential
mortgages.
                                                                



                                                               H-2                                  GARCIA 04460
    Case
    Case1:12-cv-00361-RMC
         1:12-cv-00361-RMC Document
                           Document14-1
                                    1-2 Filed
                                        Filed03/12/12
                                              04/04/12 Page
                                                       Page280
                                                            189of
                                                               of314
                                                                  223



           propose an independent consultant and submit the independent consultant’s

           proposed methodology to DOJ for approval within 30 days after the entry of this

           agreement. The independent consultant shall begin its review within 30 days after

           receiving the above-referenced approvals by DOJ. The independent consultant

           shall submit the results of its review to DOJ within 150 days after it receives the

           data necessary for its analysis from the Department of Defense’s Defense

           Manpower Data Center (“DMDC”) providing relevant periods of military service

           of borrowers for completed foreclosures from January 1, 2006 to present. Based

           on the information gathered by the independent consultant, information submitted

           by Servicer, and DOJ’s independent investigation, DOJ shall make the

           determination reasonably based on the information it has received and its

           investigative conclusions whether or not a completed foreclosure was in

           compliance with the SCRA. In the event Servicer disagrees with the DOJ’s

           determination, Servicer shall be afforded 30 days to produce evidence of

           compliance, which DOJ shall consider in good faith. Where DOJ determines that

           a foreclosure was not in compliance with the SCRA, Servicer shall compensate

           the borrowers (i.e., any individual(s) who signed the note with respect to a

           foreclosed property) by providing:



           (1) an amount of $116,785.00 to the servicemember-borrower or an amount

           consistent with what was provided under the OCC Consent Order Independent

           Review Process for similar violations of Sections 533 or 521 of the SCRA,

           whichever is higher;

                                             



                                           H-3                                   GARCIA 04461
          Case
          Case1:12-cv-00361-RMC
               1:12-cv-00361-RMC Document
                                 Document14-1
                                          1-2 Filed
                                              Filed03/12/12
                                                    04/04/12 Page
                                                             Page281
                                                                  190of
                                                                     of314
                                                                        223



                             (2) any lost equity in the foreclosed property, as calculated by: subtracting:

                                            (a) any outstanding principal, interest, and other amounts owing by the

                                                   borrowers (excluding any fees associated with foreclosure) plus any

                                                   junior liens at the time of foreclosure and any disbursements made to

                                                   the servicemember or a third party other than a junior lien holder from

                                                   the proceeds of the foreclosure sale (exclusive of any fees associated

                                                   with the foreclosure) from



                                            (b) Either:

                                                          i.     a contemporaneous appraisal reflecting the value of the

                                                                 home at the time of foreclosure;

                                                          ii.    a BPO or other desktop determination of property valuation

                                                                 that results in property valuations reasonably consistent3

                                                                 with those contained in contemporaneous appraisals; or

                                                          iii.   a retroactive appraisal reflecting the value of the home at

                                                                 the time of foreclosure; and


                             (3) interest accrued on this lost equity, calculated from the date of the foreclosure

                             sale until the date payment is issued, at the rate set forth in 28 U.S.C. § 1961.4


                             While the amount described in subsection (1) shall be paid entirely to the

                             servicemember-borrower on the note securing the mortgage, the amounts


3
  Before Servicer may rely on a BPO or desktop determination for purposes of this subsection, Servicer must first
obtain DOJ approval that the methodology for the BPO or desktop determination results in property valuations
reasonably consistent with a contemporaneous appraisal. DOJ shall not unreasonably withhold such approval.
4
  The independent consultant shall calculate the lost equity and interest described herein as part of its review.
                                                                            



                                                                          H-4                                   GARCIA 04462
          Case
          Case1:12-cv-00361-RMC
               1:12-cv-00361-RMC Document
                                 Document14-1
                                          1-2 Filed
                                              Filed03/12/12
                                                    04/04/12 Page
                                                             Page282
                                                                  191of
                                                                     of314
                                                                        223



                             described in subsections (2) and (3) shall be distributed among all owners

                             (including non-servicemember owners) on the deed.5 In cases where Servicer has

                             already taken remedial actions with respect to a foreclosure which DOJ

                             determines did not comply with Sections 533 or 521 of the SCRA, DOJ shall

                             consider such remedial actions and adjust the compensation to be awarded to the

                             subject borrower or mortgagor.6 DOJ will submit lists or electronic links to, the

                             Servicer identifying servicemembers or co-borrowers to be compensated, and

                             Servicer must notify each identified servicemember or co-borrower (using best

                             efforts to locate each person) by letter (using Exhibit 1 or a modified version

                             mutually agreeable to Servicer and DOJ) within 45 days of receiving this list.

                             Any letters returned with forwarding addresses must be promptly mailed to the

                             forwarding address. Servicer shall issue and mail compensation checks no later

                             than 21 days after receipt of a signed release from the servicemember or co-

                             borrower aggrieved person. Every 6 months for a period of two years following

                             entry of this agreement, Servicer shall provide the DOJ with an accounting of all

                             releases received, checks issued (including copies of issued checks), credit entries





5
  If information is available regarding percentages of ownership interest in the subject property, the amounts
described in subsections (2) and (3) will be distributed in amounts proportionate to the ownership interests.
Otherwise, amounts described in subsections (2) and (3) will be distributed equally among owners.
6
   In determining the amount of compensation due to any servicemember or co-borrower pursuant to Subsection II.a,
DOJ will credit any monetary compensation or other remediation efforts, including returning the home to the
borrower, already provided to any servicemember or co-borrower for alleged compliance issues pursuant to Sections
533 or 521 of the SCRA and arising from the same mortgage. In the event that a servicemember located through
the OCC Independent Consultant review process elects to receive the return of his or her home in lieu of a flat fee
damages payment pursuant to the OCC Consent Order remediation plan (which payment shall not be less than the
amount provided in Section II.a.(1))for violations of Sections 533 or 521 of the SCRA and arising from the same
mortgage, the servicemember shall be compensated pursuant to the terms of the OCC Consent Order remediation
plan rather than Section II.a of this agreement.
                                                                



                                                               H-5                                GARCIA 04463
    Case
    Case1:12-cv-00361-RMC
         1:12-cv-00361-RMC Document
                           Document14-1
                                    1-2 Filed
                                        Filed03/12/12
                                              04/04/12 Page
                                                       Page283
                                                            192of
                                                               of314
                                                                  223



           repaired, and notifications without responses or that were returned as

           undeliverable.


        b. Violations of Section 527 of the SCRA related to failing to limit interest rates to

           6% on SCRA-covered mortgage debt: Servicer will engage an independent

           consultant whose duties shall include a review of either all or a sample of

           mortgage loans where a borrower on the note securing the mortgage submitted a

           request either orally or in writing for protection under Section 527 of the SCRA

           from January 1, 2008 – present to evaluate whether the Servicer complied with

           Section 527 of the SCRA. The DOJ shall determine whether a sample or a

           comprehensive review, or some combination thereof, would be more appropriate

           to locate potential violations by the Servicer. The consultant’s methodology must

           be submitted to DOJ for approval within 60 days after entry of this agreement.

           DOJ’s approval of the methodology will be based on, among other things, DOJ’s

           evaluation of the Servicer’s SCRA policies in and around the time period in

           question, Servicer’s search capabilities for determining which individuals

           requested, either orally or in writing, interest rate protections based on their

           military status, the servicing platform, and the number of individuals who

           requested such protection. The consultant shall submit the results of its review

           within 180 days after DOJ’s approval of the methodology. Based on the

           information gathered by the consultant, information submitted by the Servicer,

           and DOJ’s independent investigation, DOJ shall make the determination,

           reasonably based on the information it has received and its investigative

           conclusions, whether or not potential violations of Section 527 occurred. In the
                                              



                                            H-6                                   GARCIA 04464
          Case
          Case1:12-cv-00361-RMC
               1:12-cv-00361-RMC Document
                                 Document14-1
                                          1-2 Filed
                                              Filed03/12/12
                                                    04/04/12 Page
                                                             Page284
                                                                  193of
                                                                     of314
                                                                        223



                             event Servicer disagrees with the DOJ’s determination, Servicer shall be afforded

                             30 days to produce evidence of compliance, which DOJ shall consider in good

                             faith. Where DOJ determines that a mortgage loan was not serviced in

                             compliance with Section 527, Servicer shall: (1) refund (with interest, as

                             calculated pursuant to 28 U.S.C. § 1961) all interest and fees charged above 6%;

                             and (2) provide an additional payment of $500 or triple the amount of the refund

                             referenced in subsection (1), whichever amount is larger.7 The compensation

                             described in subsection (1) shall be distributed equally among all borrowers

                             (including non-servicemember borrowers) on the note secured by the mortgage.

                             The compensation described in subsection (2) shall be paid entirely to the

                             servicemember. In cases where Servicer has already taken remedial actions with

                             respect to a mortgage which DOJ determines did not comply with Section 527 of

                             the SCRA, DOJ shall consider such remedial actions and adjust the compensation

                             to be awarded to the subject servicemember, borrower, or mortgagor.8 DOJ will

                             submit lists or electronic links to the Servicer of identified servicemembers or co-

                             borrowers to be compensated, and Servicer must notify each identified

                             servicemember or co-borrower (using best efforts to locate each person) by letter

                             (using Exhibit 2 or a modified version mutually agreeable to Servicer and DOJ)

                             within 60 days of receiving this list of servicemembers or co-borrowers to be

                             compensated. Any letters returned with forwarding addresses must be promptly

7
  The independent consultant shall calculate the amounts described herein as part of its review.
8
  In determining whether any compensation is due to any servicemember or co-borrower pursuant to Subsection
II.b, and, if so, ,the amount DOJ will consider the timing of any remedial actions and will credit any monetary
compensation already provided to any servicemember or co-borrower for alleged compliance issues pursuant to
Section 527 of the SCRA and arising from the same mortgage, and/or provided under the OCC Consent Order
Independent Consultant review process for violations of Section 527 of the SCRA and arising from the same
mortgage.
                                                                



                                                               H-7                                GARCIA 04465
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page285
                                                             194of
                                                                of314
                                                                   223



              mailed to the forwarding address. Servicer shall issue and mail compensation

              checks no later than 21 days of receipt of a signed release from the

              servicemember or co-borrower aggrieved person. Every 6 months for a period of

              two years following entry of this agreement, Servicer shall provide the DOJ with

              an accounting of all releases received, checks issued (including copies of issued

              checks), credit entries repaired, and notifications without responses or that were

              returned as undeliverable.

           c. Concurrent with providing financial compensation to the servicemember-

              borrower, Servicer must request that all three major credit bureaus remove

              negative entries for the servicemember(s) and any co-borrower(s) attributable

              specifically to the wrongful foreclosure or interest overcharges and Servicer shall

              not pursue, and must indemnify the servicemember and his or her co-borrower(s)

              against any third-party pursuing, any deficiency that was remaining on the

              servicemember’s SCRA-protected mortgage or junior lien after a foreclosure was

              completed in violation of the SCRA.

           d. Servicer shall have 10 days after DOJ’s final determination that a foreclosure was

              not in compliance with the SCRA or a mortgage loan was not serviced in

              compliance with Section 527, to seek judicial review on the ground that DOJ

              made a clearly erroneous factual determination.



    III.   SCRA Compliance Policies

           a. Servicer shall submit SCRA mortgage foreclosure-related policies to DOJ for

              review and approval. If the Servicer decides to make a material modification to

                                                



                                              H-8                                    GARCIA 04466
          Case
          Case1:12-cv-00361-RMC
               1:12-cv-00361-RMC Document
                                 Document14-1
                                          1-2 Filed
                                              Filed03/12/12
                                                    04/04/12 Page
                                                             Page286
                                                                  195of
                                                                     of314
                                                                        223



                             these policies, Servicer will provide the modified policies for review and

                             approval. DOJ will advise Servicer of the results of DOJ’s review within 60 days

                             of receipt of a complete submission of all SCRA mortgage foreclosure-related

                             policies and any subsequent material modifications. In addition to the areas

                             covered under the “Protection of Military Personnel” provisions in the attached

                             document, these policies must address:



                                    i. Prior to referring a loan to foreclosure, the Servicer shall review any orders

                                          it has received from borrowers9 and check borrowers’ names and social

                                          security numbers against the DMDC website as provided in the

                                          “Protections of Military Personnel” provisions in the Settlement

                                          Agreement.

                                  ii. If Servicer pursues a foreclosure action in court and the borrower fails to

                                          answer the action, Servicer and/or its agent will file a military affidavit

                                          with the court as required by Section 521(b)(1)(A). After the borrower

                                          fails to answer and prior to seeking entry of default, Servicer and/or its

                                          agent will query the DMDC and review information in its possession or

                                          control for orders to determine if the borrower is on active duty. If

                                          Servicer and/or its agent learns that the borrower is on active duty or was

                                          on active duty at the time of his or her failure to answer Servicer and/or its

                                          agent will file an affidavit stating that “the defendant is in military service”

                                          or “was in military service at the time of his or her failure to answer” prior

9
 For the purposes of locating orders to be reviewed pursuant to Sections III.a.i and III.a.ii of this agreement, it shall
be sufficient for the Servicer to flag or code accounts upon receipt of orders and rely on that system.
                                                                      



                                                                    H-9                                    GARCIA 04467
    Case
    Case1:12-cv-00361-RMC
         1:12-cv-00361-RMC Document
                           Document14-1
                                    1-2 Filed
                                        Filed03/12/12
                                              04/04/12 Page
                                                       Page287
                                                            196of
                                                               of314
                                                                  223



                  to seeking default judgment and attaching the most recent certificate of

                  service from the DMDC or a copy of the military orders.

             iii. If Servicer initiates and pursues a waiver under a written agreement as

                  provided in Section 517 of the SCRA, Servicer must initiate the waiver

                  process with the servicemember at least 30 days in advance of any

                  anticipated foreclosure sale date by sending a notice and a copy of the

                  proposed waiver to the servicemember. To the extent Servicer exercises

                  this right, Servicer shall utilize a notice and proposed waiver in the form

                  attached as Exhibit 3. This provision may be modified based on changes in

                  servicing requirements from government-sponsored entities or the

                  Department of Housing and Urban Development.




        b. Servicer shall submit SCRA mortgage loan interest rate-related policies to DOJ

           for review and approval. If the Servicer decides to make a material modification

           to these policies, Servicer will provide the modified policies for review and

           approval. DOJ will advise Servicer of the results of DOJ’s review within 60 days

           of receipt of a complete submission of all SCRA mortgage loan interest rate-

           related policies and any subsequent material modifications. In addition to the

           areas covered under Article V of the Settlement Agreement, these policies must

           address:

              i. Servicer shall accept servicemembers' requests for reduced mortgage

                  interest rates pursuant to the SCRA via electronic mail, facsimile, U.S.

                                              



                                           H - 10                                GARCIA 04468
    Case
    Case1:12-cv-00361-RMC
         1:12-cv-00361-RMC Document
                           Document14-1
                                    1-2 Filed
                                        Filed03/12/12
                                              04/04/12 Page
                                                       Page288
                                                            197of
                                                               of314
                                                                  223



                Mail, Federal Express or other overnight/express delivery to facsimile

                numbers and addresses designated by the Servicer. Within six months after

                entry of this agreement, Servicer shall also accept servicemembers’

                requests for reduced mortgage interest rates pursuant to the SCRA via in-

                person delivery at the Servicer’s full-service branch locations, should the

                Servicer maintain branch locations.

             ii. When a servicemember requests interest rate relief under the SCRA,

                Servicer shall accept orders as defined in the Settlement Agreement or any

                other document that the DOD shall deem sufficient as a substitute for

                official orders.

            iii. Servicer shall seek only orders identifying the beginning date of the

                applicable period of military service from the requesting servicemember

                and may not condition providing SCRA benefits on the servicemember

                submitting orders that include an end date.

            iv. Before concluding that the SCRA permits raising the interest rate on the

                servicemember's loan higher than six percent, the Servicer shall access the

                DMDC website to determine the dates, where available, of active duty

                military service of those servicemembers who request reduced interest rates

                pursuant to the SCRA.     If DMDC indicates that the individual is still on

                active duty, the Servicer must continue to limit the charges pursuant to

                Section 527 of the SCRA.




                                            



                                         H - 11                                GARCIA 04469
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page289
                                                             198of
                                                                of314
                                                                   223



                v. For those servicemembers who request a reduced interest rate pursuant to

                    the SCRA, but are determined not to be eligible for the reduced rate,

                    Servicer shall notify the servicemembers in writing of the reasons for the

                    denial and that they may provide additional documentation or information

                    to establish eligibility for the reduced interest rate.

          c. In the event that DOJ requires a change or modification pursuant to this

             agreement that is in conflict with a policy required by the appropriate Federal

             Banking Agency (FBA), as defined in 12 U.S.C. § 1813(q), under the Consent

             Order issued against the Servicer by the FBA on April 13, 2011, and the FBA will

             not consent to the change, DOJ shall meet and confer with the FBA to resolve the

             conflict. Nothing in this agreement prevents DOJ from requiring Servicer to

             adopt policies that provide additional protections beyond the policies required by

             the FBA.



    IV.   Training and Monitoring Program

          a. Within 45 days after entry of this agreement, Servicer shall provide its proposed

             training on the SCRA and this settlement to DOJ for approval. After receiving

             DOJ’s approval, Servicer shall provide and require training on the SCRA and this

             settlement for employees (including management officials): (1) providing

             customer service to servicemembers, (2) involved in mortgage servicing,

             including adjusting interest rates for mortgage loans, or (3) with significant

             involvement in the foreclosure process, within 60 days of DOJ’s approval (if

             already employed in such a position), or within 30 days of his or her hiring,

                                                 



                                              H - 12                               GARCIA 04470
          Case
          Case1:12-cv-00361-RMC
               1:12-cv-00361-RMC Document
                                 Document14-1
                                          1-2 Filed
                                              Filed03/12/12
                                                    04/04/12 Page
                                                             Page290
                                                                  199of
                                                                     of314
                                                                        223



                             promotion, or transfer. Servicer shall also obtain confirmation from third-party

                             vendors, law firms, and/or trustee companies involved in conducting foreclosures

                             that their employees who are involved in the foreclosure process have been

                             trained on their obligations to comply with this settlement and the SCRA.

                      b. Servicer shall implement a monitoring program approved by DOJ designed to

                             ensure compliance with this settlement and the SCRA. At a minimum,

                             monitoring will include a quarterly report to be submitted to DOJ10 within 60 days

                             after the end of each quarter containing an analysis of a sample of foreclosures

                             and a sample of mortgages where a borrower or mortgagor submitted orders

                             seeking protection under Section 527 of the SCRA to determine compliance with

                             the SCRA and this settlement. If Servicer learns that despite the policies required

                             by Section III a violation of Section 521, 527 or 533 has occurred, Servicer will

                             take corrective action as set forth in Section II of this agreement.

       V.             Term of Agreement

                             This agreement shall retain full force and effect for three and one-half years from

                             the date it is entered (the “Term”). Servicer’s obligation pursuant to Section III to

                             submit quarterly reports and DOJ’s review of the same shall continue for the six

                             months following the Term, after which time Servicer shall have no further

                             obligations under this agreement.





10
   All materials required by this Order to be sent to the Department of Justice shall be sent by commercial overnight
delivery service addressed as follows: Chief, Housing and Civil Enforcement Section, Civil Rights Division, U.S.
Department of Justice, 1800 G Street NW, Washington, D.C. 20006, Attn: DJ 216-16-4..
                                                                 



                                                               H - 13                               GARCIA 04471
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page291
                                                        200of
                                                           of314
                                                              223




            EXHIBIT H - 1




                              H - 14                     GARCIA 04472
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page292
                                                             201of
                                                                of314
                                                                   223




[SCRA NOTIFICATION LETTER FOR SECTION 533 SERVICEMEMBER]


Name of Servicemember
123 Main Street
City, State Zip code




                       Re: Loan Number [Insert]

Dear [Servicemember]:

        We write to inform you that ________________ (“the Bank”), entered into a settlement on
_______________, with the United States Department of Justice regarding alleged violations of
the Servicemembers Civil Relief Act (“SCRA”). This settlement resolves the Department of
Justice’s allegations that the Bank foreclosed on properties without approval by a court when the
SCRA required that the foreclosures be approved by a court.

        In connection with this settlement, the Department of Justice identified you as a person
who may be eligible for financial compensation with respect to your loan [add loan number(s)].
Please read and carefully review the declaration attached to this letter. If it is accurate, please
sign and return to us the release and declaration attached to this letter in the enclosed postage
paid envelope. After we receive these documents, we will send you a check in the amount of
[insert amount]. This amount includes any equity remaining in your home at the time of the
foreclosure and monetary damages. In addition, the Bank will request that all major credit
bureaus remove any negative entries on your credit report resulting from the foreclosure. This
release and declaration must be returned by __________.

        You should be aware that the money you are eligible to receive may have consequences
with respect to your federal, state, or local tax liability, as well as eligibility for any public
assistance benefits you may receive. Neither the Bank nor the Department of Justice can advise
you on tax liability or any effect on public assistance benefits. You may wish to consult with a
qualified individual or organization about any possible tax or other consequences resulting from
your receipt of this payment.

        If you have any questions concerning the declaration, release or settlement or if anyone
seeks to collect a debt arising from your mortgage, please contact [Insert Independent Consultant
Name] at [Insert Contact Information including a phone number].

       We deeply appreciate your service to our country. We are committed to serving the
financial needs of our customers who serve in the military, and we regret any error that may have
occurred on your account.




                                               H - 15                                GARCIA 04473
    Case
    Case1:12-cv-00361-RMC
         1:12-cv-00361-RMC Document
                           Document14-1
                                    1-2 Filed
                                        Filed03/12/12
                                              04/04/12 Page
                                                       Page293
                                                            202of
                                                               of314
                                                                  223




                                      Sincerely,




                                      [Name]
                                       [Title]

Enclosures: Release and Declaration




                                       H - 16                GARCIA 04474
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page294
                                                             203of
                                                                of314
                                                                   223



                                            RELEASE

        In consideration for the parties’ agreement to the terms of the Consent Order entered
in_________________________________ , and the Defendant’s payment to me of
$______________, pursuant to the Consent Order, I hereby release and forever discharge all
claims, arising prior to the entrance of this Order, related to the facts at issue in the litigation
referenced above and related to the alleged violations of Section 533 of the Servicemembers
Civil Relief Act, that I may have against the Defendant, all related entities, parents, predecessors,
successors, subsidiaries, and affiliates, and all of its past and present directors, officers, agents,
managers, supervisors, shareholders and employees and their heirs, executors, administrators,
successors or assigns.

       Executed this       day of                  , 20 .




                                               ________________________________________
                                               Signature

                                               ________________________________________
                                               Print Name

                                               ________________________________________
                                               Address




                                                H - 17                                GARCIA 04475
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page295
                                                             204of
                                                                of314
                                                                   223



[SCRA NOTIFICATION LETTER FOR SECTION 533 CO-BORROWER]


Name of Co-borrower
123 Main Street
City, State Zip code




                       Re: Loan Number [Insert]



Dear [Co-borrower]:

        We write to inform you that ________________ (“the Bank”), entered into a settlement on
_______________, with the Department of Justice regarding alleged violations of the
Servicemembers Civil Relief Act (“SCRA”). This settlement resolves the Department of Justice’s
allegations that the Bank foreclosed on properties without approval by a court when the SCRA
required that the foreclosures be approved by a court.

        In connection with this settlement, the Department of Justice identified you as a person
who may be eligible for financial compensation with respect to your loan [add loan number(s)].
If you sign and return to us the release attached to this letter in the enclosed postage paid
envelope and your co-borrower signs and returns the declaration and release that will be sent
separately to your co-borrower, we will send you a check in the amount of [insert amount]. This
amount represents your portion of any equity remaining in your home at the time of the
foreclosure. In addition, the Bank will request that all major credit bureaus remove any negative
entries on your credit report attributable to the foreclosure.

        To receive this payment, you must return the attached release within six months of the
date of receipt of this letter. The release, if signed, releases any claim to lost equity that you may
have under Section 533 of the SCRA; however, it does not release any other claim you may have
under the SCRA, including Section 533, or other laws.

        You should be aware that the money you are eligible to receive may have consequences
with respect to your federal, state, or local tax liability, as well as eligibility for any public
assistance benefits you may receive. Neither the Bank nor the Department of Justice can advise
you on tax liability or any effect on public assistance benefits. You may wish to consult with a
qualified individual or organization about any possible tax or other consequences resulting from
your receipt of this payment.

        If you have any questions concerning the release or settlement or if anyone seeks to
collect a debt arising from your mortgage, please contact [Insert Independent Consultant Name]
at [Insert Contact Information including a phone number].




                                                H - 18                                 GARCIA 04476
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page296
                                                             205of
                                                                of314
                                                                   223




        We are committed to serving the financial needs of our customers who serve in the
military, and we regret any error that may have occurred on your account.


                                            Sincerely,




                                            [Name]
                                             [Title]

Enclosure: Release




                                             H - 19                              GARCIA 04477
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page297
                                                             206of
                                                                of314
                                                                   223



                                            RELEASE

        In consideration for the parties’ agreement to the terms of the Consent Order entered
in_________________________________ , and the Defendant’s payment to me of
$______________, pursuant to the Consent Order, I hereby release and forever discharge any
claim under Section 533 of the Servicemembers Civil Relief Act for lost equity in the property
related to the litigation referenced above and arising prior to the entrance of this Order, that I
may have against the Defendant, all related entities, parents, predecessors, successors,
subsidiaries, and affiliates, and all of its past and present directors, officers, agents, managers,
supervisors, shareholders and employees and their heirs, executors, administrators, successors or
assigns.

       Executed this       day of                 , 20 .




                                              ________________________________________
                                              Signature

                                              ________________________________________
                                              Print Name

                                              ________________________________________
                                              Address




                                               H - 20                                GARCIA 04478
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page298
                                                             207of
                                                                of314
                                                                   223




[SCRA NOTIFICATION LETTER FOR SECTION 521 SERVICEMEMBER]


Name of Servicemember
123 Main Street
City, State Zip code




                       Re: Loan Number [Insert]



Dear [Servicemember]:

        We write to inform you that ________________ (“the Bank”), entered into a settlement on
_______________, with the United States Department of Justice regarding alleged violations of
the Servicemembers Civil Relief Act (“SCRA”). This settlement resolves the Department of
Justice’s allegations that the Bank foreclosed on servicemembers through default court
proceedings without filing accurate affidavits notifying the court of the servicemembers’ military
statuses.

        In connection with this settlement, the Department of Justice identified you as a person
who may be eligible for financial compensation with respect to your loan [add loan number(s)].
Please read and carefully review the declaration attached to this letter. If it is accurate, please
sign and return to us the release and declaration attached to this letter in the enclosed postage
paid envelope. After we receive these documents, we will send you a check in the amount of
[insert amount]. This amount includes your portion of any equity remaining in your home at the
time of the foreclosure and monetary damages. In addition, the Bank will request that all major
credit bureaus remove any negative entries on your credit report resulting from the foreclosure.
This release and declaration must be returned by __________.

        You should be aware that the money you are eligible to receive may have consequences
with respect to your federal, state, or local tax liability, as well as eligibility for any public
assistance benefits you may receive. Neither the Bank nor the Department of Justice can advise
you on tax liability or any effect on public assistance benefits. You may wish to consult with a
qualified individual or organization about any possible tax or other consequences resulting from
your receipt of this payment.

        If you have any questions concerning the declaration, release or settlement or if anyone
seeks to collect a debt arising from your mortgage, please contact [Insert Independent Consultant
Name] at [Insert Contact Information including a phone number].




                                               H - 21                                GARCIA 04479
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page299
                                                             208of
                                                                of314
                                                                   223



       We deeply appreciate your service to our country. We are committed to serving the
financial needs of our customers who serve in the military, and we regret any error that may have
occurred on your account.


                                            Sincerely,




                                            [Name]
                                             [Title]

Enclosures: Release and Declaration




                                             H - 22                               GARCIA 04480
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page300
                                                             209of
                                                                of314
                                                                   223



                                             RELEASE

        In consideration for the parties’ agreement to the terms of the Consent Order entered
in_________________________________ , and the Defendant’s payment to me of
$______________, pursuant to the Consent Order, I hereby release and forever discharge all
claims, arising prior to the entrance of this Order, related to the facts at issue in the litigation
referenced above and related to the alleged violations of Section 521 of the Servicemembers
Civil Relief Act, that I may have against the Defendant, all related entities, parents, predecessors,
successors, subsidiaries, and affiliates, and all of its past and present directors, officers, agents,
managers, supervisors, shareholders and employees and their heirs, executors, administrators,
successors or assigns.

       Executed this       day of                  , 20 .




                                               ________________________________________
                                               Signature

                                               ________________________________________
                                               Print Name

                                               ________________________________________
                                               Address




                                                H - 23                                GARCIA 04481
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page301
                                                             210of
                                                                of314
                                                                   223



[SCRA NOTIFICATION LETTER FOR SECTION 521 CO-BORROWER]

Name of Co-borrower
123 Main Street
City, State Zip code




                       Re: Loan Number [Insert]



Dear [Co-borrower]:

        We write to inform you that ________________ (“the Bank”), entered into a settlement on
_______________, with the United States Department of Justice regarding alleged violations of
the Servicemembers Civil Relief Act (“SCRA”). This settlement resolves the Department of
Justice’s allegations that the Bank foreclosed on servicemembers through default court
proceedings without filing accurate affidavits notifying the court of the servicemembers’ military
statuses.

        In connection with this settlement, the Department of Justice identified you as a person
who may be eligible for financial compensation with respect to your loan [add loan number(s)].
If you sign and return to us the release attached to this letter in the enclosed postage paid
envelope and your co-borrower signs and returns the declaration and release that will be sent
separately to your co-borrower, we will send you a check in the amount of [insert amount]. This
amount represents your portion of any equity remaining in your home at the time of the
foreclosure. In addition, the Bank will request that all major credit bureaus remove any negative
entries on your credit report attributable to the foreclosure.

        To receive this payment, you must return the attached release within six months of the
date of receipt of this letter. The release, if signed, releases any claim to lost equity that you may
have under Section 521 of the SCRA; however, it does not release any other claim you may have
under the SCRA, including Section 521, or other laws.

        You should be aware that the money you are eligible to receive may have consequences
with respect to your federal, state, or local tax liability, as well as eligibility for any public
assistance benefits you may receive. Neither the Bank nor the Department of Justice can advise
you on tax liability or any effect on public assistance benefits. You may wish to consult with a
qualified individual or organization about any possible tax or other consequences resulting from
your receipt of this payment.

        If you have any questions concerning the release or settlement or if anyone seeks to
collect a debt arising from your mortgage, please contact [Insert Independent Consultant Name]
at [Insert Contact Information including a phone number].




                                                H - 24                                 GARCIA 04482
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page302
                                                             211of
                                                                of314
                                                                   223




        We are committed to serving the financial needs of our customers who serve in the
military, and we regret any error that may have occurred on your account.


                                            Sincerely,




                                            [Name]
                                             [Title]

Enclosure: Release




                                             H - 25                              GARCIA 04483
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page303
                                                             212of
                                                                of314
                                                                   223



                                            RELEASE

        In consideration for the parties’ agreement to the terms of the Consent Order entered
in_________________________________ , and the Defendant’s payment to me of
$______________, pursuant to the Consent Order, I hereby release and forever discharge any
claim under Section 521 of the Servicemembers Civil Relief Act for lost equity in the property
related to the litigation referenced above and arising prior to the entrance of this Order, that I
may have against the Defendant, all related entities, parents, predecessors, successors,
subsidiaries, and affiliates, and all of its past and present directors, officers, agents, managers,
supervisors, shareholders and employees and their heirs, executors, administrators, successors or
assigns.

       Executed this       day of                 , 20 .




                                              ________________________________________
                                              Signature

                                              ________________________________________
                                              Print Name

                                              ________________________________________
                                              Address




                                               H - 26                                GARCIA 04484
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page304
                                                        213of
                                                           of314
                                                              223




            EXHIBIT H - 2




                              H - 27                     GARCIA 04485
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page305
                                                             214of
                                                                of314
                                                                   223



[SCRA NOTIFICATION LETTER FOR SECTION 527 SERVICEMEMBER]


Name of Servicemember
123 Main Street
City, State Zip code




                      Re: Loan Number [Insert]



Dear [Servicemember]:

        We write to inform you that ________________ (“the Bank”), entered into a settlement on
_______________, with the United States Department of Justice regarding alleged violations of
the Servicemembers Civil Relief Act (“SCRA”). This settlement resolves the Department of
Justice’s allegations that the Bank charged servicemembers interest higher than six percent on
mortgage loans that the servicemembers originated prior to entering active duty, despite
receiving requests for interest rate relief and orders.

        In connection with this settlement, the Department of Justice identified you as a person
who may be eligible for financial compensation with respect to your loan [add loan number(s)].
Please read and carefully review the declaration attached to this letter. If it is accurate, please
sign and return to us the release and declaration attached to this letter in the enclosed postage
paid envelope. After we receive these documents, we will send you a check in the amount of
[insert amount]. This amount includes any interest charges in excess of six percent and monetary
damages. In addition, the Bank will request that all major credit bureaus remove any negative
entries on your credit report resulting from the higher interest rate. This release and declaration
must be returned by __________ .

        You should be aware that the money you are eligible to receive may have consequences
with respect to your federal, state, or local tax liability, as well as eligibility for any public
assistance benefits you may receive. Neither the Bank nor the Department of Justice can advise
you on tax liability or any effect on public assistance benefits. You may wish to consult with a
qualified individual or organization about any possible tax or other consequences resulting from
your receipt of this payment.

        If you have any questions concerning the declaration, release or settlement, please contact
[Insert Independent Consultant Name] at [Insert Contact Information including a phone number].

       We deeply appreciate your service to our country. We are committed to serving the
financial needs of our customers who serve in the military, and we regret any error that may have
occurred on your account.




                                               H - 28                               GARCIA 04486
    Case
    Case1:12-cv-00361-RMC
         1:12-cv-00361-RMC Document
                           Document14-1
                                    1-2 Filed
                                        Filed03/12/12
                                              04/04/12 Page
                                                       Page306
                                                            215of
                                                               of314
                                                                  223




                                      Sincerely,




                                      [Name]
                                       [Title]

Enclosures: Release and Declaration




                                       H - 29                GARCIA 04487
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page307
                                                             216of
                                                                of314
                                                                   223



                                             RELEASE

        In consideration for the parties’ agreement to the terms of the Consent Order entered
in_________________________________ , and the Defendant’s payment to me of
$______________, pursuant to the Consent Order, I hereby release and forever discharge all
claims, arising prior to the entrance of this Order, related to the facts at issue in the litigation
referenced above and related to the alleged violation of Section 527 of the Servicemembers Civil
Relief Act, that I may have against the Defendant, all related entities, parents, predecessors,
successors, subsidiaries, and affiliates, and all of its past and present directors, officers, agents,
managers, supervisors, shareholders and employees and their heirs, executors, administrators,
successors or assigns.

       Executed this        day of                 , 20 .




                                               ________________________________________
                                               Signature

                                               ________________________________________
                                               Print Name

                                               ________________________________________
                                               Address




                                                H - 30                                 GARCIA 04488
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page308
                                                             217of
                                                                of314
                                                                   223




[SCRA NOTIFICATION LETTER FOR SECTION 527 CO-BORROWER]

Name of Co-borrower
123 Main Street
City, State Zip code




                       Re: Loan Number [Insert]



Dear [Co-borrower]:

        We write to inform you that ________________ (“the Bank”), entered into a settlement
on _______________, with the Department of Justice regarding alleged violations of the
Servicemembers Civil Relief Act (“SCRA”). This settlement resolves the Department of
Justice’s allegations that the Bank charged servicemembers interest higher than six percent on
mortgage loans that the servicemembers originated prior to entering active duty, despite
receiving requests for interest rate relief and orders.

        In connection with this settlement, the Department of Justice identified you as a person
who may be eligible for financial compensation with respect to your loan [add loan number(s)].
If you sign and return to us the release attached to this letter in the enclosed postage paid
envelope and your co-borrower signs and returns the declaration and release that will be sent
separately to your co-borrower, we will send you a check in the amount of [insert amount]. This
amount represents your portion of any interest charges in excess of six percent. In addition, the
Bank will request that all major credit bureaus remove any negative entries on your credit report
attributable to the higher interest rate.

        To receive this payment, you must return the attached release within six months of the
date of receipt of this letter. The release, if signed, releases any claim to the return of excess
interest that you may have under Section 527 of the SCRA; however, it does not release any
other claim you may have under the SCRA, including Section 527, or other laws.

        You should be aware that the money you are eligible to receive may have consequences
with respect to your federal, state, or local tax liability, as well as eligibility for any public
assistance benefits you may receive. Neither the Bank nor the Department of Justice can advise
you on tax liability or any effect on public assistance benefits. You may wish to consult with a
qualified individual or organization about any possible tax or other consequences resulting from
your receipt of this payment.

       If you have any questions concerning the release or settlement, please contact [Insert
Independent Consultant Name] at [Insert Contact Information including a phone number].




                                                H - 31                                GARCIA 04489
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page309
                                                             218of
                                                                of314
                                                                   223




        We are committed to serving the financial needs of our customers who serve in the
military, and we regret any error that may have occurred on your account.


                                            Sincerely,




                                            [Name]
                                             [Title]

Enclosure: Release




                                             H - 32                              GARCIA 04490
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page310
                                                             219of
                                                                of314
                                                                   223



                                           RELEASE

        In consideration for the parties’ agreement to the terms of the Consent Order entered
in_________________________________ , and the Defendant’s payment to me of
$______________, pursuant to the Consent Order, I hereby release and forever discharge any
claim under Section 527 of the Servicemembers Civil Relief Act for the return of excess interest
for my loan, ___________[insert loan number], related to the litigation referenced above and
arising prior to the entrance of this Order, that I may have against the Defendant, all related
entities, parents, predecessors, successors, subsidiaries, and affiliates, and all of its past and
present directors, officers, agents, managers, supervisors, shareholders and employees and their
heirs, executors, administrators, successors or assigns.

       Executed this       day of                 , 20 .




                                             ________________________________________
                                             Signature

                                             ________________________________________
                                             Print Name

                                             ________________________________________
                                             Address




                                              H - 33                                GARCIA 04491
Case
Case1:12-cv-00361-RMC
     1:12-cv-00361-RMC Document
                       Document14-1
                                1-2 Filed
                                    Filed03/12/12
                                          04/04/12 Page
                                                   Page311
                                                        220of
                                                           of314
                                                              223




            EXHIBIT H - 3




                              H - 34                     GARCIA 04492
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page312
                                                             221of
                                                                of314
                                                                   223



           IMPORTANT NOTICE AFFECTING MILITARY SERVICEMEMBERS

            WAIVER OF RIGHTS AND PROTECTIONS AFFORDED UNDER
                  THE SERVICEMEMBERS CIVIL RELIEF ACT

Attached to this notice you will find a waiver of rights and protections that may be applicable to
you and your dependents pursuant to the Servicemembers Civil Relief Act, 50 App. U.S.C. §
501, et seq. (the “SCRA”). The SCRA provides military personnel and their dependents with a
wide range of legal and financial protections. Among other benefits and protections, the SCRA:

       •       Upon request by the servicemember, imposes a maximum rate of interest that may
               be charged on debt obligations incurred by an eligible servicemember before the
               servicemember began his or her current military service.
       •       May restrict or prohibit the sale, foreclosure, or seizure of real estate pursuant to a
               pre-service debt obligation, except where the lender has obtained a valid court
               order approving the sale, foreclosure, or seizure of the real estate.
       •       May prohibit a landlord or lender from evicting a servicemember or the
               servicemember’s dependents from his/her residence, except where the lender has
               obtained a valid court order approving the eviction.
       •       May, in a court action, give the servicemember the right to postpone the case
               under certain conditions.
       •       May, in a court action, give the servicemember the right to have the terms of the
               mortgage obligation adjusted under certain conditions.

[Judicial State / Non-Judicial State Paragraph - Insert Applicable Paragraph]

[Judicial State] If you choose to sign the waiver, the bank will have the option to proceed with a
foreclosure, sale and eviction without the protections of the SCRA. If you do not sign this
waiver, the Bank will be required to provide you the protections of the SCRA. You may be able
to seek a postponement of any foreclosure or eviction action, and, in the case of foreclosure, an
adjustment of the mortgage obligation. Additionally, the court should take steps to ensure that a
judgment is not entered against you if you are unable to appear.

[Non-Judicial State] If you choose to sign the waiver, the bank will have the option to proceed
with a foreclosure, sale and eviction without going to court. If you do not sign this waiver, the
bank will be required to obtain a court order in order to foreclose (if you incurred your debt
before you went into military service) or to evict you from your home. You may be able to seek
a postponement of any foreclosure or eviction action, and, in the case of foreclosure, an
adjustment of the mortgage obligation. Additionally, the court should take steps to ensure that a
judgment is not entered against you if you are unable to appear.

Before waiving these important statutory rights, you should consult an attorney regarding
how best to exercise your rights or whether it is in your interest to waive these rights under
the conditions offered by the bank.

As an alternative to foreclosure, the bank may offer its borrowers the options of pursuing a short
sale of their property or executing a deed in lieu of foreclosure. Borrowers in default may find


                                               H - 35                                 GARCIA 04493
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page313
                                                             222of
                                                                of314
                                                                   223



these options to be preferable to foreclosure. Any negotiation for a short sale or deed in lieu of
foreclosure is not a threat of current or future litigation, and should not be considered as such.

For More Information:

       •       CONSULT AN ATTORNEY: To fully understand your rights under the law, and
               before waiving your rights, you should consult an attorney.
       •       JAG / LEGAL ASSISTANCE: Servicemembers and their dependents with questions
               about the SCRA should contact their unit’s Judge Advocate, or their installation’s
               Legal Assistance Officer. A military legal assistance office locator for all
               branches of the Armed Forces is available at
               http://legalassistance.law.af.mil/content/locator.php
       •       MILITARY ONESOURCE: “Military OneSource” is the U.S. Department of
               Defense’s information resource. Go to www.militaryonesource.com




                                               H - 36                                GARCIA 04494
     Case
     Case1:12-cv-00361-RMC
          1:12-cv-00361-RMC Document
                            Document14-1
                                     1-2 Filed
                                         Filed03/12/12
                                               04/04/12 Page
                                                        Page314
                                                             223of
                                                                of314
                                                                   223



                             WAIVER OF RIGHTS UNDER
                         SERVICEMEMBERS CIVIL RELIEF ACT

        I ______(NAME)_____ am a [servicemember] [dependent of ______(NAME)_______, a
servicemember], and I am aware that I have protections available to me under the
Servicemembers Civil Relief Act (SCRA). This includes, but is not limited to, legal rights
relating to the property securing my mortgage loan, including protection against a sale,
foreclosure, seizure, eviction or unlawful detainer action related to the property listed below.

                                  [ADDRESS OF PROPERTY]

I acknowledge that:

       •       By signing this waiver, I am waiving the SCRA protections related to the property
               listed above, including any protections against a sale, foreclosure, seizure,
               eviction or unlawful detainer action, as well as relating to the right of redemption.

       •       This waiver applies to any form of proceeding or transaction through which
               someone else receives ownership and/or possession of the property securing my
               loan, including a foreclosure short sale, deed-in-lieu of foreclosure, cash-for-keys,
               etc. This waiver applies not only to any such proceedings or transactions that are
               in process at the time I sign this waiver, but also to proceedings or transactions
               that are started after I sign this waiver.

       •       The above described property secures my mortgage loan, account number:
               _______________________.

       •       In exchange for waiving my SCRA rights with respect to this property, the Bank
               has agreed to provide _____________ (insert one - a short sale, cash for keys
               agreement, deed-in-lieu of foreclosure, or other valuable consideration). This
               waiver does not become effective until _____________ (insert item listed above)
               is executed and completed. If for any reason, the __________ (insert item listed
               above) is not executed and completed, this waiver shall become null and void.

Subject to the above provisions, I hereby waive and give up the right to these protections under
the SCRA with respect to the above listed property and any right I may have had to a stay of
proceedings or adjustment of the mortgage obligation in a foreclosure action.


__________________________________                           Date:_____________________
           (Signature)


__________________________________
          Printed Name




                                               H - 37                                GARCIA 04495
